USCA4 Appeal: 23-2097      Doc: 11-2       Filed: 12/06/2023   Pg: 1 of 493




                                            No. 23-2097



                              In The United States Court Of Appeals
                                     For The Fourth Circuit

                                         LULA WILLIAMS,
                                          Plaintiff-Appellee

                                                  v.

                                       MATT MARTORELLO,
                                        Defendant-Appellant,


                          On Appeal From The United States District Court
                        For The Eastern District Of Virginia (Robert E. Payne)
                                        (3:17-cv-00461-REP)


                                         JOINT APPENDIX
                                            VOLUME II



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        Washington, D.C. 20036                         Washington, D.C. 20006
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        Counsel for Appellee                           Counsel for Appellant
        December 6, 2023
USCA4 Appeal: 23-2097   Doc: 11-2      Filed: 12/06/2023   Pg: 2 of 493




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        Kelly Guzzo, PLC
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        Counsel for Appellee
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             10     Exhibits #7 to #56 to plaintiffs’ memorandum in support    JA460-JA937
                         of their motion for partial summary judgment

             11     Exhibit #3 to plaintiffs’ memorandum in support of their   JA938-JA949
                                         motion in limine
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                                     Exhibit 7




                                                                                  JA460
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                                       1166-712/06/2023     Pg: 5
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                                                                Page  2 of 13 PageID# 48108
  Message
  From:            Ashish Rane [ashish.rane@aranca.com]
  Sent:            1/12/2017 12:40:08 PM
  To:              Matt Martorello [matt@liontllc.com]; Zayra Emanuel Ii [zayra@liontllc.com]
  CC:              manish.goyal@aranca.com; 'Jitendra Pabrekar, CFA' [jitendra.pabrekar@aranca.com]; pooja.gala@aranca.com
  Subject:         RE: Bellicose Capital Valuation


  Hi Matt,

  Thank you for the email. Any expected economic benefits (including the future revenues) that could be earned from the
  way of having this contract in place would be captured under goodwill. While I agree the tribe's relationship is certainly
  valuable, we also need to factor in the abundance of supply and/or the relative ease of replacing these tribes. As such,
  we will value them by aggregating the total costs incurred (would be incurred) to get a similar contract.

  I will discuss and elaborate on this during our call if needed.

  Thanks,

  Ashish Rane

  Manager I Valuations Advisoryl Aranca

  Linkedin Profile



  From: Matt Martorello [mailto:matt@liontllc.com]
  Sent: Wednesday, January 11, 2017 3:30 AM
  To: Zayra Emanuelli; Ashish Rane
  Cc: manish.goyal@aranca.com; Jitendra Pabrekar, CFA; pooja.gala@aranca.com
  Subject: RE: Bellicose Capital Valuation

  To comment on this:

        1.    We had an internal discussion regarding the proportion of value of (existing) customers that would be captured
             in our hot assets calculation. Since both essentially capture the value from existing customer contracts, would it
             be fair to say that their values would be the same? Please let us know your thoughts on this. If you believe there
             is incremental value attached to these above and beyond the cashflows analyzed in our Hot asset calculations,
             please discuss your underlying rationale.

  The Hot Assets are is earned revenue up to this moment, but not yet received. The additional contract value will be the
  future revenues that will be earned by way of having the contract in place (given the high probability of the business
  relationship remaining for at least some material timeframe). The former is done and recorded, while the latter is
  almost like option value. If I wanted to get a new contract, I'd probably call a broker who would introduce me to tribes
  and charge me a few hundred K (we sent how much we paid for the initial relationship intro in a prior email). Then
  there would be additional costs for legal and compliance and investment, if we were to get a new contract into place as
  well.



  From: Zayra Emanuelli
  Sent: Wednesday, January 4, 2017 11:00 AM
  To: Ashish Rane <ashish.rane@aranca.com >; Matt Martorello <matt@liontllc.com >
  Cc: manish.goyal@aranca.com ; Jitendra Pabrekar, CFA <jitendra.pabrekar@aranca.com >; pooja.gala@aranca.com
  Subject: RE: Bellicose Capital Valuation




                                                                                                               JA461
CONFIDENTIAL                                                                                               MARTORELLO_008958
USCA4Case
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                                                                Page  3 of 13 PageID# 48109
  Hi Ashish,

  Please refer to my comments below.

  Best regards,
  Zayra

               h-
  Liont, LLC   ION


  Zayra Emanuelli
  Mobile: 787-426-5344
  Email: zayra@liontllc.com
  875 Carretera 693, Suite 202, Dorado, PR 00646
  http://www.LiontLLC.com



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  From: Ashish Rane fmailto:ashish.rane@aranca.com ]
  Sent: Wednesday, January 4, 2017 8:11 AM
  To: Zayra Emanuelli <zayra@liontllc.com >; Matt Martorello <matt@liontllc.com >
  Cc: manish.goyal@aranca.com; Jitendra Pabrekar, CFA <jitendra.pabrekar@aranca.com >; pooja.gala@aranca.com
  Subject: Bellicose Capital Valuation


  Good morning Zayra and Matt,

  Thank you for sharing the consolidated financials for Bellicose VI. We have incorporated the same in our analysis.

      1.    I had one query on analyzing the file shared yesterday. Deloitte's report mentions the total value of the group
           at $17.1 million. Further, previous emails refer to $7.7 million as the value to be distributed among intangibles,
           implying a $9.4 million net asset value of the group's tangible assets. However, based on the current
           consolidated financials shared, we arrived at a net asset value of $7.5 million (attached), leaving an unaccounted
           $1.9 million of net asset value/tangible assets. Could you please help me bridge the gap or correct my
           understanding with regards to the numbers?.
           ZE - See attached spreadsheet, where I reconciled the 2012 valuation's numbers to the tax returns. I noted
           some differences but they were below $1D0K. Keep in mind that Deloitte's report did DCF for SPVI and ICA,
           therefore, you will not be able to tie that value to these entities NAV. I hope the attached reconciliation is
           helpful, but let me know if you have further questions.

      2.    We also await the consolidated financials (including Bellicose for June 30, 2015).
           ZE - noted. Will be provided.

      3.    We had an internal discussion regarding the proportion of value of (existing) customers that would be captured
           in our hot assets calculation. Since both essentially capture the value from existing customer contracts, would it
           be fair to say that their values would be the same? Please let us know your thoughts on this. If you believe there
           is incremental value attached to these above and beyond the cashflows analyzed in our Hot asset calculations,
           please discuss your underlying rationale.
           ZE - In my mind, the customer contracts will be the value attributed to the contracts, net of the hot assets. For
           me, the customer contracts are the contracts in place with the tribes, while the hot assets are basically the
           revenue that have not yet been collected from outstanding loans. Therefore, I do believe there is an incremental


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            value in top of the hot asset numbers. Remember that the hot assets only include the outstanding balance as of
            each of the transaction events (i.e. 12/31/2012 and 6/30/2015), assuming no reinvestment of collected
            amounts. On the other hand, for calculating the value of customer contracts, I think we definitely need to take
            into account the re-deployment of collected amounts into new loans.
            For purposes of the 2012 valuation, I think Deloitte assumed that revenues would stop on Feb 2014, so there
            was only an increment in revenues during 2013. Likewise, for June 2015, we made the assumption that the loan
            portfolio would commence an unwinding process beginning in Jan 2017. So, for both dates, Dec 31, 2012 and
            June 30, 2015, I think most of the value attributable to the customer contracts will in fact be hot assets, but
            there should definitely be some additional value that is related to loans that were not outstanding as of each of
            those days, but that were subsequently originated (for 2012 - originated after Dec 31, 2012; for June 2015 -
            originated on or after July 1, 2015 through Dec 31, 2016). Let me know if you agree.



  Based on the inputs shared, we should be able to share preliminary numbers for 2012 this week and the 2015 numbers
  on receipt of the consolidated financials.

  Thanks,

  Ashish Rane

  Manager I Valuations Advisoryl Aranca

  Linkedin Profile


  From: Zayra Emanuelli [ mailto:zayra@liontllc.com]
  Sent: Wednesday, January 04, 2017 2:46 AM
  To: Ashish Rane; Matt Martorello
  Cc: manish.qoyal@aranca.com ; Jitendra Pabrekar, CFA; pooja.qala@aranca.com
  Subject: RE: Bellicose Capital Valuation

  Hi Ashish,

  Attached please find Bellicose Vi's consolidated financials as of 12/31/2012 and 12/31/2013, and for the years then
  ended.

  Best regards,
  Zayra

                h
  Liont, LLC UONI

  Zayra Emanuelli
  Mobile: 787-426-5344
  Email: zayra@liontllc.com
  875 Carretera 693, Suite 202, Dorado, PR 00646
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  From: Ashish Rane [mailto:ashish.rane@aranca.com ]
  Sent: Monday, January 2, 2017 12:26 PM



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CONFIDENTIAL                                                                                             MARTORELLO_008960
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  To: Zayra Emanuelli <zayra@liontllc.com >; Matt Martorello <matt@liontllc.com >
  Cc: manish.goyal@aranca.com ; Jitendra Pabrekar, CFA <jitendra.pabrekar@aranca.com >; pooja.gala@aranca.com
  Subject: Bellicose Capital Valuation


  Hi Zayra and Matt,

  Thanks for the files you sent last week. We have reviewed the calculations for the June 2015 Hot Asset valuation and are
  comfortable with the assumptions used therein. With respect to the Dec 2012 Hot Assets calculations, I think the best
  approach would be use to apply the 2015 Hot Asset - Loan portfolio ratio and then discount the Hot Asset balance to
  reflect the increased risk or bad debt risk/non-collection. With that said, if you have any other documentation with
  respect to the 2012 Hot Asset valuation, please feel free to send across for us to fortify our analysis.

  We were analyzing the consolidated balance sheet for Kairos Holdings you sent on Saturday (attached). Could you please
  confirm if the consolidation incorporate Bellicose Capital?
  For example, there are line items such as 'Investments in Bellicose Capital' and 'Due to SPVI', highlighted in the file,
  which should be in the eliminations.
  Further, Bellicose Capital had certain fixed assets as of June 30, 2015, a proportion of which should be allocated to
  Kairos, based on its shareholding. These do not appear in the consolidated financials shared currently.

  If possible, could you please share a consolidated balance sheet for the entities concerned - we believe adding Bellicose
  to the current file, and adjusting for eliminations, should be sufficient.

  Please let me know your thoughts and/or if you have any questions.

  Thanks,

  Ashish Rane

  Manager I Valuations Advisoryl Aranca

  Linkedin Profile


  From: Zayra Emanuelli [ mailto:zayra@liontllc.com]
  Sent: Saturday, December 31, 2016 12:33 AM
  To: Ashish Rane; Matt Martorello
  Cc: manish.qoyal@aranca.com ; 'Jitendra Pabrekar, CFA'
  Subject: RE: Bellicose Capital Valuation

  Hi Ashish,

  Attached are the consolidated financials for Kairos Holdings, LLC at 6/30/2015 and for the period then ended. In terms of
  the 2012 consolidated financials, you can take a look at the tax return provided for BVI for such year, as it has a
  consolidating schedule as one of its annexes. We will provide the complete file once available (along with December
  2013 and June 2015).

  Best regards,
  Zayra

               h
  Liont, LLC UON


  Zayra Emanuelli
  Mobile: 787-426-5344
  Email: zayra@liontllc.com



                                                                                                           JA464
CONFIDENTIAL                                                                                           MARTORELLO_008961
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  it is addressed. Use or distribution by any unintended recipient is prohibited. Please notify the sender immediately if
  you have received this email by error and delete this email and all attachments from your system.


  From: Ashish Rane [mailto:ashish.rane@aranca.com ]
  Sent: Friday, December 30, 2016 6:32 AM
  To: Zayra Emanuelli <zayra@liontllc.com >; Matt Martorello <matt@liontllc.com >
  Cc: manish.goyal@aranca.com ; 'Jitendra Pabrekar, CFA' <jitendra.pabrekar@aranca.com >
  Subject: RE: Bellicose Capital Valuation


  Hi Zayra & Matt,

  Thank you the responses and your time yesterday. We have received the revised files prepared by Luis and will use that
  analysis to the extent we can to support the assumptions and drivers. I will wait for the remaining financials and any
  supporting documentation for the 2012 Hot Assets calculation. We will also apply the Hot Assets to Loan ratio (2015)
  mechanics and other methodologies to calculate the Hot assets number for 2012 and share our analysis with supporting
  assumptions.

  Please let me know if you have any questions.

  Have a good weekend and Happy New Year!

  Thanks,

  Ashish Rane

  Manager I Valuations Advisoryl Aranca

  Linkedin Profile



  From: Zayra Emanuelli [ mailto:zayra@liontllc.com]
  Sent: Thursday, December 29, 2016 7:30 PM
  To: Ashish Rane; Matt Martorello
  Cc: manish.qoyal@aranca.com ; 'Jitendra Pabrekar, CFA'; pooja.qala@aranca.com
  Subject: RE: Bellicose Capital Valuation

  Ashish,

  Below you'll find the answers provided by our financial analyst with respect to your questions about the hot assets
  calculations. I'm awaiting for Matt to confirm his availability for today's call. Will confirm in a bit. Will continue sending
  the requested information during the day.

      1.    We noted that a monthly repayment rate of around 20% has been assumed for the June 2015 calculations.
              a. What is the basis for this assumption? The 20% average is based on assumption that the outstanding
                     portfolio as of June 2015 will behave similar to historical cash flows for outstanding loans in the past.
               b.    Is this based on actual churn observed in the portfolio? Yes. The rate is calculated using the monthly
                     weighted average rate of portfolio of outstanding loans cash flows data from February 1, 2014 to
                     October 1, 2014 (segregated by new customer and returning customers).




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      2.    Further, service revenue proportion of 8-13% has been assumed in the hot assets calculation. Please provide the
           rationale for these assumptions. Are these assumptions inclusive of interest (service fee) and penalties? The
           service revenue proportion of July and Aug are based on monthly actuals, and then, Sept through Dec is the
           average of the previous actuals calculated. Service revenue is the RRTL service fee (based on RRTL Income), so it
           includes service revenue, returns, charge -offs and expenses.
      3.    We saw that the ratio of service fee earned from DCTF and RRTL to the loan portfolio (assumed at $23 million)
           varied between 1-13% in 2014. What causes the variation? The variation was mainly caused by the accounting
           impact of bad debt, consulting expenses and marketing expenses. The accounting is cash based so few months
           were impacted by the swings in those expenses.

  As to your other request regarding the portfolio details, we don't think that the schedule you sent us will provide
  accurate information. The portfolios grow and stop growing and unwind. Sometimes they have periodic changes due to
  seasonality.

  Best regards,
  Zayra

  Liont, LLC UON


  Zayra Emanuelli
  Mobile: 787-426-5344
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  From: Ashish Rane [mailto:ashish.rane@aranca.com ]
  Sent: Thursday, December 29, 2016 8:25 AM
  To: Matt Martorello <matt@liontllc.com >; Zayra Emanuelli <zayra@liontllc.com >
  Cc: manish.goyal@aranca.com ; 'Jitendra Pabrekar, CFA' <jitendra.pabrekar@aranca.com >; pooja.gala@aranca.com
  Subject: RE: Bellicose Capital Valuation


  Hi Matt and Zayra,

  Thank you for your responses. I think we are comfortable with respect to factors driving the workforce value. However,
  we still need your help to formulate the value proposition for Hot Assets. We have certainly reviewed your ca lcu lation,
  but need additional data support to defend the assumptions used in the analysis. We have also conducted some market
  research on our end but given the unique nature of the business and the expected cash flow stream, we believe it's best
  if we could demonstrate a historical relationship to the Unwinding rate, RRTL Income rate and risk assumptions. I realize
  we may not be able to analyze the month-on-month churn of the loan portfolio, but ilf we could qualitatively discuss or
  address the questions below, we might be able to better support our analysis.

      1.    We noted that a monthly repayment rate of around 20% has been assumed for the June 2015 calculations.
               a.    What is the basis for this assumption?
               b.    Is this based on actual churn observed in the portfolio?
      2.    Further, service revenue proportion of 8-13% has been assumed in the hot assets calculation. Please provide
           the rationale for these assumptions. Are these assumptions inclusive of interest (service fee) and penalties?
      3.    We saw that the ratio of service fee earned from DCTF and RRTL to the loan portfolio (assumed at $23 million)
           varied between 1-13% in 2014. What causes the variation?


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      4.    Hot assets calculation for January 2016 as well as the most recent period (Dec 2016) including the lowest level
            of detail available.

  Apologies for the short notice, but could we please have a brief (15-20 mins) call today to discuss the Hot assets
  calculations this morning anytime between 10.30 am EST and 12pm EST? I can share the dial in.

  In addition, we still need the following items:

      1.     Consolidated Balance sheet of the group (Bellicose) as of Dec 31, 2012 and 2013
      2.     Consolidated Balance sheet for Kairos Holdings LLC (group) as of June 30, 2015 (and Jan 2016 for the Jan
            valuation).
      3.     We have the balance sheet for Liont as of July 12, 2015. Though the valuation date of June 30, 2015 is close to
            this date, it would be good to have Liont's Balance sheet as of June 30, 2015.
      4.     Though not significant, please explain the nature of artworks of $195,153 appearing in Kairos' Balance sheet as
            of June 30, 2015.

  Please let me know if you have any questions.

  Thanks,

  Ashish Rane

  Manager I Valuations Advisoryl Aranca

  Linkedin Profile



  From: Matt Martorello [ mailto:matt@liontllc.com]
  Sent: Wednesday, December 28, 2016 9: 14 PM
  To: Zayra Emanuelli; Ashish Rane
  Cc: manish.qoyal@aranca.com ; Jitendra Pabrekar, CFA; pooja.qala@aranca.com
  Subject: RE: Bellicose Capital Valuation

  A couple quick comments:
      1) I was no longer President of Bellicose effective sometime in 2015. Instead, I acted as President of Liont (working
          instead on my US businesses)
      2) So Bellicose/SPVI was always without me, my comp would fall under Liont when it comes to valuing Workforce
          in Place
      3) ICA's $9.6mm due required SP to get paid from Island Breeze. However, Island Breeze declared bankruptcy in
                                             rd
          2014. SP is still trying to sue a 3 party to recover any amount of money, but it is also being countersued for
                                                                                rd
          filing liens against assets. We never got a single payment, and the 3 party never made a penny. Since 2014, it's
          always been improbable that we get to collect anything. We were very close to writing off the $9.6mm, but will
          wait for the lawsuits to conclude. If I were to sell the $9.6mm obligation, they'd have to be comfortable with SP
          recovering money that might not actually get paid to ICA. The recovered cash (if any) could be SP's and not
          owed to ICA. In best case, I think SP might recover $1.5mm. I think that's a 30% chance, and it will cost another
          $250k in legal bills to find out. However, that may not go to ICA, that might be SP cash/assets being recovered.


  From: Zayra Emanuelli
  Sent: Wednesday, December 28, 2016 11:15 AM
  To: Ashish Rane <ashish.rane@aranca.com >; Matt Martorello <matt@liontllc.com >
  Cc: manish.goyal@aranca.com ; Jitendra Pabrekar, CFA <jitendra.pabrekar@aranca.com >; pooja.gala@aranca.com
  Subject: RE: Bellicose Capital Valuation


  Hi Ashish,


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  See my comments in your email below.

  Best regards,
  Zayra

               h
  Liont, LLC 1.10


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  From: Ashish Rane fmailto:ashish.rane@aranca.com ]
  Sent: Wednesday, December 28, 2016 8:47 AM
  To: Zayra Emanuelli <zayra@liontllc.com >; Matt Martorello <matt@liontllc.com >
  Cc: manish.goyal@aranca.com ; Jitendra Pabrekar, CFA <jitendra.pabrekar@aranca.com >; pooja.gala@aranca.com
  Subject: FW: Bellicose Capital Valuation


  Hi Zayra and Matt,

  Thank you for your responses. While we wait for the Hot asset inputs, could you please provide your insights on the
  following:

      1.         Matt mentioned earlier that Liont charged an annual fee of $2 million from your US entities on a collective
                basis. Could you please help me understand how much of this is attributable to our subject entities (those
                under Kairos - Bellicose, ICA etc.)
                ZE - This is not related to these entities, only to Liont, LLC. Liont serves as the manager of a couple of US
                entities in which Matt is either the sole owner or majority owner. This $2M M fee Matt made reference to is
                being charged to the following entities: Green Key Techonologies, LLC; Jet Capital, LLC, and Balance Credit,
                LLC (a/k/a Sunup Financial, LLC).
       2.        We believe the above will be inclusive of Matt's remuneration for June 2015 and Jan 2016 (since Matt was
                on Liont's payroll). Please confirm.
                ZE - As explained, this management fee is related to the US operations. Everything under Kairos and
                Bellicose is considered Puerto Rico's operations, and therefore covered by Liont's compensation/wages to
                Matt. It should be noted that Matt's salary (in Liont) is a safe-harbour amount established by PR law.
                Otherwise, Matt's compensation would be much higher than that (probably around the management fee
                charged to the US entities).
  3.        The ICA forecasts mention that the agreement between ICA and SP is expected to continue till April 2017. What
  is the probability of the contract getting renewed? Does the business face any challenges as a going-concern?
       ZE - Zero probability of the contract being renewed, and a very low probability of getting paid for the $9.6MM due
       under the contract. By way of summary, this agreement is dependable/related to the Lease Agreement entered into
       by SourcePoint, LLC and Island Breeze I. Basically, the amounts payable under the Development Agreement between
       Source Point, LLC and ICA were due on a quarterly basis throughout the duration of the Lease Agreement between
       Island Breezel and SP (i.e. 6 years), unless and until the lease was rightfully terminated by SP or IBI (in which case, SP
       had no further obligation to pay the fees to ICA under the Development Agreement (i.e. the $9.6MM). Such lease


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          3:17-cv-00461-REP            Filed: 12/06/2023
                              Document 1166-7                Pg:Page
                                                Filed 04/21/23  13 of 10
                                                                      493of 13 PageID# 48116

      was terminated in 2014. There are some ongoing legal claims which could result in a partial recovery of the amount
      due, but certainly the development agreement is not active.
      There are no other operations in place by ICA as of today.




  Thanks,

  Ashish Rane

  Manager I Valuations Advisoryl Aranca

  Linkedin Profile


  From: Zayra Emanuelli [ mailto:zayra@liontllc.com]
  Sent: Wednesday, December 28, 2016 1:51 AM
  To: Ashish Rane; Matt Martorello
  Cc: manish.qoyal@aranca.com ; Jitendra Pabrekar, CFA; pooja.qala@aranca.com
  Subject: RE: Bellicose Capital Valuation

  Hi Ashish,

  Below please find the response to most of your queries below. The rest will follow:
      2. Employees -
         a.         Matt is not mentioned in the employee list as of June 30, 2015 and January 2016. Please clarify.
                  ZE - At this time, Matt was an employee of Liont, LLC. Matt sent some communications over the
                  weekend regarding the workforce in Liont. We will send the relevant information between today and
                  tomorrow.
         b.         What would be the approximate starting efficiency of the employees? Also, please indicate the average
                  time to reach full productivity. Employee-wise details for this request, if readily available, would be
                  more helpful.
                  ZE - Matt to comment on this one.
         c.         Please confirm that the salaries mentioned in the file Payroll Summary are monthly.
                  ZE - confirmed. For those employees that are "Salaried" the monthly compensation is showed in
                  column F {under Rate). However, for employees categorized as hourly, the monthly compensation is
                  showed under column J {column F shows the hourly rate for these employees). Let me know if you
                  have further questions.
         d.         What would be the average annual working hours for the employees contracted on an hourly basis?
                  We have currently considered 8 hours*5 days*52 weeks=2080 for our calculations.
                  ZE -The hourly employees work 86.6 hours per month. So, they will work for 1,039.92 hours a year.
         e.         Column J of the file Payroll Summary has certain values calculated for some of the employees, but the
                  column is not labeled. Please indicate the nature of these values.
                  ZE - Explained in C above.
         f.         An email also mentioned that certain benefits information was listed in the second tab of the file
                  Payroll Summary. The file shared with us has only one tab. Please clarify if this relates to the numbers in
                  Column J.
                  ZE - see file attached.



               h
  Liont, LLC   10


  Zayra Emanuelli
  Mobile: 787-426-5344


                                                                                                            JA469
CONFIDENTIAL                                                                                            MARTORELLO_008966
USCA4Case
      Appeal: 23-2097   Doc: 11-2
          3:17-cv-00461-REP            Filed: 12/06/2023
                              Document 1166-7                Pg:Page
                                                Filed 04/21/23  14 of 11
                                                                      493of 13 PageID# 48117

  Email: zayra@liontllc.com
  875 Carretera 693, Suite 202, Dorado, PR 00646
  http://www.LiontLLC.com



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  From: Ashish Rane fmailto:ashish.rane@aranca.com ]
  Sent: Tuesday, December 27, 2016 1:06 PM
  To: Zayra Emanuelli <zayra@liontllc.com >; Matt Martorello <matt@liontllc.com >
  Cc: manish.goyal@aranca.com ; Jitendra Pabrekar, CFA <jitendra.pabrekar@aranca.com >; pooja.gala@aranca.com
  Subject: Bellicose Capital Valuation


  Hi Zayra and Matt,

  Thanks again for providing the documents. We have made progress with respect to the identification and valuation
  methodologies for the intangible assets but have some queries that need clarification. Could you could help me out with
  the following document requests and questions?

  Information request
      1.     Hot assets calculation for January 2016 as well as the most recent period (Dec 2016).
      2.     Consolidated Balance sheet of the group (Bellicose) as of Dec 31, 2012 and 2013
      3.     Consolidated Balance sheet for Kairos Holdings LLC (group) as of June 30, 2015.
      4.     ICA forecasts as of June 30, 2015. (ICA was not part of the June 2015 valuation)
      5.     We have the balance sheet for Liont as of July 12, 2015. Though the valuation date of June 30, 2015 is close to
            this date, it would be good to have Liont's Balance sheet as of June 30, 2015.



  Hot Assets Calculations:
      1.     We noted that a monthly repayment rate of around 20% has been assumed for the June 2015 calculations.
                 a. What is the basis for this assumption?
                 b. Is this based on actual churn observed in the portfolio?
      2.     Further, service revenue proportion of 8-13% has been assumed in the hot assets calculation. Please provide
            the rationale for these assumptions. Are these assumptions inclusive of interest (service fee) and penalties?
      3.     We saw that the ratio of service fee earned from DCTF and RRTL to the loan portfolio (assumed at $23 million)
            varied between 1-13% in 2014. What causes the variation?
      4.     We wanted to analyze the month-on-month churn of the loan portfolio along with the service fee earned on it.
            for this, request you to share loan portfolio details in the format attached with this mail to the extent available.

  Queries
      1.     Though not significant, please explain the nature of artworks of $195,153 appearing in Kairos' Balance sheet as
            of June 30, 2015.
      2.     Employees -
            a.       Matt is not mentioned in the employee list as of June 30, 2015 and January 2016. Please clarify.
            b.       What would be the approximate starting efficiency of the employees? Also, please indicate the average
            time to reach full productivity. Employee-wise details for this request, if readily available, would be more
            helpful.
            c.       Please confirm that the salaries mentioned in the file Payroll Summary are monthly.
            d.       What would be the average annual working hours for the employees contracted on an hourly basis? We
            have currently considered 8 hours*5 days*52 weeks=2080 for our calculations.



                                                                                                                JA470
CONFIDENTIAL                                                                                                MARTORELLO_008967
USCA4Case
      Appeal: 23-2097   Doc: 11-2
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                              Document 1166-7                Pg:Page
                                                Filed 04/21/23  15 of 12
                                                                      493of 13 PageID# 48118

             e.      Column J of the file Payroll Summary has certain values calculated for some of the employees, but the
             column is not labeled. Please indicate the nature of these values.
             f.      An email also mentioned that certain benefits information was listed in the second tab of the file Payroll
             Summary. The file shared with us has only one tab. Please clarify if this relates to the numbers in Column J.

  Happy to talk through the requests/queries above over a quick call at your convenience.

  Please let me know if you have any questions.

  Thanks,

  Ashish Rane

  Manager I Valuations Advisoryl Aranca

  Linkedin Profile


  From: Matt Martorello [ mailto:matt@liontllc.com]
  Sent: Monday, December 26, 2016 11 :00 PM
  To: Ashish Rane; Zayra Emanuelli
  Cc: manish.qoyal@aranca.com ; 'Jitendra Pabrekar, CFA'; pooja.qala@aranca.com
  Subject: RE: Bellicose Capital Valuation

  Hi Ashish,

  I wanted to alert you that we have significant value to the Liont Management team, as measured how we discussed ...
  (comp+ 0/H * forward years of service).

  Please keep in mind that my comp is not market value. We are adjusting based on an economist recommendation for
  public comp studies, but that is for arm's length fee in a different transaction. We may need a different method for this
  business, since it's not the same industry as those public companies.

  We will need to have this contribution to the hybrid valued as well.


  From: Ashish Rane [mailto:ashish.rane@aranca.com ]
  Sent: Thursday, December 22, 2016 7:33 AM
  To: Matt Martorello <matt@liontllc.com >; Zayra Emanuelli <zayra@liontllc.com >
  Cc: manish.goyal@aranca.com ; 'Jitendra Pabrekar, CFA' <jitendra.pabrekar@aranca.com >; pooja.gala@aranca.com
  Subject: RE: Bellicose Capital Valuation


  Hi Matt,

  Please find the attached document that enlists the questions I will briefly go over during our call today.

  Please let me know if you have any questions.

  Thanks,

  Ashish Rane

  Manager I Valuations Advisoryl Aranca

  Linkedin Profile




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CONFIDENTIAL                                                                                              MARTORELLO_008968
USCA4Case
      Appeal: 23-2097   Doc: 11-2
          3:17-cv-00461-REP            Filed: 12/06/2023
                              Document 1166-7                Pg:Page
                                                Filed 04/21/23  16 of 13
                                                                      493of 13 PageID# 48119

  From: Matt Martorello [ mailto:matt@liontllc.com]
  Sent: Wednesday, December 21, 2016 6:49 PM
  To: Ashish Rane; Zayra Emanuelli
  Cc: manish.qoyal@aranca.com ; Jitendra Pabrekar, CFA; pooja.qala@aranca.com
  Subject: RE: Bellicose Capital Valuation

  Great, how does 8am ET work?


  From: Ashish Rane fmailto:ashish.rane@aranca.com ]
  Sent: Wednesday, December 21, 2016 7:59 AM
  To: Matt Martorello <matt@liontllc.com >
  Cc: manish.goyal@aranca.com ; Jitendra Pabrekar, CFA <jitendra.pabrekar@aranca.com >; pooja.gala@aranca.com
  Subject: Bellicose Capital Valuation


  Good morning Matt,

  My name is Ashish and I am a Manager within Aranca's Valuation and Advisory Services. I will be assisting Manish with
  the valuation of Bellicose Capital. Manish has briefed me on your interactions with him and has also shared the related
  documents. While my team has already started working on the assignment, there are a few questions I would like to
  discuss with you.

  Could you please let me know you availability for a call tomorrow morning? I will then send an invite with the call in
  details.

  Please let me know if you have any questions.

  Thanks and regards,

  Ashish Rane

  Manager I Valuations Advisoryl Aranca

  Linkedin Profile



        aranc
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USCA4 Case
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                                        1166-812/06/2023     Pg: 17
                                                 Filed 04/21/23     of 493
                                                                  Page  1 of 7 PageID# 48120




                                      Exhibit 8




                                                                                    JA473
USCA4 Case
      Appeal: 23-2097   Doc: 11-2
           3:17-cv-00461-REP   DocumentFiled:
                                        1166-812/06/2023     Pg: 18
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USCA4 Case
      Appeal: 23-2097   Doc: 11-2
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                                        1166-812/06/2023     Pg: 19
                                                 Filed 04/21/23     of 493
                                                                  Page  3 of 7 PageID# 48122




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USCA4 Case
      Appeal: 23-2097   Doc: 11-2
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USCA4 Case
      Appeal: 23-2097   Doc: 11-2
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                                        1166-812/06/2023     Pg: 21
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USCA4 Case
      Appeal: 23-2097   Doc: 11-2
           3:17-cv-00461-REP   DocumentFiled:
                                        1166-812/06/2023     Pg: 22
                                                 Filed 04/21/23     of 493
                                                                  Page  6 of 7 PageID# 48125




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USCA4 Case
      Appeal: 23-2097   Doc: 11-2
           3:17-cv-00461-REP   DocumentFiled:
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USCA4 Case
      Appeal: 23-2097   Doc: 11-2
           3:17-cv-00461-REP   DocumentFiled:
                                        1166-912/06/2023     Pg: 24
                                                 Filed 04/21/23     of 493
                                                                  Page  1 of 8 PageID# 48127




                                      Exhibit 9




                                                                                    JA480
USCA4 Case
      Appeal: 23-2097   Doc: 11-2
           3:17-cv-00461-REP   DocumentFiled:
                                        1166-912/06/2023     Pg: 25
                                                 Filed 04/21/23     of 493
                                                                  Page  2 of 8 PageID# 48128
     From:                                            Rob Rosette </O=EXCHANGELABS/OU=EXCHANGE ADMINISTRATIVE GROUP
                                                      (FYDIBOHF23SPDLT)/CN=RECIPIENTS/CN=4EA335FB493D4964B92B0395C04F0C63-ROB
                                                      ROSETTE>
     To:                                              Nicole St. Germain
     CC:                                              'flint@wh etstoneedge. biz'
     Sent:                                            8/24/2011 5:29:25 AM
     Subject:                                         Fw: Next Steps



 I                                                                                                          Redacted                                                                                                                                           I
 i,•-•-•-•-•-•-•-•-•-•-•-•-•-•-•-•-•-•-•-•-•-•-•-•-•-•-•-•-•-•-•-•-•-•-•-•-•-•-•-•-•-•-•-•-•-•-•-•-•-•-•-•-•-•-•-•-•-•-•-•-•-•-•-•-•-•-•-•-•-•-•-•-•-•-•-•-•-•-•-•-•-•-•-•-•-•-•-•-•-•-•-•-•-•-•-•-•-•-•-•-•-•-•-•-•-•-•-•-•-•-•-•-•-•-•-•-•-•-•-•-•-•-•-•-•-• I



 From: Flint Richardson [mailto:flintri,wsedge.biz]
 Sent: Tuesday. August 23. 2011 10:28 PM
 To: mattnvi,bellicosevi.com <mattmri,bellicosevi.com>: Scott Merritt <smerrittri,answersetc.com>: Karrie Wichtman
 Cc: Rob Rosette
 Subject: Re: Next Steps


 Matt - a lot of content in your emails. We will pull together responses for you and respond tomorrow thoroughly.
 I have copied Karrie Wichtman who is General Counsel for LVD.

 Sent via BlackBerry by AT&T


 From: "mattm@bellicosevi.com" <mattm@bellicosevi.com>
 Date: Wed, 24 Aug 2011 05:08:43 +0000
 To: Flint Richardson<flint@wsedge.biz>; 'Scott Merritt'<smerritt@answersetc.com>
 Cc: Rob Rosette<rosette@rosettelaw.com>
 Subject: RE: Next Steps

 What I meant by the first comment ,vas that the Costa Rican lender/entity is selling assets to the Tribe, so vendors may
 require notification (LMS, leads, undernriting, debt buyers, call center, ACH provider, bank)? All vendors and their
 contracts should be pointing to the Tribe, except ,vhere needed (Flint mentioned the bank account belo,v, ,vill that be
 Bellicose or Iron Fence "ith the Revolver on the Wells account?)

 I forgot to ask for a list of "logistical tasks" that ,vill be required come Oct l (i.e. point DNS over to Tribal Server, move
 emails to Tribal server, and phone or fax #son ACH agreement/consumer bank statements that go to Tribe rather than call
 center, fax, marketing ,vebsite hosting moved, etc)

 Also along the lines of the contracts, ,vhat makes us comfortable ,vith recourse in the event that the Tribe ,vere getting into
 undernriting or leads strategies, call customers of one Tribal portfolio to steal them for a different one, etc and these things
 resulting in a diminished return to Bellicose in exchange for its services? I understand the undernriting and other
 strategies to be Bellicose's methods and ideas, but the Tribe's decision on ho,v to operate and undernrite. Bellicose
 provides for the Tribe, but only for the Tribe as related to Bellicose's servicing agreement.

 Finally, \\hen Bellicose suggests ne,v ideas and changes to the operations, ho,v does implementation ,vork? As the Tribe is
 making the decision on ho,v to operate, after taking Bellicose advice?

 Regards,

 Matt Martorello
 Mobile: 773-209-7720




 From: Flint Richardson [mailto:flintri,wsedge.biz]
                                                                                                                                                                                                                               JA481
CONFIDENTIAL                                                                                                                                                                                                                       ROS002-0000693
USCA4 Case
      Appeal: 23-2097   Doc: 11-2
           3:17-cv-00461-REP   DocumentFiled:
                                        1166-912/06/2023     Pg: 26
                                                 Filed 04/21/23     of 493
                                                                  Page  3 of 8 PageID# 48129
 Sent: Tuesday. August 23. 2011 7:5-1- PM
 To: mattnYi, bellicose,i.com: 'Scott Merritt'
 Cc: Rob Rosette
 Subject: RE: Next Steps


 Some of the items to discuss were surrounding control:

 All vendor docs will be assigned from Costa Rica entity to tribe - not sure what this means?

 Tribe will need to get ready with bank account at wells and intercept ACH - tribe has relationship with wells.
 Servicer will need to be signer on account.

 Option agreements to buy back pool, website etc at the end or if something should happen, etc - yes, option
 agreement, or can strncture it so that debt is repaid with the assignment of the assets.

 Reporting to tribe, detail of calc of 2% of net rev - we think the calculations should be something as follows:
 Gross Fees+ ACH Recoveries -Returned Checks -ACH Returns= Total multiplied by 2%.

 current debt obligation is being transferred over as well so a doc there too. - purchase of AIR with corresponding
 debt?




 Flint Richardson I CPA I Chandler I AZI 85225 I
 office 480.889.4888 I fax 480.889.8997 I flint@wsedge.biz I



                       WHfTSlONf


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 From: mattmri,bellicose,i.com [mailto:mattmri,bellicose,i.com]
 Sent: Tuesday. August 23. 2011 -1-:38 PM
 To: Scott Merritt
 Cc: flintri,wsedge.biz: Rob Rosette
 Subject: Re: Next Steps


 I think I have a travel day, but we will see. I will try you between trips.

 Some of the items to discuss were surrounding control, all vendor docs will be assigned from Costa Rica entity to
 tribe, tribe will need to get ready with bank account at wells and intercept ACH, option agreements to buy back
 pool, website etc at the end or if something should happen, etc. Reporting to tribe, detail of calc of 2% of net rev,
 current debt obligation is being transferred over as well so a doc there too.
                                                                                                                                       JA482
CONFIDENTIAL                                                                                                                              ROS002-0000694
USCA4 Case
      Appeal: 23-2097   Doc: 11-2
           3:17-cv-00461-REP   DocumentFiled:
                                        1166-912/06/2023     Pg: 27
                                                 Filed 04/21/23     of 493
                                                                  Page  4 of 8 PageID# 48130

 On Aug 23, 2011, at 6:34 PM, "Scott Merritt" <smerritt@answersetc.com> wrote:

 I \\as just about to say the same thing.

 Matt- \\e didn't touch base today. Hm,'s your day looking tomorrm,? I have morning calls. but afternoon is \\ide open.
 Let me Imo\\.

 Thanks.
 Scott Merritt I Managing Partner I Vancouver I WAI 98682 I
 office 800-275-1418 xl36I fax 817.595.8819 I==-"--"-======
 <image0O l .jpg>


 From: Flint Richardson [mailto:flintri,wsedge.biz]
 Sent: Tuesday. August 23. 2011 -1-:33 PM
 To: matt1nrdbellicose,i.com
 Cc: Rob Rosette: Scott Merritt
 Subject: Re: Next Steps


 You can name it!!

 Sent via BlackBeny by AT&T


 From: "mattm@bellicosevi.com" <mattm@bellicosevi.com>
 Date: Tue, 23 Aug 2011 23 :21 :27 +0000
 To: Flint Richardson<flint@wsedge.biz>
 Cc: Rob Rosette<rosette@rosettelaw.com>; smerritt@answersetc.com<smerritt@answersetc. com>
 Subject: Re: Next Steps

 Is there an entity name for the tribal LLC? Obviously an LLC that will only be tied solely to us, with a unique
 name that doesn't expose our relations if another lender tribe entity had problems.

 Thanks




 On Aug 22, 2011, at 9:36 AM, "Flint Richardson" <flint@wsedge.biz> wrote:

 Sounds good Matt. We look fomard to it. In the meantime not sure if you and Scott have talked through technology or the
 operating account structure but \\e should ,rnrk on that as \\ell soon.

 Flint


 Flint Richardson I CPA I Chandler I AZI 85225 I
 office 480.889.4888 I fax 480.889.8997 I flint@wsedge.biz I

 <image002.j pg>
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CONFIDENTIAL                                                                                                                              ROS002-0000695
USCA4 Case
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           3:17-cv-00461-REP   DocumentFiled:
                                        1166-912/06/2023     Pg: 28
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                                                                  Page  5 of 8 PageID# 48131
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 From: Matt Ma1iorello [mailto:mattmri,bellicosevi.com]
 Sent: Monday. August 22. 2011 7:21 AM
 To: Flint Richardson: Rob Rosette: smerrittrdans,yersetc.com
 Subject: RE: Next Steps

 I agree. I'd like to get the legal documents all completed and ready for signatures ASAP Then on that week in Sept we can execute the
 agreements with an Oct l launch date.


 From: Flint Richardson [flintri,wsedge.biz]
 Sent: Monday. August 22. 2011 8:50 AM
 To: Matt Ma1iorello: Rob Rosette: smerrittri,answersetc.com
 Cc: mmaiiorellori,apriorisolutions.com
 Subject: RE: Next Steps

 That \\Ould be possible Matt Ho\\ever. I believe that \\e should have agreements finalized and have the meeting coincide
 \\ith the execution of documents. Since you have outside legal counsel in Dela\\are and Michigan I believe that \\e should
 \\Ork \\ith them in order to get a full set of documents that \\ill be acceptable hammered out as soon as possible. To the
 extent that your counsel desires to revie\\ the lending ordinance. regulatory fraine\\ork and tribal limited liability ordinance
 \\e can \\Ork \\ith them so that they are comfortable that all of structural components of the deal are in fact in place \\ith
 appropriate resolutions.

 Let me kno\\ \\hat you think about this approach.

 Flint



 Flint Richardson I CPA I Chandler I AZI 85225 I
 office 480.889.4888 I fax 480.889.8997 I flint@wsedge.biz I

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 From: Matt Martorello [mailto:mattmri,bellicosevi.com]
 Sent: Monday, August 22, 2011 6:-1.6 AM
 To: Matt Ma1iorello: Rob Rosette: 'flintri,wsedge.biz': 'smerrittri,answersetc.com'
 Cc: 'nuna1iorello!i(apriorisolutions.com'
 Subject: RE: Next Steps

 Can we schedule a day on the week of 9/12 - 9/16 to meet the Tribe in the UP?

 From: Matt Ma1iorello

                                                                                                                                       JA484
CONFIDENTIAL                                                                                                                              ROS002-0000696
USCA4 Case
      Appeal: 23-2097   Doc: 11-2
           3:17-cv-00461-REP   DocumentFiled:
                                        1166-912/06/2023     Pg: 29
                                                 Filed 04/21/23     of 493
                                                                  Page  6 of 8 PageID# 48132
 Sent: Saturday. August 20. 2011 8:-1-0 AM
 To: Rob Rosette: 'flintri/wsedge.biz': 'smerrittriianswersetc.com'
 Cc: 'nunartorello:ii,apriorisolutions.com'
 Subject: RE: Next Steps

 OK. maybe" e can coordinate a UP trip to all get together when" e do a site meet and greet with the Tribe. Preferably before the very
 rough winters up there begin.

 Thanks and enjoy the weekend.




 From: Rob Rosette [rosette 1drosettelm,.com]
 Sent: Saturdm. August 20. 2011 8:21 AM
 To: Matt Maitorello: 'flint 1iiwsedge.biz': 'smerrittriianrnersetc.com'
 Cc: '111111aitorello 1dapriorisolutions.com'
 Subject: Re: Next Steps

 Hi Matt. I'm in the U.P. We are quite far m,m from each othec but othe1wise I ,,ould have loved to meet vou!

 From: Matt Maitorello [mailto:mattnvdbellicose,i.com]
 Sent: Saturdm. August 20. 2011 06:17 AM
 To: flintriiwsedge.biz <flintriiwsedge.biz>: Scott Merritt <smerriWdanrnersetc.com>
 Cc: mmaitorello 1dapriorisolutions.com <mmaitorello 1dapriorisolutions.com>: Rob Rosette
 Subject: RE: Next Steps

 Rob') I'll be sta,ing at the Campus Inn in Ann Arbor tonight and to the race in Brookh n tomorro,,. Are mu am" here nearb,')




 From: Flint Richardson [flint 1d"sedge.biz]
 Sent: Sahirdm. August 20. 2011 7:-1-8 AM
 To: Matt Maitorello: Scott Merritt
 Cc: mmaitorello 1dapriorisolutions.com: Rob Rosette
 Subject: Re: Next Steps

 Rob is in Michigan as well - perhaps you gents could meet if you are in proximity 9

 Sent via BlackBeny by AT&T




 From: Matt Martorello <mattm@bellicosevi.com>
 Date: Sat, 20 Aug 2011 11:47:08 +0000
 To: Scott Merritt<smerritt@answersetc.com>
 Cc: mmartorello@apriori solutions. com <mmartorell o@apri ori solutions. com>;
 flint@wsed ge. biz<flint@wsed ge. biz>; rosette@rosettelaw.com <rosette@rosettelaw.com>
 Subject: Re: Next Steps

 Sounds great. I'll be up in Michigan this weekend for the NASCAR race and back on island Wed night. I do have
                                                                                                                        JA485
CONFIDENTIAL                                                                                                              ROS002-0000697
USCA4 Case
         Appeal:  23-2097
               3:17-cv-00461-REP Doc: 11-2
                                        DocumentFiled:
                                                     1166-912/06/2023       Pg: 30
                                                               Filed 04/21/23       of 493
                                                                                 Page   7 of 8 PageID# 48133
 additional questions to clarify some other details when I started reading docs again a few days ago. Maybe we
 can keep moving forward with docs to complete things ASAP and have a call Thursday morning to go over
 status and additional questions')



 On Aug 20, 2011, at 12:35 AM, "Scott Merritt" <smerritt@answersetc.com> wrote:



 Good to hear from ,ou: glad to hear ,ou're making head,,m on rnur tax situation. We can appreciate how critical that component is to
 ,our model.

 The good ne,,s is the tribe is read,. and" e'd be glad to arrange a ,isit at ,our com enience. The, are read, to go Ii\ e todm.

 We can drill do,,n to a much more granular le,el regarding the origination from the tribe on our next call - "e\ e onh prO\ ided a
 high-le,el outline in our documentation. so \Ye can ce1iainh· clarify the process.

 Additionalh. "e can discuss the banking and assignment issues" hen" e talk.

 I belie,e Flint mm be trm eling Mondm /Tuesda,. but should be able to accommodate most dm s/times. Let us kl.10,, "hat" 011:s best
 for,ou.

 Haw a good weekend - I'm sure that's fairh· eas, to do. considering Your location. Flint and I might hm e to trm el down Your way for
 official business at some point!

 Best.

 -Scott




 From: Matt Maiiorello <nnnaiiorellordapriorisolutions.com>
 To: Flint Richardson <flintriiwsedge.biz>
 Cc: Scott Merritt: Rob Rosette <rosette1drosettelm,.com>
 Sent: Fri Aug 19 20:01:0-1- 2011
 Subject: Re: Next Steps
 Hey Flint, how's it coming along') I plan to get my tax opinion letter back on Tuesday, and I told them I wanted
 to have all of this completed within 2 weeks.

 -Is the tribe ready to go live')
 -I wanted to talk about the detail of origination occurring at the tribe
 -I'd love to make a visit to their facility in the near future as well.
 -wanted to discuss operating bank account activity
 -do you have assignment contracts
 -it sounds like we may transfer this over and then launch a new one, and nm returning only on the current one
 after #2 gets going

 Anyway, maybe we can discuss next week. I plan to take a crack at merging these myself too and then we can
 compare notes.

 Let's get this thing going. Looking forward to it, have a great weekend guys.


                                                                                                                            JA486
CONFIDENTIAL                                                                                                                   ROS002-0000698
USCA4 Case
       Appeal: 23-2097  Doc: 11-2
           3:17-cv-00461-REP   DocumentFiled:
                                        1166-912/06/2023     Pg: 31
                                                 Filed 04/21/23     of 493
                                                                  Page  8 of 8 PageID# 48134
 Thanks,
 Matt



 On Aug 9, 2011, at 5:59 PM, "Flint Richardson" <flint@wsedge.biz> wrote:

 Hey Matt-

 Just wanted to circle back with you to ensure that you had received the servicing agreement that I had sent to you
 yesterday. Also - I wanted to see if it made sense to schedule another call to discuss the service agreement or
 work with someone with your company to merge this with the RAPE agreement') I would recommend that
 having your counsel (whichever attorney you want to use in-house or external) may help us expedite this
 process.

 Let us know what we can do to help.

 Flint


 Flint Richardson I CPA I Chandler I AZI 85225 I
 office 480.889.4888 I fax 480.889.8997 I flint@wsedge.biz I

 <image003.jpg>
 *********************************************************************************************************************~
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 AVG for MS Exchange Server (9.0.901 -271.1.1/3845)
 <image002.jpg>
 <image003 .j pg>
 <AVG certification.txt>




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CONFIDENTIAL                                                                                                                               ROS002-0000699
USCA4Case
     Appeal: 23-2097    Doc: 11-2
          3:17-cv-00461-REP   Document Filed:
                                       1166-1012/06/2023     Pg: 32
                                                  Filed 04/21/23    of 493
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                                    Exhibit 10




                                                                                   JA488
USCA4Case
     Appeal: 23-2097    Doc: 11-2
          3:17-cv-00461-REP   Document Filed:
                                       1166-1012/06/2023     Pg: 33
                                                  Filed 04/21/23    of 493
                                                                  Page  2 of 4 PageID# 48136
     From:                        Flint Richardson <flint@wsedge.biz>
     To:                          mmartorello@apriorisolutions.com; weddlej@gtlaw.com; smerritt@answersetc.com; Rob
                                  Rosette; Karrie Wichtman; Van Hoffman; will.londo@lvdtribal.com; Nicole St. Germain;
                                  craig. mansfield@lvdcasino.com; shelly. allen@lvdtribal.com
     Sent:                        10/8/2011 10:19:01 PM
     Subject:                     Bellicose VI Relationship
     Attachments:                 Belicose Items to Complete 10 08 2011.docx




     Good Afternoon Everyone:

    I wanted to provide a status update with respect to the pending transaction with Bellicose VI (Matt
    Martorello). As everyone is aware LVD has already established Red Rock Tribal Lending LLC and Will has
    secured already secured the EIN for this entity. Based on our discussions with Matt he has informed us that
    he has engaged Jennifer Weddle with Greenburg Traurig to represent him from a legal standpoint on the
    transaction. This is great news as Jennifer and her firm are very familiar with LVD and the Tribe's laws and
    structure. This significantly minimizes the start -up time that another attorney would take to get up to speed.

    Matt has also informed us that he has received funding for another Servicing arrangement that will launch at
    the same time as Red Rock Tribal Lending. The additional entity will be called Castle Tribal Finance LLC.

    My understanding is that Matt will be forwarding a draft of his agreements to Jennifer in the coming week
    and that we are planning on executing agreements at LVD on Tuesday, October 25, 2011 with a launch date
    of on or around November 1, 2011. In anticipation of such as tight time-frame I have put together a
    preliminary task list with some tentative assignments for each of the tasks. Matt will be responsible for the
    tactical items on behalf of his company. Also, on page two of the accompanying document is a contact
    listing for all of the parties that will likely be working on accomplishing this transaction. Should anyone
    have any additional items that need to be added please feel free to include those and re-circulate to
    this working group.

     Please don't hesitate to contact me should you wish to discuss any of the items.




     Flint Richardson I CPA I Chandler I AZI 85225 I
     office 480.889.4888 I fax 480.889.8997 I flint@wsedge.biz I




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                                                                                                                                  JA489
CONFIDENTIAL                                                                                                                        ROS002-0000064
USCA4Case
     Appeal: 23-2097    Doc: 11-2
          3:17-cv-00461-REP   Document Filed:
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                                                                  Page  3 of 4 PageID# 48137



            Bellicose VI
            Items to Complete
                                      Task                                   Responsibility
               1. Tribal Council resolution establishing Castle   Karrie Wichtman
                  Tribal Finance, LLC as a division of the
                  LVD SLS
               2. New EIN for Castle Tribal Finance LLC           Will Londo

               3. New bank accounts - for Red Rock Tribal         Matt Moratello
                  Lending LLC and Castle Tribal Finance,          Will Londo
                  LLC:                                            Van Hoffman
                       a. Operating Account
                       b. Lobby/Litigation Account

               4. Signature cards                                 Matt Moratello
                                                                  Will Londo
               5. Creation/identification of vendor entities      Matt Moratello
                  that will be party to agreements with SLS       Jennifer Waddel

               6. License applications for new vendor entities    Matt Moratello
                                                                  Jennifer Waddel
                                                                  Karrie Wichtman
               7. Servicing Agreements authorizing                Jennifer Waddel
                  resolution                                      Karrie Wichtman

               8. Promissory Note & authorizing resolution        Jennifer Waddel
                                                                  Karrie Wichtman
               9. Security Agreement & authorizing                Jennifer Waddel
                  resolution                                      Karrie Wichtman

               10.Account Control Agreement & authorizing         Jennifer Waddel
                  resolution                                      Karrie Wichtman

               11.ACH Application/ Merchant Agreement &           Matt Moratello
                  authorizing resolution                          Scott Merritt
                                                                  Karrie Wichtman
               12. New Consumer Loan Agreement                    Jennifer Waddel
                                                                  Scott Shehan (GT)
               13.
               14.
               15.
               16.
               17.




                                                                                              JA490
CONFIDENTIAL                                                                                   ROS002-0000065
USCA4Case
     Appeal: 23-2097    Doc: 11-2
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                                       1166-1012/06/2023     Pg: 35
                                                  Filed 04/21/23    of 493
                                                                  Page  4 of 4 PageID# 48138



            Bellicose VI
            Items to Complete
            Workina Partv List
            Matt Martorello           Scott Merritt              Flint Richardson
            mattm@bellicosevi.com     smerritt@answersetc.com    flint@wsedge.biz
            773-209-7720              503-939-9126               480-889-4888
            Principal                 Answers / technical        TLM / accounting

            Jennifer Weddel           Karrie Wichtman            Will Londo
            weddlej@gtlaw.com         kwichtman@rosettelaw.com   Will. londo@lvdtribal.com
            303-572-6565              480-242-6959               906-358-4577 ext 153
            Bellicose legal counsel   LVD General Counsel        Tribal Controller

            Nicole St. Germain        Rob Rosette                Van Hoffman
            nstgermain@rosettelaw.com rosette@rosettelaw.com     vhoffman@gmail.com
            480-241-5871              480-242-9810               602-680-8437
            TLM Legal Counsel         TLM / structure            Tribal CFO




                                                                                         JA491
CONFIDENTIAL                                                                                 ROS002-0000066
USCA4Case
     Appeal: 23-2097    Doc: 11-2
          3:17-cv-00461-REP   Document Filed:
                                       1166-1112/06/2023     Pg: 36
                                                  Filed 04/21/23    of 493
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                                    Exhibit 11




                                                                                   JA492
USCA4Case
     Appeal: 23-2097    Doc: 11-2
          3:17-cv-00461-REP   Document Filed:
                                       1166-1112/06/2023     Pg: 37
                                                  Filed 04/21/23    of 493
                                                                  Page  2 of 3 PageID# 48140


          From:               mattm@bellicosevi.com
          To:                 Karrie Wichtman
          Subject:            RE: TLM
          Date:               Friday, July 13, 2012 8:08:36 AM




          Great! We'll figure a way I'm sure. Thanks Karrie

          Regards,

          Matt Martorello
          Mobile: 773-209-7720
          Email: MattM@BellicoseVI.com


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          -----Original Message-----
          From: Karrie Wichtman [mailto:kwichtman@rosettelaw.com]
          Sent: Friday, July 13, 2012 8:26 AM
          To: mattm@bellicosevi.com
          Subject: Re: TLM

          Matt,

          I agree that a 3x multiplier is way too large. I think Rob will be more reasonable. I'll have some suggested
          amendments to remove the TLM component from the Servicing Agreement as a profit sharer by Monday.

          Karrie

          Sent from my iPhone

          On Jul 13, 2012, at 4:01 AM, "mattm@bellicosevi.com" <mattm@bellicosevi.com> wrote:

          > Sounds like they want a huge multiple for a buy out. 3x annual (1.3mm) to me is insane when the CFPB could
          wipe Think and PGL off the planet in the next 2 months. While that risk is out there, I'd say it is not worth it. Now
          if that risk settles, then I'd still try to negotiate to 1 times and then would need to triple the size after, in order to
          make up for it.
          >
          > Now i said to Scott "how much for me to buy it", sort of as a matter of curiosity. FYI... Maybe it's different for
          the tribe to buy it.
          >
          > I also mentioned that TLM shouldn't be profit sharing like an owner. That really is an issue to me and I think it
          puts my capital lent at risk. I said that if TNP becomes 1%, and their is a 1% broker fee as a servicing expense, that
          is a potential solution. He said he agrees it's a problem, but that after talking to Flint that the 1% TNP might be a
          problem too (though the net $ effect is no change to anyone so I don't understand). No other suggestion was made,
          but I'm all ears and I think it is very important we remove TLM as a "profit sharing 50% of retained earnings
          broker", because it sounds like "50% owner". This negates the entire tribal owned component that makes me as
          financer/Servicer feel like we are safe.
          >
          > Now also realize I do control the market on what 3x is. I am the only party with an "out" if I wanted to exit
          because I don't like the TLM component's added risk. I can call the debt due and end the venture. That would make


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USCA4Case
     Appeal: 23-2097    Doc: 11-2
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                                                  Filed 04/21/23    of 493
                                                                  Page  3 of 3 PageID# 48141


          3x a very very small number for the tribe to buy out.
          >
          > However, I don't want to do that and I don't want to assert myself to TLM in that manner either. But the fact is, as
          the financer, if the way the TLM component is structured isn't up to par and creates major risk to the borrowed
          capital, then it needs to change or: nobody wins, I put my capital in major jeopardy, and the tribe puts the operation
          in jeopardy.
          >
          > I will keep talking on the TLM not getting "Tribal Net Profits" point and try to get that resolved first and foremost.
          Maybe Karrie you might need to call Flint and can just say that Matt is very concerned about TLM sharing the
          "profits" and so are you and see if tribe and TLM can come up with any alternative.
          >
          > As for the buyout, we can save that for 2nd item. At some point I think I am going to have to say to TLM that
          they need come to a fair price for the tribe to buy them out or else the structure just doesn't work for me anymore.
          I'm not sure we want to do that, but we can discuss this side of TLM next week.
          >
          > However, I'd love to get the 1st issue of "profits" resolved ASAP, before digging into the TLM fee issue.
          >
          >
          >




        CONFIDENTIAL
                                                                                                                          JA494
USCA4Case
     Appeal: 23-2097    Doc: 11-2
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                                    Exhibit 12




                                                                                   JA495
USCA4Case
     Appeal: 23-2097    Doc: 11-2
          3:17-cv-00461-REP   Document Filed:
                                       1166-1212/06/2023     Pg: 40
                                                  Filed 04/21/23    of 493
                                                                  Page  2 of 9 PageID# 48143


          From:                     mattm@bellicosevi.com
          To:                       Karrie Wichtman
          Subject:                  RE: CFPB and Tribes
          Date:                     Tuesday, June 19, 2012 9:11:50 AM
          Attachments:              image001.jpg
                                    image002.png


          That's really great news. I'd love to switch the portfolios over to self-financed entities when they are
          ready! Right around the end of the Alpha line of credit in 36 months should be perfect timing.

          I wish I could come up with an answer quickly on the NAFCC/NALA stuff, but I have to think about it.
          I'm not that familiar with it and its goals vs. OLA or the costs. I think the costs were extremely high
          vs. OLA for NALA. I have to review their website at some point here and see what they are about.

          The one thing I don't want is the TLM relationship to be a sour point for the Tribe's attitude about
          the SPVI relationship ("if it were a different Servicer, we wouldn't have to pay TLM any more"). Just
          let me know how I can help!


          Regards,

          Matt Martorello
          Mobile: 773-209-7720
          Email: MattM@BellicoseVI.com



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          From: Karrie Wichtman [mailto:kwichtman@rosettelaw.com]
          Sent: Monday, June 18, 2012 2:14 PM
          To: mattm@bellicosevi.com
          Subject: RE: CFPB and Tribes

          Matt,

          No apologies necessary. I appreciate your comprehensive responses and the fact that you took the
          time to do so. I will discuss your concerns re: anonymity and the NAFCC/NALA involvement with
          Shelly and Craig. We do plan to attend the Denver event of the two organizations this week,
          however, rest assured that proprietary information will not be shared regarding the LVD tribal
          entities or SPVI. I also cannot see any competitor weakening the SPVI and LVD relationship, they are
          quite happy with the services provided by SPVI and are looking forward to a long business
          relationship. I am not sure that the Tribe, itself, has the means to support the involvement with
          NAFCC/NALA, thus the request to access lobby/litigation reserve funds to allow for their continued
          involvement. Given, SPVI’s stance on participation, is this even an option?



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USCA4Case
     Appeal: 23-2097    Doc: 11-2
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                                       1166-1212/06/2023     Pg: 41
                                                  Filed 04/21/23    of 493
                                                                  Page  3 of 9 PageID# 48144




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                                                                       ROSETTE_REVISED 044599
USCA4Case
     Appeal: 23-2097    Doc: 11-2
          3:17-cv-00461-REP   Document Filed:
                                       1166-1212/06/2023     Pg: 42
                                                  Filed 04/21/23    of 493
                                                                  Page  4 of 9 PageID# 48145


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          From: mattm@bellicosevi.com [mailto:mattm@bellicosevi.com]
          Sent: Monday, June 18, 2012 10:53 AM
          To: Karrie Wichtman
          Subject: RE: CFPB and Tribes

          Thanks Karrie, sorry for the delay… my thoughts are below (sorry so lengthy)

          Regards,

          Matt Martorello
          Mobile: 773-209-7720
          Email: MattM@BellicoseVI.com



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          From: Karrie Wichtman [mailto:kwichtman@rosettelaw.com]
          Sent: Friday, June 15, 2012 5:54 PM
          To: mattm@bellicosevi.com
          Subject: RE: CFPB and Tribes

          Matt,

          As far as I know we have not received anything. I will inquire with the Chairman, his Executive
          Secretary, Shelly and Craig to see if something was received. Jennifer gave me the heads up about
          these letters about a month ago and I did inform the Tribe that we might be getting one. As far as
          the NAFCC/NALA, I understand your concern about calling unnecessary attention to ourselves,
          however, the advocacy work that is being done by the NAFCC and being in the know through our
          participation gives us an advantage of not being surprised when issues arise such as the recent
          legislation proposed by Senator Merkley. Are you saying that you would rather Shelly and I not go
          out to Denver next week to attend the merger meeting scheduled between the NAFCC/NALA? I
          guess I am more afraid about not being involved and allowing someone else to dictate to us what


        CONFIDENTIAL                                                                                                            ROSETTE_REVISED 044600
                                                                                                                                                       JA498
USCA4Case
     Appeal: 23-2097    Doc: 11-2
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          best practices are or will be, as well as ensure that the folks making the decisions are the Tribal
          entities and not someone else.[Matt Martorello] This sounds like a deeper more fundamental
          interest for tribes to ensure the right groundwork is being laid for a budding new industry. We at
          SPVI seem to favor letting the other players bear the brunt and defend aggressively (which thankfully
          guys like Tucker have done a great job at standing strong) giving us the free look at how to avoid
          expensive legal trouble. We have the same perspective for our offshore lenders and even our state
          licensed lender. In fact, at OLA we very rarely go and have found reporters crashing events there to
          try to get intel. We much prefer to operate through trusted 3rd parties for these events and stay off
          the radar. We are also concerned that the Tribe will be working closely with other large competing
          Servicer's to SPVI now, which could lead to a competitive disadvantage for SPVI if the Tribe decides
          that it does not want the exclusive anymore, or if a competitor to SPVI weakens the enthusiasm of
          LVD having the relationship with SPVI as it is. So as we finance the build of a stronger tribal lending
          business and we are betting on the long-term year 3 profitability, we don't want to lose out on the
          returns associated with such intellectual and financial investment.

          As far as the ability of the CFPB being able to investigate Tribes, it is my understanding that the
          CFPB’s authority is regulatory in nature and derived from the Dodd-Frank bill in which Tribes are
          treated as States over which the CFPB has no regulatory control. I am not certain, however, about
          the FTC’s reach. [Matt Martorello] This is wonderful, sounds like the FTC is the only potential issue
          here. I know Tucker is challenging the authority of the FTC right now for the first time ever by a
          Tribe. So we'll learn soon on how that pans out. SPVI is working on a new loan product/consumer
          loan agreement and working with the software system to make it work. This will address each
          concern the FTC had with Tucker so that they can never have such concerns with SPVI clients. We
          are planning to have that wrapped up in the next 3 or 4 weeks.

          We have a fight coming and I understand you wanting to lay low, but we can’t escape it forever. I
          am not saying I want to waive a banner and say “look at us” but our model is one of the best there is,
          we have made every effort to ensure tribal control, and are tweaking things almost constantly, it
          seems, to allow for more tribal control. While some may attack the role of the Servicer, your role is
          integral to our success – you have the know-how and the funding sources to ensure that the
          business is fruitful for the Tribe. You asked me a little while ago, if there is anything that I would
          change about our current model or if I were a regulator how I would attack it. Personally, I see only
          a few issues – on the regulatory side, the Tribal Regulatory Authority that is, it needs to have a
          designated employee, even if only part time, to ensure that licensing is done correctly and tracked
          and that audits of lending practices are performed. We are certainly in compliance with the law at
          present, but internally the Tribe’s need to embrace this as a new position intended to strengthen the
          model and protect the Tribe and consumers.[Matt Martorello] I don't foresee any more licenses
          being required in the near term. I guess it depends on what the TRA decides it wants to do on this
          compliance stuff. Annual review? If so, I'd imagine just requiring somebody's attention for 2 - 3
          weeks a year to get through that process. The second piece is the profit to the Servicer, we have to
          be prepared to show that the percentage of net profit that the Servicer is receiving is defensible
          compared to what the Tribe is receiving. In the casino management context there is a certain
          percentage cap per regulations at 30%, or maybe 40% I believe, that a manager is legally allowed to
          receive in order to ensure that the benefit of the business is to the Tribe and not the Manager. That
          being said, the fact that in our current arrangement the Servicer pays all operating expenses and


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                                                                                                          JA499
                                                                                          ROSETTE_REVISED 044601
USCA4Case
     Appeal: 23-2097    Doc: 11-2
          3:17-cv-00461-REP   Document Filed:
                                       1166-1212/06/2023     Pg: 44
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                                                                  Page  6 of 9 PageID# 48147


          then throwing in the Lobby/Litigation account and potential expenses there, and the minimum
          guaranteed payment to the Tribe, certainly takes a bite out of any net profit realized by the Servicer,
          but what does that calculation truly look like in our situation? I think that is where we will be
          attacked and it is the weakest link in the model. [Matt Martorello] This was tested in Colorado with
          Tucker at 1% and the Supreme Court of Colorado upheld it with flying colors, and no justification was
          even necessary for them to do so. There was a specific comment you see in the decision about it
          that was very supportive. I'd imagine that casino fee discussion might come up in a lot of circles over
          the next year or so. The thing is, this industry is nothing like the casino industry. The casino industry
          has a calculated definable "edge" in which you make money and it's a cash business vs. having
          everything out on the street in loans that you may never get back (operational risk of massive losses
          which is common, ACH/Bank risk of closure, regulator risk of lawsuit and ending industry before you
          reach your period of profitability, etc.). In payday lending, more lenders fail and LOSE their entire
          investment than there are lenders that succeed. Even despite the bank/ach/regulatory risk! Folks
          jump into this business thinking the profits are so large, but they don't know what they are doing. It
          is so very sensitive to underwriting and marketing and operations, that one little tweak the wrong
          way and you are losing massive dollars before you even know you have a problem on your hands
          (this is because you lend money today, and you don't know how it did for another month or two…
          meanwhile, you've been putting out all of your funds under a model before you've realized the
          model is flawed and losing 50% of cash put in each month). Majority of lenders fail. Those that
          don't fail are facing diminishing profits, increased competition, restrictions in marketing efforts from
          Google, and now the legal bills are several times as costly as they used to be thanks to increased
          regulation. All the while, the "end" is always around each corner with the FTC and CFPB and the
          banks/ACH providers getting heavily influenced to stop serving lenders. In fact, if we don't have a
          Wells Fargo replacement done, Iron Fence would likely lose $4,000,000 come July 1. If we lost our
          ACH provider and had no replacement, Iron Fence would lose even more than that. The risk in this
          industry is massive and takes many forms. In a casino in know I'm only giving back 97% of every
          dollar played in Blackjack and I know I can't have all of my money frozen (like losing my bank/ACH), I
          can't have the FTC come in and file suit for likely more assets than I have, etc. etc. Also, I don't have
          options in the casino model where in Lending I can operate via offshore, state COL, state-by-state,
          etc.

          RRTL for example has paid TNP of about $80k I think, maybe $100k… Iron Fence has loaned RRTL
          over $5,000,000 and SPVI has lost over $2,000,000 to date on servicing RRTL by eating the expenses
          with no revenue. If the FTC shut RRTL down today, we would be in trouble. This will continue this
          way for about 18 months where RRTL will have SPVI on the losing end and TNP will have been over
          $400k. This is why SPVI gets compensated on the back-end (which unlike the casino business there
          may never be a back end) in years 3 and 4 when it will break-even. SPVI is guaranteeing TNP in an
          industry where majority of entrants fail and hoping to get to profitability in year 4.

          Another consideration is that unlike the Casino model, there are alternatives. Offshore lending
          means no FTC involvement and legal costs associated with that fight, no CFPB issues, and no
          recurring legal expenses with dealing with BBB inquiries and AG letters (today is arguably the best
          model to raise capital for). Choice of law state licensed lending is also still a viable alternative, as is
          state-by-state licensed lenders like the $1bn company cashnetusa.com does very well, and is a public
          company. But so long as these other options are out there the Servicing Fees will won't ever reach


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                                                                                                             JA500
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USCA4Case
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          anything close to the casino model.

          The biggest proponent I know of, but is a very private study, was done by a Servicer that I am close
          friends with. Their entity had Ernst & Young come in and do an economic study on what the right
          fee relative to industry risk was, and this was done 3 years ago. Today the cost of leads have
          increased about 70%, and the regulatory/legal risk has reached all new levels. E&Y came out
          deciding that the lender was entitled to a bond yield of equivalent risk, and the result was converted
          into a low single digits % of revenue. So this is how the Servicer built their contract and bills the
          Lending entity, and this study is required to provide to the IRS (the most diligent of all in terms of fair
          pricing) with confidence that the model in which the Servicer charges the lender is fair.

          Now all of that said, I get the feeling the Tribes may want more money. They may feel it's not that
          hard, that they could do it on their own, etc. That they are getting more involved now with
          CFPB/FTC attacks. However, the level of sophistication behind the scenes built into the IP that SPVI
          uses, which makes SPVI clients succeed while majority of lenders fail, is massive. Going at it alone is
          an exercise in how much money do you want to lose before you make it up the learning curve high
          enough to know how to do it right. That takes a lot of analytics to get there and the faster the
          better.

          Today, I am VERY interested in going to Tribes that can self-finance, and I would offer something
          equating to about 25% of the Net Profit in such a deal. I would do this with every Tribe I could get.
          The reason that number is not 51% is because I'm better off operating with other models/lenders, or
          lending myself as a choice of law or state licensed lender even if it is the Tribe's money, the time and
          effort it takes to manage portfolios is a limited skill set. I would say the minimum investment would
          be $3,000,000. I would love to do something like this with LVD on a 3rd portfolio that is capitalized
          by the Tribe itself. Obviously with RRTL/DCTF the risk is all Iron Fence, but this model allows the
          Tribe to fund it, the Tribe to take the financial risk, and the Tribe to enjoy higher benefits. They
          would earn more than any tribe out there, but they would be responsible for to fund their own
          venture. Maybe we should do a 3rd portfolio in something similar to this model if LVD has the funds.

          One comment pertaining to the interest of assessing market value… Servicers are not all apples to
          apples. You might think one Servicer's model is cheaper than another, but their practices will yield
          1/2 the revenue as ours, per dollar invested (Think Finance for example). Or they charge a flat $100
          fee per originated loan and they mark up their leads by 50% to minimize the profitability of the
          lender BEFORE they do a split that looks larger on the surface (also like Think Finance).

          Lastly, the TLM piece is problematic for a whole host of reasons, and while I do not have any doubt
          that for bringing the regulatory structure and the Servicers to the table there should be a fee paid to
          TLM and notwithstanding their recent timely and effective resolution to the Wells Fargo issue and
          leading us to USB, 50% of the Tribe’s profits has always been a bit excessive in my opinion.
           However, that is the agreement entered into by the Tribe, and incorporated into our agreement,
          and ultimately the Tribe has benefitted greatly from the introduction and the entry into the on-line
          lending industry. However, if there was a way to pay for the value received by TLM as a result of the
          introduction and structural documents provided and part amicably with TLM, I would hope that the
          Tribe would pursue it.[Matt Martorello] I understand this completely. Is there a duration to the


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                                                                                                             JA501
                                                                                             ROSETTE_REVISED 044603
USCA4Case
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USCA4Case
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USCA4Case
     Appeal: 23-2097    Doc: 11-2
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                                    Exhibit 13




                                                                                   JA504
USCA4Case
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                                  Tribal Loan Management, LLC
                                             565 W. Chandler Blvd .• Suite 212
                                                Chandler, Arizona 85225




         August 1. 2012


         Alan Shively, Chairman
         Lac Vieux Desert Band of Lake Superior Chippewa Indians
         P.O. Box249
         Watersmeet, Michigan 49969


         Re:      Tribal Lopp Management, LLC Side-Letter Agreement

         Dear Chainnan Shively:

                  This letter (the "Letter Agreement") is intended to memorialize the agreement between Tribal
         Loan Management, LLC, an Arizona limited liability company ("TLM") and the Lac Vieux Desert Band
         of Lake Superior Chippewa Indians (the "Tribe"), a federally recognized Indian tribe (each individually, a
         "Party" and collectively, the "Parties") with whom any agreement, contract, understanding, letter of
         intent, stipulation, or any other rule or bylaw of the Tribe or its subsidiaries of any kind whatsoever,
         whether oral or written, express or implied (as applicable, an "Agreement"), which was or which might
         have been attempted or consummated in fact between the TLM and the Tribe.

                  The Parties have agreed as follows:

                   1.      The TLM Invoice dated August 1, 2012 ('TLM Invoice") in the amount of $960,000,
          when fully paid in accordance with the terms thereof, shall fully satisfy any and all obligations, duties,
          requirements to act or refrain from acting, omissions, or any other performance of the Parties under,
          related to, or with any possible connection to, an Agreement. For the avoidance of doubt, it is
          understood that, subject to the execution of this Letter Agreement, pursuant to the terms specified in the
          Invoice attached as Exhibit A, any Agreement directly affecting the Tribe shall be deemed null and void
          including any revenue or profit sharing arrangements, agency relationships, duties to negotiate
          documents, requirements for access to or restrictions from certain locations, and, except as set forth
          herein, requirements to arbitrate certain disputes, non-disclosure, or confidentiality requirements, as wen
          as any other provision, requirement, duty to act or refrain from acting, that might arise from or be in any
          way related to, an Agreement.

                  The Parties shall preserve the confidentiality of all material information related to this Letter
          Agreement or any Agreement that may have been or will be disclosed (the "Confidential Information''),
          and shall not publish, disclose, or otherwise divulge such Confidential Infonnation without the prior
          written consent of the other Parties, except to officers, directors, agents, or employees on a confidential
          and need-to-know basis. In the case of any breach of this confidentiality provision, the breaching Party



                                                                                  @-Tribe~
                                                                                                                 JA505
CONFIDENTIAL                                                                                                        ROS002-0001919
USCA4Case
     Appeal: 23-2097    Doc: 11-2
          3:17-cv-00461-REP   Document Filed:
                                       1166-1312/06/2023     Pg: 50
                                                  Filed 04/21/23    of 493
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          August 1, 2012
          Page2 of3

          agrees to pay the other non-breaching Parties the sum of Two Hundred Thousand Dollars ($200,000.00)
          as liquidated and stipulated damages.

                   Confidential Information does not include information that: (a) was or is in the public domain
          prior to the date of disclosure; (b) was or is lawfully received by a Party from a third party without
          obligation of confidentiality; (c) was or is already known by or in the possession of a Party; or (d) is
          required to be disclosed under applicable law or by a governmental or court order, decree, regulation or
          rule, provided that written notice is provided to the other Party as far in advance as possible prior to
          disclosure. The Parties acknowledge that irreparable damage may incur if there is a breach of this
          section. Accordingly, if a Party or any of its respective agents or representatives breaches or threatens to
          breach any of the provisions of this section, then the affected Party will be entitled to all the rights and
          remedies available to it, including an equitable relief restraining any potential breach of the provisions of
          this section.

                   2.      The Parties, individually and on behalf of themselves, their assigns, and successors, and
          each of them, covenants not to sue and fully indemnifies, releases, discharges, and holds hannless each
          other and their parents, subsidiaries, affiliates, and successors-in-interest, whether as they may have
          existed in the past, may currently exist, or as they may be created in the future, as well as its and their
          owners, agents, attorneys, insurers, representatives, assigns, and successors, whether as they may have
          existed in the past, may currently exist, or as they may be created in the future (hereinafter collectively
          referred to as "Releasees") with respect to and from any and all claims, demands, rights, liens,
          agreements, contracts, covenants, actions, suits, causes of action, obligations, debts; costs, expenses,
          attorneys' fees, damages, judgments, orders and liabilities of whatever kind or nature in law, equity .or
          otherwise, whether now known or unknown, suspected or unsuspected, and whether or not concealed or
          hidden, which the Parties now own or hold or has at any time owned or held against said Releasees,
          arising out of or in any way connected with this Letter Agreement or any Agreement.


                   5.       Because the Tribe intends to provide Tribal lending services to consumer borrowers, the
          Tribe shall indemnify, defend, and hold harmless TLM, its shareholders, directors, officers, attorneys,
          employees and agents, and its and their successors and assigns from and against any and all claims,
          demands, losses, costs, expenses, obligations, liabilities, damages, recoveries and deficiencies, including
          interest, penalties, reasonable attorneys' fees and costs that TLM may incur or suffer which arise, result
          from, or relate to the Tribe's (a) a breach of any of its representations and covenants set forth in this
          Agreement or (b) a breach of this Agreement by the Tribe or (c) the Tribe's intended lending services to
          consumer borrowers or (d) the Tribe's or the Tribe's partner's or contracted vendor's business practices
          and/or advertising practices. The Tribe will pay any and all costs, damages and reasonable attorneys'
          fees and reasonable expert witness fees incurred by or awarded against TLM, its shareholders, directors,
          officers, attorneys, employees and agents, and all expenses incurred by TLM in connection with or arising
          from any such claim, suit, or proceeding.

                   6.      If any dispute arises under this Letter Agreement, the Parties agree to first try to resolve
          the dispute with the help of a mutually agreed upon mediator. Any costs and fees other than attorneys'
          fees associated with the mediation shall be shared equally by the Parties. If it proves impossible to arrive
          at a mutually satisfactory solution through mediation, the Parties agree to submit the dispute to binding
          arbitration in the following location: Marquette, Michigan. The Parties agree that the binding arbitration
          will be conducted by a single arbitrator under the rules of the American Arbitration Association.
          Judgment upon the award rendered by the arbitrator may be entered in the Lac Vieux Desert Tribal Court
          and in any Michigan State court. The Tribe consents to a waiver of its sovereign immunity for the limited
          purposes of resolving any dispute between the Parties arising under this Letter Agreement through


                                                                                    @,ibe ~TLM

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CONFIDENTIAL                                                                                                         ROS002-0001920
USCA4Case
     Appeal: 23-2097    Doc: 11-2
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          Page 3 of 3

          arbitration as set forth herein and for the entering of any judgment awarded by the arbitrator. The Tribe
          consents to the forum and venue(s) as set forth herein.

                  7.      Each Party hereto is an independent contractor and nothing contained herein shall be
          construed to create a partnership, joint venture or agency relationship between the Tribe and TLM, and
          neither Party shall be authorized to bind the other in any way. This Letter Agreement is between the
          Tribe and TLM, and is not for the benefit of any third party, whether directly or indirectly.

                 8.     The failure of any Party to exercise in any respect any right provided for herein will not
          be deemed a waiver of any further rights hereunder.

                  9.       If any provision of this Letter Agreement is held to be invalid or unenforceable for any
          reason, such provision shall be conformed to prevailing law rather than voided, if possible, in order to
          achieve the intent of the parties and, in any event, the remaining provisions of this Letter Agreement shall
          remain in full force and effect and shall be binding upon the Parties hereto.

                   l 0.    This Letter Agreement and the Attachment referred to in this Letter Agreement represent
          the complete and exclusive statement of the mutual understanding of the Parties and supersede and cancel
          all previous agreements, written and oral agreements, communications and other understandings
          specifically relating to the Tribe's consumer financial services businesses and the subject matter of this
          Letter Agreement. Except as otherwise provided herein, all modifications or amendments to this Letter
          Agreement must be in a writing signed by both Parties, except as otherwise provided herein.

                  11.      The Parties warrant and agree that, by completing and executing this Letter Agreement,
          legal rights, duties and obligations are created. By signing, each of the Parties independently
          acknowledges, warrants, and agrees that the Parties have been advised to seek and obtain independent
          legal counsel as to all matters contained in the Letter Agreement prior to signing same, that each Party has
          had adequate time and sufficient opportunity to review this Letter Agreement with its own legal counsel
          and that each Party has obtained such advice or has chosen to proceed without same. For the avoidance
          of doubt, the Tribe Tribe warrants and represents that it was encouraged to seek independent legal counsel
          review of this Letter Agreement and affirmatively decided to forgo such review.

                  12.      This Letter Agreement may be signed by TLM and the Tribe in counterparts, and
          facsimile signatures shall have the same force and effect as an original signature. The Tribe shall attach a
          copy of a Tribal Council Resolution (Exhibit B) approving both this Letter Agreement and the Invoice.

                 If this letter accurately reflects the tenns of the agreement between TLM and the Tribe please
          sign where indicated below.

                                                            Sincerely,

                                                         ~~
                                                          ~lcliardsott, Me1l'!Nr £1, /1,,.sRH~
                                                           Tribal Lending Management, LLC

         Lac Vieux Desert Band of Lake Superior Chippewa Indians


         By:~
         Alan Shively.Chai

                                                                                  ®Tribe               ~LM




                                                                                                                   JA507
CONFIDENTIAL                                                                                                         ROS002-0001921
USCA4Case
     Appeal: 23-2097    Doc: 11-2
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                                    Exhibit 14




                                                                                   JA508
USCA4Case
     Appeal: 23-2097    Doc: 11-2
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                                       1166-1412/06/2023     Pg: 53
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USCA4Case
      Appeal: 23-2097   Doc: 11-2
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                              Document 1166-15               Pg: 54
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                                    Exhibit 15




                                                                                   JA510
USCA4Case
      Appeal: 23-2097    Doc: 11-2
          3:17-cv-00461-REP             Filed: 12/06/2023
                              Document 1166-15                Pg: 55
                                                  Filed 04/21/23     of 493
                                                                  Page  2 of 40 PageID# 48158




                   AMENDED & RESTATED SERVICING AGREEMENT

                                        BETWEEN

                           RED ROCK TRIBAL LENDING, LLC

                                           AND

                                 SOURCEPOINT VI, LLC




                 JULY 31, 2012, with retroactive effect to OCTOBER 25, 2011




                                                                                   JA511
CONFIDENTIAL                                                                    MARTORELLO_003474
USCA4Case
      Appeal: 23-2097   Doc: 11-2
          3:17-cv-00461-REP            Filed: 12/06/2023
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         Schedule 1.0 - Tribal Laws

         Schedule 18.2.1 - List of Pre-Approved Arbitrators



                                                        i



                                                                                        JA512
CONFIDENTIAL                                                                        MARTORELLO_003475
USCA4Case
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                                                                                   JA513
CONFIDENTIAL                                                                    MARTORELLO_003476
USCA4Case
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                        AMENDED AND RESTATED SERVICING AGREEMENT

               THIS AMENDED AND RESTATED SERVICING AGREEMENT ("Agreement") is
       made and entered into as of this 31 st day of July 2012, and hereby amends and restates, in its
       entirety, the October 25, 2011 Servicing Agreement entered into by and between RED ROCK
       TRffiAL LENDING, LLC ("Enterprise"), an economic development arm and instrumentalityof,
       and a limited liability company wholly owned by the LAC VIEUX DESERT BAND OF LAKE
       SUPERIOR CHIPPEWA INDIANS ("Tribe"), a federally-recognized Indian Tribe and sole
       member of the Enterprise, and BELLICOSE VI, INC., a U.S. Virgin Islands corporation with
       offices in the U.S. Virgin Islands to reflect the April 15, 2012 assignment of rights and interest in
       the October 25,2011 Agreement from BELLICOSE VI, INC. to SOURCEPOINT VI, LLC, a
       U.S. Virgin Islands limited liability company, and BELLICOSE VI, INC. subsidiary, with
       offices in the U.S. Virgin Islands ("Servicer"), to incorporate amendments agreed to by and
       between the Enterprise and the Servicer effective May 15,2012, and to make such amendments
       both the Enterprise and the Servicer agree more accurately reflect the operation of the Enterprise
       and the role of the Servicer. This Agreement and the terms provided for herein shall be
       retroactively effective to October 25,2011. Each of Enterprise and Servicer may be referenced
       hereinafter individually as a "Party" or together, as the "Parties."

       1.     Recitals.

             1.1    The Tribe is a federally-recognized Indian tribe. The Tribe possesses sovereign
       governmental authority pursuant to the Tribe's inherent and recognized powers of self-
       government.

               1.2   The Tribe has established Enterprise, a limited liability company wholly owned
       by and formed under the laws of the Tribe, as an economic development arm and instrumentality
       of the Tribe.

                        1.2.1 The purpose of Enterprise is to promote the self-sufficiency of the Tribe
        and to address the socio-economic needs of the Tribe, its members, its families, and its
        community by building capital within the tribal community. This capital will subsequently be
        dispersed to the Tribe through the Enterprise, and used at the Tribe's discretion for the benefit
        of its members and the community through tribal initiatives and tribal governmental programs.
        The increase of such capital, as well as the initiatives and programs funded by it, will guarantee
        that the Tribe can continue to care for itself, its members, and its community by promoting
        greater self-determination, political and social autonomy.

                        1.2.2 The Enterprise, pursuant to its Governing Documents, has the exclusive
        right to develop and operate the Tribe's financial services business that will provide small-
        denomination short-term financial services and other related goods and services to consumers
        through its internet call-center and field representative operations and has been directed and
        authorized to take any and all action as is deemed necessary or desirable in connection with
        such business and services, including but not limited to the authority to act as the exclusive
        agent to enter into and to exercise the rights and perform the obligation of Enterprise under this
        Agreement.


                                                         1




                                                                                                                 JA514
CONFIDENTIAL                                                                                                   MARTORELLO_003477
USCA4Case
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                        1.2.3 The Tribe, through Enterprise, is engaged in internet-based unsecured
        lending, as hereinafter defined, and provision of financial services. It is the Tribe's hope that
        Enterprise's endeavors will improve the economic conditions of its members; enable the Tribe
        to better serve the social, economic, educational and health needs of the Tribe, its members, and
        its community; increase Tribal revenues; enhance the Tribe's economic self-sufficiency and
        self-determination; and provide positive, long-term social, environmental and economic
        benefits.

               1.3    Enterprise is seeking managerial, technical and financial experience and expertise
       for the development and operation of the new Unsecured Lending Business, as defined below.
       The Servicer is a company located in the U.S. Virgin Islands which provides management and
       consulting services to companies engaged in the Unsecured Lending Business and is willing and
       able to provide such assistance, experience, expertise and instruction to the Enterprise.

               1.4     The Enterprise, through a contractual relationship, desires to retain and engage the
       Servicer as its independent contractor to consult to, develop, manage, and provide operational
       guidelines regarding the Unsecured Lending Business and any expansion thereof during the term
       of this Agreement and conforming with the provisions of this Agreement. In addition to
       providing investment and capital management services, management, operations and marketing
       consulting, Servicer also provides analytic services to its roster of clients, including risk
       assessment and management. The parties believe that Servicer possesses the necessary
       experience and skill to effectively analyze portfolio composition, trends in performance and
       predictive measures of potential new customers to the Enterprise to increase the profitability and
       overall risk profile of the Enterprise.

               1.5    The Enterprise and the Servicer entered into such a contractual relationship on
       October 25, 2011. The Enterprise and the Servicer desire to amend and restate. in its entirety,
       the October 25, 2011 Servicing Agreement to reflect the April 15,2012 assignment of rights and
       interest in the October 25, 20 II Servicing Agreement to SOURCEPOINT VI, LLC, a U.S.
       Virgin Islands limited liability company, and Bellicose VI, Inc. subsidiary, with offices in the
       U.S. Virgin Islands, to incorporate amendments agreed to by and between the Enterprise and the
       Servicer effective May 15, 2012, and to make such amendments both the Enterprise and the
       Servicer agree more accurately reflect the operation of the Enterprise and the role of the Servicer.

                1.6     Each Party represents and warrants that the individuals executing this Agreement,
       as set forth in the signature blocks below, are fully and properly authorized under controlling law
       to enter into this Agreement on behalf of their respective organizations; and that the respective
       organizations have duly approved and ratified the terms of this Agreement.

               1.7     In addition to the representations and warranties made in Section 12.1 herein,
       each Party represents and warrants that the individuals executing this Agreement, Enterprise
       management and Servicer management, do not have criminal records involving any financial
       crimes or crimes of dishonesty that might trigger any concern from any regulatory body with
       respect to their involvement in a consumer financial services business.

              1.8   The Servicer further represents and warrants that it, along with all other members
       of the management as well as employees having any responsibility for the business of the

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                                                                                                                JA515
 CONFIDENTIAL                                                                                                 MARTORELLO_003478
USCA4Case
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       Enterprise, meets the eligibility requirements for licensing pursuant to the Tribe's Consumer
       Financial Services Regulatory Code. Proper licensing is a requirement for entering into this
       Agreement and the Transaction Documents.

       2.    Definitions. Unless otherwise specified in this Agreement, as they are used in this
       Agreement, the terms listed below shall have the meaning assigned to them in this Section:

               2.1     Affiliate. "Affiliate" means as to Servicer or Enterprise, any corporation,
       partnership, limited liability company, joint venture, trust, department or agency or individual
       controlled by, under common control with, or which controls, directly or indirectly Servicer or
       Enterprise. "Control" means (i) ownership, control, or power to vote twenty five percent (25%)
       or more of the outstanding shares of any class of voting securities, directly or indirectly or acting
       through one (1) or more persons, (ii) control in any manner over the election of a majority of the
       directors, trustees, or general partners (or individuals exercising similar functions), or (iii) the
       power to exercise, directly or indirectly, a controlling influence over management or policies.

              2.2     Authorized Debt. "Authorized Debt" shall have the meaning given to it in
       Section 5.2.

              2.3     Commencement Date. "Commencement Date" shall be the Effective Date.

               2.4     Commercial Finance Provider. "Commercial Finance Provider" shall mean any
       entity that provides credit to Enterprise for the making of Consumer Loan Transactions.

             2.5     Consumer Loan Transaction. "Consumer Loan Transaction" means any form
       of consumer financial services transaction provided by a financial services provider to a
       consumer or other person that is unsecured or secured by way of ACH agreements.

              2.6     Effective Date. The "Effective Date" shall mean October 25, 2011.

               2.7     Enterprise. The "Enterprise" is the instrumentality and commercial subdivision
       of the Tribe formed to engage in (a) the Unsecured Lending Business; and (b) any other lawful
       commercial activity allowed upon approval of the Tribe as sole member of the Enterprise
       pursuant to Enterprise's Governing Documents.              The Enterprise shall not include any
       commercial enterprise conducted by the Tribe or any other instrumentality of the Tribe other
       than as set forth immediately above in this Section 1.2. Enterprise shall have the sole proprietary
       interest in and responsibility for the conduct of all activities conducted by Enterprise, subject to
       the rights and responsibilities of the Servicer under this Agreement.

               2.8   Enterprise Employees. "Enterprise Employees" shall mean a generic reference
       to those employees who are employed by Enterprise.

               2.9     Fiscal Year. "Fiscal Year" shall mean each twelve (12) month period, or portion
       thereof, ending on December 31 of each year, or on such other date as may be adopted by
       Enterprise in the future as the ending date of its fiscal year.

              2.10 Governing Documents. "Governing Document" shall mean Enterprise's Articles
       of Organization and Operating Agreement, if any.

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                                                                                                                 JA516
CONFIDENTIAL                                                                                                   MARTORELLO_003479
USCA4Case
      Appeal: 23-2097   Doc: 11-2
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               2.11 Governmental Action. "Governmental Action" shall mean any resolution,
       ordinance, statute, regulation, order or decision regardless of how constituted having the force of
       law or legal authorization of the Tribe or any instrumentality or agency of the Tribe.

              2.12 Gross Revenues. "Gross Revenues" shall mean all revenues of any nature
       derived directly or indirectly from the operation of Enterprise (including the gross revenues of all
       Subsidiaries) on a consolidated basis.

               2.13 Legal Requirements. "Legal Requirements" shall mean singularly and
       collectively all applicable laws including without limitation all applicable tribal and federal law.

              2.14 Net Revenues. "Net Revenues" for the purpose of this Agreement shall mean
       Gross Revenues of the Enterprise less all Servicing Expenses.

              2.15 New Transaction. "New Transaction" means a Consumer Loan Transaction with
       a new customer.

              2.16 Operations Manager. "Operations Manager" shall mean the person employed
       by Enterprise, if any, to direct the day-to-day operations of Enterprise and to coordinate with the
       Servicer as defined above as well as any other entities providing services to the Enterprise.

                2.17 Primary Bank Account. "Primary Bank Account" shall have the meaning given
       to it in Section 4.4.

              2.18 Refinancing Transaction. "Refinancing Transaction" means a Consumer Loan
       Transaction that extends or refinances, in whole or in part, an outstanding Consumer Loan.

              2.19 Regulatory and Litigation Reserve Fund. "Regulatory and Litigation Reserve
       Fund" shall mean that fund established pursuant to Section 4.5 of this Agreement and shall be
       considered a Servicing Expense of Enterprise.

              2.20 Repeat Transaction. "Repeat Transaction" means a Consumer Loan Transaction
       with an existing customer that is not a Refinancing Transaction.

              2.21    Servicing Budget. "Servicing Budget" shall have the meaning given to it in
       Section 4.5.

                2.22 Servicing Expenses. "Servicing Expenses" shall mean the expenses of the
       operation of Enterprise, incurred pursuant to the Servicing Budget, including but not limited to
       the following: (I) the payment of salaries, wages, and benefit programs for all employees of
       Enterprise subject to the approval described in Section 4.3; (2) supplies for Enterprise; (3)
       utilities; (4) repairs and maintenance of any facility used by Enterprise for the conduct of its
       business; (5) interest expense on Authorized Debt of Enterprise; (6) insurance and bonding; (7)
       advertising and marketing; (8) professional fees; (9) reasonable travel expenses for officers and
       employees of Enterprise, Servicer or its affiliates to inspect and oversee Enterprise; (10) the
       Regulatory and Litigation Reserve fund expense; (II) security costs; (12) underwriting expenses;
       (13) bad debt expenses and (14) legal or professional fees incurred for lobbying or litigation that
       is not adequately covered by the Regulatory and Litigation fund .. Any expenses not referenced or

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                                                                                                                JA517
 CONFIDENTIAL                                                                                                 MARTORELLO_003480
USCA4Case
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       provided for in this Section that are added as Servicing Expenses after approval of this
       Agreement and the Servicing Budget in effect at the time must first be approved in writing by the
       Servicer and the Enterprise as provided for in this Agreement. Each of the above listed expenses
       is subject to the annual budgetary process and its resolution processes at Section 4.5 of this
       Agreement.

                2.23 Unsecured Lending Business. "Unsecured Lending Business" means the
       activities of a financial services provider in providing Consumer Loan Transactions and other
       related financial services to consumers or other persons.

              2.24 Tribal Council. "Tribal Council" means the governing body of the Lac Vieux
       Desert Band of Lake Superior Chippewa Indians.

               2.25 Tribal Net Profits. "Tribal Net Profits" is calculated by adding the sum of Gross
       Revenues plus bad debt recoveries minus the sum of charge backs and bad debt charge-offs and
       multiplying the sum of this amount by two (2) percent calculated on a monthly basis all
       calculated on a cash basis.

               2.26 Tribal Representatives. "Tribal Representatives" shall mean the person or
       persons designated by the Enterprise, to serve as its liaisons to the Servicer, and who shall be
       responsible for assisting in the implementation of tribal policies as such policies relate to
       Enterprise and the Unsecured Lending Business. The Enterprise may remove and replace the
       Tribal Representatives in its sole and absolute discretion. The Tribal Representatives shall have
       the right to attend as an observer all meetings of Enterprise regarding management of Enterprise
       and shall have access to all documents and records of Enterprise. The salary, wages and benefits
       of the Tribal Representative(s) are a Servicing Expense of the Enterprise. The Tribal
       Representatives serve hereunder on behalf and for the benefit of the Enterprise and for purposes
       of decision-making are no way a substitute for the Tribe itself as sole member of the Enterprise.

       3.      Covenants. In consideration of the mutual covenants contained in this Agreement, the
       Parties agree and covenant as follows:

               3.1     En2a2ement of Servicer. The Enterprise hereby retains and engages Servicer as
       its independent contractor for the purposes of providing those business management, consulting
       and professional services to Enterprise pursuant to the terms of this Agreement and advising the
       Operations Manager of the Enterprise and the Tribal Representatives. Servicer shall have the
       authority and responsibility over all communication and interaction whatsoever between
       Enterprise and each service provider, lender and other agents of Enterprise (for purposes of this
       Agreement, the service provider, lender and other agents of Enterprise or its subsidiaries shall be
       referred to as "Authorized Agents"). Nothing contained herein grants or is intended to grant
       Servicer a titled interest to or in Enterprise. The Servicer hereby accepts such retention and
       engagement as an independent contractor. Enterprise acknowledges that the services
       contemplated by this Agreement shall be provided by the Servicer from its offices in the U.S.
       Virgin Islands. Enterprise also acknowledges that the fees to be paid to Servicer as defined in
       Section 3.5.1 herein, are in fact performance-based fees, and are based solely on the profitability
       of the Enterprise following commencement of this Agreement. Enterprise also acknowledges that
       any tax or earnings statements to be issued to Servicer as a result of any payments made pursuant

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                                                                                                               JA518
CONFIDENTIAL                                                                                                 MARTORELLO_003481
USCA4Case
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       to this Agreement shall be filed with the Virgin Islands Bureau of Internal Revenue and not with
       the Internal Revenue Service as the Servicer is subject to the administration of tax laws by the
       Virgin Islands Bureau of Internal Revenue and not the Internal Revenue Service.

               3.2     Term. The term of this Agreement shall begin on the Effective Date of this
       Agreement and continue until December 31,2018 ("Term"). The Term shall automatically renew
       for an additional period of two (2) years unless either Party hereto provides written notice to the
       other Party at least one hundred twenty (120) days, but no greater than one (I) year, prior to the
       end of the Term.

              3.3     Restrictions on Competition.

                         3.3.1 In consideration for Servicer providing its expertise to the Enterprise, the
        Enterprise agrees that so long as this Agreement is in effect neither it nor any Mfiliate shall,
        directly or indirectly, either on its own or through any agent, joint venture, subsidiary or
        independent contractor, engage in the Unsecured Lending Business anywhere in the world
        except through the Enterprise without engaging the Servicer to provide the management and
        consulting services contemplated by this Agreement. The exclusivity provisions contained in
        this Paragraph 3.3.1. shall apply so long as Servicer achieves performance targets described
        herein. Performance targets are equal to Tribal Net Profits generated by the Enterprise on a
        monthly basis. The exclusivity provision shall remain in effect to the extent that the Tribal Net
        Profits as listed in Table 3.3.1 for a particular monthly amount is not achieved but the difference
        between the required amount and the actual amount are recouped (on a cumulative basis) in any
        three (3) consecutive month period of time (on a cumulative basis for the two SourcePoint V.I.-
        managed Tribal-lending entities contemplated at this time, including Red Rock Tribal Lending,
        LLC and Duck Creek Tribal Financial, LLC, formerly known as North Country Financial,
        LLC):

                                         Table 3.3.1 Tribal Net Profit




                                                                                                                JA519
 CONFIDENTIAL                                                                                                 MARTORELLO_003482
USCA4Case
      Appeal: 23-2097    Doc: 11-2
          3:17-cv-00461-REP             Filed: 12/06/2023
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                                        Month      Tribe Net Profit
                                          3                 42,000
                                          4                 45,000
                                          5                 50,000
                                          6                 55,000
                                          7                 50,000
                                          8                 65,000
                                          9                 75,000
                                         10                 80,000
                                         11                 90,000
                                         12                100,000
                                         13                110,000
                                         14                120,000
                                         15                130,000
                                         16                145,000
                                         17                160,000
                                         18                175,000
                                         19                190,000
                                         20                200,000

                The Enterprise acknowledges that the Unsecured Lending Business can be conducted
       throughout the world (both as to the location of the consumers as well as operations) and that the
       worldwide restriction is appropriate. Nothing herein shall be taken to restrict the Enterprise, the
       Tribe, or its Affiliates from engaging in businesses that provide services, which in themselves do
       not compete with the Unsecured Lending Business. The Enterprise further agrees that it shall not
       solicit for employment or hire any employees of Servicer. In no event shall failure to meet the
       thresholds contained in this Section be considered a breach of this Agreement. Rather, they are
       significant only to the application or not of the non-compete provisions of this Section. The
       Parties agree that having two or more entities in the payday lending space or otherwise engaged
       in the Unsecured Lending Business, including Duck Creek Tribal Financial, LLC, formerly
       known as North Country Financial, LLC and Enterprise, is not a violation of this section
       restricting competition so long as any such entity is serviced by Servicer and/or its successors or
       assigns.

                       3.3.2 The Enterprise has carefully read and considered the provisions of this
        Section and, having done so, agrees that the covenants set forth in this Section are fair and
        reasonable and are reasonably required to protect the legitimate business interests of the
        Servicer and the Enterprise including, but not limited to, protection of trade secrets, the
        Servicer's investment in its Confidential Information (as hereinafter defined), and the Servicer's
        goodwill and relationships with its clients and vendors. The Enterprise agrees that the
        covenants set forth in this Section do not unreasonably impair the ability of the Enterprise to
        conduct any unrelated business. The Parties hereto agree that if a court of competent jurisdiction
        holds any of the covenants set forth in this Section unenforceable, the court shall substitute an
        enforceable covenant that preserves, to the maximum lawful extent, the scope, duration and all
        other aspects of the covenant deemed unenforceable, and that the covenant substituted by the

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                                                                                                               JA520
 CONFIDENTIAL                                                                                                MARTORELLO_003483
USCA4Case
      Appeal: 23-2097    Doc: 11-2
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        court shall be immediately enforceable against the Enterprise. The foregoing shall not be
        deemed to affect the right of the parties hereto to appeal any decision by a court concerning this
        Agreement.

               3.4     Servicer's Compliance With Law.; Licenses. The Servicer covenants that it
       will at all times comply with all Legal Requirements and any licenses issued under any of the
       foregoing. If applicable, the Tribe shall not unreasonably withhold, withdraw, qualify or
       condition such licenses. Enterprise, through the Tribal Representatives will ensure that Servicer
       is made fully aware of and has acquired all applicable tribal licenses prior to commencement of
       Enterprise business activities.

              3.5     Servicing Fee.

                        3.5.1 The Parties hereto have agreed that the success of the business is based in
        large part upon the services provided to the Enterprise by the Servicer. As a result, Enterprise
        has agreed to a performance-based fee equal to cash basis revenue remaining after payment of
        Tribal Net Profits, Servicer advances, and all Servicing Expenses. The Servicing Fees shall be
        paid monthly, with the Servicer having the ability to sweep Enterprise bank account amounts
        into the Servicer's bank accounts, on or before the fifteenth (15th) day of the ensuing month.
        The Enterprise acknowledges and agrees that the Servicer is not responsible for the performance
        or activities of any of the lenders or servicing companies that may be doing business with the
        Enterprise, nor any minimum revenue from the Unsecured Lending Business. However,
        Servicer has agreed that that the minimum amount per month which shall be paid to the
        Enterprise shall be twenty thousand dollars ($20,000).

                        3.5.2 Payment of the Servicing Fee shall be subject to and reduced by the
        obligations of the Servicer to make the payments specified in Sections 3.5.1 and 4.6hereof.

                       3.5.3 The Enterprise acknowledges and agrees that Servicer, subject to Legal
        Requirements and the limitations of Section 4.1.1, shall have the right to enter into agreements
        with servicing companies or lenders providing goods or services to the Enterprise, and Servicer
        may be separately compensated under such agreements.

               3.6     No Preexisting Contracts. The Enterprise covenants that there are no valid
       preexisting contractual impediments to the entry by the Enterprise into this Agreement. Further,
       the Enterprise agrees to indemnify Servicer and hold harmless its Affiliates for any loss, cost,
       judgment, settlement or other compromise related to any claim arising out of or related to any
       alleged pre-existing contractual relationship. Servicer shall be limited to recovery of such
       indemnification from the assets of Enterprise and shall have no right to indemnification from
       other assets of the Tribe or any of Tribe's other Affiliates.

              3.7     Agreement Scope. The Enterprise is entering into this Agreement with Servicer
       in order to avail itself of the expertise of Servicer in developing a profitable Unsecured Lending
       Business. In recognition of the Servicer's expertise, the scope of this Servicing Agreement
       covers all aspects of the management of the Unsecured Lending Business, however oversight of
       the day to day operations of the Enterprise and management of the Enterprise's employees shall
       be vested in the Operations Manager and/or the Tribal Representatives.

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                                                                                                               JA521
 CONFIDENTIAL                                                                                                MARTORELLO_003484
USCA4 Appeal:
    Case      23-2097   Doc: 11-2
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               3.8     Certain Activities of Enterprise. The Enterprise covenants that adequate high
       speed internet access, and sufficient remote access for the Enterprise to all hardware and
       software which it is responsible to acquire and install shall be at all times available to Enterprise
       and Servicer to conduct the Unsecured Lending Business contemplated by this Agreement. Any
       physical facilities located within the Tribe's jurisdiction shall be maintained in a secure manner
       to protect sensitive consumer financial information potentially contained therein, including but
       not limited to protection by the latest security encryption technology for privacy protection
       which shall also be provided by the Servicer, as approved by the Servicer. Servicer shall have
       the sole discretion to request upgrades or additions to and to approve the security/encryption
       technology used in connection with the Unsecured Lending Business which shall be treated as
       Servicing Expense of the business. If such a request is made following the Tribe's annual
       approval of a Servicing Budget that does not contain such upgrades or additions, Servicer shall
       seek approval of the Tribe pursuant to its Governing Documents, approval of which will not be
       unreasonably withheld, prior to incurring such additional servicing expenses.

       4.     Business and Affairs in Connection with Enterprise.

               4.1    Servicer's Authority and Responsibility. It is the Parties' intentions that
        Servicer shall provide such management, consulting and analytical services as it deems
        necessary to assist the Enterprise in undertaking the Unsecured Lending Business contemplated
        herein.

                         4.1.1 The Servicer is hereby granted the necessary power and authority to act
       in order to fulfill its responsibilities under this Agreement, including the execution and delivery
       of any and all agreements necessary or appropriate to effectuate the terms hereof subject to the
       limitations of the Section 4.1.1 herein. It should be noted, however, that Servicer has no authority
       to engage in origination activities, execute loan documentation, or approve the issuance of loans
       to third parties. Final determination as to whether to lend to a consumer rests with the Enterprise.

                         4.1.2 Servicer shall, unless otherwise agreed to herein, require express written
        consent from the Tribe as sole member of the Enterprise to do any of the following: (I) to
        borrow, pledge, assign, convey, encumber, grant security interest in, guaranty, or otherwise
        restrict the assets of the Enterprise; (2) to sell or otherwise dispose of all or substantially all of
        the assets of the Enterprise; (3) to waive the sovereign immunity of the Enterprise.

              4.2    Duties of the Servicer. In providing services to Enterprise, the Servicer's duties
       may include, without limitation, the following:

                       4.2.1 Operations. Consistent with the Servicing Budget, the Servicer shall
        develop and recommend to the Enterprise and to the Operations Manager and Tribal
        Representatives, reasonable measures for the orderly administration and management of
        Enterprise in the areas of financial reporting, financing, regulatory compliance, marketing,
        human resources, development of third party servicer relationships, collections and risk
        assessment, including:

                            (a)    Screening of and selecting service providers and lenders, and
       negotiating agreements with such service providers and lenders on behalf of the Enterprise on

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                                                                                                                   JA522
CONFIDENTIAL                                                                                                     MARTORELLO_003485
USCA4 Appeal:
    Case      23-2097   Doc: 11-2
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       such terms and conditions as Servicer may reasonably determine to be appropriate, including but
       not limited to potentially securing a funding agreement between Alpha Credit Resources, LLC
       and the Enterprise, whereby Alpha Credit Resources, LLC may serve as Commercial Finance
       Provider for the Unsecured Lending Business;

                              (b)    Development and promotion of sound and positive business
       relationships on behalf of Enterprise with the designated service providers and lenders,
       including, but not limited to, the enforcement or termination of agreements with such service
       providers and lenders;

                             (c)     Preparation of suggested practices and recommendations to the
       Tribal Representative of such suggested practices governing the operations of the Enterprise to
       provide that such operations are conducted in a manner that is consistent with the best interests
       of Enterprise and generally accepted industry standards;

                               (d)    Preparation of regulatory and compliance standards and practices
       and recommendations to the Enterprise of such standards and practices to be adopted by the
       Enterprise provide that such operations are conducted in a manner consistent with the best
       interests of Enterprise and generally accepted industry standards;

                             (e)    Preparation of trammg and education standards and
       recommendations to the Enterprise of such suggested practices to be adopted by the designated
       service providers and lenders to provide that such designated service providers and lenders are
       conducting business with the Enterprise in a manner that is consistent with the best interests of
       Enterprise and generally accepted industry standards;

                             (0     Preparation of standards for financial reporting and accounting and
       recommendations to the Enterprise of such best practices to be adopted by the designated service
       providers and lenders of the Enterprise provide that such designated service providers and
       lenders are conducting business in a manner that is consistent with the best interests of Enterprise
       and generally accepted accounting standards presented on a cash basis;

                               (g)    Preparation of standards and screening and review of and making
       recommendations to the Enterprise regarding the website contents, marketing and consumer
       relations practices of designated service providers and lenders to provide that such designated
       service providers and lenders are conducting business in a manner that is consistent with the best
       interests of Enterprise and generally accepted industry standards;

                               (h)    Monitor and supervision of and reporting to the Enterprise
       regarding the designated service providers and lenders to provide that such designated service
       providers and lenders are conducting business in a manner that is consistent with the standards,
       best practices, policies and requirements established by the Enterprise;

                               (i)    Servicer will be responsible for providing pre-qualified leads to
       Enterprise and providing the necessary credit-modeling data and risk assessment strategies by
       which the Enterprise may evaluate to whether or not to extend funds to an individual borrower
       based on criteria that has been established by the Enterprise. The criteria used to extend funds to


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                                                                                                                JA523
CONFIDENTIAL                                                                                                  MARTORELLO_003486
USCA4Case
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       individual borrowers will remain within the sole and absolute discretion of the Enterprise and the
       Enterprise shall execute all necessary loan documentation;

                            (j)      Servicer may also be responsible for trammg and monitoring
       employees of the Enterprise that operate the Enterprise's call center; and

                             (k)     Sale and transfer of Enterprise's right of collection of collateral on
       any Loan Transactions that become in default prior to settlement. Servicer shall sell Loan
       Transactions in default at prevailing market rates, to a third-party debt collector, with the third-
       party debt collector to effect the collection of the debt. This third-party debt buyer may be
       Capture Financial LLC or such other third-party debt as may be determined to be appropriate by
       the Parties.

                        4.2.2 Contracts in Enterprise's Name. Contracts for the operations of
        Enterprise shall be entered into in the name of Enterprise and shall be executed by the
        Enterprise. In no event shall Servicer be empowered to waive the sovereign immunity of the
        Enterprise or the Tribe in any contract, including but not limited to any contract for the
        operations of the Enterprise or for the supply of goods and services. No contracts for the supply
        of goods or services to Enterprise shall be entered into with parties affiliated with the Servicer
        or its officers or directors unless the affiliation is disclosed to and approved by Enterprise,
        which approval shall not be unreasonably withheld subject to the limitations of Section 4.1.1
        herein. Servicer shall deliver all contracts executed by it on behalf of Enterprise to Enterprise
        on a monthly basis. The Servicer acknowledges that Enterprise and the Tribe retain exclusive
        sovereign control over the Enterprise's and the Tribe's immunity, respectively. If Servicer
        determines that a limited waiver of Enterprise's Tribal sovereign immunity is necessary and
        desirable for inclusion in any contract on behalf of the Enterprise, Servicer shall summarize the
        need for such waiver and the underlying contract for the Enterprise to seek approval of the
        Tribal Representative(s) and the Tribe as sole member of the Enterprise. Only after the matter
        has been forwarded for review to the Tribe's legal counsel, presented to the Tribal Council by
        the Tribal Representative(s), and authorized by Tribal Council resolution, shall the Servicer be
        authorized to execute the contract on behalf of the Enterprise.

                        4.2.3 Consumer Loan Transaction Covenants and Agreements. The
        Servicer shall assist the Enterprise with the compilation and provision of information and
        reports (financial and otherwise) as may be reasonably requested by the Tribe as sole member of
        the Enterprise in connection with the business of Enterprise or as required under Authorized
        Debt of Enterprise as defined in Section 5.2 herein, including any reports required to comply
        with the covenants and agreements contained therein. The Servicer shall promptly advise the
        Enterprise in the event that the Servicer becomes aware of any matter that may cause a default
        by Enterprise under any documents evidencing any indebtedness or obligation of Enterprise.

              4.3     Employees.

                       4.3.1 Servicer's Responsibility. Subject to the Servicing Budget, Legal
        Requirements and the terms of this Agreement, Servicer shall have the exclusive responsibility
        for identifying and recommending third-party service providers needed for the business of the
        Unsecured Lending Business and shall assist the Operations Manager, at his or her request, in

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 CONFIDENTIAL                                                                                                 MARTORELLO_003487
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        the selection, hiring, training, control and discharge of employees performing regular services
        for Enterprise in connection with the maintenance, operation, and management of the
        Unsecured Lending Business. Enterprise shall not engage any third-party service providers
        needed for the business of the Unsecured Lending Business without the benefit of Servicer's
        prior advice and approval, for which approval shall not be unreasonably withheld.

                     4.3.2 Enterprise Employees. Subject to the Servicing Budget, Servicer shall
        assist the Operations Manager and/or Tribal Representatives in directing the hiring and
        management of sufficient employees to effectively staff the Unsecured Lending Business, if
        any.

                       4.3.3 Tribal Representative(s). Tribal Representative(s) shall have the full
        access to inspect all aspects of Enterprise, including the daily operations of Enterprise, and to
        verify daily Gross Revenues and all income of Enterprise. The Servicer or a designee otherwise
        appointed by the Servicer may accompany the Tribal Representative(s) upon any inspection.

                        4.3.4 Indian and Other Preference. Wages. and Training. The Servicer
        shall, during the term of this Agreement, be required to give preference in recruiting, training
        and recommending employment to Native Americans in any job category of the Enterprise, in
        accordance with any employment preference laws or policy now existing or later adopted by the
        Tribe.

               4.4     Enterprise Bank Accounts. The Servicer shall select a bank or banks for the
       establishment of (i) a primary bank account by Enterprise into which all funds generated by the
       Unsecured Lending Business will be transferred and deposited (the "Primary Bank Account")
       and (ii) any other bank accounts by Enterprise subject to the Deposit Account Control
       Agreement as the Servicer deems necessary or appropriate to conduct the Unsecured Lending
       Business consistent with this Agreement, e.g., an account to hold the Regulatory and Litigation
       Reserve Fund (as defined below). Unless otherwise mutually agreed in writing by the Enterprise
       and Servicer, the Servicer shall have sole signatory and transfer authority over such bank
       accounts. Servicer shall have sole authority to sweep monies from such bank accounts for
       distributions made to the Enterprise consistent with Sections 3.5.1 and 6.4. In addition to the
       foregoing, Servicer shall further have the sole authority to instruct and direct any ACH providers
       that Enterprise may engage to assist it in operating the Unsecured Lending Business, to the
       extent provided by this Agreement. The right to consent to change any bank account into which
       the funds generated by the Unsecured Lending Business will be transferred and deposited by any
       such ACH providers rests mutually with Enterprise and Servicer. The signed authorization of
       both Servicer and Enterprise shall be required for any change to any bank account into which the
       funds generated by the Unsecured Lending Business will be transferred and deposited by any
       such ACH providers. This section shall not apply in the event of a default; in the event of a
       default, the Security Agreement will allow Iron Fence Investments, Inc. to override this section.

               4.5     Servicing Budget and Business Plan. Servicer shall provide to the Tribal
       Representatives an initial Servicing Budget and Business Plan ("Servicing Budget") for the
       review and consent of the Enterprise, which consent shall not be unreasonably withheld or
       delayed. Servicer shall, not less than ninety (90) days prior to the commencement of each full or
       partial year, submit to the Tribal Representative(s), for approval by the Enterprise and the Tribe

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       as sole member of the Enterprise, a proposed Servicing Budget for the ensuing full or partial
       year, as the case may be. The Servicing Budget shall include a Regulatory and Litigation
       Reserve Fund and such other reserves as are deemed necessary for the conduct of the Unsecured
       Lending Business.

               The Enterprise's and Tribe's approval of the Servicing Budget shall not be unreasonably
       withheld or delayed. Servicer shall meet with the Tribal Representative(s) to discuss the
       proposed Servicing Budget, and if requested, with the Tribe as sole member of the Enterprise.
       The Enterprise's and the Tribe's as sole member of the Enterprise approval shall be deemed
       given unless a specific written objection thereto is delivered by it to Servicer within sixty (60)
       days after Servicer and the Tribal Representative and/or the Tribe as sole member of the
       Enterprise have met to discuss the proposed Servicing Budget. If the Tribal Representative for
       any reason declines to meet with Servicer to discuss a proposed Servicing Budget, the Servicer
       shall meet with the Tribe as sole member of the Enterprise. The Enterprise and the Tribe as sole
       member of the Enterprise shall review the Servicing Budget on a line-by-line basis. To be
       effective, any notice which disapproves a proposed Servicing Budget must contain specific
       objections to individual Budget line items.

               If the proposed Servicing Budget contains disputed budget item(s), the Enterprise and
       Servicer agree to cooperate with each other in good faith to resolve the disputed or objectionable
       proposed item(s). In the event the Enterprise and Servicer are not able to reach mutual
       agreement concerning any disputed or objectionable item(s) within a period of sixty (60) days
       after the date the Enterprise provides written notice of its objection to Servicer, either Party shall
       be entitled to submit the dispute to arbitration in accordance with Section 18. If the Enterprise
       and Servicer are unable to resolve the disputed or objectionable item(s) prior to the
       commencement of the applicable year, the undisputed portions of the proposed Servicing Budget
       shall be deemed to be adopted and approved and the corresponding line item(s) contained in the
       Servicing Budget for the preceding year shall be adjusted as set forth herein and shall be
       substituted in lieu of the disputed item(s) in the proposed Servicing Budget. Those line items
       which are in dispute shall be determined as follows:

              Pending resolution of any disputes over the Servicing Budget, each line item shall be
       determined by increasing the preceding year's actual expense for the corresponding line items by
       an amount determined by Servicer which does not exceed the Consumer Price Index for All
       Urban Consumers published by the Bureau of Labor Statistics of the United States Department
       of Labor, U.S. City Average, all items (1982-1984=100) for the year prior to the year with
       respect to which the adjustment to the line item(s) is being calculated or any successor or
       replacement index thereto. The resulting Servicing Budget obtained in accordance with the
       preceding sentence shall be deemed to be the Servicing Budget in effect until such time as the
       Enterprise and Servicer have resolved the disputed items.

               Servicer may, subject to approval by the Enterprise if such a change requires reallocation
       of more than fifteen percent (15%) of the particular line items being affected, revise the
       Servicing Budget from time to time, as necessary, to reflect any unpredicted significant changes,
       variables or events or to include significant, additional, unanticipated items of expense. Servicer
       may, after notice to the Tribal Representatives, reallocate part or all of the amounts budgeted
       with respect to any line item to another line item and to make such other modifications to the

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       Servicing Budget as Servicer deems necessary when such reallocation is fifteen percent (15%) or
       less than for the line items being affected. The Enterprise acknowledges that the Servicing
       Budget is intended only to be a reasonable estimate of Enterprise revenue and expenses for the
       ensuing year. Servicer shall not be deemed to have made any guaranty, warranty or
       representation whatsoever in connection with the Servicing Budget, however Servicer shall act in
       good faith when projecting, proposing and presenting an Servicing Budget to the Enterprise for
       its approval.

               4.6     Regulatory and Litigation Matters. If any claim or legal action, except an
       action to impose taxes as contained in 7.5.1 of the Agreement, is brought against the Enterprise,
       the Tribe, the Servicer, Enterprise or any employee of the Servicer having responsibilities related
       to the Enterprise or of Enterprise, or official or employee of the Tribe by any person arising out
       of the operation of Enterprise or against the Servicer, its parent or Affiliates, employees,
       directors, managers or members arising out of Servicer's provision of services to the Unsecured
       Lending Business of Enterprise or performance hereunder or the execution of this Agreement or
       any other related agreement by Enterprise and Servicer, Enterprise, or the Servicer, as
       appropriate, shall defend such action. Any cost of such litigation, including any judgment
       rendered in an action arising out of the operation of Enterprise and the cost of any legal action
       brought by the Enterprise or Servicer against any third party, shall constitute a Servicing
       Expense. The only exception to the foregoing shall be that each Party will be responsible for its
       own acts if same are proven to constitute fraud or willful or wanton misconduct. Nothing in this
       Section shall be construed to waive, in whole or in part, the Tribe's or Enterprise's sovereign
       immunity, except as contemplated in the limited waiver of sovereign immunity contained in
       Section 14 herein.

                The Enterprise and Servicer shall establish and maintain a separate and segregated joint
       signature bank account ("Regulatory and Litigation Reserve Fund") that shall contain a balance
       of not less than, but no more than, Fifty Thousand Dollars ($50,000). The Regulatory and
       Litigation Reserve Fund shall be funded with one dollar ($1.00) for every New Transaction and
       ($.50) for every Repeat Transaction and Refinancing Transaction, as those terms are defined
       herein. The exclusive purpose of the Regulatory and Litigation Reserve Fund is to provide
       funding for Enterprise of the costs of any litigation, defense, responses to regulatory inquiries,
       litigation and other similar expenses arising out of the business of Enterprise. If any claim or
       legal action is brought against the Tribe, Servicer, Enterprise, or any Affiliate or any employee or
       director thereof, or any official of the Tribe by any person arising out of the operation of
       Enterprise, Enterprise, in collaboration and coordination with the Servicer, shall defend such
       action with monies in the joint signature account described herein as Servicer and Enterprise may
       agree. Any cost of such regulatory action or litigation, including any judgment rendered in an
       action arising out of the operation of Enterprise and the cost of any legal action brought by
       Servicer or Enterprise against any third party, shall be paid by the Regulatory and Litigation
       Reserve Fund to the extent funds are at the time of payment available therein or if funds are not
       at the time of such payment then available the amount paid in excess of available funds shall
       constitute an Servicing Expense. In the event Servicer expends any monies from the Regulatory
       and Litigation Reserve Fund, the Regulatory and Litigation Reserve Fund shall be replenished in
       the same manner of initial funding described in the first sentence of this paragraph beginning the
       first day of the first month following such an expenditure and continue until the Regulatory and
       Litigation Reserve Fund is again fully funded at $50,000.

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                To the extent Enterprise maintains or acquires any insurance policy that might cover the
       cost of defense of any action or any liability resulting from an action against the Enterprise or
       operation of the Unsecured Lending Business, Enterprise shall name Servicer as an additional
       insured under any such insurance policy. To the extent there is any such insurance coverage
       available, Servicer shall seek to use such insurance monies before use of Regulatory and
       Litigation Reserve Fund monies in defense of any claim or legal action brought against the Tribe,
       Servicer, Enterprise, or any Affiliate or any employee or director thereof, or any official of the
       Tribe by any person arising out of the operation of Enterprise, in collaboration and coordination
       with the Servicer. If, in Servicer's sole discretion, it is not practicable to expend insurance
       monies before Regulatory and Litigation Reserve Fund monies, Servicer shall seek to replenish
       any spent Regulatory and Litigation Reserve Fund monies with reimbursement under any
       applicable insurance policy. To the extent the Regulatory and Litigation Reserve Fund is
       insufficient to cover the costs of defense of any action or liability, Servicer shall advance monies
       that it deems necessary and appropriate to defend against such action or liability. Servicer shall
       be able to be reimbursed with distributions from the Regulatory and Litigation Reserve Fund as
       it might later be replenished in the manner described in this Paragraph 4.6.

             4.7     No Servicer Wages or Salaries. Neither the Servicer nor any of Servicer's
       employees, officers, directors or principals shall be compensated by wages from or contract
       payments by Enterprise for their efforts or for any work which they perform under this
       Agreement other than the Servicing Fee paid to Servicer under Section 6.2.

              4.8      Internal Control Systems. The Servicer shall recommend and assist the
       Operations Manager and Tribal Representatives in implementing accounting standards
       applicable to the unsecured consumer lending industry.

                4.9    Daily Deposits to Bank Account. The Servicer shall collect all gross revenues
       and other proceeds connected with or arising from the operation of Enterprise and all other
       activities of Enterprise and deposit proceeds daily into a bank account established under Section
       4.4 consistent with Paragraph 3.5.1 herein, except as to any restrictions on cash deposits imposed
       by the local bank.

              4.10 No Cash Disbursements. The Servicer shall not make any cash disbursements
       from the bank accounts or on hand cash except for the disbursements from any petty cash fund of
       Enterprise maintained in accordance with the Servicing Budget. Any and all other payments or
       disbursements by the Servicer shall be made by check or wire transfer drawn against a bank
       account.

               4.11 Transfers Between Accounts. The Servicer has the authority to transfer funds
       among the bank accounts of Enterprise unless otherwise provided by the Servicing Budget, in
       order to pay Servicing Expenses, pay the Servicing Fee, or to pay a debt service and any other
       payments provided for in Section 6 or elsewhere in this Agreement.

              4.12    Accounting and Books of Account.

                       4.12.1 Statements. The Servicer shall prepare and provide to Enterprise
        servicing statements on a monthly, quarterly, and annual basis, which shall include:

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 CONFIDENTIAL                                                                                                 MARTORELLO_003491
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        comparative statements of all revenues after the first full year of operation, statements of all
        other amounts collected and received, and all deductions and disbursements made there from in
        connection with Enterprise. The monthly and quarterly servicing reports shall be delivered by
        the twenty-first (21 st) day of the following month, with the annual servicing report delivered
        within ninety (90) days of the year-end and shall be in form satisfactory to meet all
        requirements under any Authorized Debt as defined in Section 5.2. The Enterprise shall include
        as an Servicing Expense the annual compilation of the books and records of Enterprise and any
        Subsidiaries as Enterprise deems necessary by a certified public accounting firm selected by the
        Enterprise subject to the reasonable consent of Servicer, which consent shall not be
        unreasonably withheld. Such reviews may be used by the Servicer for reporting purposes under
        applicable laws, if required. The reviewers shall have access to all books and records, all cash
        management procedure manuals, all internal control manuals, and all other records, documents,
        papers and persons of Enterprise or employed by Enterprise or Servicer as the reviewers shall
        deem necessary. For each review performed, the reviewers shall provide Servicer with a letter
        noting any control weaknesses or other items which it believes should be brought to the
        attention of the Servicer, and shall permit Servicer to respond to the letter with changes to the
        operations of Enterprise deemed appropriate by the Servicer which address any concerns
        expressed in the draft letter within thirty (30) days. The Enterprise warrants that it shall retain in
        the strictest confidence the information provided by Enterprise, and shall include in any reports
        concerning Servicer's financial affairs only such portions of information supplied by Enterprise
        as is required by statute to be provided.

                         4.12.2 Accounting Standards. Servicer shall maintain the books and records
        reflecting the operations of Enterprise in accordance with the accounting practices of Servicer
        on a cash basis consistently applied and shall adopt and follow a fiscal year end of December
        31. The accounting records reflecting detailed day-to-day transactions of Enterprise's operations
        shall be kept by Servicer and made available to the Tribal Representative(s) upon request. The
        accounting systems and procedures shall, at a minimum (i) include an adequate system of
        internal accounting controls; (ii) permit the preparation of financial statements on a cash basis;
        (iii) permit the calculation and payment of the Servicing Fee; (iv) provide for the allocation of
        servicing expenses or overhead expenses among Enterprise and any other user of shared
        facilities and services; and (vi) provide for disbursements to Enterprise

              4.13 Enterprise Servicing Standards. Servicer shall operate Enterprise in accordance
       with servicing standards mutually agreed upon by the Servicer and the Enterprise, which
       standards shall be consistent with the servicing standards of the industry generally.

       5.      Liens and Debt.

               5.1      Liens. The Enterprise specifically represents and warrants to the Servicer that
       during the term of this Agreement Enterprise shall not act in any way whatsoever, either directly
       or indirectly, to cause any Party to become an encumbrance or lienholder of any facility utilized
       by Enterprise or any tangible or intangible personal property assets of Enterprise, other than, as
       to the tangible or intangible personal property assets of Enterprise only, a creditor of Enterprise,
       or the Servicer, provided the Servicer is a creditor or is guaranteeing the amounts due under
       Authorized Debt, or to allow any Party to obtain any interest in this Agreement without the prior
       written consent of the Servicer.

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              5.2     Authorized Debt. "Authorized Debt" shall mean debt incurred by Enterprise to
       operate the Unsecured Lending Business, including from one or more Commercial Finance
       Providers, and any extensions or renewals of such debt.

       6.     Servicer Fee Reimbursement, Disbursement, and Capital Contribution.

               6.1     Disbursements at the Commencement of the Term. On the Effective Date,
       Servicer shall pay from its own account, and not the account of Enterprise, to Enterprise as
       directed by Enterprise the sum of five thousand and Noll 00 Dollars ($5,000.00) to reimburse the
       Enterprise for due diligence-related costs.

              6.2    Servicing Fee. Servicer is authorized by Enterprise to pay itself its Servicing Fee
       in accordance with the terms of Section 3.5.1 hereof.

                6.3    Disbursements. All revenues received by Enterprise in connection with the
       Unsecured Lending Business shall be deposited into the Primary Bank Account. These revenues
       shall, in tum, be disbursed by Servicer, for and on behalf of Enterprise, from the Primary Bank
       Account to pay, to the extent available, Servicing Expenses.

               6.4    Payment of Fees and Tribal Disbursement. No later than fifteen (I5) days or
       such other time period as provided in this Agreement after the end of each calendar month of
       operations, the Servicer shall calculate and report to the Enterprise the Gross Revenuesfor the
       preceding month and shall disburse the funds in the Primary Bank Account (or otherwise set
       aside reserves out of such funds as permitted by this Agreement) to the extent due and payable in
       the following order of priority unless otherwise agreed by the Parties with regard to Servicer
       Advances:

                      6.4.1   To the Enterprise, 100% of Tribal Net Profits; ;

                      6.4.2 To Servicer, an amount sufficient to reimburse Servicer for any amounts
        advanced to the Enterprise by Servicer if such amounts exceed ten thousand dollars
        ($10,000.00) and remain unpaid at month end;

                       6.4.3 To all service providers, including Servicer, all Servicing Expenses,
        including allocations to reserves as provided in the Servicing Budget, including any additional
        monies owed to Servicer, to the extent the same have not been paid during the course of the
        preceding calendar month;

                        6.4.4 To any creditor of the Enterprise, an amount sufficient to repay any
        principal or interest outstanding under any Authorized Debt extended by such creditor but only
        to the extent then required to be paid; and

                       6.4.5 To the Servicer, the Servicing Fee in the manner directed by the Servicer
        (which shall be paid monthly pursuant to Section 3.5.1 hereof).




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USCA4Case
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       7.     General Provisions.

               7.1    Notice. All notices and other communications hereunder shall be in writing, and
       shall be deemed to have been duly given (a) upon hand delivery thereof, (b) upon facsimile and
       written confirmation of transmission, (c) upon receipt of any overnight deliveries, or (d) on the
       third (3rd) business day after mailing United States registered or certified mail, return receipt
       requested, postage prepaid, addressed to each Party at the following addresses:

       If to Enterprise:             Red Rock Tribal Lending, LLC
                                     P.O. Box 704
                                     Watersmeet, MI 49969

                                     Lac Vieux Desert Band of Lake Superior Chippewa Indians,
                                     As sole member of Red Rock Tribal Lending, LLC
                                     Attn: General Counsel
                                     P.O. Box 249
                                     Watersmeet, Michigan 49969


       If to Servicer:               SourcePoint VI, LLC.
                                     5322 Yacht Haven Grande, Box 7
                                      St. Thomas, VI 00802


               7.2     Authorization. The Enterprise and Servicer represent and warrant to each other
       that they each have full power and authority to execute this Agreement and to be bound by and
       perform the terms hereof. The Enterprise further warrants that it has complied with all
       applicable tribal laws and procedures necessary to effectuate its obligations herein, including but
       not limited to any requisite Tribal approvals. Upon request, each Party shall furnish the other
       evidence of the authority represented in this Paragraph 7.2.

              7.3     Relationship. Servicer and Enterprise or the Tribe as sole member of the
       Enterprise shall not be construed as joint-venturers or partners of each other by reason of this
       Agreement and none shall have the power to bind or obligate the other except as set forth in this
       Agreement.

              7.4     Servicer's Contractual Authority in the Performance of this Agreement.
       Subject to the provisions of Section 4.2.2, and applicable law, Servicer is authorized to negotiate,
       and perform for the account of Enterprise any contracts deemed necessary or appropriate by
       Servicer and executed by the Enterprise to perform Enterprise's obligations under this
       Agreement and any other agreement or other instrument reasonable necessary or appropriate in
       the conduct of the Unsecured Lending Business or authorized herein.

             7.5     Further Actions. Enterprise and Servicer agree to execute all contracts,
       agreements and documents and to take all actions necessary to comply with the provisions of this
       Agreement and the intent hereof.



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                                                                                                                JA531
 CONFIDENTIAL                                                                                                 MARTORELLO_003494
USCA4Case
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                        7.5.1 Taxes. If any state or any local government attempts to impose any
        possessory interest tax upon any Party to this Agreement or upon any facility utilized by
        Enterprise, in the name of the appropriate Party or parties in interest, will, upon the request of
        either Party, resist such attempt through legal action. The costs of such action and the
        compensation of legal counsel shall be an Servicing Expense of Enterprise. Any such tax shall
        constitute an Servicing Expense of Enterprise. This Section shall in no manner be construed to
        imply that any Party to this Agreement or Enterprise, or Authorized Agents are liable for any
        such tax, or that any state or federal tax on the Servicer's income is to be considered an expense
        of Enterprise or Authorized Agents.

                        7.5.2 Tribal Taxes. The Enterprise agrees that neither it nor any agent, agency,
        affiliate or representative of the Enterprise will impose any taxes, fees, assessments, or other
        charges of any nature whatsoever on payments of any debt service to Servicer, or to any
        Authorized Agents, or to any lender furnishing financing for any facility utilized by or for
        Enterprise, or on Enterprise or the revenues therefrom, or on any Servicing Fee as described in
        Section 3.5 of this Agreement; provided, however, Enterprise may assess a tax upon Servicer or
        an Authorized Agent in the nature of a business license and occupation tax or other tax assessed
        against Servicer or an Authorized Agent by any state, but only to the extent that same is a dollar
        for dollar set off against the state tax. The Enterprise further agrees that neither it nor any agent,
        agency, affiliate or representative of the Enterprise will impose any taxes, fees, assessments or
        other charges of any nature whatsoever on the salaries or benefits, or dividends paid to, any of
        the Servicer's stockholders, officers, directors, or employees or any of the stockholders,
        officers, directors, or employees of Enterprise, or any of the Subsidiaries of Enterprise or
        Servicer, or any of the Authorized Agents. The Enterprise further agrees that the amount of any
        tax, fee, assessment or other charge of any nature whatsoever that may subsequently be imposed
        contrary to this Section 7.5.2 shall be added to the Servicing Fee to which the Servicer is
        entitled under this Agreement. Servicer retains the right, in its sole discretion, to terminate this
        Agreement and all accompanying agreements if it reasonably determines that any statute or
        regulation of the Tribe renders operation of Enterprise uncompetitive. Should the Servicer
        terminate this Agreement pursuant to this Section, the Servicer shall retain the right to
        repayment of money lent to Enterprise on a limited recourse basis, limited exclusive to the
        assets of the Enterprise and to no other assets of the Tribe or any other arm or affil iate of the
        Tribe. Except as otherwise provided herein, if any taxes, fees or assessments are levied by the
        Tribe on Enterprise, Servicer, or any Authorized Agent, such taxes and assessments shall be
        abated for the term of this Agreement. Nothing herein shall limit the Tribe's ability to tax its
        members or businesses operating within the regulatory jurisdiction of the Tribe.

                       7.5.3 Situs of the Contracts. This Agreement, as well as all contracts entered
        into between Enterprise and any person or any entity providing services to Enterprise or to the
        Servicer on behalf of Enterprise, shall be deemed entered into at the Tribal Administration
        Office of the Tribe in Watersmeet, Michigan, and shall be subject to all Legal Requirements of
        the Tribe and federal law, except as otherwise expressly provided herein.

                       7.5.4 Enforcement. Authorized Agents are agreed to be intended third party
        beneficiaries of this Section 7.5 and shall have the right to enforce same to the extent of any
        breach thereof as same applies to such Authorized Agent.


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 CONFIDENTIAL                                                                                                    MARTORELLO_003495
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               7.6    Defense. Except for disputes between Enterprise and Servicer, Servicer shall
       bring and/or defend and/or settle any claim or legal action brought against Servicer or Enterprise
       and/or the Tribe, individually, jointly or severally in connection with the operation of Enterprise.
       Servicer and Enterprise shall consult and agree on who Enterprise shall retain as legal counsel,
       accountants and such other professionals, consultants and specialists to defend and/or settle any
       such claim or cause of action, and such professionals shall be under the supervision of Servicer,
       subject to the approval of the Enterprise. In all claims or legal actions bringing claims against
       Enterprise and/or the Tribe involving questions of jurisdiction, tribal sovereignty or sovereign
       immunity issues, the Servicer shall consult with Enterprise and the Tribe concerning the
       presentation and defense of such actions and the Tribe and Enterprise shall provide any
       information necessary to assist in the Servicer's and Enterprise's defense of any such claims or
       legal actions. All liabilities, reasonable costs, and expenses, including attorneys' fees and
       disbursements, incurred in defending and/or settling any such claim or legal action which are not
       covered by insurance shall be paid from the Regulatory and Litigation Reserve Fund to be
       established by Enterprise and the Servicer pursuant to Section 6.3, or otherwise as an Servicing
       Expense. Nothing contained herein is a grant to the Servicer of the right to waive tribal sovereign
       immunity of the Tribe or of Enterprise.

                7.7    Tribal Laws. The Enterprise represents that attached hereto as Schedule 1.0 is a
       complete copy of each and every law of the Tribe or otherwise that may pertain to the
       transactions and activities contemplated to be conducted pursuant to this Agreement and the
       agreements between Enterprise and each designated service provider and lender of the
       Subsidiaries and between Enterprise and such Subsidiaries; and furthermore, that except as
       provided in such laws set forth in Schedule 1.0, there are no laws, requirements or restrictions
       that are reasonably known to the Parties as of the effective date of this Agreement that could
       apply to such transactions and activities, including but limited to laws, requirements or
       restrictions related to civil or criminal usury.      Any passage by the Tribe of any law or
       requirement that, in Servicer's discretion, is determined to have a material negative impact on the
       financial benefits of this Agreement may be regarded as a breach of this Agreement by
       Enterprise, and actionable by Servicer under the dispute resolution provisions herein.

               7.8    Waivers. No failure or delay by Servicer or Enterprise to insist upon the strict
       performance of any covenant, agreement, term or condition of this Agreement, or to exercise any
       right or remedy consequent upon the breach thereof, shall constitute a waiver of any such breach
       or any subsequent breach of such covenant, agreement, term or condition. No covenant,
       agreement, term, or condition of this Agreement and no breach thereof shall be waived, altered
       or modified except by written instrument. No waiver of any breach shall affect or alter this
       Agreement, but each and every covenant, agreement, term and condition of this Agreement shall
       continue in full force and effect with respect to any other then existing or subsequent breach
       thereof.

              7.9     Captions. The captions for each Section are intended for convenience only.

              7.10 Severabilitv. If any of the terms and provisions hereof shall be held invalid or
       unenforceable, such invalidity or unenforceability shall not affect any of the other terms or
       provisions hereof. If, however, any material part of a Party's rights under this Agreement shall be
       declared invalid or unenforceable (specifically including Servicer's right to receive its Servicing

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 CONFIDENTIAL                                                                                                 MARTORELLO_003496
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       Fees) the Party whose rights have been declared invalid or unenforceable shall have the option to
       tenninate this Agreement upon thirty (30) days written notice to the other Party, without liability
       on the part of the tenninating Party.

              7.n Interest. Any amount payable to Servicer or Enterprise by the other which has
       not been paid as provided herein shall accrue interest as may be agreed upon by the parties.

               7.12 Reimbursement. The perfonnance by Servicer of its responsibilities under this
       Agreement are conditioned upon Enterprise generating sufficient funds from borrowings and
       operations to enable Servicer on a timely basis to perfonn its obligations hereunder.
       Notwithstanding the foregoing, Servicer shall, according to the tenns of this Agreement may, at
       its option if not so required, advance funds or contribute property, on behalf of Enterprise,
       subject to the prior approval of the Enterprise, to satisfy obligations of Enterprise in connection
       with Enterprise and this Agreement. Servicer shall keep appropriate records to document all
       reimbursable expenses paid by Servicer, which records shall be made available for inspection by
       Enterprise through the Tribal Representative(s) or its agents upon request and supplied to the
       Tribe as sole member of the Enterprise on a monthly basis. Enterprise agrees to reimburse
       Servicer with interest from future Net Revenues of Enterprise for money paid or property
       contributed by Servicer to satisfy obligations of Enterprise in connection with this Agreement.
       Interest shall be calculated at the rate set forth in Section 7.11, or if no rate was agreed upon at
       six percent (6%) per annum, from the date the Servicer advances monies to the date
       reimbursement is made. The Servicer's sole source of such reimbursement shall be from the
       assets of Enterprise.

              7.13 Travel and Out-of-Pocket Expenses. Subject to the Servicing Budget, all travel
       and out-of-pocket expenses of Enterprise or Servicer or employees of Enterprise reasonably
       incurred in the perfonnance of their duties shall be an Servicing Expense.

               7.14 Third-Party Beneficiary. This Agreement is exclusively for the benefit of the
       parties hereto and it may not be enforced by any Party other than the parties to this Agreement
       and shall not give rise to liability to any third party other than the authorized successors and
       assigns of the parties hereto.

              7.15 Survival of Covenants. Any covenant, tenn or provision of this Agreement
       which, in order to be effective, must survive the tennination or expiration of this Agreement,
       shall survive any such tennination or expiration for a period of one (I) year following the
       tennination or expiration of this Agreement.

               7.16 Survival of Remedy. Subsequent to any tennination of this Agreement, the
       dispute resolution provisions of this Agreement, including but not limited to the waiver of the
       Enterprise's sovereign immunity, shall remain available to the Parties with respect to disputes
       arising out of or relating to this Agreement prior or subsequent for a period of one (I) year after
       the tennination date.

              7.17 Periods of Time. Whenever any detennination is to be made or action is to be
       taken on a date specified in this Agreement, if such date shall fall on a Saturday, Sunday or any



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CONFIDENTIAL                                                                                                  MARTORELLO_003497
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       holiday observed by the Tribe, then in such event, said date shall be extended to the next day
       which is not a Saturday, Sunday or Tribal holiday.

              7.18 Preparation of Agreement. This Agreement shall not be construed more
       strongly against either Party regardless of who is responsible for its preparation.

              7.19 Exhibits. All exhibits and schedules attached hereto are incorporated herein by
       reference and made a part hereof as if fully rewritten or reproduced herein.

                7.20 Successors. Assigns. and Subcontracting. The benefits and obligations of this
       Agreement shall inure to and be binding upon the parties hereto and their respective successors
       and assigns. Enterprise's (subject to the limitations of its Governing Documents) prior written
       consent shall be required for Servicer to assign or subcontract any of its rights, interests or
       obligations as Servicer hereunder to any successor or assign, except to any parent, subsidiary or
       affiliate of Servicer. The Enterprise shall, with the prior written consent of the Servicer, which
       consent shall not be unreasonably withheld, have the right to assign this Agreement and the
       assets of Enterprise to an instrumentality of the Tribe, including an entity wholly owned by the
       Tribe organized to conduct the business of Enterprise for the Tribe that assumes all obligations
       herein. Any assignment by the Enterprise shall not prejudice the rights of the Servicer under this
       Agreement. No assignment authorized hereunder shall be effective until all necessary
       government approvals, if any, have been obtained.

              7.21 Modification. Any change to or modification of this Agreement must be in
       writing signed by all parties hereto.

       8.     Warranties.

              8.1     Warranties. The Servicer and Enterprise each warrant and represent that they
       shall not act in any way whatsoever, directly or indirectly, to cause this Agreement to be
       amended, modified, canceled, or terminated, except pursuant to Section 7.22. The Servicer and
       Enterprise warrant and represent that they shall take all actions necessary to ensure that this
       Agreement shall remain in full force and effect at all times.

               8.2    Interference in Tribal Affairs. The Servicer agrees not to interfere in or attempt
       to influence the internal affairs or government decisions of Tribal government by offering cash
       incentives, by making written or oral threats to the personal or financial status of any person, or
       by any other action, specifically including actions in the normal course of business of the
       Servicer that only affect the activities of Enterprise, except for contact with Enterprise,
       authorized Enterprise employees, or the Tribe as contemplated in this Agreement. For the
       purposes of this Section 8.2, if any such undue interference in Tribal affairs is alleged by the
       Enterprise in writing and through arbitration it is found that the Servicer has unduly interfered
       with the internal affairs of the Tribal government and has not taken sufficient action to cure and
       prevent such interference, that finding of interference shall be grounds for termination of the
       Agreement.

               8.3    No Political Interference with Operations. The Enterprise agrees that it shall
       not, through the Tribe's elected government officials or tribal employees, interfere with the day-
       to-day operations of Servicer or of the Subsidiaries.
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CONFIDENTIAL                                                                                                 MARTORELLO_003498
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               8.4    Prohibition of Payments to Members of Tribal Government. The Servicer
      represents and warrants that no payments have been or will be made to any member of the Tribal
      government, any Tribal official, any relative of a member of Tribal government or Tribal
      official, or any Tribal government employee for the purpose of obtaining any special privilege,
      gain, advantage or consideration. Any payment received by a Tribal Representative or
      Operations Manager in the performance of his or her duties as they relate to the business of the
      Enterprise shall not constitute a prohibited payment.

              8.S     Prohibition of Financial Interest in Enterprise. No member of the Tribal
      government or relative of a member of the Tribal government shall have a direct or indirect
      financial interest in Enterprise greater than the interest of any other member of the Tribe, nor
      shall any such person have any direct or indirect financial interest in the Servicer, its parents,
      subsidiaries or affiliates. For purposes of this Section direct or indirect financial interest refers to
      ownership interest or right to receive Tribal Net Profits as defined by this Agreement. The
      individual who serves in the capacity of Tribal Representative, or other individuals employed by
      the Enterprise as Operations Manager or in some other capacity shall not be deemed to have a
      direct or indirect financial interest in the Enterprise as is prohibited by this Section.



              8.6     Definitions. As used in this Section 8, the term "member of the Tribal
      government" means the Tribal Representatives or any member of the Tribal Council, or other
      tribal elected official, or any independent board or body created to oversee any aspect of
      Enterprise or its business and any Tribal Court official; the term "relative" means an individual
      residing in the same household who is related as a spouse, father, mother, son or daughter.

      9.      Grounds for Termination.

             9.1     Voluntary Termination and Termination for Cause. This Agreement may be
      terminated as set forth in this Agreement.

              9.2   Voluntary Termination. This Agreement may be terminated upon the mutual
      written consent and approval of the Parties. This Agreement may also be terminated voluntarily
      solely by Servicer upon one hundred and eighty (180) days written notice to the other Party
      pursuant to the notice provisions of Section 7.1 herein. The Enterprise may terminate this
      agreement upon one hundred and eighty (180) days written notice following the period in which
      any Authorized Debt is outstanding in which any Bellicose VI or SourcePoint VI guaranty
      remains outstanding.

              9.3    Termination for Cause. Any of the parties may terminate this Agreement if any
      of the Parties commits or allows to be committed any material breach of this Agreement. A
      material breach of this Agreement shall include, but not be limited to, a failure of either Party to
      perform any monetary obligation within five (5) days of when due, or any nonmonetary material
      duty or obligation on its part for any twenty (20) consecutive days after notice. A Party may not
      terminate this Agreement on grounds of material breach unless it has provided written notice to
      the other parties of its intention to declare a default and to terminate this Agreement and the
      defaulting Party thereafter fails to cure or take steps to substantially cure the default within

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CONFIDENTIAL                                                                                                     MARTORELLO_003499
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       ninety (90) days following receipt of such notice. The discontinuance or correction of a material
       breach shall constitute a cure thereof.

             In the event of any termination for cause, regardless of fault, the Parties shall retain all
       money previously paid to them pursuant to Section 6 of this Agreement and shall receive all
       amounts currently owed to them under this Agreement.

                An election to pursue damages or other equitable remedies while this Agreement remains
       in effect pursuant to the provisions of Section 9.6 or 9.7 shall not preclude the injured Party from
       providing notice of termination pursuant to this Section 9.3. Neither shall termination preclude a
       suit for damages.

                9.4    Involuntary Termination Due to Changes in Legal Requirements. It is the
       understanding and intention of the parties that the establishment and operation of Enterprise
       conforms to and complies with all Legal Requirements. If during the term of this Agreement,
       Enterprise, or any material aspect of the business conducted by Enterprise, becomes prohibited
       by operation of federal law or determined by final judgment of a court of competent jurisdiction,
       after all appeals thereof, to be unlawful under applicable law, the obligations of the parties hereto
       shall cease, and this Agreement shall be of no further force and effect; provided that (i) the
       Servicer shall have the rights in Section 4.4 of this Agreement; (ii) the Servicer and the
       Enterprise shall retain all money previously paid to them pursuant to Section 6 of this
       Agreement; (iii) funds of Enterprise in any account shall be paid and distributed as provided in
       Section 6 of this Agreement, provided any Authorized Debt shall be paid in full; (iv) any money
       lent by or guaranteed by the Servicer or its affiliates to Servicer shall be repaid to the Servicer to
       the extent provided in a written agreement entered in connection therewith, with recovery of
       monetary payments or damages limited in recourse to Enterprise assets and any such payments
       or damages shall be made only after payment in full of any and all amounts under any
       Authorized Debt; and (v) the Enterprise, directly or indirectly, shall retain its interest in the title
       to all Enterprise assets, fixtures, supplies and equipment subject to any requirements of financing
       arrangements. Nothing contained in this Section 9.4 shall be read to preclude either or both
       parties from contesting any actions which could lead to the involuntary cessation of business by
       Enterprise.

               9.5     Consequences of Seryicer's Breach. In the event of the termination of this
       Agreement by Enterprise for cause under Section 9.3, the Servicer shall not, prospectively from
       the date of termination, except as provided in Section 9.3, have the right to its Servicing Fee
       from Enterprise, but such termination shall not affect the Servicer's rights relating to
       reimbursement for any amounts it has loaned Enterprise under this Agreement through the date
       of termination or other agreements entered pursuant hereto. Any Net Revenues accruing through
       the date of termination shall be distributed in accordance with Section 6 of this Agreement.

               9.6     Consequences of Enterprise's Breach. In the event of termination of this
       Agreement by the Servicer for cause under Section 9.3, the Servicer shall not be required to
       perform any further services under this Agreement and Enterprise shall indemnify and hold the
       Servicer harmless against all liabilities of any nature whatsoever relating to Enterprise, but only
       insofar as these liabilities result from acts within the control of Enterprise or its agents or created
       by the termination of this Agreement, and also with the source for such indemnification limited

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CONFIDENTIAL                                                                                                     MARTORELLO_003500
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       to the assets or future earnings of Enterprise and without recourse to other assets of the Tribe.
       The parties acknowledge and agree that termination of this Agreement may not be a sufficient or
       appropriate remedy for breach by Enterprise, and further agree that pursuant to the other
       provisions of this Agreement, the Servicer shall, upon breach of this Agreement by Enterprise,
       have the right to pursue such remedies (in addition to termination) at law or equity as it
       determines are best able to compensate it for such breach, including, without limitation monetary
       compensation, except that the source for such compensation shall be limited to the assets or
       future earnings of Enterprise without recourse to other assets of the Tribe, specifically the
       Servicing Fee pursuant to Section 6 for a term equal to the then remaining term of this
       Agreement at the amount specified in Section 6 provided any such payments or damages shall be
       subordinate to the payment of the amounts due under any Authorized Debt. Enterprise
       specifically acknowledges and agrees that there will be irreparable harm to the Servicer and that
       damages will be difficult to determine if Enterprise commits any breach, and Enterprise therefore
       further acknowledges that an injunction and/or other equitable relief is an appropriate remedy for
       any such breach. In such event, the Servicer shall have the right to its Servicing Fee accruing
       through the date of termination as provided in Section 6 of this Agreement, the repayment of
       unpaid principal and interest and other amounts due under any loans from it to Enterprise,
       provided any such payments or damages shall be subordinate to the payment of the amounts due
       under any Authorized Debt as defined in Section 5.2.

       10.     Conclusion Of the Servicing Term. Upon the conclusion of the Term of this
       Agreement, or the termination of this Agreement under other of its provisions, in addition to
       other rights under this Agreement, the Servicer shall have the following rights:

                10.1 Transition. If termination occurs at any time other than upon the conclusion of its
       Term, Servicer shall be entitled to a reasonable period of not less than thirty (30) days to
       transition services for which it has been retained to provide to Enterprise to the Tribe or its
       designee. Any property or equipment of Servicer that may be located at any location of the Tribe
       or Enterprise shall be returned to Servicer. Any property or equipment of Enterprise that may be
       located at any location of the Tribe or Enterprise shaH be returned to Enterprise.

              10.2 Undistributed Net Revenues and Remaining Regulatory and Litigation
       Reserve Fund Monies. If Enterprise has accrued Net Revenues which have not been distributed
       under Section 6 of this Agreement, the Servicer shall receive that Servicing Fee equal to that Fee
       it would have received had the distribution occurred during the Term of the Servicing
       Agreement. Any monies remaining in the Regulatory and Litigation Reserve Fund twelve (12)
       months after the conclusion of the management term shall be distributed fifty-fifty to the
       Servicer and Enterprise in accord with the proportion the Parties contributed those monies to the
       Regulatory and Litigation Reserve Fund.

       11.    Consents and Approvals.

              11.1 Enterprise. Where approval or consent or other action of Enterprise is required,
       such approval shaH mean the written approval of the Enterprise subject to its Governing
       Documents. Should the Governing Documents require the Tribe as sole member of the
       Enterprise to act, such action should be evidenced by a duly enacted resolution or properly


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CONFIDENTIAL                                                                                                MARTORELLO_003501
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       recorded motion at a meeting of the Tribal Council thereof. Any such approval, consent or action
       shall not be unreasonably withheld or delayed.

              11.2 Servicer. Where approval or consent or other action of the Servicer is required,
       such approval shall mean the written approval of the Operations Manager. Any such approval,
       consent or other action shall not be unreasonably withheld or delayed.

       12.    Disclosures.

                12.1 Warranties. The Servicer warrants and represents as follows: (i) no person or
       entity has any beneficial ownership interest in the Servicer other than as set forth herein; (ii) no
       officer, director or owner of 5% or more of the stock of the Servicer has been arrested, indicted
       for, convicted of, or pleaded nolo contendere to any felony or any offense related to business of
       payday loans or the payday loan industry in general, or had any association with individuals or
       entities known to be connected with organized crime; and (iii) no offices or director of the
       Servicer, has been arrested, indicted for, convicted of, or pleaded nolo contendere to any felony
       or any offense described in subsection (ii) above, or had any association with individuals or
       entities known to be connected with organized crime.

               12.2 Disclosure Amendments. The Servicer agrees that whenever there is any
       material change in the information disclosed pursuant to this Section 12 it shall notify the
       Enterprise in writing pursuant to Section 7.1. All of the warranties and agreements contained in
       this Section 12 shall apply to any person or entity that would be listed in this Section 12 as a
       result of such changes.

                12.3 Breach of Servicer Warranties and Agreements. The material breach of any
       warranty or agreement of the Servicer contained in this Section 12 shall be grounds for
       immediate termination of this Agreement; provided that if a breach of the warranty contained in
       clause (ii) of Section 12.2 is discovered, and such breach was not disclosed but all officers and
       directors of the Servicer sign sworn affidavits that they had no knowledge of such breach, then
       the Servicer shall have thirty (30) days after notice from Enterprise to terminate the interest of
       the offending person or entity and, if such termination takes place, this Agreement shall remain
       in full force and effect.

       13.      No Present Lien Lease or Joint Venture. The parties agree and expressly warrant that
       neither the Servicing Agreement nor any exhibit thereto is a mortgage or lease and,
       consequently, does not convey any present interest whatsoever in Enterprise or its assets, nor any
       proprietary interest in Enterprise itself. The parties further agree and acknowledge that it is not
       their intent, and that this Agreement shall not be construed, to create a joint venture between
       Enterprise and the Servicer; rather, the Servicer shall be deemed to be an independent contractor
       for all purposes hereunder.

       14.    Enterprise's Limited Waiver of Sovereign Immunity. Subject to the provisions hereof,
       Enterprise, to the extent that Enterprise can avail itself to the sovereign immunity of the Tribe,
       the Enterprise hereby clearly, expressly and irrevocably grants to Servicer and its respective
       successors and assigns hereunder a clear, express and unequivocal waiver of tribal sovereign
       immunity, to the extent limited herein, from suits, actions or arbitration or mediation proceedings

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CONFIDENTIAL                                                                                                  MARTORELLO_003502
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       and consents to suits, actions or arbitration or mediation proceedings arlsmg under this
       Agreement, all in accordance with the terms and limitations herein. Enterprise hereby makes this
       limited waiver of sovereign immunity as follows:

               14.1 For the purpose of allowing the Servicer to take any and all actions necessary to
      enforce the provisions of this Agreement pursuant to the alternative dispute resolution
      procedures set forth in Section 18, including mediation, arbitration, and judicial enforcement
      proceedings which seek injunctive or declaratory relief and/or damages (as limited in Paragraph
       16), specific performance or other legal and equitable remedies in the court or courts authorized
      by this Agreement and to effect enforcement of any remedy granted herein. This waiver of
      sovereign immunity also applies to any attempt by a later tribal government to revoke the
      Enterprise's waiver of sovereign immunity or consents herein. The Enterprise waives its
      sovereign immunity, if applicable, from a judgment or order (including any appellate judgment
      or order) and post judgment proceedings supplemental thereto consistent with the terms and
      provisions hereof, which is final because either the time for appeal thereof has expired or the
      judgment or an order issued by a court having final appellate jurisdiction over the matter.

               14.2 Subject to this Section 14, pursuant to its limited waiver, Enterprise expressly
       waives its immunity from suit and consents to be hailed into mediation or arbitration as provided
       in Section 18 and/or to be sued in any of the following: the Lac Vieux Desert Band of Lake
       Superior Chippewa Tribal Court, Michigan state courts, and the United States District Court for
       the Western District of Michigan and appellate courts therefrom for all three (3) jurisdictions for
       any claims by the Servicer arising out of this Agreement. As to any claims by the Servicer or its
       successors or assigns arising under this Agreement, Enterprise waives its rights to claim it is a
       tribal entity and/or is operating as a subordinate part of the tribal government entitling as a
       defense to legal action by the Servicer or its successors or assigns in accord with this Paragraph
       14.2.

                14.3 Enterprise agrees that it shall not plead or raise as a defense to any action brought
       by the Servicer or its successors or assigns any right or claim of right to the requirement of
       exhaustion of tribal court remedies, as the parties have expressly agreed, subject to 14.2 above.
       The Enterprise waives its rights to have any dispute, controversy, suit, action or proceeding, if
       any, heard in any tribal court or other tribunal or forum, council or adjudicative body of the
       whether or not such forum now exists or is hereafter created. The Enterprise hereby expressly
       waives any requirement which may exist for exhaustion of any remedies available in any tribal
       forum prior to the commencement of any dispute, controversy, suit, action proceeding in any
       state or federal court even if any such tribal forum would have concurrent jurisdiction over any
       such dispute, controversy, suit, action or proceeding but for such waiver, and any application of
       the abstention doctrine and any other law or interpretation thereof that might otherwise require,
       as a matter of law or comity, that resolution of any claim, controversy or dispute be heard first in
       a tribal forum.

              14.4 The limited waiver of sovereign immunity granted here does not include any
       waiver, either express or implied, to any third party.

              14.5 The Enterprise covenants and agrees that the clear, express and unequivocal
       limited waiver of sovereign immunity and other waivers contained herein are irrevocable and

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CONFIDENTIAL                                                                                                  MARTORELLO_003503
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       agrees not to revoke or limit, in whole or in part, such waiver of sovereign immunity or other
       waivers contained herein or in any way attempt to revoke or limit, in whole or in part, such
       waiver of sovereign immunity or other waivers, as the case may be. In the event that the
       Enterprise (i) revokes, limits, or attempts to revoke or limit the waivers granted herein, (ii) takes
       any action that is inconsistent with the waivers granted herein, or (iii) fails to submit to the
       jurisdiction of the tribal, state or federal courts or arbitration tribunals as provided herein, the
       parties expressly recognize and agree that there remains no adequate remedy at law available to
       the Parties and that they will be injured. In any such event, Enterprise hereby agrees that the
       Servicer may seek immediate judicial injunctive relief as provided herein.

               14.6 The limited waiver of sovereign immunity of Enterprise as provided for in this
       Section shall expire at the conclusion of the longer of (i) one (I) year after the termination or
       expiration of this Agreement, or (ij) at the conclusion of any mediation, arbitration or litigation
       matter with respect to this Agreement pending at the termination or expiration of this Agreement,
       including the conclusion of any potential appeals available from such proceedings.

       15.    Time is of the Essence. Time is of the essence in the performance of this Agreement.

       16.     Tribal Assets. The Servicer understands and agrees that notwithstanding anything to the
       contrary herein, the obligations of the Enterprise hereunder are unsecured obligations and no
       recourse may be made against any assets of the Tribe, and recourse may only be made against
       the revenues and personal property of Enterprise after entry of a judgment in a court of
       competent jurisdiction as provided by the applicable law and the provisions of this Agreement
       related to an arbitration and provided that obligations due under any Authorized Debt have been
       paid in full or payment of the judgment is approved by the Lender under any Authorized Debt.

       17.    Governing Law. The interpretation, validity and performance of this Agreement shall be
       governed by the laws of the Tribe and of the State of Michigan, without regard to the conflicts of
       law rules of sllch Tribe or State. If any of the terms and provisions of this Agreement shall be
       held invalid or unenforceable for any reason, such invalidity or unenforceability shall not affect
       any of the other terms or provisions hereof, all such other terms and provisions to be valid and
       enforceable to the fullest extent permitted by law.

       18.     Dispute Resolution. All disputes, controversies or claims between the Parties arising out
       of or relating to this Agreement, including without limitation any dispute, controversy or claim
       between the Parties regarding the rights, duties, adequacy of performance, breach, or liabilities of
       a Party under any provision of this Agreement or the validity or enforceability of this Agreement
       ("Dispute"), shall be resolved by binding arbitration conducted in accordance with the provisions
       of this Section ("Arbitration Proceedings") and per the limited waiver of tribal sovereign
       immunity contained in Section 14 above. If a Party ("Complaining Party") concludes that the
       other Party ("Responding Party") has failed to comply with, or is proposing to take action which
       is inconsistent or will breach any term or condition of this Agreement, and the Parties informal
       efforts to resolve the Dispute as set forth in Paragraph 18.1 below have been unsllccessful, the
       Complaining Party may give written notice to the Responding Party ("Notice of Dispute"),
       which specifies: (a) the nature of the Dispute; (b) the corrective action which must be taken to
       remove, or, where appropriate, to commence removal of, the Dispute, if the Dispute is
       susceptible to cure ("Corrective Action"); (c) a reasonable time limit within which the Corrective

                                                        28




                                                                                                                 JA541
CONFIDENTIAL                                                                                                   MARTORELLO_003504
USCA4 Appeal:
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       Action must be taken ("Time Limit"); and (d) the amount of damages or losses asserted to have
       arisen from the Dispute. Except in the case of emergencies, no Arbitration Proceedings on a
       Dispute may be commenced by a Party unless prior Notice of Dispute and opportunity to take
       Corrective Action have been given as provided in this Subsection. If, within the Time Limit, the
       Responding Party fails in the reasonable judgment of the Complaining Party to take substantial
       steps to make the Corrective Action provided for in the Notice of Dispute then, with respect to
       the Dispute, either Party may initiate Arbitration Proceedings under Paragraph 18.2 with respect
       to the asserted Dispute. Each of the Parties hereby agrees that this arbitration provision is valid
       and enforceable and therefore waives any defense or assertion to the contrary.

               18.1 NegotiationslMediation. Before Arbitration Proceedings are commenced, the
       Parties shall use their best efforts to settle the Dispute by negotiating with each other in good
       faith and, recognizing their mutual interests, attempting to reach a just and equitable solution
       satisfactory to both Parties. Should the Parties' good faith efforts to resolve a Dispute be
       unsuccessful, the Parties agree that prior to resorting to judicial or arbitral avenues of relief, they
       may engage a mutually-acceptable mediator to assist them in resolving the Dispute. If the
       Parties do not reach a solution within a period of thirty (30) days from the date on which the
       Dispute was first asserted in writing, then the provisions in Paragraph 18.2 below shall apply.

               18.2 Binding Arbitration. Subject to the requirements and limitations of Paragraph
       18.1, either Party shall have the right to have the Dispute decided by Arbitration Proceedings in
       the manner provided in this Paragraph 18.2.

                       18.2.1 Notice of Intent. A Party intending to demand arbitration shall first
        serve written notice of that intent ("Notice of Intent to Arbitrate") on the other Party and shall
        promptly thereafter file the Notice of Intent to Arbitrate with any arbitration organization of its
        choosing in accordance with the that arbitration organization's rules and pay the required fees.
        A Notice of Intent to Arbitrate shall specify: (a) the matters to be submitted to arbitration; (b)
        the nature of the relief to be sought in the arbitration; and (c) the name of the "Pre-Approved
        Arbitrator" desired to be selected by the Party. The Parties have established a list of pre-
        approved, mutually acceptable arbitrators, "Pre-Approved Arbitrators," whom either Party may
        identify as the decider for any Dispute under any arbitration organization's rules. The list of
        Pre-Approved Arbitrators is contained at Schedule 18.2.1 hereto..

                         18.2.2 Response. Within ten (10) days after the service of a Notice of Intent to
        Arbitrate, the other Party shall serve a written response ("Response") specifying (a) any
        additional matters it intends to submit to arbitration relating to the Dispute, and (b) the nature of
        any relief it intends to seek in the arbitration. The responding Party shall promptly thereafter file
        the Response with the arbitration organization that received the Notice of Intent and pay any
        required fees. In the event that the Pre-Approved Arbitrator identified by the Party initiating a
        Notice of Intent to Arbitrate is unavailable to serve for whatever reason, the responding Party
        shall in its Response identify an alternate Pre-Approved Arbitrator from Schedule 18.2.1 to hear
        the Dispute. The Parties shall alternate identification of Pre-Approved Arbitrators no longer
        than each ten (10) days until a Pre-Approved Arbitrator who is able to serve in the timeframes
        provided in this Agreement is identified.



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                                                                                                                   JA542
CONFIDENTIAL                                                                                                     MARTORELLO_003505
USCA4Case
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                        18.2.3 Arbitrators. The Pre-Approved Arbitrators identified from Schedule
        18.2.1 shall be the "Decider Arbitrator." Any Arbitration Proceedings shall take place
        exclusively before the single Decider Arbitrator. Any Decider Arbitrator shall be competent
        and professionally experienced in the matter being arbitrated. The Parties further agree that no
        arbitrator shall be an officer, agent, employee, stockholder or contractor of any Party or its
        affiliates, and nor shall any arbitrator be a member or descendent or spouse of a member or
        descendent of the Tribe. If no Pre-Approved Arbitrator can serve then the Decider Arbitrator to
        be appointed shall be selected by the arbitration organization that received the Notice of Intent.
        All arbitrators, no matter how designated or appointed, shall act as neutral arbitrators. All
        decisions, awards, orders and other rulings of the arbitrators, relief awarded, or other
        substantive or procedural matters ("Decisions") shall be made by only the duly-appointed
        Decider Arbitrator, shall be in writing signed by the Decider Arbitrator, and shall include the
        findings of fact and conclusions of law on which the Decision is based.

                        18.2.4 Conduct of Arbitration. After the Notice of Intent to Arbitrate has been
        delivered, arbitration shall be considered commenced as to all matters properly submitted under
        the foregoing provisions, and shall thereafter be prosecuted with diligence in accordance with
        the following provisions, unless the Parties agree otherwise. The Decider Arbitrator shall apply
        the governing law specified in Section 17, and shall follow such rules of discovery and evidence
        as the United States District Court for the State of Michigan would apply. Within sixty (60)
        days of commencement of the arbitration actions, and after receiving evidence and hearing
        witnesses, if any, the Decider Arbitrator shall render his or her award, accompanied by findings
        of fact and a statement of reasons for the decision.

                        18.2.5 Standard of Review. All Decisions rendered by the Decider Arbitrator
        shall be determined in light of the nature of the Dispute, the circumstances surrounding the
        Dispute, applicable Laws, and the rights and interests of the Parties, so as to do substantial
        justice to the Parties. No order in Arbitration Proceedings may terminate this Agreement except
        upon (a) a determination that the Dispute on which the order is based constitutes a major and
        material default under this Agreement, or (b) upon a determination of repeated defaults
        sufficient to indicate callous indifference to a Party's obligations under this Agreement;
        provided that in no event shall this Agreement be subject to termination for breach of a term or
        conditions the breach of which the Parties have agreed shall not be the basis for termination of
        this Agreement.

                        18.2.6 Place of Arbitration. All hearings and other proceedings in the
        arbitration shall be held at Marquette, Michigan, unless otherwise designated by the Parties.

                       18.2.7 Relief Available. With respect to the matters submitted to Arbitration
        Proceedings, the Decider Arbitrator shall have authority to:

                              (a)     issue appropriate Interlocutory Orders to mitigate damage or
       prevent irreparable injury to a Party; and

                              (b)    render a final decision which:




                                                       30




                                                                                                               JA543
                                                                                                             MARTORELLO_003506
 CONFIDENTIAL
USCA4Case
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                                      (i)     detennines or declares the rights, duties, adequacy of
       perfonnance, breach or liabilities of a Party under the Agreement;

                                      (ii)   orders a Party to specifically perfonn its obligations under
       the Agreement;

                                      (iii)   awards appropriate injunctive, declaratory or compensatory
       monetary relief for the benefit of a Party; and/or

                                      (iv)    contains such further relief and provisions as the arbitrators
       have jurisdiction and authority to grant.

              The Decider Arbitrator shall not have jurisdiction or authority to assess special,
       consequential or punitive damages against either Party. Except as inconsistent with the
       provisions of this Section 18, the arbitration shall be conducted in accord with the Commercial
       Rules of the American Arbitration Association then in effect.

                       18.2.8 Decision Binding; Enforcement.           The Decision of the Decider
        Arbitrator shall become a "Final Decision" at the time rendered. All Final Decisions shall be
        conclusive and binding on the Parties with respect to the matters decided, and shall be complied
        with by the Parties. A Party may enter a Final Decision and institute Judicial Proceedings for
        the sole purpose of enforcing a Final Decision in any tribunal specific in Section 14 above. In
        such Judicial Proceedings, neither Party, without consent of the other Party, shall be entitled to
        contend that the Final Decision should be vacated, modified or corrected and the Parties hereby
        expressly waive all other rights and remedies that might otherwise be available in the Judicial
        Proceeding.

                        18.2.9 Costs of Arbitration. All costs of arbitration, including the fees and
        expenses of the Decider Arbitrator, shall initially be borne equally by the Parties, but ultimate
        responsibility for such costs shall be detennined by the Decider Arbitrator in the course of his or
        her decision and/or award according to the extent to which each Party prevailed on the issues
        subject to the arbitration. Each Party shall bear the costs and expenses for the presentation of its
        case, including the fees of its attorneys and experts.

                       18.2.10 Survival of Remedy. Subsequent to any expiration or termination of
        this Agreement, this Section shall remain available to the Parties with respect to Disputes
        arising out of or relating to this Agreement, whether such Dispute arose prior or subsequent to
        the expiration or tennination of the Agreement, for the longer of (i) one (I) year, or (ii) the
        conclusion of any proceedings timely initiated pursuant to this Section 18, including the
        conclusion of any appeals allowed by proceedings hereunder.

       19.     Performance During Disputes. It is mutually agreed that during any kind of
       controversy, claim, disagreement or dispute, including a dispute as to the validity of this
       Agreement or to tenninate the Agreement for cause, Servicer shall remain in Enterprise as
       Servicer; and Enterprise and Servicer shall continue their performance of the provisions of this
       Agreement and its exhibits, subject to the maintenance of any licenses required to perfonn such
       duties. Servicer shall be entitled to seek injunctive relief from such court or other competent
       authority as contemplated by Section 14 of this Agreement to maintain the status quo in the event
                                                        31




                                                                                                                 JA544
 CONFIDENTIAL                                                                                                  MARTORELLO_003507
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       of a threatened eviction during any dispute, controversy, claim or disagreement arising out of this
       Agreement.

       20.     Confidential Information. Each of the Parties agree that any information received
       concerning any other Party during the performance of this Agreement, regarding a Party's
       organization, financial matters, marketing plans, or other information of a proprietary nature (the
       "Confidential Information"), will be treated by all Parties in full confidence and except as
       required to allow Servicer or Enterprise to perform their respective covenants and obligations
       hereunder, or in response to legal process or appropriate and necessary inquiry, and will not be
       revealed to any other persons, firms or organizations; provided, however, that a Party may
       disclose such information to such of its officers, employees or agents who need to know the
       information for purposes of performing services to such Party for purposes related to this
       Agreement and who agree to keep such information confidential and to be bound by this Section
       to the same extent as if they were signatories to and bound by this Agreement. The provisions of
       Sections 3.3.2 and 3.3.3 shall apply to the enforcement of this Section. The provisions of this
       Section shall survive the termination of this Agreement. Confidential Information shall include
       all information, data, knowledge, and know-how (in whatever form and however communicated)
       relating to the Enterprise, or to its businesses, operations, properties, products, strategies, plans,
       markets, or financial positions, that is delivered or disclosed by Servicer, or any Servicer
       representative, or any of its officers, directors, partners, employees, agents, affiliates, or
       shareholders, to Enterprise in writing, electronically, verbally, or through visual means, or which
       Enterprise learns or obtains aurally, through observation or through analyses, interpretations,
       compilations, studies, or evaluations of such information, data, knowledge, or know-how
       regardless of whether or not any such information is marked or designated "confidential."

                The obligations not to use or disclose the Confidential Information shall not apply to
       Confidential Information which (a) has been made previously available to the public by
       Enterprise or the Tribe as sole member of Enterprise or Servicer or Servicer's affiliates or
       becomes generally available to the public, unless the Confidential Information being made
       available to the public results in a breach of this Agreement; (b) prior to disclosure to Enterprise
       or Servicer or Servicer's affiliates, was already rightfully in any such person's possession; or (c)
       is obtained by Enterprise or Servicer or Servicer's affiliates from a third party who is lawfully in
       possession of such Information, and not in violation of any contractual, legal or fiduciary
       obligation to Enterprise or the Tribe as sole member of Enterprise or Servicer or Servicer's
       affiliates, with respect to such Confidential Information and who does not require Enterprise or
       Servicer or Servicer's affiliates to refrain from disclosing such Confidential Information to
       others.

       21.     Execution. This Agreement is being executed in three (3) counterparts. Each of the three
       originals is equally valid and binding upon the parties.

       22.    Enterprise Name. Enterprise shall be operated under the business name of Red Rock
       Tribal Lending, LLC, and such trade names as both the Servicer and Enterprise and the Tribe as
       sole member of Enterprise shall agree.

       23.    Intent to Negotiate New Agreement. On or before one hundred twenty (120) days
       before the end of the Term of this Agreement, Enterprise shall give Servicer notice of its intent

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                                                                                                                  JA545
CONFIDENTIAL                                                                                                    MARTORELLO_003508
USCA4Case
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       regarding their willingness to enter into negotiations for a new Servicing Agreement to be
       effective upon the conclusion of this Agreement. If Enterprise and Servicer are unable to agree to
       the terms of a new agreement or if Enterprise decide not to enter into negotiations for a new
       agreement, then Enterprise and Servicer shall agree upon a transition plan within thirty (30)
       days' notice from Enterprise of its intention not to negotiate a new Servicing Agreement which
       plan shall be sufficient to allow Enterprise to operate Enterprise and provide for the orderly
       transition of the management of Enterprise.

       24.    Entire Agreement. This Agreement, including the Exhibits referred to herein and any
       document executed by the Parties simultaneously herewith, constitutes the entire understanding
       and agreement of the Parties hereto and supersedes all other prior agreements and
       understandings, written or oral, between the Parties.

       25.      Additional Actions. Each of the Parties agrees to execute, deliver and, if necessary,
       record any and all additional instruments, certifications, amendments, modifications and other
       documents as may be reasonably required by another Party in order to effectuate, complete,
       perfect, continue or preserve the respective rights, obligations, liens and interests of the parties
       hereto to the fullest extent permitted by law; provided, that any such additional instrument,
       certification, amendment, modification or other document shall not materially change the
       respective rights, remedies or obligations of Enterprise or the Servicer under this Agreement or
       any other agreement or document related hereto. Each of the parties further agrees to review and
       consider the tax benefits that arise from the operation of Enterprise pursuant to the terms of this
       Agreement and to allocate such tax benefits among the parties in order to promote the respective
       interests of the parties hereto to the fullest extent permitted by law.

       26.     Representation. The Tribe and Enterprise have been represented by Rosette, LLP in
       connection with the negotiation of this Agreement, and Servicer has been represented by
       Greenberg Traurig LLP. Each Party has had its attorneys fully explain and counsel it in
       connection with the rights and obligations imposed upon such Party under this Agreement and
       the agreements and other documents contemplated to be executed in connection with the
       Unsecured Lending Business. Each Party has a complete understanding of such rights and
       obligations and is entering into the Agreement notwithstanding any covenants or restrictions set
       forth herein that may impose obligations on the parties.

                                 [remainder of page intentionally left blank]




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                                                                                                                JA546
 CONFIDENTIAL                                                                                                 MARTORELLO_003509
USCA4 Appeal:
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                IN WITNESS WHEREOF, the parties hereto have executed this Agreement on the day
         and year first above written.


                                                RED ROCK TRIBAL LENDING, LLC


                                                By:~I&fi--
                                                Name: Craig Mansfield

                                                Title: Co-Manager




                                                Name: Michelle Allen


                                                Title: Co-Manager


                                                SOURCEPOINT VI, LLC


                                                By                                       _

                                                Name: Matt Martorello

                                                Title: President




                                                     1


                                                                                      JA547
CONFIDENTIAL                                                                       MARTORELLO_003510
USCA4 Appeal:
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         3:17-cv-00461-REP   11-2      Filed: 12/06/2023
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                                     Schedule 1.0




                                       2




                                                                                  JA548
CONFIDENTIAL                                                                   MARTORELLO_003511
USCA4 Appeal:
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                     Schedule 18.2.1 - List of Pre-Approved Arbitrators


                     List of Pre-Approved Arbitrators from Indian Country


                                           Robert Anderson


                                           John Bickerman


                                           Robert Clinton


                                           Matthew L.M. Fletcher


                                           JoAnn Cook-Gasco


                                           B.J. Jones


                                           Stacey Leeds


                                           Carrie Newton Lyons


                                           John Petoskey


                                           Michael Petoskey


                                           Frank Pommerscheim


                                           Wenona Singel


                                           Jill Tompkins


                                           Kevin Washburn


                                           Robert A. Williams




                                                                                   JA549
CONFIDENTIAL                                                                    MARTORELLO_003512
USCA4Case
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                                    Exhibit 16




                                                                                   JA550
USCA4Case
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                     LULA WILLIAMS, ET AL. vs BIG PICTURE LOANS, LLC, ET AL.
                                 Matthew Martorello on 08/30/2018                                ·

          ·1· · · · · ·IN THE UNITED STATES DISTRICT COURT
          · · · · · · ·FOR THE EASTERN DISTRICT OF VIRGINIA
          ·2· · · · · · · · · · RICHMOND DIVISION

          ·3· ·LULA WILLIAMS, et al., on· · *
          · · ·behalf of themselves and all *
          ·4· ·other similarly situated· · ·*
          · · ·individuals,· · · · · · · · ·*
          ·5· · · · · · Plaintiff,· · · · · *
          · · · · · · · · · · · · · · · · · *
          ·6· ·VS.· · · · · · · · · · · · · *· Civil Action No.
          · · · · · · · · · · · · · · · · · *· 3:17-cv-461 (REP)
          ·7· ·BIG PICTURE LOANS, LLC,· · · *
          · · ·et al.,· · · · · · · · · · · *
          ·8· · · · · · Defendants.· · · · ·*

          ·9
          · · ·****************************************************
          10
          · · · · · · · ORAL AND VIDEOTAPED DEPOSITION OF
          11· · · · · · · · · · MATTHEW MARTORELLO
          · · · · · · · · · · · · AUGUST 30, 2018
          12
          · · ·****************************************************
          13

          14· · · · · · · · ·DEPOSITION of MATTHEW MARTORELLO,

          15· ·produced as a witness at the instance of the

          16· ·Plaintiffs, and duly sworn, was taken in the

          17· ·above-styled and numbered cause on the 30th day of

          18· ·August, 2018, from 10:09 a.m. to 2:44 p.m., before

          19· ·Christy R. Sievert, CSR, RPR, in and for the State

          20· ·of Texas, reported by machine shorthand, at the

          21· ·offices of Kellett & Bartholow, PLLC, 11300 North

          22· ·Central Expressway, Suite 301, Dallas, Texas 75243,

          23· ·pursuant to the Texas Rules of Civil Procedure and

          24· ·the provisions stated on the record or attached

          25· ·hereto.


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                Charlotte ~ Atlanta ~ Washington, DC ~ New York ~ Houston ~ San Francisco
                                                                                          JA551
USCA4Case
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                     LULA WILLIAMS, ET AL. vs BIG PICTURE LOANS, LLC, ET AL.
                                 Matthew Martorello on 08/30/2018                           Page 2

          ·1· · · · · · · · · A P P E A R A N C E S

          ·2

          ·3· ·FOR THE PLAINTIFFS:

          ·4· · ·MS. KRISTI C. KELLY
          · · · ·MR. ANDREW J. GUZZO
          ·5· · ·Kelly & Crandall, PLC
          · · · ·3925 Chain Bridge Road, Suite 202
          ·6· · ·Fairfax, Virginia· 22030
          · · · ·Phone:· · ·703-424-7570
          ·7· · ·E-mail:· · kkelly@kellyandcrandall.com
          · · · · · · · · · aguzzo@kellyandcrandall.com
          ·8

          ·9· ·COUNSEL FOR MATTHEW MARTORELLO:

          10
          · · · ·MR. RICHARD L. SCHEFF
          11· · ·Montgomery, McCracken, Walker & Rhoads, LLP
          · · · ·123 South Broad Street
          12· · ·Philadelphia, Pennsylvania· 19109
          · · · ·Phone:· · ·215-772-7502
          13· · ·E-mail:· · rscheff@mmwr.com

          14
          · · ·ALSO PRESENT:
          15
          · · · ·GUS PHILLIPS, Videographer
          16· · ·WILL RAINE, Videographer

          17

          18

          19

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                                                                                          JA552
USCA4Case
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                     LULA WILLIAMS, ET AL. vs BIG PICTURE LOANS, LLC, ET AL.
                                 Matthew Martorello on 08/30/2018                         Page 30

          ·1· ·question is whether or not this is a final.· I do
          ·2· ·see other signatures on it.· I suspect it is, but I
          ·3· ·just don't know if his signature is on this one.
          ·4· ·That's all.
          ·5· · · ·A.· ·Under the assumption that it's final, yeah,
          ·6· ·it's -- it looks like the document.
          ·7· ·BY MS. KELLY:
          ·8· · · ·Q.· ·And was this servicing agreement ever
          ·9· ·amended during the time that you were a president of
          10· ·SourcePoint VI?
          11· · · · · · · · ·MR. SCHEFF:· Object to the form.                            I
          12· ·think it misstates the testimony.
          13· · · · · · Answer the question.
          14· · · ·A.· ·This -- I don't recall any amendments to
          15· ·this document at any time.
          16· ·BY MS. KELLY:
          17· · · ·Q.· ·Okay.
          18· · · ·A.· ·Sorry.· Just got a small technicality
          19· ·there.
          20· · · ·Q.· ·How -- how long was this servicing
          21· ·agreement in effect?
          22· · · ·A.· ·Well, I guess -- I mean, there's two dates
          23· ·on here.· So whichever one you would consider the
          24· ·start date through somewhere in late 2015 or early
          25· ·2016, somewhere in. . .

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                Charlotte ~ Atlanta ~ Washington, DC ~ New York ~ Houston ~ San Francisco
                                                                                          JA553
                                                                                                    YVer1f
USCA4Case
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                     LULA WILLIAMS, ET AL. vs BIG PICTURE LOANS, LLC, ET AL.
                                 Matthew Martorello on 08/30/2018                        Page 152

          ·1· · · · · ·IN THE UNITED STATES DISTRICT COURT
          · · · · · · ·FOR THE EASTERN DISTRICT OF VIRGINIA
          ·2· · · · · · · · · · RICHMOND DIVISION

          ·3· ·LULA WILLIAMS, et al., on· · *
          · · ·behalf of themselves and all *
          ·4· ·other similarly situated· · ·*
          · · ·individuals,· · · · · · · · ·*
          ·5· · · · · · Plaintiff,· · · · · *
          · · · · · · · · · · · · · · · · · *
          ·6· ·VS.· · · · · · · · · · · · · *· Civil Action No.
          · · · · · · · · · · · · · · · · · *· 3:17-cv-461 (REP)
          ·7· ·BIG PICTURE LOANS, LLC,· · · *
          · · ·et al.,· · · · · · · · · · · *
          ·8· · · · · · Defendants.· · · · ·*

          ·9· · · · · · · · ·REPORTER'S CERTIFICATION
          · · · · · · · ·DEPOSITION OF MATTHEW MARTORELLO
          10· · · · · · · · · · · AUGUST 30, 2018

          11· · · · · · · · ·I, CHRISTY R. SIEVERT, CSR, RPR, in

          12· ·and for the State of Texas, hereby certify to the

          13· ·following:

          14· · · · · · That the witness, MATTHEW MARTORELLO, was

          15· ·duly sworn by the officer and that the transcript of

          16· ·the oral deposition is a true record of the

          17· ·testimony given by the witness;

          18· · · · · · I further certify that the signature of

          19· ·the deponent was requested by the deponent or a

          20· ·party and is to be returned within 30 days from date

          21· ·of receipt of the transcript.· If returned, the

          22· ·attached Changes and Signature Page contains any

          23· ·changes and the reasons therefor;

          24· · · · · · I further certify that I am neither

          25· ·counsel for, related to, nor employed by any of the


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                Charlotte ~ Atlanta ~ Washington, DC ~ New York ~ Houston ~ San Francisco
                                                                                          JA554
USCA4Case
     Appeal: 23-2097    Doc: 11-2
          3:17-cv-00461-REP   Document Filed:
                                       1166-1612/06/2023     Pg: 99
                                                  Filed 04/21/23    of 493
                                                                  Page  6 of 6 PageID# 48202

                     LULA WILLIAMS, ET AL. vs BIG PICTURE LOANS, LLC, ET AL.
                                 Matthew Martorello on 08/30/2018                        Page 153

          ·1· ·parties or attorneys in the action in which this

          ·2· ·proceeding was taken, and further that I am not

          ·3· ·financially or otherwise interested in the outcome

          ·4· ·of the action.

          ·5· · · · · · Subscribed and sworn to on this the 1st

          ·6· ·day of September, 2018.

          ·7

          ·8

          ·9· · · · · · · · · · · · · ·____________________________

          10· · · · · · · · · · · · · ·CHRISTY R. SIEVERT, CSR, RPR
          · · · · · · · · · · · · · · ·Expiration Date:· 12/31/2018
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                Charlotte ~ Atlanta ~ Washington, DC ~ New York ~ Houston ~ San Francisco
                                                                                          JA555
USCA4Case
      Appeal: 23-2097   Doc: 11-2
          3:17-cv-00461-REP            Filed: 12/06/2023
                              Document 1166-17               Pg: 100
                                                 Filed 04/21/23      of 1493
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                                    Exhibit 17




                                                                                   JA556
USCA4Case
      Appeal: 23-2097   Doc: 11-2
          3:17-cv-00461-REP            Filed: 12/06/2023
                              Document 1166-17               Pg: 101
                                                 Filed 04/21/23      of 2493
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                                                                                   JA557
USCA4Case
      Appeal: 23-2097   Doc: 11-2
          3:17-cv-00461-REP            Filed: 12/06/2023
                              Document 1166-17               Pg: 102
                                                 Filed 04/21/23      of 3493
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                                                                                   JA558
USCA4Case
      Appeal: 23-2097   Doc: 11-2
          3:17-cv-00461-REP            Filed: 12/06/2023
                              Document 1166-17               Pg: 103
                                                 Filed 04/21/23      of 4493
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                                                                                   JA559
USCA4Case
      Appeal: 23-2097   Doc: 11-2
          3:17-cv-00461-REP            Filed: 12/06/2023
                              Document 1166-17               Pg: 104
                                                 Filed 04/21/23      of 5493
                                                                  Page    of 26 PageID# 48207




                                                                                   JA560
USCA4Case
      Appeal: 23-2097   Doc: 11-2
          3:17-cv-00461-REP            Filed: 12/06/2023
                              Document 1166-17               Pg: 105
                                                 Filed 04/21/23      of 6493
                                                                  Page    of 26 PageID# 48208




                                                                                   JA561
USCA4Case
      Appeal: 23-2097   Doc: 11-2
          3:17-cv-00461-REP            Filed: 12/06/2023
                              Document 1166-17               Pg: 106
                                                 Filed 04/21/23      of 7493
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                                                                                   JA562
USCA4Case
      Appeal: 23-2097   Doc: 11-2
          3:17-cv-00461-REP            Filed: 12/06/2023
                              Document 1166-17               Pg: 107
                                                 Filed 04/21/23      of 8493
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                                                                                   JA563
USCA4Case
      Appeal: 23-2097   Doc: 11-2
          3:17-cv-00461-REP            Filed: 12/06/2023
                              Document 1166-17               Pg: 108
                                                 Filed 04/21/23      of 9493
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                                                                                   JA564
USCA4 Appeal:
    Case      23-2097   Doc: 11-2
         3:17-cv-00461-REP             Filed: 12/06/2023
                             Document 1166-17                Pg: 109
                                                 Filed 04/21/23  Pageof10
                                                                        493
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                                                                                   JA565
USCA4 Appeal:
    Case      23-2097   Doc: 11-2
         3:17-cv-00461-REP             Filed: 12/06/2023
                             Document 1166-17                Pg: 110
                                                 Filed 04/21/23  Pageof11
                                                                        493
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                                                                                   JA566
USCA4 Appeal:
    Case      23-2097   Doc: 11-2
         3:17-cv-00461-REP             Filed: 12/06/2023
                             Document 1166-17                Pg: 111
                                                 Filed 04/21/23  Pageof12
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                                                                                   JA567
USCA4 Appeal:
    Case      23-2097   Doc: 11-2
         3:17-cv-00461-REP             Filed: 12/06/2023
                             Document 1166-17                Pg: 112
                                                 Filed 04/21/23  Pageof13
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                                                                                   JA568
USCA4 Appeal:
    Case      23-2097   Doc: 11-2
         3:17-cv-00461-REP             Filed: 12/06/2023
                             Document 1166-17                Pg: 113
                                                 Filed 04/21/23  Pageof14
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                                                                                   JA569
USCA4 Appeal:
    Case      23-2097   Doc: 11-2
         3:17-cv-00461-REP             Filed: 12/06/2023
                             Document 1166-17                Pg: 114
                                                 Filed 04/21/23  Pageof15
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                                                                                   JA570
USCA4 Appeal:
    Case      23-2097   Doc: 11-2
         3:17-cv-00461-REP             Filed: 12/06/2023
                             Document 1166-17                Pg: 115
                                                 Filed 04/21/23  Pageof16
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                                                                                   JA571
USCA4 Appeal:
    Case      23-2097   Doc: 11-2
         3:17-cv-00461-REP             Filed: 12/06/2023
                             Document 1166-17                Pg: 116
                                                 Filed 04/21/23  Pageof17
                                                                        493
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                                                                                   JA572
USCA4 Appeal:
    Case      23-2097   Doc: 11-2
         3:17-cv-00461-REP             Filed: 12/06/2023
                             Document 1166-17                Pg: 117
                                                 Filed 04/21/23  Pageof18
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                                                                                   JA573
USCA4 Appeal:
    Case      23-2097   Doc: 11-2
         3:17-cv-00461-REP             Filed: 12/06/2023
                             Document 1166-17                Pg: 118
                                                 Filed 04/21/23  Pageof19
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                                                                                   JA574
USCA4 Appeal:
    Case      23-2097   Doc: 11-2
         3:17-cv-00461-REP             Filed: 12/06/2023
                             Document 1166-17                Pg: 119
                                                 Filed 04/21/23  Pageof20
                                                                        493
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USCA4 Appeal:
    Case      23-2097   Doc: 11-2
         3:17-cv-00461-REP             Filed: 12/06/2023
                             Document 1166-17                Pg: 120
                                                 Filed 04/21/23  Pageof21
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                                                                                   JA576
USCA4 Appeal:
    Case      23-2097   Doc: 11-2
         3:17-cv-00461-REP             Filed: 12/06/2023
                             Document 1166-17                Pg: 121
                                                 Filed 04/21/23  Pageof22
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                                                                                   JA577
USCA4 Appeal:
    Case      23-2097   Doc: 11-2
         3:17-cv-00461-REP             Filed: 12/06/2023
                             Document 1166-17                Pg: 122
                                                 Filed 04/21/23  Pageof23
                                                                        493
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                                                                                   JA578
USCA4 Appeal:
    Case      23-2097   Doc: 11-2
         3:17-cv-00461-REP             Filed: 12/06/2023
                             Document 1166-17                Pg: 123
                                                 Filed 04/21/23  Pageof24
                                                                        493
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                                                                                   JA579
USCA4 Appeal:
    Case      23-2097   Doc: 11-2
         3:17-cv-00461-REP             Filed: 12/06/2023
                             Document 1166-17                Pg: 124
                                                 Filed 04/21/23  Pageof25
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                                                                                   JA580
USCA4 Appeal:
    Case      23-2097   Doc: 11-2
         3:17-cv-00461-REP             Filed: 12/06/2023
                             Document 1166-17                Pg: 125
                                                 Filed 04/21/23  Pageof26
                                                                        493
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                                                                                   JA581
USCA4Case
      Appeal: 23-2097   Doc: 11-2
          3:17-cv-00461-REP            Filed: 12/06/2023
                              Document 1166-18               Pg: 126
                                                 Filed 04/21/23      of 1493
                                                                  Page    of 16 PageID# 48229




                                    Exhibit 18




                                                                                   JA582
USCA4Case
      Appeal: 23-2097   Doc: 11-2
          3:17-cv-00461-REP            Filed: 12/06/2023
                              Document 1166-18               Pg: 127
                                                 Filed 04/21/23      of 2493
                                                                  Page    of 16 PageID# 48230
  Message
  From:               John Evans [john.evans@csb.co.ck]
  Sent:               8/8/2013 6:06:05 PM
  To:                 Matt Martorello [mattm@bellicosevi.com]
  Subject:            RE: Valuation Method


  Thank you Matt,

  Appreciate the documents you have sent through,

  These should be more than adequate however I'll let you know if I have any questions,

  Kind Regards
  John



  John Evans I Operations Manager, Capital Security Bank Limited

  Phone                      (+682) 22505                                                   Centerpoint
  Fax                        (+682) 22506                                                   Main Road, Avarua
  Skype                      john-csb                                                       PO Box 906
  Email                      john.evans@csb.co.ck                                           Rarotonga, Cook Islands
                                                                                                                                                        CAJ'!TAL SC0.1UTY
  Web                        www.capitalsecuritybank.com                                                                                                  n:..NX rn,1t'IT,n
  US Free Fax                (+1) 800 863 0056


                                                                                                                th
  "Important Note - CS B's USD correspondent will be changing as of the 30                                           June 2013. Click here for our new
  details."

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  (+682) 22505, or replying to this communication, and then delete all copies of it from your system.




  From: Matt Martorello [mailto:mattm@bellicosevi.com]
  Sent: Thursday, 8 August 2013 5:50 a.m.
  To: John Evans
  Subject: FW: Valuation Method

  This might help as well.


  From: Argyros, John (VG - British Virgin Islands) [mailto:jargyros@DELOITTE.com ]
  Sent: Friday, March 8, 2013 10:18 AM
  To: Matt Martorello; Simon Liang
  Cc: White, Richard (VG - Road-Town); Hyndman, Michele (VG - British Virgin Islands); Kondrateva, Tatyana (VG - British
  Virgin Islands)
  Subject: RE: Valuation Method

  Good morning Matt,

  Please find attached our final Valuation Report with AOI and ICA names corrected.

  I hope that you have a good day and please let me know should you require further assistance from us in this regard.

  Many thanks,




CONFIDENTIAL PURSUANT TO
                                                                                                                                                    JA583
                                                                                                                                           MARTORELLO_038979
PARTIES' PROTECTIVE ORDER
USCA4Case
      Appeal: 23-2097   Doc: 11-2
          3:17-cv-00461-REP            Filed: 12/06/2023
                              Document 1166-18               Pg: 128
                                                 Filed 04/21/23      of 3493
                                                                  Page    of 16 PageID# 48231
  John Argyros
  Manager
  Financial Advisory Services
  Deloitte & Touche

  British Virgin Islands
  Wickham's Cay 1, PO Box 3083, Road Town, Tortola
  VGlllO I British Virgin Islands
  Tel:+ 1 (284) 494 2868 Ext. 2015 I Fax:+ 1 (284) 494 7889 I Mobile: +1 (284) 346 2015

  U.S. Virgin Islands
  9100 Port of Sale Mall, Suite #13
  St. Thomas I US Virgin Islands I 00802-3602
  Tel:+ 1 (340) 715 2868 I Fax:+ 1 (340) 776 7889

  jargyros@deloitte.com I www.deloitte.com



  From: Matt Martorello [mailto:mattm@bellicosevi.com ]
  Sent: 05 March 2013 15:15
  To: Argyros, John (VG - British Virgin Islands); Simon Liang
  Cc: White, Richard (VG - Road-Town); Hyndman, Michele (VG - British Virgin Islands); Kondrateva, Tatyana (VG - British
  Virgin Islands)
  Subject: RE: Valuation Method

  Looks good. Only need to get AOI and ICA names corrected in the final version.



  Regards,

  Matt Martorello
  Mobile: 773-209-7720
  Email: MattM@BellicoseVl.com

          B
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  From: Argyros, John (VG - British Virgin Islands) [mailto :jargyros@DELOITTE.com ]
  Sent: Tuesday, March 05, 2013 11:54 AM
  To: Matt Martorello; Simon Liang
  Cc: White, Richard (VG - Road-Town); Hyndman, Michele (VG - British Virgin Islands); Kondrateva, Tatyana (VG - British
  Virgin Islands)
  Subject: RE: Valuation Method

  Good morning Matt,

  Thank you for your e-mail.

  Please find attached our Valuation report version 2. Please will you review the report and if you are happy with it then
  we shall send you our final version.




CONFIDENTIAL PURSUANT TO
                                                                                                                                                            JA584
                                                                                                                                                  MARTORELLO_038980
PARTIES' PROTECTIVE ORDER
USCA4Case
      Appeal: 23-2097   Doc: 11-2
          3:17-cv-00461-REP            Filed: 12/06/2023
                              Document 1166-18               Pg: 129
                                                 Filed 04/21/23      of 4493
                                                                  Page    of 16 PageID# 48232
  Many thanks and have a great day,

  John Argyros
  Manager
  Financial Advisory Services
  Deloitte & Touche

  British Virgin Islands
  Wickham's Cay 1, PO Box 3083, Road Town, Tortola
  VGlllO I British Virgin Islands
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  Tel:+ 1 (340) 715 2868 I Fax:+ 1 (340) 776 7889

  jargyros@deloitte.com I www.deloitte.com



  From: Matt Martorello [mailto:mattm@bellicosevi.com ]
  Sent: 04 March 2013 17:58
  To: Simon Liang; Argyros, John (VG - British Virgin Islands)
  Cc: White, Richard (VG - Road-Town); Hyndman, Michele (VG - British Virgin Islands); Kondrateva, Tatyana (VG - British
  Virgin Islands)
  Subject: RE: Valuation Method

  Hi John, I just want to make sure you guys are on track and communicating with Michele on the valuation.

  Regards,

  Matt Martorello
  Mobile: 773-209-7720
  Email: MattM@BellicoseVl.com

          B
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  From: Simon Liang
  Sent: Wednesday, February 27, 2013 4:56 PM
  To: Argyros, John (VG - British Virgin Islands); Matt Martorello
  Cc: White, Richard (VG - Road-Town); Rebecca Martorello
  Subject: RE: Valuation Method

  John, please see my answers below. Thank you.

  Regards,

  Simon Liang
  Office: 340-715-1807
  Mobile: 773-677-6962




CONFIDENTIAL PURSUANT TO
                                                                                                                                                            JA585
                                                                                                                                                  MARTORELLO_038981
PARTIES' PROTECTIVE ORDER
USCA4Case
      Appeal: 23-2097   Doc: 11-2
          3:17-cv-00461-REP            Filed: 12/06/2023
                              Document 1166-18               Pg: 130
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  From: Argyros, John (VG - British Virgin Islands) fmailto:jargyros@DELOITTE.com ]
  Sent: Wednesday, February 27, 2013 2:18 PM
  To: SL@bellicosevi.com ; mattm@bellicosevi.com
  Cc: White, Richard (VG - Road-Town); rh@bellicosevi.com
  Subject: RE: Valuation Method

  Good afternoon Simon,

  After reviewing and updating our valuation model please could you assist me with the following:

       1) Per inspection of the Balance Sheet of Bellicose VI there is no longer an investment in Bellicose Management
            ("BM"). There is now an investments in "GMK". Has BM changed its name to "GMK" and is this the acronym for
            Green Key Marketings, LLC? I realise that the GMK does not provide an exact acronym for Green Key Marketings
            but I am assuming that this is perhaps a typo.[Simon Liang] BellicoseVI Management, LLC was changed to BC
            Brokerage, LLC. None of them is on BVI balance sheet because they didn't have any business activities in 2012.
            The previously recorded capital contribution was the payment of legal services and we believe it should be
            expensed by BVI. Green Key Markets, LLC is a different entity and not related to BVM.
       2) Per inspection of the Balance Sheet of Source Point VI ("SP") I have noticed that there is a "Notes Receivable -
            LVD". Could you please let me know the full name of "LVD"?[Simon Liang] Lac Vieux Desert Band of Lake
            Superior Chippewa Indians borrowed $200K from SPVI on 12/27/12.
       3) IFI has a loan receivable from "TFB VI, LLC" - Could you please clarify whether this is the full name of this entity or
            is the TFB an acronym? IFI also has notes payable to "TJA", "TPA" and "CPS'. Could you please clarify the full
            names for these acronyms?[Simon Liang] Yes, TFB VI, LLC is the full name of the entity and it is owned by 7X.
            The three debt investors are: Timothy P. Arenberg, Terrence J. Arenberg and Columbia Pipe & Supply, Co.
       4) Per inspection of the Income Statement of SP I have noticed that there does not appear to be any rent/payroll
            expenses for the period to 31 December 2012. Is there perhaps a reason for this omission and based on your
            response are these expenses still forecast to occur in 2013 and 20l4?[Simon Liang] We plan to allocate part of
            BVI rent and payroll expenses to SPVI and that is why they are shown on the proforma, but are not shown in
            SPVI 2012 income statement.

  Thank you for your assistance with the above Simon and I hope that you have a good day,

  John Argyros
  Manager
  Financial Advisory Services
  Deloitte & Touche

  British Virgin Islands
  Wickham's Cay 1, PO Box 3083, Road Town, Tortola
  VGlllO I British Virgin Islands
  Tel:+ 1 (284) 494 2868 Ext. 2015 I Fax:+ 1 (284) 494 7889 I Mobile: +1 (284) 346 2015

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CONFIDENTIAL PURSUANT TO
                                                                                                                                                            JA586
                                                                                                                                                  MARTORELLO_038982
PARTIES' PROTECTIVE ORDER
USCA4Case
      Appeal: 23-2097   Doc: 11-2
          3:17-cv-00461-REP            Filed: 12/06/2023
                              Document 1166-18               Pg: 131
                                                 Filed 04/21/23      of 6493
                                                                  Page    of 16 PageID# 48234


  jargyros@deloitte.com I www.deloitte.com



  From: Argyros, John (VG - British Virgin Islands)
  Sent: 26 February 2013 17:43
  To: 'SL@bellicosevi.com'; mattm@bellicosevi.com
  Cc: White, Richard (VG - Road-Town); rh@bellicosevi.com
  Subject: RE: Valuation Method

  Thank you Simon, I shall be in touch soon with our draft report for your final review.

  Many thanks and have a good evening,

  John Argyros
  Manager
  Financial Advisory Services
  Deloitte & Touche

  British Virgin Islands
  Wickham's Cay 1, PO Box 3083, Road Town, Tortola
  VGlllO I British Virgin Islands
  Tel:+ 1 (284) 494 2868 Ext. 2015 I Fax:+ 1 (284) 494 7889 I Mobile: +1 (284) 346 2015

  U.S. Virgin Islands
  9100 Port of Sale Mall, Suite #13
  St. Thomas I US Virgin Islands I 00802-3602
  Tel:+ 1 (340) 715 2868 I Fax:+ 1 (340) 776 7889

  jargyros@deloitte.com I www.deloitte.com



  From: SL@bellicosevi.com [mailto:SL@bellicosevi.com ]
  Sent: 26 February 2013 10:36
  To: Argyros, John (VG - British Virgin Islands); mattm@bellicosevi.com
  Cc: White, Richard (VG - Road-Town); rh@bellicosevi.com
  Subject: RE: Valuation Method

  John,

  BVI and its subsidiaries' 2012 financials are attached. Depreciation and amortization will be recorded according to tax
  return calculation. Please let us know if you have any questions. Thank you.



  Regards,

  Simon Liang
  Office: 340-715-1807
  Mobile: 773-677-6962
  Email: SL@BellicoseVl.com

          B



CONFIDENTIAL PURSUANT TO
                                                                                                            JA587
                                                                                                     MARTORELLO_038983
PARTIES' PROTECTIVE ORDER
USCA4Case
      Appeal: 23-2097   Doc: 11-2
          3:17-cv-00461-REP            Filed: 12/06/2023
                              Document 1166-18               Pg: 132
                                                 Filed 04/21/23      of 7493
                                                                  Page    of 16 PageID# 48235
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  From: Argyros, John (VG - British Virgin Islands) [mailto:jargyros@DELOITTE.com ]
  Sent: Wednesday, February 06, 2013 11:39 AM
  To: mattm@bellicosevi.com
  Cc: White, Richard (VG - Road-Town); rh@bellicosevi.com ; SL@bellicosevi.com
  Subject: RE: Valuation Method

  Hi Matt,

  To make payment by wire transfer, please use the following details:

  Instructions to:
  Wachovia Bank, New York
  Swift Code: PNBPUS3NNYC ABA Code: 026005092

  For initial credit to:
  FirstCaribbean International Bank (Cayman) Limited, British Virgin Islands
  Swift Code: FCIBVGVG
  Account Number 2000192005393

  And Onward Credit To:
  Deloitte & Touche, British Virgin Islands
  Account Number 215266893

  Many thanks,

  John Argyros
  Manager
  Financial Advisory Services
  Deloitte & Touche

  British Virgin Islands
  Wickham's Cay 1, PO Box 3083, Road Town, Tortola
  VGlllO I British Virgin Islands
  Tel:+ 1 (284) 494 2868 Ext. 2015 I Fax:+ 1 (284) 494 7889 I Mobile: +1 (284) 346 2015

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  St. Thomas I US Virgin Islands I 00802-3602
  Tel:+ 1 (340) 715 2868 I Fax:+ 1 (340) 776 7889

  jargyros@deloitte.com I www.deloitte.com



  From: mattm@bellicosevi.com [mailto :mattm@bellicosevi.com ]
  Sent: 06 February 2013 11:22
  To: Argyros, John (VG - British Virgin Islands)
  Cc: White, Richard (VG - Road-Town); rh@bellicosevi.com ; SL@bellicosevi.com
  Subject: RE: Valuation Method




CONFIDENTIAL PURSUANT TO
                                                                                                                                                            JA588
                                                                                                                                                  MARTORELLO_038984
PARTIES' PROTECTIVE ORDER
USCA4Case
      Appeal: 23-2097   Doc: 11-2
          3:17-cv-00461-REP            Filed: 12/06/2023
                              Document 1166-18               Pg: 133
                                                 Filed 04/21/23      of 8493
                                                                  Page    of 16 PageID# 48236
  Could be the case. Please send me wire info to make payment.

  Regards,

  Matt Martorello
  Mobile: 773-209-7720
  Email: MattM@BellicoseVl.com

          B
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  From: Argyros, John (VG - British Virgin Islands) [mailto:jargyros@DELOITTE.com ]
  Sent: Wednesday, February 06, 2013 11:14 AM
  To: mattm@bellicosevi.com
  Cc: White, Richard (VG - Road-Town)
  Subject: RE: Valuation Method

  Good morning Matt,

  I hope that you are well.

  I just wanted to follow up on our invoice number 2369 attached. I believe per our debtors department that this amount
  is outstanding. Would you perhaps be able to look into this on our behalf?

  Furthermore, I have attached our final invoice for the valuation performed.

  I look forward to hearing from you soon and I await receipt of the final numbers for our use in the valuation.

  Many thanks and have a good day,

  John Argyros
  Manager
  Financial Advisory Services
  Deloitte & Touche

  British Virgin Islands
  Wickham's Cay 1, PO Box 3083, Road Town, Tortola
  VGlllO I British Virgin Islands
  Tel:+ 1 (284) 494 2868 Ext. 2015 I Fax:+ 1 (284) 494 7889 I Mobile: +1 (284) 346 2015

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  St. Thomas I US Virgin Islands I 00802-3602
  Tel:+ 1 (340) 715 2868 I Fax:+ 1 (340) 776 7889

  jargyros@deloitte.com I www.deloitte.com



  From: SL@bellicosevi.com [mailto:SL@bellicosevi.com ]
  Sent: 31 January 2013 19:28
  To: Argyros, John (VG - British Virgin Islands)




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                                                                                                                                                            JA589
                                                                                                                                                  MARTORELLO_038985
PARTIES' PROTECTIVE ORDER
USCA4Case
      Appeal: 23-2097   Doc: 11-2
          3:17-cv-00461-REP            Filed: 12/06/2023
                              Document 1166-18               Pg: 134
                                                 Filed 04/21/23      of 9493
                                                                  Page    of 16 PageID# 48237
  Cc: mattm@bellicosevi.com ; White, Richard (VG - Road-Town)
  Subject: Re: Valuation Method

  We will send them to you as soon as BVl's ready.



  Regards,

  Simon Liang
  Mobile: 773-677-6962
  Office: 340-715-1807
  Email: SL@BellicoseVl.com



  On Jan 31, 2013, at 7:26 PM, " SL@bellicosevi.com " <SL@bellicosevi.com > wrote:

          Hi John,

         Financials for most of BVI subsidiaries are done. BVI financials will be available in middle of February. We
         will send them all to you as soon as poss



          Regards,

          Simon Liang
          Mobile: 773-677-6962
          Office: 340-715-1807
          Email: SL@BellicoseVl.com



         On Jan 30, 2013, at 3:18 PM, "Argyros, John (VG - British Virgin Islands)" <jargyros@DELOITTE.com >
         wrote:

                     Good afternoon Matt and Simon,

                     I hope that you are both well.

                     I just wanted to follow up on our e-mail below. We need the 12/31 financials to finalize
                     our valuation report. Do you perhaps know when these may be completed and ready for
                     us to utilize in our report?

                     Many thanks,

                     John Argyros
                     Manager
                     Financial Advisory Services
                     Deloitte & Touche

                     British Virgin Islands
                     Wickham's Cay 1, PO Box 3083, Road Town, Tortola
                     VGlllO I British Virgin Islands
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                     U.S. Virgin Islands




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                                                                          of 16 PageID# 48238
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               Tel:+ 1 (340) 715 2868 I Fax:+ 1 (340) 776 7889

               jargyros@deloitte.com I www.deloitte.com



               From: White, Richard (VG - Road-Town)
               Sent: 11 January 2013 17:11
               To: mattm@bellicosevi.com ; Argyros, John (VG - British Virgin Islands)
               Cc: SL@bellicosevi.com
               Subject: RE: Valuation Method

               Thanks Matt

               Richard White
               Director
               Deloitte & Touche
               Telephone: +1 (284) 494 2868 ext: 2012 I Cell: +1 (284) 346 2012
               www.deloitte.com


               From: mattm@bellicosevi.com fmailto:mattm@bellicosevi.com ]
               Sent: Friday, January 11, 2013 5:09 PM
               To: Argyros, John (VG - British Virgin Islands)
               Cc: White, Richard (VG - Road-Town); SL@bellicosevi.com
               Subject: RE: Valuation Method

               Only a few comments:

               -Page i - last sentence of objectives should read, "In order to change the classification of
               the Bellicose parent company from "C" corporation to LLC."
               -Page 7 - please remove strengths listed: "Compliant to an extent" and "State gov
               unlikely to enforce criminal liability ... "
               -Page 10 - fee paid to Jennifer Gallaway for legal services
               -Page 11 - WMS is due to terminate in the 1st quarter of 2013
               -Page 13 - Salaries and prof fees are paid to ... BVI employs a financial analyst that time is
               allocated to as used. 0/H is allocated as well, and professional fees is legal. My time is
               also allocated to salaries.

               We will get you 12/31 financials when they are done for you to finalize the report,
               thanks.

               Regards,

               Matt Martorello
               Mobile: 773-209-7720
               Email: MattM@BellicoseVl.com


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                                                 Filed 04/21/23  Pageof11
                                                                        493
                                                                          of 16 PageID# 48239

               From: Argyros, John (VG - British Virgin Islands) fmailto:jargyros@DELOITTE.com]
               Sent: Wednesday, January 09, 2013 12:49 PM
               To: mattm@bellicosevi.com
               Cc: White, Richard (VG - Road-Town); SL@bellicosevi.com
               Subject: RE: Valuation Method

               Good afternoon Matt,

               I hope that you are well.

               Please find attached our first draft valuation report. Please review the report and feel
               free to ask either Richard or I any questions which you may have.

               In order for us to finalise the report we shall need:

                   1) The Statement of Financial Position of all entities as at 31 December 2012;
                   2) The Statement of Comprehensive Income for SP from October - December 2012.
                       We have the figures per your updated Pro form a statement sent to us, however,
                       I am not sure as to whether these are final or not.
                   3) The Statement of Comprehensive Income for ICA for the year ended 31
                       December 2012. Our report has utilised budgeted figures and not the actual
                       results.

               I hope that you have a good day and I look forward to hearing from you soon,

               John Argyros
               Manager
               Financial Advisory Services
               Deloitte & Touche

               British Virgin Islands
               Wickham's Cay 1, PO Box 3083, Road Town, Tortola
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               jargyros@deloitte.com I www.deloitte.com



               From: Argyros, John (VG - British Virgin Islands)
               Sent: 22 December 2012 08:43
               To: 'mattm@bellicosevi.com '
               Cc: White, Richard (VG - Road-Town); SL@bellicosevi.com
               Subject: RE: Valuation Method

               Hi Matt,

               Thank you for sending us this information. It is certainly a fascinating forecast and we
               look forward to gaining further insights into the model once we have received it.




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               Have a good weekend and speak soon,

               John Argyros
               Manager
               Financial Advisory Services
               Deloitte & Touche

               British Virgin Islands
               Wickham's Cay 1, PO Box 3083, Road Town, Tortola
               VGlllO I British Virgin Islands
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               Tel:+ 1 (340) 715 2868 I Fax:+ 1 (340) 776 7889

               jargyros@deloitte.com I www.deloitte.com



               From: mattm@bellicosevi.com fmailto:mattm@bellicosevi.com ]
               Sent: 21 December 2012 20:28
               To: Argyros, John (VG - British Virgin Islands)
               Cc: White, Richard (VG - Road-Town); SL@bellicosevi.com
               Subject: RE: Valuation Method

               Sorry for the delay, but figuring out how to price all of these risks into our forecasts is
               pretty interesting. I can say that b/w the having 1 Tribal client thing and having high risk
               of losing their bank account and/or their ACH provider, the pro-forma won't exist for
               longer than 30 - 36 months which is about where I'd expect to lose one or the other and
               terminate business.

               In reality, I certainly hope that we can find new business models to venture into and
               new clients. Maybe traditional banks will one day be willing to service the industry again
               too. I certainly can't say any of that is anywhere in process or even close at this time, so I
               won't be accounting for that in these models.

               Lead costs have doubled in 3 years, I'll continue that trend and we will assume on the
               capacity that we have today.

               Revenue generated per loan will become lower as we expect the industry to become
               more competitive as well of the 30 - 36 months we'll have in the business as it is.

               Hoping to have this to you very soon.

               Regards,

               Matt Martorello
               Mobile: 773-209-7720
               Email: MattM@BellicoseVl.com




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               From: mattm@bellicosevi.com
               Sent: Monday, December 10, 2012 8:59 AM
               To: Argyros, John (VG - British Virgin Islands) (jargyros@DELOITTE.com )
               Cc: White, Richard (VG - Road-Town) (ricwhite@deloitte.com ); 'SL@bellicosevi.com '
               Subject: Valuation Method
               Importance: High

               Hey guys, I have some urgent questions for you on valuation.

               -What would you value the old US internet poker websites at the point in time when
               you knew Washington was pushing to ban them from the US altogether? And did?
               -What would you value a business that's competitors are being sought out by several
               state governments and the federal government challenging the legality (i.e. the Tribal
               Gaming model before a favorable federal law was created)? These businesses were
               entitled to 90% of the revenue as their fee for services, and they were sued by the state
               every time. They ended up getting lucky and getting a federal law passed, but their
               revenue was cut to 30% max, and for only a period of 7 years max.
               -What would you value medicinal marijuana stores that are not yet legal and could get
               shut down any day?
               -What would you value STATE LICENSED stores in the state of Ohio, at the moment that
               a bill is in congress to cap rates at 36%, resulting ALL stores closing down? This just
               happened last year and it's the perfect analogy to the position our client is in today.
               -What would you value a drug cartel at? (i.e. a business that is illegal, yet very
               profitable)?

               This industry is going to be living in the grey area of its legality for another year or two.
               State governments will continue to sue the Tribes and me saying their state laws apply.
               Tribes will continue to say their laws apply.

               The FTC right now is suing a competitor (FTC vs. AMG Services and Scott Tucker, which
               you can Google) and are alleging 3 or 4 violations of consumer lending laws. Our client
               arguably employs similar practices and the FTC has begun investigations of several Tribal
               lenders like our client, and their service providers. If Tucker/ AMG loses, the FTC is
               seeking RESTITUTION OF ALL REVENUE EVER EARNED BY THE COMPANY. Not profit,
               REVENUE! You've seen this last year by the other industry regulator who we expect our
               audit from in Ql next year, the CFPB. They settled for $250mm with Capital One for ALL
               REVENUE ever earned off a product that the CFPB did not like. They did the same to
               American Express and another large bank. Our industry is on the list. This concept of
               restitution makes this business one of the only in the world where there is no LIMITED
               LIABILITY to equity holders. As restitution from the government means I personally
               would have to give every$ I have to my name, period. I don't just lose my investment.

               Class action lawsuits follow and are already following Tucker's case with the FTC. Also
               see Martin Butch Webb/Western Sky and look that up.

               There is no business with such risk to it as this you, you will simply not find any business
               out there that can measure up on risk. That's why the proper discount rate I would
               apply would be 300%.
               -There are NO public companies doing what we do, and there will never be




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               -Major funds want nothing to do with the equity side of what we are doing for the major
               liability reasons stated above
               -In fact, major banks WILL NOT service our Tribal clients, as they want nothing to do
               with the business. Wells Fargo closed our accounts on us just 4 months ago! The risk of
               losing a bank, means that we lose access to ALL of the cash that is out in loans, and we
               lose everything.
               -Identical risk to the ACH servicers between the borrower and the bank. We lose them
               (there are 2 in the US that are willing to service the business) and they are small players,
               then we lose all of the principal that is on the street and all of our money.
               -We only have ONE CLIENT, and if you read their contract, they can cancel with 180
               days' notice and we have no revenue. Think about the large fees that we earn from
               them, what's to keep them from canceling our service? This is a major point and I think
               you need to look closely at that agreement and the pricing and termination.
               -Our client is a Tribe, and we could never sue them. They could "nationalize" the debt
               and investment that we've made in them and we would never see those funds again.
               This happened recently where Wells Fargo lent $30mm to a Tribal entity, then the Tribal
               council simply nationalized those assets and told Wells they can't sue them and the
               money is there's. This is not a traditional client we have, and again, we only have 1
               client! If I were on their end, as I represent about 80% of their expenses, I'd be looking
               for a way to operate alone and TERMINATE my agreement.
               -300% returns is annualized what equity players will make if they can avoid all of these
               issues. Despite 300% returns, there still isn't a public company, there still isn't a major
               institutional player rolling these up when sellers like me would sell at 1.Sx EBITDA and a
               traditional valuation would put the business at 10 times that?
               -Debt holders don't have any of these risks. If the Restitution penalty is applied, then
               debt holders get all of what they are due before the government does. And we have
               DOZENS of individuals, one company, and one hedge fund who've invested between 30
               - 36% APR. Again, that's if NO restitution risk.
               -More equity risk you don't see in any business you'll pull COE from: Several states make
               it a FELONY crime to make loans over a certain rate or without a license. I had a 20 Page
               document done for me to understand the risk that I have as an equity owner for aiding
               and abetting felony crime in states like GA and you will see the conclusion. It says
               something like ... "yes it is possible the state will come after you for helping the tribe
               lend against their laws and charge YOU for aiding and abetting as a felony crime in their
               state (in some instances penalty could be jail time), but we don't think it's going to
               happen." That's an equity risk, how do you price that into the equation?
               -The Merkely Bill is in congress seeks to outright BAN Tribal and offshore lending. This is
               soon to be voted on, could end the industry in a matter of MONTHS. This is not the first
               bill to be proposed, and dozens of states have already passed similar legislation. We lose
               states off the map every month.
               -Obama campaigned to cap payday rates at 36%. The CFPB has the power to effectively
               regulate out this industry and they are pushing to.
               -Bottom line is, this business will simply not exist in 2 to 3 years anything like it does
               right now. If it does exist, it will be so extremely low profitability and we may not be
               able to keep up to remain profitable.
               -We have received dozens of letters from State AGs saying we need to be licensed and
               sending Cease and Desist orders. Those battles will go to court.

               I can put you on the phone with former FTC Directors, who are industry experts and our
               legal counsel that can tell you about the real risk of this business from the regulatory
               side ALONE. Now, I don't want you to think that we are doing anything wrong, we
               certainly are NOT. We use some of the biggest law firms in the country and they
               CERTAINLY would not be willing to service us and advise us if we were. However, we are




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               living in a grey area that is being highly challenged right now. Greenberg Traurig is the
               one that did the Aiding and Abetting piece from me, and despite the fact that they feel a
               State could threaten me with jail time and charge me with a felony, they are still
               comfortable that I am not doing anything wrong/illegal and so they will defend me on it.
               GT Law is one of the biggest firms in the US.

               So the only way that I would value a business with what I know is as a multiple of
               EBITDA. Because I think that I'd be thrilled to see 1.5 years left as the business is. I would
               buy a business at somewhere between lx and l.Sx EBITDA because I could be shut
               down after that, or WORSE take all of the liability to have to pay restitution for latent
               liability that the business I bought did in prior years. I almost wouldn't do it for even lx
               but I would probably roll the dice. NO VC OR FUND would do that! Hence, the Cane Bay
               deal dying after they did full diligence.

               I'd argue a multiple of EBITDA is appropriate.

               If you want to stick to DCF, then let me know if you want to either:

               A) build this all into a discount rate (300% is about the long-term average ROE and so
               the risk is already priced really, and despite 300% many will never enter the business b/c
               it puts all your CURRENT assets at risk due to the restitution penalty risk, so perhaps the
               right cost of equity is higher than that) ... or
               B) Do you want me to adjust the revenues based on the PROBABILITY of legislation
               passing at given times in the future, creating contingent reserves for lawsuits and
               battles, reducing revenue etc. etc. which will MASSIVELY change what we originally
               provided. As I give the probability of this industry lasting AND ME STILL HAVING MY 1
               SINGLE CLIENT PAYING ME SUCH HUGE FEES, about a 20% chance to still be the same
               situation in 18 - 24 months' time from now.

               Very unorthodox. Also, very important as this is a big deal to determine the merger from
               C-corp to LLC that we are doing.

               Give me a call if any questions.



               Regards,

               Matt Martorello
               Mobile: 773-209-7720
               Email: MattM@BellicoseVl.com


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                                    Exhibit 19




                                                                                   JA598
USCA4Case
      Appeal: 23-2097   Doc: 11-2
          3:17-cv-00461-REP            Filed: 12/06/2023
                              Document 1166-19               Pg: 143
                                                 Filed 04/21/23      of 2493
                                                                  Page    of 18 PageID# 48246


  Darcie Pace

  From:                    Matt Martorello <mattm@bellicosevi.com>
  Sent:                    Tuesday, April 16, 2013 10:10 PM
  To:                      Robert Rosette
  Subject:                 Fwd: Significant Ruling in Colorado Western Sky Case
  Attachments:             Order Granting Plaintiffs' Motion for Summary Judgment.pdf


  Let's zero in asap on minimizing my risk for being individually liable like CO just successfully did to Butch webb. The
  Mou issue to me means that when the CFPB and LVD do interact, we know intel will be given to state AGs. I don't want
  my company on anything that goes to the CFPB. This may mean DCTF needs to be able to do a lot more on is own,
  including its compliance program


  ‐‐‐‐‐‐‐‐ Original message ‐‐‐‐‐‐‐‐
  From: weddlej@gtlaw.com
  Date: 04/16/2013 7:13 PM (GMT‐04:00)
  To: weddlej@gtlaw.com
  Subject: Significant Ruling in Colorado Western Sky Case


  This order just in. I have only very briefly skimmed it, but it is a big loss for Western Sky. A Denver District Court judge
  granted summary judgment in favor of the Colorado Attorney General against Butch Webb’s entities, unpersuaded by
  Webb’s arguments that his status as an individual tribal member conferred any immunity against state enforcement
  actions. The order also contains some very negative rulings on individual liability for corporate actions in violation of
  state law that require much closer consideration for those currently supporting sovereign lending activities. We will
  provide that analysis as soon as possible.

  Note too that an appeal of this order is a certainty and that the appeal process here in Colorado could easily take
  another two years. Webb has been ordered to pay restitution and the State’s attorneys’ fees in connection with more
  than 4,000 Colorado loans. The parties are to recommend a special master in the coming weeks to help the court
  determine the scope of restitution to be made. I would expect Webb to seek a stay of this order pending the appeal
  process. Whether that stay is granted, who knows. It is very likely that the Colorado Attorney General will herald this
  case as a significant victory and encourage other state regulators to employ it in their own efforts to pursue violations of
  state law. We will be prepared to provide outreach and education to state AGs.

  We will read this more closely tonight and be available to discuss in detail in the coming days. In the meantime, I would
  encourage tribal lenders not to panic. This is an isolated district court ruling that will certainly be appealed. And we all
  know that the nature of Western Sky’s business and arguments is much different than that of sovereign lenders
  operating as arms of tribes. There are many ways to distinguish this case if its rulings survive the appellate process. But
  we can all expect that this decision will be cited – a lot – by state and federal investigators in the months ahead.

  Best and more soon,

  Jennifer H. Weddle
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  Greenberg Traurig, LLP | 1200 17th Street, Suite 2400 | Denver, Colorado 80202
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           DISTRICT COURT, DENVER COUNTY, STATE OF
           COLORADO
           City and County Building
           1437 Bannock, Denver, CO 80202                                ▲ COURT USE ONLY ▲


           Plaintiffs: STATE OF COLORADO ex rel. JOHN W.
                                                                         Case Number: 11 CV 638
           SUTHERS, ATTORNEY GENERAL FOR THE STATE
           OF COLORADO, AND LAURA UDIS, ADMINISTER
                                                                         Courtroom: 259
           UNIFORM CONSUMER CREDIT CODE
           v.

           Defendants: WESTERN SKY FINANCIAL, LLC,
           AND MARTIN A. WEBB

                                                      ORDER

                THIS MATTER is before the Court on Plaintiffs the State of Colorado ex rel. John W.

         Suthers, Attorney General for the State of Colorado, and Laura Udis, Administer, Uniform

         Consumer Credit Code’s (the “State”) Motion for Partial Summary Judgment – Second Claim

         for Relief, filed December 27, 2012. Defendants Western Sky Financial, LLC (“Western Sky”),

         and Martin A. Webb (“Webb”) (collectively “Defendants”) filed their Response on January 31,

         2013. The State filed its Reply on March 8, 2013. The Court has reviewed the Motion, the

         pleadings in support and opposition, the case file, and the relevant authority, and, being fully

         informed, finds and orders as follows:

                                                  BACKGROUND

                This dispute arises over allegedly illegal, usurious, and unlicensed loans, issued over the

         Internet, in Colorado to Colorado consumers. The State alleges that Western Sky, a South

         Dakota limited liability company, has conducted business, through the Internet, to make loans to

         Colorado consumers in amounts ranging from $400 to $2,600 with annual percentage interest




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         rates (“APR”) of approximately 140% to 300%. Webb is the sole manager and owner of

         Western Sky. Further, Webb is an enrolled member of the Cheyenne River Sioux (the “Tribe”)

         and resides on the Cheyenne River Indian Reservation (the “Reservation”) in South Dakota.

                In 2010, Western Sky made more than 200 such loans to Colorado consumers. Following

         an investigation, the State determined that Western Sky was making “unlicensed supervised

         loans” and imposing excessive finance charges. After Western Sky failed to comply with a

         demand that it cease and desist from making further loans, the State filed suit against Defendants

         seeking injunctive relief and damages.

                                              UNDISPUTED FACTS

                1. Western Sky is a South Dakota company. Webb is Western Sky’s sole manager, sole
                   executive officer, and sole owner. Webb directs, controls, manages, participates in,
                   supervises, is responsible for, and authorizes Western Sky’s activities.

                2. Western Sky is principally engaged in the business of making small, short-term
                   personal loans to consumers.

                3. Via the Internet and television advertising, Western sky offers and enters into loans
                   with Colorado consumers.

                4. According to its website, Western Sky offers personal loans of up to $2,600.00.

                5. Also according to its website and a loan agreement with a Colorado consumer the
                   loans have APRs from 140% to over 300%. The loan agreement with the Colorado
                   consumer reflects a loan for $400.00 with over 330% APR. See Exhibits 1 and 2 to
                   the affidavit of Jodie Robertson. (Robertson Aff., attached to the State’s Motion as
                   Exhibit 2).

                6. Colorado Consumers apply for loans directly through Western Sky’s Website.

                7. Western Sky electronically deposits the loans’ proceeds into the consumers’ bank
                   accounts.

                8. Pursuant to the loan agreements, consumers authorize Western Sky to withdraw funds
                   electronically from the consumers’ bank accounts.



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                9. In 2010 alone, Western Sky made over 200 loans to Colorado consumers.

                10. Western Sky is not, and at no relevant time was, licensed as a supervised lender in
                    Colorado authorized to make supervised loans pursuant to Colorado’s Uniform
                    Consumer Credit Code, C.R.S. § 5-1-101, et seq. (the “Code”).

                11. In November 2010, Administrator Udis (the “Administrator”) demanded that Western
                    Sky cease making any new loans. The Administrator also demanded that Western
                    Sky make refunds to consumers of all of its loans’ improper and excess finance
                    charges.

                12. Western Sky did not comply with the Administrator’s demands.

                                            STANDARD OF REVIEW

                Summary judgment is appropriate when, based on the pleadings, no genuine issue as to

         any material fact exists and the moving party is entitled to judgment as a matter of law. C.R.C.P.

         56(c); Cotter Corp. v. American Empire Surplus Lines Ins. Co., 90 P.3d 814, 819 (Colo. 2004).

         The purpose of summary judgment is to permit the parties to pierce the formal allegations of the

         pleadings and save the time and expense associated with trial when, as a matter of law, one party

         could not prevail. Peterson v. Halsted, 829 P.2d 373, 375 (Colo. 1992). The nonmoving party

         must receive the benefit of all favorable inferences that may be reasonably drawn from the

         undisputed facts, and all doubts are resolved against the moving party. Clementi v. Nationwide

         Mut. Fire Ins. Co., 16 P.3d 223, 225-26 (Colo. 2000).

                A party may move for summary judgment on an issue it would not bear the burden of

         proof upon at trial. Casey v. Christie Lodge Owners Ass’n, Inc., 923 P.2d 365, 366 (Colo. App.

         1996). In such an instance, the burden is on the moving party to establish the “nonexistence of a

         genuine issue of material fact.” Civil Serv. Comm’n v. Pinder, 812 P.2d 645,649 (Colo. 1991)

         (citing Continental Airlines, Inc. v. Keenan, 731 P.2d 708, 712 (Colo. 1987)). This burden may

         be satisfied by “demonstrating that there is an absence of evidence in the record to support the


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         nonmoving party’s case.” Id. “An affirmative showing of specific facts, un-contradicted by any

         counter affidavits, leaves a trial court with no alternative but to conclude that no genuine issue of

         material fact exists.” Civil Serv. Comm’n, 812 P.2d at 649 (citing Terrell v. Walter E. Heller &

         Co., 439 P.2d 989, 991 (Colo. 1968)).

                                                     ANALYSIS

                The State requests that this Court enter summary judgment regarding Defendants’

         liability on its second claim for relief, “Refunds to Consumers – Code Unlicensed Lender.”

         Specifically, the State contends that Defendants made and collected supervised loans without a

         supervised lender’s license, in violation of § 5-2-301 the Code, and therefore, Defendants are

         subject to penalty under the Code.

                The Code prohibits a person from making or collecting supervised loans without a

         supervised lender’s license, providing that:

                        (1) Unless a person . . . has first obtained a license from the
                        administrator authorizing him or her to make supervised loans, he
                        or she shall not engage in the business of:

                        (a) Making supervised loans or undertaking direct collection of
                        payments from or enforcement of rights against consumers arising
                        from supervised loans he or she has previously made.

         Code § 5-2-301(1)(a). Where a creditor has violated the Code regarding the authority to make

         supervised loans contained in Code § 5-2-301:

                        the consumer is not obligated to pay the finance charge and has a
                        right to recover from the person violating this code . . . a penalty in
                        an amount to be determined by the court not in excess of three
                        times the amount of the finance charge . . . .

         Code § 5-5-201(1). Further, Code § 5-6-114 authorizes the State to seek these amounts on the

         consumers’ behalves and provides that the Administrator may “bring an action against a creditor


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         for making or collecting charges in excess of those permitted by this code” and, if “an excess

         charge has been made, the court shall order the respondent to refund to the consumer the amount

         of the excess charge and to pay a penalty to the consumer as provided in [§] 5-5-201.”

                 Code § 5-1-301(47) defines a “supervised” loan as a consumer loan with an APR in

         excess of 12%. In turn, a consumer loan is a loan in which: (1) the consumer is a person other

         than an organization; (2) the principal does not exceed $75,000; (3) a loan finance charge is

         made; and (4) the debt is incurred primarily for personal, family, or household purposes. See

         Code § 5-1-301(15)(a).

                 Here, the undisputable facts before the Court confirm that Western Sky makes and

         collects unlicensed supervised loans to Colorado citizens, thereby subjecting Defendants to

         liability under the Code. 1 However, Defendants assert that the State’s Motion fails because: (1)

         Mr. Webb is a Native American who conducts business within the boundaries of the Reservation,

         and therefore, Webb and his company, Western Sky, are subject to tribal immunity and federal

         preemption, not subject to state jurisdiction and control; and, (2) in its Motion, the State

         improperly “relies heavily on the non-binding stipulation [of fact] in an unrelated federal court

         case [FTC v. Payday Financial, LLC, Case No. 11 CV 03017 (D.S.D. May 18, 2012) (the “South

         Dakota Case”)].”

             I. Defendants’ contention that the State’s Motion fails because it improperly relies on
                the Non-Binding Stipulation in the South Dakota Case is not persuasive.

                 Defendants assert that the State improperly relied on the stipulation from the South

         Dakota Case. Specifically, Defendants maintain that the State’s contentions, based on the


         1
           While Defendants deny certain of Plaintiff’s allegation with respect to Defendants making and collecting
         supervised loans without a license, their denials are simply not supported by the record before the Court.


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         stipulation, that Western Sky: (a) “makes withdrawals from the consumer’s bank account’” (b)

         “initiates collection procedures if the consumer foes not pay the loan;” and, (c) “collected illegal

         and unlicensed supervised loans,” are clearly disputed and contradicted by the record before the

         Court. Therefore, Defendants assert that summary judgment is not appropriate.

                 However, in its Motion, the State contends that the facts are “taken principally from the

         Complaint’s allegations that [D]efendants admit in their Answer.” While the aforementioned

         facts, as alleged by the State derive from the stipulation in the South Dakota Case, other salient

         facts come from Defendants’ own documents, their discovery responses, sworn affidavits, and

         deposition testimony. Further, as discussed in greater detail below, the disputed facts referenced

         above with respect to Defendants’ withdrawal and collection procedures are not material to

         resolving the present issue before the Court – whether Defendants are liable under the Code – as

         there is ample undisputed evidence before the Court to establish that Defendants have engaged in

         unlicensed supervised loans and are not entitled to tribal immunity or federal preemption with

         respect to their business activities.

             II. Defendants are not entitled to Tribal Immunity or Federal Preemption.

                 Turning next to Defendants’ contention that they are entitled to tribal immunity because

         they are conducting business on the Reservation, the Court concludes that Defendants’ argument

         is without merit. This Court addressed this very argument in its Order dated, April 17, 2012,

         denying Defendants’ Motion to Dismiss, rejecting Defendants’ assertion that the State is

         attempting to reach into and regulate on-reservation activity. Defendants’ recycling of this same

         argument here is equally unpersuasive.




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                 Specifically, in the April 17, 2012 Order, this Court found State ex rel. Suthers v. Cash

        Advance & Preferred Cash Loans, 205 P.3d 389 (Colo. App. 2008) (“Cash Advance I”)

        instructive on this issue, where, in a near identical factual scenario to this action, the State

        attempted to investigate a tribal entities alleged usurious internet loan making to Colorado

        consumers in violation of Colorado’s Consumer Credit Code and Consumer Protection Act. Id.

        at 394, aff'd sub nom. Cash Advance & Preferred Cash Loans v. State, 242 P.3d 1099 (Colo.

        2010).

                 In Cash Advance I, the Court of Appeals determined that business conducted via the

        internet, which is identical to the type of business conducted by Western Sky here, was sufficient

        to confer jurisdiction to the State and demonstrated that the business activity constituted off-

        reservation activity. See Cash Advance I, 205 P.3d at 400. Observing that violations of

        Colorado’s Consumer Credit Code and Consumer Protection Act would have significant off-

        reservation effects that would require the State’s intervention, the Court of Appeals held that the

        State had jurisdiction to “investigate, criminally prosecute, seek declaratory and injunctive relief,

        and pursue civil remedies for conduct occurring within its borders.” See id. at 403.

                 Nevertheless, Defendants maintain that the application of the five-factor test, set forth in

        Cash Advance I, as applied to their business activities here, establish that Western Sky’s lending

        activities occur within the boundaries of the Reservation, thereby preventing the State’s

        enforcement efforts in accordance with tribal immunity. The Court does not agree.

                 In Cash Advance I, the Court of Appeals provided the following factors for courts to

        consider when determining whether lending activity took place off-reservation: (1) where the

        contract was entered into; (2) where the contract was negotiated; (3) where performance will



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        occur; (4) where the subject matter of the contract is located; and, (5) where the parties reside.

        205 P.3d at 400. However, in Cash Advance I the Court of Appeals did not rely on those factors.

        Rather, as set forth above, the Court of Appeals employed a long-arm analysis, to conclude that

        “[b]usiness conducted over the Internet that would confer jurisdiction on a state court also

        demonstrates that the business activity constitutes off-reservation activity.” Id. Further, an

        application of the Cash Advance I factors to the uncontroverted facts presented here leads this

        Court to no contrary conclusion that Defendants’ lending activities occur off-reservation.

               Similarly, Defendants’ contention that Webb is individually protected by tribal immunity

        as a member of the Tribe is in vain. Again, the Court addressed this very contention in its April

        17, 2012 Order, denying Defendants’ Motion to Dismiss. Webb, as an enrolled member of the

        Tribe, is not individually entitled to immunity, nor does his membership in the Tribe confer such

        immunity upon Western Sky. See Puyallup Tribe, Inc. v. Dep’t of Game, 433 U.S. 165, 171,72

        (1977) (holding that the “doctrine of sovereign immunity . . . does not immunize individual

        members of [a] tribe.”).

               Defendants also contend that the State has no regulatory authority of Webb because

        Webb conducts business through a legally recognized business entity, and the State has alleged

        no facts sufficient to pierce the corporate veil with respect to Webb. Conversely, the State

        maintains that Webb’s individual liability is not dependent on any “piercing the corporate veil”

        or “alter ego” theory. Rather, the State contends that Webb’s liability flows from the long and

        well-established principle that those responsible for corporate wrongdoing are personally liable

        for the corporation’s wrongful acts.




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               In support of its contention, the State directs the Court to several cases from other

        persuasive jurisdictions. First, in F.T.C. v. Amy Travel Serv., Inc., 875 F.2d 564 (7th Cir. 1989),

        the Seventh Circuit affirmed a judgment holding individual shareholder and officer defendants

        liable for consumer restitution and other remedies to the same extent as their businesses. Id. at

        566, 573-74. In doing so, the Seventh Circuit held that where the individuals participated in the

        businesses’ unlawful acts, “or had authority to control them,” the individuals were personally

        liable. Id. at 573. Similarly, in Texas v. Am. Blastfax, Inc., 164 F.Supp.2d 892, 899 (W.D. Tex.

        2001), in a state regulatory action brought under the federal Telephone Consumer Protection Act,

        the court held the individual officers, directors, and shareholders jointly and severally liable with

        the defendant corporation for monetary judgment and injunctive relief. There, the federal court

        rejected the defendants’ proposition that individual liability for corporate acts required piercing

        the corporate veil, holding that those who “participate in or authorize the commission of a

        wrongful act, even if the wrongful act is done on behalf of the corporation, . . . may be personally

        liable . . . [T]o hold otherwise would allow the individual defendants to simply dissolve the

        [corporation], set-up a new shell corporation, and repeat their conduct.” Id. at 897-898.

               The State provided the Court with countless other examples of courts holding individual

        defendants liable for a business’s violations under similar circumstances without requiring that

        the plaintiff pierce the corporate veil. See, e.g., U.S. v. Pollution Abatement Serv., Inc., 763 F.2d

        16, 23-25 (2nd Cir. 7985); McCown v. Heidler, 527 F.2d 204 (10th Cir. 1975); Mead v. Johnson

        & Co. v. Baby’s Formula Serv., Inc., 402 F.2d 19, 23 (5th Cir. 1968); Wash v. Ralph Williams’

        N.W. Chrysler Plymouth, Inc., 553 P.2d 423, 439 (Wash. 1979).




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               This principle is equally established in Colorado. In Snowden v. Taggart, 17 P.2d 305

        (Colo. 1932) the Colorado Supreme Court held that an officer of a corporation involved with the

        commission of the corporation’s wrongdoing is personally liable, providing:

                       This principle is absolutely without exception, and is founded upon
                       the soundest legal analogies, and the wisest public policy. To
                       permit an agent of a corporation, in carrying on its business, to
                       inflict wrong and injuries upon others, and then shield himself
                       from liability behind his vicarious character, would often both
                       sanction and encourage the perpetration of flagrant and wanton
                       injuries by agents of insolvent and irresponsible corporations.

        Id. at 307 (internal quotations omitted).

               This principle was reiterated in Sanford v. Kobey Bros. Constr. Corp., 689 P.2d 724

        (Colo. App. 1984), where the Court of Appeals reversed a trial court’s entry of judgment in favor

        of an individual defendant because the facts presented did not permit the plaintiffs to pierce the

        corporate veil. In reaching its conclusion, the Court of Appeals provided that:

                       Neither the doctrine of respondeat superior nor the fiction of
                       corporate existence bars imposition of individual liability for
                       individual acts of negligence, even when the individual is acting in
                       a representative capacity . . . Rather, a servant may be held
                       personally liable for his individual acts . . ., as so may an officer,
                       director, or agent of a corporation for his or her tortious acts,
                       regardless of the fact that the master or corporation also may be
                       vicariously liable.

               Id. at 725-26.

               Here, it is uncontroverted that Webb is the sole manager, executive director, owner, and

        principal of Western Sky. It is further undisputed that Webb directs, controls, manages,

        participates in, supervises, is responsible for, and authorizes Western Sky’s activities. Finally,

        the record before the Court confirms that Webb has general responsibility and final decision

        making authority for all of Western Sky’s business operations. Accordingly, because Webb has


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        the exclusive authority to control the actions of Western Sky, he may also be held individually

        liable for Western Sky’s violations of the Code.

               To the extent that Defendants contend that “Indian businesses operating on a reservation

        are not subject to state jurisdiction and control” and are thus preempted by federal law, the Court

        is not persuaded.

               Again, this very contention was rejected by this Court in its April 17, 2012 Order denying

        Defendants’ Motion to Dismiss. As discussed above, the record before the Court confirms that

        Defendants’ conduct does not involve the regulation of Indian affairs on an Indian reservation.

        Further, as discussed in the Court’s April 17, 2012 Order, the Court finds the federal court’s

        determination in State ex rel. Suthers v. Western Sky, LLC, 845 F.Supp.2d 1178, 1182 (D. Colo.

        2011), regarding Defendants’ preemption argument particularly instructive:

                       Defendants argue that Congress has completely preempted the
                       regulation of Indian affairs on a reservation. However, even if that
                       were so, it begs the question of whether the conduct of which [the
                       State] complain[s] involved regulation of Indian affairs on a
                       reservation. I find and conclude that it did not. [The State]
                       allege[s], and defendants do not dispute, that defendants were
                       operating via the Internet . . . . The borrowers do not go to the
                       reservation in South Dakota to apply for, negotiate or enter into
                       loans. They apply for loans in Colorado by accessing defendants'
                       website. They repay the loans and pay the financing charges from
                       Colorado; Western Sky is authorized to withdraw the funds
                       electronically from their bank accounts. The impact of the
                       allegedly excessive charges was felt in Colorado. Defendants have
                       not denied that they were doing business in Colorado for
                       jurisdictional purposes, nor does it appear that they could. See
                       [Cash Advance I, 205 P.3d at 400]. “Business conducted over the
                       Internet that would confer jurisdiction on a state court also
                       demonstrates that the business activity constitutes off-reservation
                       activity.” [Id.]




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        Moreover, notwithstanding the above, it is well settled that tribes are subject to state law when

        engaged in off-reservation activity. See, e.g., Nevada v. Hicks, 533 U.S. 353 (2001); Mescalero

        Apache Tribe v. Jones, 411 U.S. 145 (1973); Organized Vill. Of Kake v. Egan, 369 U.S. 60, 62-63,

        75-76 (1962).

                C.R.S. § 5-1-201(1) provides that the Code “applies to consumer credit transactions made

        in this state.” The Code further provides that a consumer credit transaction is made in this state

        if:

                        (b) A consumer who is a resident of this state enters into a
                        transaction with a creditor who has solicited or advertised in this
                        state by any means, including but not limited to mail, brochure,
                        telephone, print, radio, television, internet, or any other electronic
                        means.

        Code § 5-1-201(1)(b).

                Here, it is undisputed that Defendants operate a website and engage in television

        advertising in this state, thereby soliciting and advertising their lending business in Colorado. It

        is further, undisputed that Defendants have entered into loan agreements with Colorado

        residents.

                Accordingly, because Defendants’ business activities are conducted off-reservation and

        because Defendants solicit and advertise their business in Colorado and have, in fact, entered

        into loan agreements with Colorado citizens, Defendants are not entitled to tribal immunity or

        federal preemption. Rather, based on the undisputed facts before the Court, the Court concludes

        that Defendants are subject to the Code’s previsions and are thereby liable for any violation

        thereof. Specifically, because Western Sky is not, and has never been, licensed as a supervised

        lender, and because unlicensed lenders are not authorized to charge a finance charge on



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        supervised loans, Defendants’ liability for restitution to consumers of all finance charges,

        including penalties, on all unlicensed loans made or collected with respect to Colorado citizens,

        is established as a matter of law.

            III. The State is entitled to Attorney’s Fees incurred in Replying to Defendants’ Tribal
                 Immunity and Preemption Arguments in their Response.

                The State requests that this Court grant its request for Attorney’s fees pursuant to C.R.S.

        § 13-17-101, et seq., for fees incurred in replying to Defendants’ tribal immunity and federal

        preemption arguments, raised in their Response. C.R.S. § 13-17-102 provides, in pertinent part,

        that a court may award reasonable attorney fees against a party who brings an action “that lacks

        substantial justification.” See C.R.S. § 13-17-102(2). Under this statute, the term “lacks

        substantial justification” means substantially frivolous, substantially groundless, or substantially

        vexatious. C.R.S. § 13-17-102(4).

                Here, as discussed above, the crux of Defendants’ argument is that they are entitled to

        tribal immunity and federal preemption because their business activities are conducted on the

        Reservation. This very argument has been raised twice previously by these Defendants, and was

        rejected in each instance. Defendants first raised this argument in Suthers, 845 F.Supp.2d at

        1182, where the federal court determined that “[D]efendants’ repeated argument that [this] case

        involves regulation of Indian Affairs on an Indian Reservation” so lacked an “objectively

        reasonable basis” as to entitle the State to its costs and attorney’s fees. Id. Defendants raised

        this same argument in the present litigation in their Motion to Dismiss. This argument was again

         rejected by this Court in its April 17, 2012 Order, denying Defendants’ Motion to Dismiss. In

         their Response to the State’s Motion for Summary Judgment, Defendants now raise this same

         argument for a third time, seemingly undeterred by the federal court’s ruling in Suthers, as well


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        as this Court’s prior ruling here. While Defendants purportedly provide additional facts

        concerning the details of their loan making process in support of their tribal immunity and

        preemption arguments, a review of the additional information provided by Defendants leads the

        Court to no contrary conclusion. Rather, these additional materials confirm what this Court,

        along with the Suthers court, already determined – that Defendants’ actions in offering and

        entering into loans with Colorado consumers, via the Internet, does not constitute on-reservation

        business activity.

                Defendants’ continued assertions that they are entitled to tribal immunity and federal

        preemption, which have been repeatedly rejected by this Court and the Federal Courts, evince

        stubbornly litigious and substantially vexatious defense of this action and warrant and

        assessment of attorney's fees. Mitchell v. Ryder, 104 P.3d 316, 320-21 (Colo. App. 2004).

        Where, as the Court has found here, an attorney or party has brought or defended an action, or

        any part thereof, which lacked substantial justification, the Court shall assess attorney's fees.

        C.R.S. § 13-17-102(4). Any such award is properly entered in favor of the State and against

        Defendants and their counsel, jointly and severally. C.R.S. § 13-17-102(3).

                Accordingly, because Defendants tribal immunity and federal preemption arguments lack

        substantial justification, the State is entitled to recover its attorney’s fees expended in replying to

        Defendants Response insofar as the State can establish the reasonable fees incurred in addressing

        Defendants’ tribal immunity and preemption arguments.

                                                   CONCLUSION

                WHERFORE, in light of the reasoning stated above, the State’s Motion for Partial

         Summary Judgment – Second Claim for Relief is hereby GRANTED. It is further ordered that,



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        in light of the voluminous unlicensed loans extended by Defendants in violation of the Code,

        estimated at over 4,000, the State’s request that a special master be appointed to determine the

        number of, and extent to which, consumers have been adversely affected by Defendants’

        unlawful activity in this matter is GRANTED. The Parties shall submit a joint list of three

        potential Special Masters, not later than 14 days from the date of entry of this Order, and the

        Court will select one from that list. If the parties cannot agree on a list of potential Special

        Masters, the Court will appoint someone of the Court’s choosing. Further, in accordance with

        the Court’s findings herein, the State shall file an Affidavit of Attorney’s fees incurred in

        replying to Defendants’ tribal immunity and federal preemption arguments in their Response, not

        later than 14 days from the date of entry of this Order.

               DONE this 15th day of April, 2012.

                                                                       BY THE COURT:




                                                                       ______________________________
                                                                       MICHAEL A. MARTINEZ
                                                                       District Court Judge




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                                    Exhibit 20




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                                    Exhibit 21




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                              Document 1166-21               Pg: 163
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          From:            Matt Martorello
          To:              Karrie Wichtman
          Subject:         FW: DRAFT COMPLAINT
          Date:            Monday, August 12, 2013 8:36:49 PM
          Attachments:     2013 08 11 Complaint for Declaratory and Injunctive Relief.doc


          Let’s discuss in the morning. Are you free?


          From: Rob Rosette [mailto:rosette@rosettelaw.com]
          Sent: Monday, August 12, 2013 1:40 PM
          To: Matt Martorello
          Cc: Karrie Wichtman; Saba Bazzazieh; jim.williams@lvdtribal.com; Gkway (gkway@lvdtribal.com);
          John McGeshick (jcmcgeshick@gmail.com)
          Subject: FW: DRAFT COMPLAINT

          Matt,

          Please see the draft Complaint that our law firm drafted for LVD’s consideration. As you know, I
          believe strongly that if we do nothing we may forever lose the tribal online lending opportunity. In
          my opinion, it’s impossible to unwind or undo what the State of New York (in collaboration with
          federal agencies) have started without a legitimate piece of litigation being filed. We need to move
          swiftly to file something this week, but not later than next week. Please call us to discuss at your
          earliest convenience.

          Sincerely,

          Robert A. Rosette
          Rosette, LLP
          Attorneys at Law
          565 W. Chandler Blvd., Suite 212
          Chandler, Arizona 85225
          Tel (480) 889-8990
          Fax (480) 889-8997
          Cell (480) 242-9810
          www.rosettelaw.com

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          From: Saba Bazzazieh
          Sent: Sunday, August 11, 2013 8:44 PM
          To: Eric Lau (eric.lau@macfarlanegp.com); Gehres, Ed (EGehres@PattonBoggs.com); Martin Wong
          (mwong@thinkfinance.com); ECKMANR@pepperlaw.com


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USCA4Case
      Appeal: 23-2097   Doc: 11-2
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                                                                  Page    of 29 PageID# 48267


          Cc: Mark Curry (mcurry@solpartnerspr.com); Rob Rosette; Barry Brandon
          Subject: DRAFT COMPLAINT

          Team –

          Please find attached for your review and input a working draft of the Complaint for Declaratory and
          Injunctive Relief against the State of New York, the New York State Department of Financial Services
          and NY officials. You will observe that we took a “kitchen sink” approach to the Complaint and
          included all constitutional and tort law causes of action that we believed were available to us. We
          can, of course, add to or subtract from the current list of claims.

          Per our discussions on Friday, I have included a placeholder for Ed’s group to provide the cause of
          action related to discrimination. Other items highlighted in yellow will need to be confirmed.

          We are finalizing the related Motion for Temporary Restraining Order, which we expect to have
          circulated by this evening or tomorrow morning, at the latest.

          We look forward to receiving your input and incorporation of edits.

          Regards,

          Saba Bazzazieh
          Rosette, LLP
          Attorneys at Law
          565 W. Chandler Blvd., Suite 212
          Chandler, AZ 85225
          Mobile: (480) 240-0238
          Office: (480) 889-8990
          Fax: (480) 889-8997
          sbazzazieh@rosettelaw.com
          www.rosettelaw.com


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                      3ODLQWLII 2WRH0LVVRXULD 7ULEH RI ,QGLDQV ³2WRH0LVVRXULD´ LV D IHGHUDOO\UHFRJQL]HG
    
         ,QGLDQ WULEH ZLWK LWV WULEDO JRYHUQPHQW RIILFHV ORFDWHG LQ 5HG 5RFN 2NODKRPD
   
                      3ODLQWLII *UHDW 3ODLQV /HQGLQJ //& ³*UHDW 3ODLQV´ LV D OLPLWHG OLDELOLW\ FRPSDQ\
   
         ZKROO\RZQHG DQG RSHUDWHG DQG IRUPHG XQGHU WKH ODZV RI WKH 2WRH0LVVRXULD ZLWK LWV SULQFLSDO SODFH RI
   
         EXVLQHVV LQ (GPRQG 2NODKRPD *UHDW 3ODLQV LV HQJDJHG LQ RQOLQH VPDOO GROODU OHQGLQJ SXUVXDQW WR WULEDO
   
         ODZ DQG VXEMHFW WR WULEDO UHJXODWLRQ *UHDW 3ODLQV YROXQWDULO\ FRPSOLHV ZLWK DOO DSSOLFDEOH IHGHUDO
   
         FRQVXPHU SURWHFWLRQ ODZV
   
                      3ODLQWLII $PHULFDQ :HE /RDQ ,QF ³$:/´ LV D FRUSRUDWLRQ ZKROO\RZQHG DQG RSHUDWHG
   
         DQG IRUPHG XQGHU WKH ODZV RI WKH 2WRH0LVVRXULD ZLWK LWV SULQFLSDO SODFH RI EXVLQHVV LQ 5HG 5RFN
   
         2NODKRPD $:/ LV HQJDJHG LQ RQOLQH VPDOO GROODU OHQGLQJ SXUVXDQW WR WULEDO ODZ DQG VXEMHFW WR WULEDO
   
         UHJXODWLRQ $:/ YROXQWDULO\ FRPSOLHV ZLWK DOO DSSOLFDEOH IHGHUDO FRQVXPHU SURWHFWLRQ ODZV
   
                      7KH 2WRH0LVVRXULD &RQVXPHU )LQDQFH 6HUYLFHV 5HJXODWRU\ &RPPLVVLRQ LV D UHJXODWRU\
   
         DJHQF\ IRUPHG SXUVXDQW WR 7ULEDO ODZ DQG IXQFWLRQLQJ DV D JRYHUQPHQWDO DUP DQG LQVWUXPHQWDOLW\ RI WKH
   
         2WRH0LVVRXULD ZLWK LWV SULQFLSDO SODFH RI JRYHUQPHQWDO EXVLQHVV ORFDWHG LQ 5HG 5RFN 2NODKRPD DQG
   
         LV WDVNHG ZLWK UHJXODWLQJ DOO FRQVXPHU ILQDQFLDO VHUYLFHV SURYLGHG E\ ERWK *UHDW 3ODLQV DQG $:/
   
                     3ODLQWLII /DF 9LH[ 'HVHUW %DQG RI /DNH 6XSHULRU &KLSSHZD ,QGLDQV ³/9'´ LV D
   
         IHGHUDOO\UHFRJQL]HG ,QGLDQ WULEH ZLWK LWV WULEDO JRYHUQPHQWDO RIILFHV ORFDWHG LQ :DWHUVPHHW 0LFKLJDQ
   
                     3ODLQWLII 5HG 5RFN /HQGLQJ //& ³5HG 5RFN´ LV D OLPLWHG OLDELOLW\ FRPSDQ\ ZKROO\
   

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USCA4Case
      Appeal: 23-2097   Doc: 11-2
          3:17-cv-00461-REP            Filed: 12/06/2023
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         RZQHG DQG RSHUDWHG DQG IRUPHG XQGHU WKH ODZV RI /9' ZLWK LWV SULQFLSDO SODFH RI EXVLQHVV LQ
    
         :DWHUVPHHW 0LFKLJDQ 5HG 5RFN LV HQJDJHG LQ RQOLQH VPDOO GROODU OHQGLQJ SXUVXDQW WR WULEDO ODZ DQG
    
         VXEMHFW WR WULEDO UHJXODWLRQ 5HG 5RFN YROXQWDULO\ FRPSOLHV ZLWK DOO DSSOLFDEOH IHGHUDO FRQVXPHU
    
         SURWHFWLRQ ODZV
    
                     3ODLQWLII 'XFN &UHHN )LQDQFLDO ³'XFN &UHHN´ LV D OLPLWHG OLDELOLW\ FRPSDQ\ ZKROO\
    
         RZQHG DQG RSHUDWHG DQG IRUPHG XQGHU WKH ODZV RI /9' ZLWK LWV SULQFLSDO SODFH RI EXVLQHVV LQ
    
         :DWHUVPHHW 0LFKLJDQ 5HG 5RFN LV HQJDJHG LQ RQOLQH VPDOO GROODU OHQGLQJ SXUVXDQW WR WULEDO ODZ DQG
    
         VXEMHFW WR WULEDO UHJXODWLRQ 5HG 5RFN YROXQWDULO\ FRPSOLHV ZLWK DOO DSSOLFDEOH IHGHUDO FRQVXPHU
    
         SURWHFWLRQ ODZV
   
                     3ODLQWLII /DF 9LHX[ 'HVHUW 7ULEDO )LQDQFLDO 6HUYLFHV 5HJXODWRU\ $XWKRULW\ LV D UHJXODWRU\
   
         DJHQF\ IRUPHG SXUVXDQW WR WULEDO ODZ DQG IXQFWLRQLQJ DV D JRYHUQPHQWDO DUP DQG LQVWUXPHQWDOLW\ RI
   
         /9' ZLWK LWV SULQFLSDO SODFH RI JRYHUQPHQWDO EXVLQHVV ORFDWHG LQ :DWHUVPHHW 0LFKLJDQ DQG LV WDVNHG
   
         ZLWK UHJXODWLQJ DOO FRQVXPHU ILQDQFLDO VHUYLFHV SURYLGHG E\ ERWK 5HG 5RFN DQG 'XFN &UHHN
   
                     3ODLQWLII +DEHPDWROHO 3RPR RI 8SSHU /DNH ³8SSHU /DNH´ LV D IHGHUDOO\UHFRJQL]HG
   
         ,QGLDQ WULEH ZKRVH WULEDO JRYHUQPHQW RIILFHV DUH ORFDWHG LQ 8SSHU /DNH &DOLIRUQLD
   
                     3ODLQWLII *ROGHQ 9DOOH\ /HQGLQJ //& ³*ROGHQ 9DOOH\´ LV D OLPLWHG OLDELOLW\ FRPSDQ\
   
         ZKROO\RZQHG DQG RSHUDWHG DQG IRUPHG XQGHU WKH ODZV RI 8SSHU /DNH ZLWK LWV SULQFLSDO SODFH RI
   
         EXVLQHVV LQ 8SSHU /DNH &DOLIRUQLD *ROGHQ 9DOOH\ LV HQJDJHG LQ RQOLQH VPDOO GROODU OHQGLQJ SXUVXDQW WR
   
         WULEDO ODZ DQG VXEMHFW WR WULEDO UHJXODWLRQ *ROGHQ 9DOOH\ YROXQWDULO\ FRPSOLHV ZLWK DOO DSSOLFDEOH
   
         IHGHUDO FRQVXPHU SURWHFWLRQ ODZV
   
                     3ODLQWLII +DEHPDWROHO 3RPR RI 8SSHU /DNH 5HJXODWRU\ &RPPLVVLRQ LV D UHJXODWRU\
   
         DJHQF\ IRUPHG SXUVXDQW WR 7ULEDO ODZ DQG IXQFWLRQLQJ DV D JRYHUQPHQWDO DUP DQG LQVWUXPHQWDOLW\ RI
   
         8SSHU /DNH ZLWK LWV SULQFLSDO SODFH RI JRYHUQPHQWDO EXVLQHVV ORFDWHG LQ 8SSHU /DNH &DOLIRUQLD DQG LV
   
         WDVNHG ZLWK UHJXODWLQJ DOO FRQVXPHU ILQDQFLDO VHUYLFHV SURYLGHG E\ *ROGHQ 9DOOH\
   
                     'HIHQGDQW 6WDWH RI 1HZ <RUN LV D VWDWH RUJDQL]HG DQG PDLQWDLQHG SXUVXDQW WR WKH 1HZ
   

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USCA4Case
      Appeal: 23-2097   Doc: 11-2
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    
         <RUN &RQVWLWXWLRQ ,WV SULQFLSDO RIILFH LV ORFDWHG DW WKH 6WDWH &DSLWRO %XLOGLQJ $OEDQ\ 1HZ <RUN 
    
                     'HIHQGDQW 1HZ <RUN 6WDWH 'HSDUWPHQW RI )LQDQFLDO 6HUYLFHV LV DQ H[HFXWLYH EUDQFK
    
         DJHQF\ RI WKH 6WDWH RI 1HZ <RUN ZKRVH SULQFLSDO SODFH RI EXVLQHVV LV ORFDWHG DW  6WDWH 6WUHHW
    
         0DQKDWWDQ 1HZ <RUN
    
                     'HIHQGDQW $QGUHZ 0 &XRPR VXHG LQ KLV RIILFLDO FDSDFLW\ LV WKH *RYHUQRU RI WKH 6WDWH
    
         RI 1HZ <RUN ZKRVH SULQFLSDO SODFH RI EXVLQHVV LV ORFDWHG DW WKH 6WDWH &DSLWRO %XLOGLQJ $OEDQ\ 1HZ
    
         <RUN
    
                     'HIHQGDQW %HQMDPLQ 0 /DZVN\ VXHG LQ KLV RIILFLDO FDSDFLW\ LV WKH 6XSHULQWHQGHQW RI WKH
    
         1HZ <RUN 'HSDUWPHQW RI )LQDQFLDO 6HUYLFHV ZKRVH SULQFLSDO SODFH RI EXVLQHVV LV ORFDWHG DW  6WDWH
   
         6WUHHW 0DQKDWWDQ 1HZ <RUN
   
                                                )$&78$/ $//(*$7,216
   
                     $V IHGHUDOO\UHFRJQL]HG ,QGLDQ WULEHV SXUVXDQW WR ZHOOHVWDEOLVKHG IHGHUDO ODZ DQG
   
         SROLF\ WKH WKUHH 3ODLQWLII WULEHV SRVVHVV LQKHUHQW VRYHUHLJQW\ ZLWK WKH ULJKW WR HQDFW WKHLU RZQ ODZV DQG
   
         EH JRYHUQHG E\ WKHP
   
                     7KH 7ULEDO &RUSRUDWH 3ODLQWLIIV ZHUH FUHDWHG SXUVXDQW WR WULEDO ODZV DQG DUH ZKROO\
   
         RZQHG RSHUDWHG DQG FRQWUROOHG E\ WKH UHVSHFWLYH 7ULEDO *RYHUQPHQW 3ODLQWLIIV (DFK DUH RSHUDWHG IRU
   
         WKH EHQHILW RI WKH WULEDO JRYHUQPHQWV DQG WKH WULEHV¶ PHPEHUVKLS WR VWUHQJWKHQ WKH WULEHV¶ HFRQRPLF
   
         GHYHORSPHQW EHQHILW DQG VHOIVXIILFLHQF\
   
                     7KH 7ULEDO &RUSRUDWH 3ODLQWLIIV DUH UHVSRQVLEO\ DQG ODZIXOO\ HQJDJHG LQ FRQVXPHU
   
         ILQDQFH RSHUDWLQJ ZLWKLQ WKH WULEHV¶ WHUULWRULHV DQG MXULVGLFWLRQDO ERXQGDULHV
   
                     7KHUH LV ORQJVWDQGLQJ IHGHUDO SROLF\ DQG SUHFHGHQW UHFRJQL]LQJ WKH LQKHUHQW VRYHUHLJQW\
   
         RI $PHULFDQ ,QGLDQ WULEHV
   
                     ,Q H[HUFLVLQJ WKH 7ULEH¶V VRYHUHLJQW\        WKDW LV WKH SRZHU WR HVWDEOLVK ODZV DQG EH
   
         JRYHUQHG E\ WKHP      WKH 7ULEDO *RYHUQPHQW 3ODLQWLIIV HQGHDYRUHG WR HQDFW UHVSHFWLYH WULEDO UHJXODWRU\
   
         ODZV ZKLFK H[SUHVVO\ JRYHUQ WKH WULEHV¶ DQG WKH 7ULEDO &RUSRUDWH 3ODLQWLIIV¶ FRQVXPHU ILQDQFH DFWLYLWLHV
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USCA4 Appeal:
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                    2Q RU DURXQG $XJXVW   'HIHQGDQW /DZVN\ WKH 6XSHULQWHQGHQW RI 'HIHQGDQW 1HZ
    
        <RUN 6WDWH 'HSDUWPHQW RI )LQDQFLDO 6HUYLFHV ³'HIHQGDQW 'HSDUWPHQW´  LVVXHG D OHWWHU WR  FRPSDQLHV
    
        LQFOXGLQJ 7ULEDO &RUSRUDWH 3ODLQWLIIV GHPDQGLQJ WKH\ ³&($6( $1' '(6,67 >IURP@ RIIHULQJ DQG
    
        RULJLQDWLQJ LOOHJDO SD\GD\ ORDQV LQ 1HZ <RUN´       See &HDVH DQG 'HVLVW OHWWHU IURP 'HIHQGDQW /DZVN\
    
        GDWHG $XJXVW   D WUXH DQG FRUUHFW FRS\ RI ZKLFK LV DWWDFKHG KHUHWR DV ([KLELW $
    
                    ,Q LWV OHWWHU 'HIHQGDQW 'HSDUWPHQW GHPDQGHG WKDW 7ULEDO &RUSRUDWH 3ODLQWLIIV FRQILUP LQ
    
        ZULWLQJ ZLWKLQ  GD\V RI WKH GDWH RI LWV OHWWHU WKDW WKH\ ZRXOG ³QR ORQJHU VROLFLW RU PDNH LOOHJDO SD\GD\
    
        ORDQV LQ 1HZ <RUN DQG RXWOLQH WKH VWHSV WDNHQ WR FHDVH RIIHULQJ WKHVH ORDQV WR 1HZ <RUN FRQVXPHUV
    
        ³6KRXOG \RXU FRPSDQ\    IDLO WR FRPSO\ ZLWK WKLV GLUHFWLYH E\ $XJXVW >@  WKH 'HSDUWPHQW ZLOO
   
        WDNH DSSURSULDWH DFWLRQ WR SURWHFW 1HZ <RUN FRQVXPHUV´ ,G
   
                    2Q RU DURXQG $XJXVW   'HIHQGDQW /DZVN\ DOVR LVVXHG OHWWHUV WR  ILQDQFLDO
   
        LQVWLWXWLRQV ZKLFK VWDWHG WKDW 'HIHQGDQW 'HSDUWPHQW ZDV FRQGXFWLQJ DQ LQYHVWLJDWLRQ LQWR ³LOOHJDO RQOLQH
   
        SD\GD\ OHQGLQJ´ QDPHG WKH 7ULEDO &RUSRUDWH 3ODLQWLIIV DV ILYH RI  OHQGLQJ HQWLWLHV WKDW ³VROLFLW DQG
   
        SURYLGH LOOHJDO SD\GD\ ORDQV WR FRQVXPHUV LQ 1HZ <RUN´ DQG VWDWHG WKDW WKH 7ULEDO &RUSRUDWH 3ODLQWLIIV
   
        FKDUJH IHHV UHVXOWLQJ LQ ³LQWHUHVW UDWHV IDU LQ H[FHVV RI WKH OHJDO OLPLW´   See /HWWHU IURP 'HIHQGDQW
   
        /DZVN\ WR ILQDQFLDO LQVWLWXWLRQV GDWHG $XJXVW   D WUXH DQG FRUUHFW FRS\ RI ZKLFK LV DWWDFKHG
   
        KHUHWR DV ([KLELW %
   
                    ,Q WKLV OHWWHU WKH 'HIHQGDQW 'HSDUWPHQW VWDWHG WKDW ³>W@R DGGUHVV >7ULEDO &RUSRUDWH
   
        'HIHQGDQWV¶@ XQODZIXO DFWLYLW\ 'HIHQGDQW 'HSDUWPHQW WRGD\ VHQW OHWWHUV WR  SD\GD\ OHQGHUV GLUHFWLQJ
   
        WKHP WR FHDVH DQG GHVLVW RIIHULQJ WR OHQG DQG OHQGLQJ PRQLHV DW XVXULRXV UDWHV LQ 1HZ <RUN´ DQG VWDWHG
   
        WKDW LW ZRXOG ³DJJUHVVLYHO\ SXUVXH DSSURSULDWH HQIRUFHPHQW DJDLQVW SD\GD\ OHQGHUV WKDW UHIXVH WR FHDVH
   
        DQG GHVLVW IURP WKHLU LOOHJDO DFWLYLW\ LQ 1HZ <RUN´ ,G
   
                    7KH OHWWHU IXUWKHU SURYLGHV ³,OOHJDO SD\GD\ ORDQV PDGH RYHU WKH ,QWHUQHW DUH PDGH
   
        SRVVLEOH LQ 1HZ <RUN E\ FUHGLWV DQG GHELWV WKDW PXVW SDVV WKURXJK WKH $XWRPDWHG &OHDULQJ +RXVH
   
         ³$&+´ QHWZRUN 7KH FXUUHQW $&+ QHWZRUN DSSHDUV WR DOORZ LOOHJDO ORDQV WR IORZ WKURXJK 1HZ <RUN
   

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    Case      23-2097   Doc: 11-2
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        ZLWKRXW VXIILFLHQW PHFKDQLVPV WR SUHYHQW RU EORFN WKHVH GHELWV RU FUHGLWV DV WKH\ RFFXU´ ,G
    
                    $FFRUGLQJ WR WKH OHWWHU ³>5HFHLYLQJ 'HSRVLWRU\ )LQDQFLDO ,QVWLWXWLRQV@ ZRXOG EH D JUHDW
    
        DVVHW LQ SUHYHQWLQJ WKHLU FXVWRPHUV IURP EHLQJ YLFWLPL]HG E\ WKHVH LOOHJDO ORDQV LI WKH\ ZHUH DZDUH RI
    
        TXHVWLRQDEOH DFWLYLW\ EHIRUH VXFK GHELWV ZHUH PDGH $V VXFK FKDQJHV WR WKH $&+ QHWZRUN PD\ EH
    
        QHFHVVDU\    >$@FFHVV WR WKH $&+ V\VWHP LV WKH IRRW LQ WKH GRRU WKDW RQOLQH SD\GD\ OHQGHUV QHHG WR
    
        SUH\ RQ YXOQHUDEOH 1HZ <RUNHUV $QG EDQNV KDYH SURYHQ WR EH           HYHQ LI XQLQWHQWLRQDOO\   DQ HVVHQWLDO
    
        FRJ LQ WKH YLFLRXV PDFKLQHU\ WKDW WKHVH SXUYH\RUV RI SUHGDWRU\ ORDQV XVH WR PDNH DQ HQGUXQ DURXQG 1HZ
    
        <RUN ODZ´ ,G
    
                    $OVR LQ WKH OHWWHU 'HIHQGDQW /DZVN\ DQG 'HIHQGDQW 'HSDUWPHQW UHTXHVW WKDW WKH
   
        ILQDQFLDO LQVWLWXWLRQV FRRSHUDWH ZLWK WKHP WR FUHDWH SURFHGXUHV ZKLFK ZRXOG ³FKRNH RII $&+ DFFHVV WR
   
        WKH  LOOHJDO OHQGHUV´ LGHQWLILHG E\ 'HIHQGDQW 'HSDUWPHQW 7KH OHWWHU IXUWKHU VWDWHV WKDW LW LV LQ WKH
   
        EDQNV¶ ORQJWHUP LQWHUHVW ³WR WDNH DSSURSULDWH DFWLRQ WR KHOS HQVXUH WKDW LW LV QRW VHUYLQJ DV D SLSHOLQH IRU
   
        LOOHJDO FRQGXFW´ ,G
   
                    'HIHQGDQW 'HSDUWPHQW DOVR DVNHG EDQNV WR SURYLGH LQIRUPDWLRQ DERXW WKHLU FXUUHQW
   
        SURFHGXUHV WR VWRS ³LOOHJDO SD\GD\ ORDQV IURP HQWHULQJ LQWR 1HZ <RUN WKURXJK WKH $&+ QHWZRUN´ DV
   
        ZHOO DV DQ\ FKDQJHV WKDW ZRXOG EH QHFHVVDU\ WR VWRS VXFK ORDQV ,W ZULWHV ³7KURXJK D FRRSHUDWLYH HIIRUW
   
        ZLWK WKH EDQNLQJ LQGXVWU\ ZH FDQ ZRUN WRJHWKHU WR VWDPS RXW WKHVH SHUQLFLRXV LOOHJDO SD\GD\ ORDQV LQ
   
        1HZ <RUN´ ,G
   
                    2Q RU DURXQG $XJXVW   'HIHQGDQW 'HSDUWPHQW VHQW D VLPLODU OHWWHU WR 1$&+$ D
   
        QRQSURILW DVVRFLDWLRQ RI ILQDQFLDO LQVWLWXWLRQV ZKLFK DGPLQLVWHUV WKH $&+ QHWZRUN ZKLFK ZDV ODUJHO\
   
        VLPLODU WR WKH OHWWHU LW VHQW WR WKH EDQNV ,Q WKLV OHWWHU 'HIHQGDQW 'HSDUWPHQW UHTXHVWV WKDW 1$&+$
   
        ³FKRNH RII $&+ DFFHVV´ WR WKH ³LOOHJDO OHQGHUV´ LGHQWLILHG E\ 'HIHQGDQW 'HSDUWPHQW          See OHWWHU IURP
   
        'HIHQGDQW /DZVN\ WR 1$&+$ D WUXH DQG FRUUHFW FRS\ RI ZKLFK LV DWWDFKHG KHUHWR DV ([KLELW &
   
                    $OVR RQ RU DURXQG $XJXVW   'HIHQGDQW 'HSDUWPHQW VHQW D OHWWHU WLWOHG ³/HWWHU WR $OO
   
        'HEW &ROOHFWRUV 2SHUDWLQJ LQ WKH 6WDWH RI 1HZ <RUN´ LQIRUPLQJ WKHP WKDW 'HIHQGDQW 'HSDUWPHQW RI WKH
   

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USCA4 Appeal:
    Case      23-2097   Doc: 11-2
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        LVVXDQFH RI OHWWHUV WR  SD\GD\ ORDQ FRPSDQLHV ³GLUHFWLQJ WKHP WR FHDVH DQG GHVLVW RIIHULQJ DQG PDNLQJ
    
        XVXULRXV SD\GD\ ORDQV LQ 1HZ <RUN´        6HH OHWWHU IURP 'HIHQGDQW /DZVN\ WR 'HEW &ROOHFWRUV GDWHG
    
        $XJXVW   DWWDFKHG KHUHWR DV ([KLELW '
    
                    7KLV OHWWHU DJDLQ UHIHUHQFHV WKH 7ULEDO &RUSRUDWH 3ODLQWLIIV VWDWHG WKDW ³WKHVH FRPSDQLHV
    
        KDYH FKDUJHG 1HZ <RUN FRQVXPHUV IRU SD\GD\ ORDQV ZLWK LQWHUHVW UDWHV PDQ\ WLPHV WKH OHJDO OLPLW´ DQG
    
        FLWHG YDULRXV VWDWH ODZV IRU WKH SURSRVLWLRQ WKDW 7ULEDO &RUSRUDWH 3ODLQWLIIV ZHUH LQYROYHG LQ ³FULPLQDO
    
        XVXU\´ ,G
    
                    7KH OHWWHU DOVR VWDWHG WKDW 'HIHQGDQW 'HSDUWPHQW ZRXOG ³DJJUHVVLYHO\ HQIRUFH WKH ODZ
    
        DJDLQVW DQ\ SHUVRQ RU HQWLW\ DWWHPSWLQJ WR FROOHFW GHEWV RQ LOOHJDO SD\GD\ ORDQV PDGH WR 1HZ <RUN
   
        FRQVXPHUV´ RQ EHKDOI RI  OHQGLQJ HQWLWLHV LQFOXGLQJ 7ULEDO &RUSRUDWH 3ODLQWLIIV ,G
   
                    6HYHUDO 7ULEDO &RUSRUDWH 3ODLQWLIIV KDYH UHFHLYHG FRUUHVSRQGHQFH IURP ,QWHUFHSW()7 D
   
        SD\PHQW SURFHVVLQJ FRPSDQ\ VSHFLILFDOO\ VWDWLQJ WKDW DV D UHVXOW RI 'HIHQGDQW 'HSDUWPHQW¶V $XJXVW 
   
         &HDVH DQG 'HVLVW OHWWHUV WKH OHQGLQJ HQWLW\ ZDV WR ³LPPHGLDWHO\ FHDVH VXEPLWWLQJ DQ\ WUDQVDFWLRQV
   
        LQYROYLQJ 1< UHVLGHQWV WR ,QWHUFHSW()7 IRU SURFHVVLQJ´          See /HWWHU IURP ,QWHUFHSW()7 WR 7ULEDO
   
        &RUSRUDWH 3ODLQWLIIV D WUXH DQG FRUUHFW FRS\ RI ZKLFK LV DWWDFKHG KHUHWR DV ([KLELW (
   
                    ,Q DGGLWLRQ WKH OHWWHU IURP ,QWHUFHSW()7 VWDWHV WKDW ³LQ FRQMXQFWLRQ ZLWK RXU SURFHVVLQJ
   
        EDQNV´ LQ  VWDWHV DQG WKH 'LVWULFW RI &ROXPELD ³DV RI $XJXVW   QR IXUWKHU FUHGLWDGYDQFH
   
        WUDQVDFWLRQV ZLOO EH SURFHVVHG E\ ,QWHUFHSW()7´ DQG WKDW ³DV RI 6HSWHPEHU   QR IXUWKHU
   
        GHELWSD\PHQW WUDQVDFWLRQV ZLOO EH SURFHVVHG E\ ,QWHUFHSW()7           3OHDVH PDNH DOWHUQDWLYH SD\PHQW
   
        DUUDQJHPHQWV IRU \RXU FXVWRPHUV DIWHU 6HSWHPEHU   7UDQVDFWLRQV ZLOO EH PRQLWRUHG WR HQVXUH
   
        FRPSOLDQFH ZLWK QRQFRPSOLDQFH UHVXOWLQJ LQ LPPHGLDWH WHUPLQDWLRQ´ ,G 6XEVHTXHQWO\ ,QWHUFHSW()7
   
        LVVXHG DGGLWLRQDO FRUUHVSRQGHQFH ZLWK DOWHUHG LWV RULJLQDO WLPHOLQH DQG LQIRUPV 7ULEDO &RUSRUDWH
   
        3ODLQWLIIV WKDW WKHLU FRQWUDFWXDO UHODWLRQVKLS ZLOO EH WHUPLQDWHG $XJXVW 
   
                    8SRQ LQIRUPDWLRQ DQG EHOLHYH VXEVHTXHQW WR UHFHLSW RI WKH OHWWHU IURP WKH 'HIHQGDQW
   
        'HSDUWPHQW 1$&+$ VHQW D OHWWHU WR LWV PHPEHU EDQNV DQG 7333V FLWLQJ WR WKH 'HIHQGDQW 'HSDUWPHQW
   

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    
        OHWWHU DQG LWV VSHFLILF OLVW RI LOOHJDO FRPSDQLHV ,Q GRLQJ VR 1$&+$ VWDWHV WKDW ³SXUSRUWHG DXWKRUL]DWLRQV
    
        WR SD\ LOOHJDO ORDQV DUH XQHQIRUFHDEOH XQGHU DSSOLFDEOH VWDWH ODZ DQG GR QRW FRQVWLWXWH YDOLG
    
        DXWKRUL]DWLRQV XQGHU WKH 1$&+$ UXOHV´       See /HWWHU IURP 1$&+$ WR >,16(57@ V D WUXH DQG FRUUHFW
    
        FRS\ RI ZKLFK LV DWWDFKHG KHUHWR DV ([KLELW )
    
                    7KH 1$&+$ OHWWHU IXUWKHU VWDWHV ³,Q OLJKW RI WKH DOOHJDWLRQV RI >'HIHQGDQW 'HSDUWPHQW@
    
        LW LV LPSHUDWLYH WKDW \RX LPPHGLDWHO\ UHYLHZ \RXU RULJLQDWLRQ DFWLYLW\ IRU WKH >7ULEDO &RUSRUDWH 3ODLQWLIIV@
    
        DQG WHUPLQDWH DQ\ RULJLQDWLRQ WKDW ZRXOG RWKHUZLVH YLRODWH WKH 1$&+$ UXOHV´ ,G
    
                    7KLV OHWWHU IXUWKHU UHTXHVWV WKDW WKH SD\PHQW SURFHVVRUV DQG ILQDQFLDO LQVWLWXWHV DGYLVH QR
    
        ODWHU WKDQ $XJXVW      ³ D ZKHWKHU \RX KDYH GHWHUPLQHG WR WHUPLQDWH RULJLQDWLRQ IRU WKH >7ULEDO
   
        &RUSRUDWH 3ODLQWLIIV@ E LI VR WKH GDWH WKDW VXFK WHUPLQDWLRQ ZLOO EH HIIHFWLYH DQG F LI QRW WKH EDVLV IRU
   
        \RXU GHWHUPLQDWLRQ WKDW FRQWLQXHG RULJLQDWLRQ IRU VXFK >7ULDO &RUSRUDWH 3ODLQWLIIV@ LV SHUPLVVLEOH DQG
   
        DSSURSULDWH´ ,G
   
                    8SRQ LQIRUPDWLRQ DQG EHOLHI 'HIHQGDQW 'HSDUWPHQW LPSURSHUO\ DQG ZLWKRXW OHJDO EDVLV
   
        VHQW WKH DIRUHPHQWLRQHG FRUUHVSRQGHQFH WR H[HUW SUHVVXUH RQ EDQNV DQG WKLUG SDUW\ SURFHVVRUV LQ RUGHU WR
   
        VXEYHUW WULEDO VRYHUHLJQW\ DQG DVVHUW FRQWURO RYHU WKLUG SDUWLHV WR LQMXUH WKH 7ULEDO &RUSRUDWH 3ODLQWLIIV¶
   
        DELOLW\ WR HQJDJH LQ ODZIXO FRQVXPHU ILQDQFH RSHUDWLRQV DQG WKH 3ODLQWLIIV¶ VRYHUHLJQ ULJKWV WR HQJDJH LQ
   
        HFRQRPLF GHYHORSPHQW DQG VHOIGHWHUPLQDWLRQ
   
                    8SRQ LQIRUPDWLRQ DQG EHOLHI 'HIHQGDQW 'HSDUWPHQW LV DZDUH RI RU VKRXOG KDYH EHHQ
   
        DZDUH RI WKH VRYHUHLJQ VWDWXV RI WKH 7ULEDO &RUSRUDWH 3ODLQWLIIV EDVHG XSRQ FRUUHVSRQGHQFH VXEPLWWHG WR
   
        'HIHQGDQW 'HSDUWPHQW SULRU WR WKH LVVXDQFH RI LWV FHDVH DQG GHVLVW OHWWHUV ZKLFK LQIRUPHG WKHP RI WKLV
   
        LQIRUPDWLRQ
   
                    3ODLQWLIIV KDYH VXIIHUHG KDUP DQG FRQWLQXH WR VXIIHU KDUP DV D GLUHFW FRQVHTXHQFH RI WKH
   
        'HIHQGDQWV¶ DFWLRQV
   
                $V D GLUHFW DQG IRUHVHHDEOH FRQVHTXHQFH RI 'HIHQGDQWV¶ DFWLRQV FXUUHQW ILQDQFLDO LQVWLWXWLRQV
   
        DQG 7333V KDYH WKURXJK ZULWWHQ FRUUHVSRQGHQFH DQG RWKHUZLVH H[SUHVVHG XQZLOOLQJQHVV WR FRQWLQXH
   

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    
        EXVLQHVV UHODWLRQV ZLWK WKH 7ULEDO &RUSRUDWH 3ODLQWLIIV
    
                      $V D GLUHFW DQG IRUHVHHDEOH FRQVHTXHQFH RI 'HIHQGDQWV¶ DFWLRQV 7ULEDO &RUSRUDWH
    
        'HIHQGDQWV¶ EXVLQHVV RSHUDWLRQV KDYH EHHQ MHRSDUGL]HG DQG LQ WXUQ VR KDV D VRXUFH RI UHYHQXH WKDW LV
    
        FULWLFDO WR WKH VXUYLYDO RI WKH 7ULEDO *RYHUQPHQW 3ODLQWLIIV DQG LWV FLWL]HQV
    
                      $V D GLUHFW DQG IRUHVHHDEOH FRQVHTXHQFH RI 'HIHQGDQWV¶ DFWLRQV WKH DELOLW\ RI WKH 7ULEDO
    
        *RYHUQPHQW 3ODLQWLIIV WR HQJDJH LQ ODZIXO VHOIGHWHUPLQDWLRQ DQG VHOIJRYHUQDQFH IRU WKH EHQHILW RI LWV
    
        SHRSOH DQG EHWWHUPHQW RI LWV FRPPXQLW\ KDV EHHQ HQGDQJHUHG
    
                   $V D GLUHFW DQG IRUHVHHDEOH FRQVHTXHQFH RI 'HIHQGDQWV¶ DFWLRQV WKH VRYHUHLJQ ULJKW RI WKH
    
        7ULEDO *RYHUQPHQW 3ODLQWLIIV WR HQDFW WKHLU RZQ ODZV DQG JRYHUQ WKHPVHOYHV E\ VXFK ODZV DV EHHQ
   
        WKUHDWHQHG DQG XQGHUPLQHG ,QGHHG DV D UHVXOW RI WKH H[WUDWHUULWRULDO DFWLRQV RI WKH 'HIHQGDQWV WKH
   
        DELOLW\ RI WKH 3ODLQWLII WULEDO UHJXODWRU\ DJHQFLHV WR IXOILOO WKHLU OHJDO UHVSRQVLELOLWLHV RI RYHUVHHLQJ DQG
   
        UHJXODWLQJ WKH DFWLYLWLHV RI WKH 7ULEDO &RUSRUDWH 3ODLQWLIIV WR HQVXUH FRPSOLDQFH ZLWK WULEDO DQG IHGHUDO
   
        ODZ KDV EHHQ XQGHUPLQHG
   
                                           ),567 &$86( 2) $&7,21
            86&   ± ,QIULQJHPHQW RI D )HGHUDOO\ 3URWHFWHG 5LJKW $V WR $OO 'HIHQGDQWV DQG
         9LRODWLRQV RI WKH 8QLWHG 6WDWHV &RQVWLWXWLRQ ± 'XH 3URFHVV &ODXVH RI WKH )RXUWHHQWK $PHQGPHQW
                                          ,QGLDQ &RPPHUFH &ODXVH
   
                      3ODLQWLIIV LQFRUSRUDWH E\ UHIHUHQFH SDUDJUDSKV  WKURXJK  DERYH DV LI IXOO\ UHZULWWHQ
   
        KHUHLQ
   
                      7ULEDO &RUSRUDWH 3ODLQWLIIV DUH GHHPHG ³SHUVRQV´ IRU SXUSRVHV RI  86&   DQG
   
        DUH HFRQRPLF EXVLQHVV HQWLWLHV RUJDQL]HG E\ DQG ZKROO\ RZQHG E\ IHGHUDOO\UHFRJQL]HG ,QGLDQ WULEHV DQG
   
        DUH HQWLWOHG WR UHFRJQLWLRQ RI WKHLU VRYHUHLJQ VWDWXV
   
                      'HIHQGDQWV FROOHFWLYHO\ DQG LQGLYLGXDOO\ WKURXJK WKH DFWLRQV RI 'HIHQGDQW 'HSDUWPHQW
   
        DQG 'HIHQGDQW /DZVN\ LQIULQJHG RQ 3ODLQWLIIV¶ SURWHFWHG &RQVWLWXWLRQDO ULJKWV ERWK DV D PDWWHU RI WKH
   
        ,QGLDQ &RPPHUFH &ODXVH $UWLFOH , 6HFWLRQ  &ODXVH   ZKLFK H[SUHVVO\ UHVHUYHV WKH DELOLW\ WR UHJXODWH
   
        ,QGLDQ &RPPHUFH WR WKH IHGHUDO JRYHUQPHQW DQG QRW WKH VWDWHV DQG WKH )RXUWHHQWK $PHQGPHQW ZKLFK
   

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        UHTXLUHV WKDW 'HIHQGDQWV DIIRUG 7ULEDO &RUSRUDWH 3ODLQWLIIV GXH SURFHVV RI ODZ
    
                       'HIHQGDQWV LQGLYLGXDOO\ DQG FROOHFWLYHO\ LQIULQJHG RQ 3ODLQWLIIV¶ UHFRJQL]HG DQG SURWHFWHG
    
        ULJKW WR VRYHUHLJQW\ DQG VHOIGHWHUPLQDWLRQ E\ DWWHPSWLQJ WR VXEYHUW 3ODLQWLIIV¶ &RQVWLWXWLRQDO ULJKW WR
    
        HQJDJH LQ ODZIXO HFRQRPLF DFWLYLW\ ZLWKRXW GXH SURFHVV RI ODZ WR XQODZIXOO\ DQG WRUWXRXVO\ LQWHUIHUH
    
        ZLWK WKH 7ULEDO &RUSRUDWH 3ODLQWLIIV¶ EXVLQHVVHV WKURXJK LOOHJDO DQG LQDSSOLFDEOH UHJXODWRU\ HIIRUWV
    
                       'HIHQGDQW 6WDWH 'HIHQGDQW &XRPR 'HIHQGDQW 'HSDUWPHQW DQG 'HIHQGDQW /DZVN\ IDLOHG
    
        WR HQJDJH 7ULEDO *RYHUQPHQW 3ODLQWLIIV DQG 7ULEDO 5HJXODWRU\ 3ODLQWLIIV RQ D JRYHUQPHQWWRJRYHUQPHQW
    
        EDVLV WR OHDUQ RI 3ODLQWLIIV¶ ODZIXO EXVLQHVV DFWLYLWLHV DQG LQIULQJHG RQ 3ODLQWLIIV¶ SURWHFWHG ULJKWV
    
        DIIRUGHG WR DOO IHGHUDOO\ UHFRJQL]HG WULEHV 'XH SURFHVV UHTXLUHV UHFRJQLWLRQ RI 3ODLQWLIIV¶ VRYHUHLJQ
   
        VWDWXV DQG WKH DSSOLFDELOLW\ RI 7ULEDO ODZ WR WULEDO &RUSRUDWH 3ODLQWLIIV¶ ODZIXO EXVLQHVV DFWLYLWLHV
   
                       'HIHQGDQW 'HSDUWPHQW¶V DQG 'HIHQGDQW /DZVN\¶V DFWLRQV WR LQWHQWLRQDOO\ PLVOHDG EDQNV
   
        7333V DQG WKH JHQHUDO SXEOLF YLRODWHG 3ODLQWLIIV¶ ULJKWV RI VRYHUHLJQW\ DQG VXFK DFWLRQV DUH DWWULEXWDEOH
   
        WR DOO 'HIHQGDQWV EHFDXVH VXFK DFWLRQV RFFXUUHG XQGHU WKH FRORU RI ODZ
   
                       3ODLQWLIIV¶ KDYH EHHQ GDPDJHG E\ 'HIHQGDQWV¶ XQODZIXO DFWLRQV RFFXUULQJ XQGHU WKH FRORU
   
        RI ODZ EDVHG RQ WKH LQWHUUXSWLRQV FDXVHG WR 7ULEDO &RUSRUDWH 3ODLQWLIIV¶ ODZIXO EXVLQHVV DFWLYLWLHV DQG WKH
   
        FRQWLQXHG WKUHDW RI XQODZIXO UHJXODWRU\ RYHUVLJKW E\ 'HIHQGDQWV
   
                                           6(&21' &$86( 2) $&7,21
               9LRODWLRQ RI WKH 8QLWHG 6WDWHV &RQVWLWXWLRQ  'RUPDQW &RPPHUFH &ODXVH ± (IIHFW RI
                                        'LVFULPLQDWLRQ $V WR $OO 'HIHQGDQWV
   

                     3ODLQWLIIV UHDOOHJH WKH DERYH SDUDJUDSKV DQG LQFRUSRUDWH WKRVH SDUDJUDSKV KHUHLQ DV LI VHW

      IRUWK LQ IXOO

                     7KH 'RUPDQW &RPPHUFH &ODXVH RI WKH 8QLWHG 6WDWHV &RQVWLWXWLRQ UHTXLUHV WKDW 6WDWH

      DFWLRQ LPSRVLQJ D EXUGHQ RQ LQWHUVWDWH FRPPHUFH ZKLFK LQ HIIHFW GLVFULPLQDWHV RXW RI VWDWH DFWRUV

      SDUWLFLSDWLQJ LQ FRPPHUFH EH VWULFNHQ XQOHVV LW LV QHFHVVDU\ WR DFKLHYH D OHJLWLPDWH QRQSURWHFWLRQLVW

      VWDWH LQWHUHVW

                     'HIHQGDQWV¶ DFWLRQV KDYH WKH HIIHFW RI GLVFULPLQDWLQJ DJDLQVW 7ULEDO &RUSRUDWH 3ODLQWLIIV

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        VSHFLILFDOO\ DQG DJDLQVW WKH YDOLG DQG DSSOLFDEOH 7ULEDO ODZ DQG UHJXODWLRQ JRYHUQLQJ WKH 7ULEDO
    
        &RUSRUDWH 3ODLQWLIIV¶ EXVLQHVV DFWLYLWLHV
    
                      'HIHQGDQWV¶ DFWLRQ DUH QRW QHFHVVDU\ WR DFKLHYH D OHJLWLPDWH QRQSURWHFWLRQLVW VWDWH
    
        LQWHUHVW DV WKH DFWLRQ GLVFULPLQDWHV DJDLQVW UHJXODWHG HFRQRPLF GHYHORSPHQW DFWLYLWLHV SXUVXDQW WR WULEDO
    
        ODZ DQG FRQVLVWHQW ZLWK IHGHUDO ODZ DQG 'HIHQGDQWV¶ DFWLRQV FDQQRW EH VKRZQ WR VHUYH D OHJLWLPDWH QRQ
    
        SURWHFWLRQLVW LQWHUHVW
    
                      3ODLQWLIIV KDYH EHHQ GDPDJHG E\ 'HIHQGDQWV¶ DFWLRQV LQ WKDW 7ULEDO &RUSRUDWH 3ODLQWLIIV¶
    
        EXVLQHVV UHODWLRQVKLSV DUH EHLQJ KDUPHG DQG 3ODLQWLII 7ULEHV DQG 3ODLQWLII 7ULEDO 5HJXODWRUV KDYH QRW
    
        EHHQ JLYHQ WKH VRYHUHLJQ UHFRJQLWLRQ WR ZKLFK WKH\ DUH HQWLWOHG
   

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          9LRODWLRQ RI WKH 'RUPDQW &RPPHUFH &ODXVH ± 3OHG LQ WKH $OWHUQDWLYH ± )DFLDOO\ 1HXWUDO (IIHFW RI
                                    'LVFULPLQDWLRQ DV WR DOO 'HIHQGDQWV
   
                      3ODLQWLIIV UHDOOHJH WKH DERYH SDUDJUDSKV DQG LQFRUSRUDWH WKRVH SDUDJUDSKV KHUHLQ DV LI VHW
   
        IRUWK LQ IXOO
   
                      7KH 'RUPDQW &RPPHUFH &ODXVH RI WKH 8QLWHG 6WDWHV &RQVWLWXWLRQ UHTXLUHV WKDW 6WDWH
   
        DFWLRQ WKDW LPSRVHV D EXUGHQ RQ LQWHUVWDWH FRPPHUFH WKDW LI LV QHXWUDO RQ LWV IDFH WKH &RXUW PXVW EDODQFH
   
        LQWHUHVWV DQG PXVW VWULNH WKH 6WDWH ODZ RU DFWLRQ XQOHVV WKH EXUGHQ RQ LQWHUVWDWH FRPPHUFH LV FOHDUO\
   
        H[FHVVLYH LQ UHODWLRQ WR ORFDO EHQHILWV
   
                      'HIHQGDQWV¶ DFWLRQV D EXUGHQ RQ LQWHUVWDWH FRPPHUFH DQG RQ WKH 3ODLQWLIIV¶ VSHFLILFDOO\
   
        WKDW FOHDUO\ H[FHHGV DQ\ SHUFHLYHG ORFDO EHQHILWV )XQGDPHQWDO WHQHWV RI VRYHUHLJQW\ RI ,QGLDQ QDWLRQV
   
        DV UHFRJQL]HG SXUVXDQW WR ZHOOHVWDEOLVKHG IHGHUDO ODZ DQG SROLF\  DQG LQKHUHQW ULJKWV DQG DXWKRULW\ RI
   
        ,QGLDQ QDWLRQV WR HQJDJH LQ VHOIJRYHUQDQFH DQG VHOIGHWHUPLQDWLRQ FOHDUO\ RXWZHLJK WKH ORFDO EHQHILWV
   
        'HIHQGDQWV VHHN WR JDLQ IRU 1HZ <RUN UHVLGHQWV E\ SUHVVXULQJ EDQNV DQG 7333V E\ SXEOLVKLQJ
   
        LQIODPPDWRU\ DQG WKUHDWHQLQJ FRUUHVSRQGHQFH WR 7ULEDO &RUSRUDWH 3ODLQWLIIV¶ EXVLQHVV UHODWLRQV
   
                      3ODLQWLIIV KDYH EHHQ GDPDJHG E\ 'HIHQGDQWV¶ DFWLRQV LQ WKDW 7ULEDO &RUSRUDWH 3ODLQWLIIV¶
   

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    
        EXVLQHVV UHODWLRQVKLSV DUH EHLQJ KDUPHG DQG 3ODLQWLII 7ULEHV DQG 3ODLQWLII 7ULEDO 5HJXODWRUV KDYH QRW
    
        EHHQ JLYHQ WKH VRYHUHLJQ UHFRJQLWLRQ WR ZKLFK WKH\ DUH HQWLWOHG
    

                                        )2857+ &$86( 2) $&7,21
            9LRODWLRQV RI WKH 'RGG)UDQN :DOO 6WUHHW 5HIRUP DQG &RQVXPHU 3URWHFWLRQ $FW  86& 
               ±  IRU )DLOXUH WR 5HFRJQL]H 3ODLQWLII 7ULEDO 5HJXODWRUV DV WR DOO 'HIHQGDQWV
    
                      3ODLQWLIIV UHDOOHJH WKH DERYH SDUDJUDSKV DQG LQFRUSRUDWH WKRVH SDUDJUDSKV KHUHLQ DV LI VHW
    
        IRUWK LQ IXOO
    
                      3XUVXDQW WR WKH 'RGG)UDQN :DOO 6WUHHW 5HIRUP DQG &RQVXPHU 3URWHFWLRQ $FW  86&
    
              ³'RGG)UDQN $FW´  IHGHUDOO\ UHFRJQL]HG WULEHV LQFOXGLQJ 7ULEDO *RYHUQPHQW
   
        3ODLQWLIIV DUH GHILQHG DV 6WDWHV SXUSRVHV RI FRQVXPHU SURWHFWLRQ ODZV DQG WKH ILQDQFLDO VHUYLFHV
   
        FRQWHPSODWHG KHUHLQ
   
                      3ODLQWLII 7ULEDO 5HJXODWRUV DUH RQ HTXDO IRRWLQJ ZLWK IHGHUDO DQG VWDWH UHJXODWRUV DQG WKH
   
        'RGG)UDQN $FW UHTXLUHV UHJXODWRU\ DJHQFLHV VHHNLQJ WR HQJDJH LQ UHYLHZ RU LQVWLWXWH DFWLRQ DJDLQVW DQ\
   
        WULEDO HQWLW\ SURYLGLQJ FRQVXPHU ILQDQFLDO VHUYLFHV LQFOXGLQJ 7ULEDO &RUSRUDWH 3ODLQWLIIV WR HQJDJH RQ D
   
        UHJXODWRUWRUHJXODWRU EDVLV ZLWK 3ODLQWLII 7ULEDO 5HJXODWRUV
   
                      'HIHQGDQWV KDYH LQWHQWLRQDOO\ DQG LPSURSHUO\ UHIXVHG WR SURSHUO\ HQJDJH LQ VXFK D
   
        UHODWLRQVKLS ZLWK 3ODLQWLII 7ULEDO 5HJXODWRUV LQ YLRODWLRQ RI IHGHUDO ODZ
   
                      3ODLQWLIIV KDYH EHHQ GDPDJHG E\ 'HIHQGDQWV¶ LQWHQWLRQDO DQG LPSURSHU DFWLRQV DV 7ULEDO
   
        *RYHUQPHQW 3ODLQWLIIV DQG 3ODLQWLII 7ULEDO 5HJXODWRUV KDYH QRW EHHQ DIIRUGHG WKH VRYHUHLJQ UHFRJQLWLRQ
   
        WR ZKLFK WKH\ DUH HQWLWOHG DQG DV PDQGDWHG SXUVXDQW WR IHGHUDO ODZ
   

                                          ),)7+ &$86( 2) $&7,21
                            ([HFXWLYH DQG ([SUHVV )HGHUDO 3UHHPSWLRQ DV WR DOO 'HIHQGDQWV
   

                    3ODLQWLIIV UHDOOHJH WKH DERYH SDUDJUDSKV DQG LQFRUSRUDWH WKRVH SDUDJUDSKV KHUHLQ DV LI VHW

      IRUWK LQ IXOO

                    'HIHQGDQWV DUH HDFK 6WDWH DJHQFLHV DQG DFWRUV WDVNHG SXUVXDQW WR 1HZ <RUN 6WDWH

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USCA4 Appeal:
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        &RQVWLWXWLRQDO DQG VWDWXWRU\ ODZ WR UHJXODWH LQGLYLGXDOV DQG HQWLWLHV DFWLQJ ZLWKLQ WKH 6WDWH RI 1HZ <RUN
    
                    7ULEDO *RYHUQPHQW 3ODLQWLIIV DUH IHGHUDOO\ UHFRJQL]HG WULEHV HQWLWOHG WR 6WDWH UHFRJQLWLRQ
    
        RI WKHLU VRYHUHLJQW\ WKDW VKDUH D JRYHUQPHQWWRJRYHUQPHQW UHODWLRQVKLS ZLWK WKH 8QLWHG 6WDWHV
    
                    7ULEDO 5HJXODWRU 3ODLQWLIIV DUH JRYHUQPHQWDO DUPV RI 7ULEDO *RYHUQPHQWDO 3ODLQWLIIV
    
        HQWLWOHG WR LQWHUDFW ZLWK UHJXODWRU\ DJHQFLHV ZLVKLQJ WR DVVHUW MXULVGLFWLRQ RYHU 7ULEDO &RUSRUDWH
    
        3ODLQWLIIV RQ D UHJXODWRUWRUHJXODWRU EDVLV SXUVXDQW WR WKH 'RGG)UDQN $FW
    
                    7ULEDO &RUSRUDWH 3ODLQWLIIV DUH ODZIXOO\ HQJDJHG LQ OHQGLQJ SXUVXDQW WR DSSOLFDEOH 7ULEDO
    
        ODZ DGRSWHG E\ 7ULEDO *RYHUQPHQW 3ODLQWLIIV DQG HQIRUFHG E\ 7ULEDO 5HJXODWRU 3ODLQWLIIV DQG VXFK
    
        7ULEDO ODZ DQG UHJXODWLRQ JRYHUQLQJ ,QGLDQ &RPPHUFH DUH UHFRJQL]HG DQG HQWLWOHG WR UHFRJQLWLRQ
   
        SXUVXDQW WR WKH ,QGLDQ &RPPHUFH &ODXVH DQG 8QLWHG 6WDWHV 6XSUHPH &RXUW MXULVSUXGHQFH UHFRJQL]LQJ
   
        WULEDO VRYHUHLJQW\ DQG HDFK WULEH¶V LQKHUHQW ULJKW WR HQDFW LWV RZQ ODZV DQG HQJDJH LQ HFRQRPLF
   
        GHYHORSPHQW
   
                    7KH )HGHUDO JRYHUQPHQW¶V H[SUHVV LQWHQW WR OHDYH PDWWHUV RI ,QGLDQ FRPPHUFH VROHO\
   
        ZLWKLQ WKH SXUYLHZ RI )HGHUDO JRYHUQPHQW RYHUVLJKW GLFWDWHV WKDW 'HIHQGDQWV ODFN UHJXODWRU\ MXULVGLFWLRQ
   
        RYHU 7ULEDO &RUSRUDWH 3ODLQWLIIV¶ OHJLWLPDWH EXVLQHVV RSHUDWLRQV )HGHUDO ODZ DQG SROLF\ WKXV SUHHPSW
   
        WKH ODZV RI WKH 6WDWH RI 1HZ <RUN
   
                    'HIHQGDQWV¶ KDYH ZURQJIXOO\ DWWHPSWHG WR DVVHUW UHJXODWRU\ FRQWURO RYHU 7ULEDO &RUSRUDWH
   
        3ODLQWLIIV¶ OHJLWLPDWH EXVLQHVV DFWLYLW\ LQ FRQWUDYHQWLRQ RI )HGHUDO ODZ DQG SROLF\ DQG WULEDO ODZV
   
                    3ODLQWLIIV KDYH EHHQ GDPDJHG E\ 'HIHQGDQWV¶ XQODZIXO DWWHPSWV WR DVVHUW UHJXODWRU\
   
        FRQWURO 'HIHQGDQWV KDYH IDLOHG WR UHFRJQL]H WKH VRYHUHLJQW\ DQG ODZPDNLQJ DXWKRULW\ RI 7ULEDO
   
        *RYHUQPHQW 3ODLQWLIIV DQG 7ULEDO 5HJXODWRUV 3ODLQWLIIV DQG XQODZIXOO\ LQIULQJHG XSRQ WKHLU ULJKWV RI
   
        VRYHUHLJQW\ 7ULEDO &RUSRUDWH 3ODLQWLIIV KDYH EHHQ GDPDJHG E\ 'HIHQGDQWV¶ DWWHPSWV WR FHDVH LWV OHJDO
   
        DQG OHJLWLPDWH EXVLQHVV RSHUDWLRQV LQ WKH 6WDWH RI 1HZ <RUN
   
                                           6,;7+ &$86( 2) $&7,21
       8QODZIXO GLVSDUDWH WUHDWPHQW RI VWDWHFKDUWHUHG EDQNV DQG 7ULEDO &RUSRUDWH 3ODLQWLIIVOLFHQVHG E\
           3ODLQWLII 7ULEDO 5HJXODWRUV DV WR DOO 'HIHQGDQWV >3$7721 %2**6 72 ,1&25325$7(@
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                      3ODLQWLIIV UHDOOHJH WKH DERYH SDUDJUDSKV DQG LQFRUSRUDWH WKRVH SDUDJUDSKV KHUHLQ DV LI VHW
    
        IRUWK LQ IXOO
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                                       6(9(17+ &$86( 2) $&7,21
        7RUWLRXV ,QWHUIHUHQFH ZLWK &RQWUDFW ZLWK %DQNV DQG 7KLUG 3DUW\ 3URFHVVRUV DV WR DOO 'HIHQGDQWV
                     3ODLQWLIIV UHDOOHJH WKH DERYH SDUDJUDSKV DQG LQFRUSRUDWH WKRVH SDUDJUDSKV KHUHLQ DV LI VHW

       IRUWK LQ IXOO

                     7ULEDO &RUSRUDWH 3ODLQWLIIV KDYH H[LVWLQJ FRQWUDFWXDO UHODWLRQVKLSV ZLWK QXPHURXV EDQNV

       DQG WKLUG SDUW\ SD\PHQW SURFHVVRUV ³7333V´ WKDW XWLOL]H D YDULHW\ RI EDQNV WR IDFLOLWDWH DFFHVV WR WKH

       $&+ QHWZRUN DQG WR SURFHVV SD\PHQWV WR DOORZ 7ULEDO &RUSRUDWH 3ODLQWLIIV WR HQJDJH LQ EXVLQHVV

      >,16(57@ FRQWUDFWV ZLWK ,QWHUFHSW()7 WR VHUYH WKLV IXQFWLRQ

                    'HIHQGDQWV ZHUH DZDUH RI WKH H[LVWHQFH RI VXFK DJUHHPHQWV EHWZHHQ 7ULEDO &RUSRUDWH

      3ODLQWLIIV DQG 7333V DQG EDQNV

                    ,Q WKH $XJXVW   /HWWHUV 'HIHQGDQW /DZVN\ FKDUDFWHUL]HG 7ULEDO &RUSRUDWH

      3ODLQWLIIV RSHUDWLRQV DV ³LOOHJDO RQOLQH SD\GD\ OHQGLQJ´ UHSHDWHGO\ VWDWHG WKDW VXFK RSHUDWLRQV ZHUH

      XQODZIXO DQG UHTXHVWHG WKDW WKH EDQNV DQG 1$&+$ DQG WKHUHE\ DOO RI 1$&+$¶V PHPEHUV LQFOXGLQJ

      EDQNV DQG 7333V ³ZRUN ZLWK >WKH 'HSDUWPHQW@ WR FKRNH RII $&+ DFFHVV´ WR VHYHUDO OHQGHUV LQFOXGLQJ

      7ULEDO &RUSRUDWH 3ODLQWLIIV

                    8SRQ LQIRUPDWLRQ DQG EHOLHI WKURXJK VXFK FRUUHVSRQGHQFH 'HIHQGDQWV VXFFHVVIXOO\

      SUHVVXUHG EDQNV DQG 7333V LQFOXGLQJ ,QWHUFHSW()7 WR EUHDFK WKHLU H[LVWLQJ DJUHHPHQWV ZLWK 7ULEDO

      &RUSRUDWH 3ODLQWLIIV WHUPLQDWLQJ WKHLU H[LVWLQJ DJUHHPHQWV FORVLQJ WKHLU DFFRXQWV DQG UHIXVLQJ WR

      FRQWLQXH WR SURYLGH DFFHVV WR WKH $&+ QHWZRUN SXUVXDQW WR FRQWUDFWXDO REOLJDWLRQV

                    'HIHQGDQW¶V DFWLRQV ZHUH LQWHQWLRQDOO\ FDOFXODWHG WR FDXVH GDPDJH WR 7ULEDO &RUSRUDWH

      3ODLQWLIIV DQG ZHUH SHUIRUPHG ZLWK WKH LQWHQWLRQDO SXUSRVH RI FDXVLQJ KDUP WR 7ULEDO &RUSRUDWH 3ODLQWLIIV

      ZLWKRXW VRXQG OHJDO EDVLV MXVWLILDEOH FDXVH RU GXH SURFHVV RI ODZ

                    7ULEDO &RUSRUDWH 3ODLQWLIIV KDYH VXIIHUHG GDPDJHV DV D UHVXOW RI 'HIHQGDQW¶V LQWHUIHUHQFH

      ZLWK WKHLU EXVLQHVV FRQWUDFWV WR WKH H[WHQW WKDW 7ULEDO &RUSRUDWH 3ODLQWLIIV DUH ORVLQJ FRQWUDFWXDO

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        UHODWLRQVKLSV EXVLQHVV FRQWDFWV DQG WKH DELOLW\ WR IXQFWLRQDOO\ HQJDJH LQ DOUHDG\RULJLQDWHG ORDQV WKDW
    
        ZHUH OHJDOO\ FRQWUDFWHG
    
                                               (,*+7 &$86( 2) $&7,21
                        7RUWLRXV ,QWHUIHUHQFH ZLWK &RQWUDFWV ZLWK &RQVXPHUV DV WR DOO 'HIHQGDQWV
    
                       3ODLQWLIIV UHDOOHJH WKH DERYH SDUDJUDSKV DQG LQFRUSRUDWH WKRVH SDUDJUDSKV KHUHLQ DV LI VHW
    
        IRUWK LQ IXOO
    
                       7ULEDO &RUSRUDWH 3ODLQWLIIV HQWHUHG LQWR FRQWUDFWV ZLWK YDULRXV EDQNV DQG WKLUG SD\PHQW
    
        SDUW\ SURFHVVRUV ZKHUHE\ EDQNV DJUHHG IRU D IHH WR SURFHVV SD\PHQWV DQG WUDQVDFWLRQV WUDQVIHU IXQGV
    
        DQG JUDQW HDFK 7ULEDO &RUSRUDWH 3ODLQWLIIV¶ DFFHVV WR WKH $&+ QHWZRUN
   
                       7ULEDO &RUSRUDWH 3ODLQWLIIV VRXJKW WR FRQWUDFW ZLWK WKRVH EDQNV DQG 7333V DQG WKH EDQNV
   
        LQWHQGHG WR FRQWLQXH WR FRQGXFW WKHLU SD\PHQW SURFHVVLQJ DQG ILQDQFLDO VHUYLFHV SXUVXDQW WR WKHLU
   
        DJUHHPHQWV ZLWK 7ULEDO &RUSRUDWH 3ODLQWLIIV
   
                       'HIHQGDQW 'HSDUWPHQW DQG 'HIHQGDQW /DZVN\ ZHUH DZDUH RI WKH H[LVWHQFH RI VXFK
   
        DJUHHPHQWV EHWZHHQ 3ODLQWLIIV DQG WKH EDQNV DQG 7333V
   
                       ,Q KLV $XJXVW   /HWWHUV 'HIHQGDQW /DZVN\ FKDUDFWHUL]HG 7ULEDO &RUSRUDWH
   
        3ODLQWLIIV¶ RSHUDWLRQV DV ³LOOHJDO RQOLQH SD\GD\ OHQGLQJ´ UHSHDWHGO\ VWDWHG WKDW VXFK RSHUDWLRQV ZHUH
   
        XQODZIXO DQG UHTXHVWHG WKDW WKH EDQNV DQG 1$&+$ ³ZRUN ZLWK >'HIHQGDQW 'HSDUWPHQW@ WR FKRNH RII
   
        $&+ DFFHVV´ WR VHYHUDO OHQGHUV LQFOXGLQJ 7ULEDO &RUSRUDWH 3ODLQWLIIV
   
                       7KURXJK VXFK FRUUHVSRQGHQFH 'HIHQGDQW /DZVN\ DQG 'HIHQGDQW 'HSDUWPHQW NQRZLQJO\
   
        LQWHQWLRQDOO\ DQG LPSURSHUO\ SURFXUHG D EUHDFK RI EDQNV¶ DQG 7333V¶ H[LVWLQJ DJUHHPHQWV ZLWK 7ULEDO
   
        &RUSRUDWH 3ODLQWLIIV E\ FDQFHOOLQJ WKHLU DFFRXQWV DQG UHIXVLQJ WR FRQWLQXH WR SURYLGH ILQDQFLDO VHUYLFHV
   
        SXUVXDQW WR WKHLU DJUHHPHQWV ZLWK /HQGLQJ 3ODLQWLIIV
   
                       3ODLQWLIIV HQWHUHG LQWR VKRUWWHUP FRQVXPHU ORDQ DJUHHPHQWV ZLWK VHYHUDO FRQVXPHUV
   
        ZKHUHE\ FRQVXPHUV ERUURZHG DQ DPRXQW RI PRQH\ DQG DJUHHG WR SD\ LW EDFN ZLWK LQWHUHVW
   
                       7KHUH ZDV D UHDVRQDEOH SUREDELOLW\ WKDW 3ODLQWLIIV ZRXOG KDYH UHFHLYHG IXWXUH HFRQRPLF
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        EHQHILWV LI WKHLU DJUHHPHQWV ZLWK WKH FRQVXPHUV ZRXOG KDYH EHHQ DOORZHG WR FRQWLQXH XQLQWHUUXSWHG
    
                      'HIHQGDQW /DZVN\ DQG 'HIHQGDQW 'HSDUWPHQW ZHUH DZDUH RI WKH H[LVWHQFH RI WKH
    
        DJUHHPHQWV EHWZHHQ 7ULEDO &RUSRUDWH 3ODLQWLIIV DQG WKH EDQNV DV ZHOO DV WKH DJUHHPHQWV EHWZHHQ 7ULEDO
    
        &RUSRUDWH 3ODLQWLIIV DQG WKH VKRUWWHUP ORDQ FRQVXPHUV
    
                      'HIHQGDQW /DZVN\ DQG 'HIHQGDQW 'HSDUWPHQW LQWHQWLRQDOO\ LQWHUIHUHG ZLWK WKHVH
    
        SURVSHFWLYH UHODWLRQVKLSV E\ VHQGLQJ FRUUHVSRQGHQFH D LQFRUUHFWO\ FKDUDFWHUL]LQJ 3ODLQWLIIV¶ EXVLQHVV
    
        RSHUDWLRQV DV ³LOOHJDO RQOLQH SD\GD\ OHQGLQJ´ E UHTXHVWLQJ EDQNV DQG 1$&+$ WR ³FKRNH RII $&+
    
        DFFHVV´ WR 3ODLQWLIIV´ DQG F VWDWLQJ WKDW EDQNV ³KDYH SURYHQ WR EH    DQ HVVHQWLDO FRJ LQ WKH YLFLRXV
    
        PDFKLQHU\ WKDW WKHVH SXUYH\RUV RI SUHGDWRU\ ORDQV XVH WR PDNH DQ HQGUXQ DURXQG 1HZ <RUN ODZ´
   
                      'HSDUWPHQW /DZVN\¶V DQG 'HIHQGDQW 'HSDUWPHQW¶V DFWLRQV FDXVHG GDPDJH WR 7ULEDO
   
        &RUSRUDWH 3ODLQWLIIV ZLWKRXW ULJKW RU MXVWLILDEOH FDXVH
   
                      7ULEDO &RUSRUDWH 3ODLQWLIIV KDYH VXIIHUHG GDPDJHV DV D UHVXOW RI 'HIHQGDQW /DZVN\ DQG
   
        'HIHQGDQW 'HSDUWPHQW¶V LQWHUIHUHQFH ZLWK WKH FRQWUDFWV FXUUHQWO\ LQ SODFH ZLWK WKHLU H[LVWLQJ FRQVXPHUV
   
        DQG WKH HFRQRPLF EHQHILWV WKDW 7ULEDO &RUSRUDWH 3ODLQWLIIV KDG UHDVRQDEO\ H[SHFWHG WR UHFHLYH
   
                                          1,17+ &$86( 2) $&7,21
       1HJOLJHQW ,QWHUIHUHQFH ZLWK 3URVSHFWLYH (FRQRPLF $GYDQWDJH IRU 5HODWLRQV ZLWK %DQNV DQG 7KLUG
                                 3DUW\ 3D\PHQW 3URFHVVRUV DV WR DOO 'HIHQGDQWV
   
                      3ODLQWLIIV UHDOOHJH WKH DERYH SDUDJUDSKV DQG LQFRUSRUDWH WKRVH SDUDJUDSKV KHUHLQ DV LI VHW
   
        IRUWK LQ IXOO
   
                      7ULEDO &RUSRUDWH 3ODLQWLIIV HQWHUHG LQWR FRQWUDFWV ZLWK YDULRXV EDQNV DQG 7333V ZKHUHE\
   
        EDQNV DJUHHG IRU D IHH WR SURFHVV SD\PHQWV DQG WUDQVDFWLRQV WUDQVIHU IXQGV DQG JUDQW HDFK 7ULEDO &RXUW
   
        3ODLQWLIIV¶ DFFHVV WR WKH $&+ QHWZRUN
   
                      7ULEDO &RUSRUDWH 3ODLQWLIIV VRXJKW WR FRQWUDFW ZLWK WKRVH EDQNV DQG 7333V DQG WKH EDQNV
   
        LQWHQGHG WR FRQWLQXH WR FRQGXFW WKHLU SD\PHQW SURFHVVLQJ DQG ILQDQFLDO VHUYLFHV SXUVXDQW WR WKHLU
   
        DJUHHPHQWV ZLWK 7ULEDO &RUSRUDWH 3ODLQWLIIV
   
                      'HIHQGDQW 'HSDUWPHQW DQG 'HIHQGDQW /DZVN\ ZHUH DZDUH RI WKH H[LVWHQFH RI VXFK
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        DJUHHPHQWV EHWZHHQ 3ODLQWLIIV DQG WKH EDQNV DQG WKH 7333V
    
                    ,Q KLV $XJXVW   /HWWHUV 'HIHQGDQW /DZVN\ FKDUDFWHUL]HG /HQGLQJ 3ODLQWLIIV¶
    
        RSHUDWLRQV DV ³LOOHJDO RQOLQH SD\GD\ OHQGLQJ´ UHSHDWHGO\ VWDWHG WKDW VXFK RSHUDWLRQV ZHUH XQODZIXO DQG
    
        UHTXHVWHG WKDW WKH EDQNV DQG 1$&+$ ³ZRUN ZLWK >'HIHQGDQW 'HSDUWPHQW@ WR FKRNH RII $&+ DFFHVV´ WR
    
        VHYHUDO OHQGHUV LQFOXGLQJ 7ULEDO &RUSRUDWH 3ODLQWLIIV
    
                    7KURXJK VXFK FRUUHVSRQGHQFH 'HIHQGDQW /DZVN\ DQG 'HIHQGDQW 'HSDUWPHQW QHJOLJHQWO\
    
        DQG LPSURSHUO\ SURFXUHG D EUHDFK RI EDQNV¶ DQG 7333V¶ H[LVWLQJ DJUHHPHQWV ZLWK 7ULEDO &RUSRUDWH
    
        3ODLQWLIIV E\ FDQFHOOLQJ 7ULEDO &RUSRUDWH 3ODLQWLIIV¶ DFFRXQWV DQG UHIXVLQJ WR FRQWLQXH WR SURYLGH
    
        ILQDQFLDO VHUYLFHV SXUVXDQW WR WKHLU DJUHHPHQWV ZLWK 7ULEDO &RUSRUDWH 3ODLQWLIIV
   
                   7KHUH ZDV D UHDVRQDEOH SUREDELOLW\ WKDW 7ULEDO &RUSRUDWH 3ODLQWLIIV ZRXOG KDYH UHFHLYHG
   
        IXWXUH HFRQRPLF EHQHILWV LI WKHLU DJUHHPHQWV ZLWK EDQNV DQG 7333V DQG ZRXOG KDYH FRQWLQXHG WKHLU
   
        ODZIXO EXVLQHVV DFWLYLW\ XQLQWHUUXSWHG E\ XQODZIXO 6WDWH DFWLRQ E\ WKH 'HIHQGDQWV
   
                   'HIHQGDQW /DZVN\ DQG 'HIHQGDQW 'HSDUWPHQW ZDV DZDUH RI WKH H[LVWHQFH RI WKH
   
        DJUHHPHQWV EHWZHHQ 7ULEDO &RUSRUDWH 3ODLQWLIIV DQG WKH EDQNV DQG 7333V
   
                   'HIHQGDQW /DZVN\ DQG 'HIHQGDQW 'HSDUWPHQW QHJOLJHQWO\ DQG LPSURSHUO\ LQWHUIHUHG ZLWK
   
        WKHVH SURVSHFWLYH UHODWLRQVKLSV E\ VHQGLQJ FRUUHVSRQGHQFH D LQFRUUHFWO\ FKDUDFWHUL]LQJ /HQGLQJ
   
        3ODLQWLIIV¶ EXVLQHVV RSHUDWLRQV DV ³LOOHJDO RQOLQH SD\GD\ OHQGLQJ´ E UHTXHVWLQJ EDQNV DQG 1$&+$ WR
   
        ³FKRNH RII $&+ DFFHVV´ WR 3ODLQWLIIV´ DQG F VWDWLQJ WKDW EDQNV ³KDYH SURYHQ WR EH    DQ HVVHQWLDO FRJ
   
        LQ WKH YLFLRXV PDFKLQHU\ WKDW WKHVH SXUYH\RUV RI SUHGDWRU\ ORDQV XVH WR PDNH DQ HQGUXQ DURXQG 1HZ
   
        <RUN ODZ´
   
                   'HSDUWPHQW /DZVN\¶V DQG 'HIHQGDQW 'HSDUWPHQW¶V DFWLRQV FDXVHG GDPDJH WR 7ULEDO
   
        &RUSRUDWH 3ODLQWLIIV ZLWKRXW ULJKW RU MXVWLILDEOH FDXVH
   
                   7ULEDO &RUSRUDWH 3ODLQWLIIV KDYH VXIIHUHG DQG FRQWLQXH WR VXIIHU GDPDJHV DV D UHVXOW RI
   
        'HIHQGDQW /DZVN\ DQG 'HIHQGDQW 'HSDUWPHQW¶V LQWHUIHUHQFH ZLWK WKHLU YDULRXV EXVLQHVV FRQWUDFWV
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          1HJOLJHQW ,QWHUIHUHQFH ZLWK 3URVSHFWLYH (FRQRPLF $GYDQWDJH IRU &RQWLQXHG &XVWRPHU 5HODWLRQV
                                              DV WR DOO 'HIHQGDQWV
                    3ODLQWLIIV UHDOOHJH WKH DERYH SDUDJUDSKV DQG LQFRUSRUDWH WKRVH SDUDJUDSKV KHUHLQ DV LI VHW

       IRUWK LQ IXOO

                    7ULEDO &RUSRUDWH 3ODLQWLIIV HQWHUHG LQWR FRQWUDFWV ZLWK YDULRXV EDQNV DQG 7333V ZKHUHE\

       EDQNV DQG WKH WKLUG SDUW\ YHQGRUV DJUHHG IRU D IHH WR SURFHVV SD\PHQWV DQG WUDQVDFWLRQV WUDQVIHU IXQGV

       DQG JUDQW HDFK 3ODLQWLII DFFHVV WR WKH $&+ QHWZRUN

                    7KHUH ZDV D UHDVRQDEOH SUREDELOLW\ WKDW 7ULEDO &RUSRUDWH 3ODLQWLIIV ZRXOG KDYH UHFHLYHG

       IXWXUH HFRQRPLF EHQHILWV LI WKHLU UHODWLRQVKLSV ZLWK WKH EDQNV DQG 7333V ZRXOG KDYH EHHQ DOORZHG WR

      FRQWLQXH XQLQWHUUXSWHG

                   7ULEDO &RUSRUDWH 3ODLQWLIIV HQWHUHG LQWR VKRUWWHUP FRQVXPHU ORDQ DJUHHPHQWV ZLWK VHYHUDO

      FRQVXPHUV ZKHUHE\ FRQVXPHUV ERUURZHG DQ DPRXQW RI PRQH\ DQG DJUHHG WR SD\ LW EDFN ZLWK LQWHUHVW

                   7KHUH ZDV D UHDVRQDEOH SUREDELOLW\ WKDW 7ULEDO &RUSRUDWH 3ODLQWLIIV ZRXOG KDYH UHFHLYHG

      IXWXUH HFRQRPLF EHQHILWV LI WKHLU DJUHHPHQWV ZLWK WKH FRQVXPHUV ZRXOG KDYH EHHQ DOORZHG WR FRQWLQXH

      XQLQWHUUXSWHG

                   'HIHQGDQW /DZVN\ DQG 'HIHQGDQW 'HSDUWPHQW ZHUH DZDUH RI WKH H[LVWHQFH RI WKH

      DJUHHPHQWV EHWZHHQ 7ULEDO &RUSRUDWH 3ODLQWLIIV DQG WKH EDQNV DQG 7333V DV ZHOO DV WKH DJUHHPHQWV

      EHWZHHQ 7ULEDO &RUSRUDWH 3ODLQWLIIV DQG WKH VKRUWWHUP ORDQ FRQVXPHUV

                   'HIHQGDQW /DZVN\ DQG 'HIHQGDQW 'HSDUWPHQW QHJOLJHQWO\ DQG LPSURSHUO\ LQWHUIHUHG ZLWK

      WKHVH SURVSHFWLYH UHODWLRQVKLSV E\ VHQGLQJ FRUUHVSRQGHQFH D LQFRUUHFWO\ FKDUDFWHUL]LQJ 3ODLQWLIIV¶

      EXVLQHVV RSHUDWLRQV DV ³LOOHJDO RQOLQH SD\GD\ OHQGLQJ´ E UHTXHVWLQJ EDQNV DQG 1$&+$ WR ³FKRNH RII

      $&+ DFFHVV´ WR 3ODLQWLIIV´ DQG F VWDWLQJ WKDW EDQNV ³KDYH SURYHQ WR EH    DQ HVVHQWLDO FRJ LQ WKH

      YLFLRXV PDFKLQHU\ WKDW WKHVH SXUYH\RUV RI SUHGDWRU\ ORDQV XVH WR PDNH DQ HQGUXQ DURXQG 1HZ <RUN

      ODZ´

                   'HSDUWPHQW /DZVN\¶V DQG 'HIHQGDQW 'HSDUWPHQW¶V DFWLRQV FDXVHG GDPDJH DQG FRQWLQXH

      WR FDXVH GDPDJH WR WKH 7ULEDO &RUSRUDWH 3ODLQWLIIV ZLWKRXW ULJKW RU MXVWLILDEOH FDXVH

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USCA4 Appeal:
    Case      23-2097   Doc: 11-2
         3:17-cv-00461-REP             Filed: 12/06/2023
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                                                                          of 29 PageID# 48288



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                     7ULEDO &RUSRUDWH 3ODLQWLIIV KDYH VXIIHUHG GDPDJHV DV D UHVXOW RI 'HIHQGDQW /DZVN\ DQG
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        'HIHQGDQW 'HSDUWPHQW¶V LQWHUIHUHQFH ZLWK WKHLU VKRUW WHUP ORDQ FXVWRPHUV
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                                               (/(9(17+ &$86( 2) $&7,21
                                                 )DOVH /LJKW DV WR $OO 'HIHQGDQWV
    
                     3ODLQWLIIV UHDOOHJH WKH DERYH SDUDJUDSKV DQG LQFRUSRUDWH WKRVH SDUDJUDSKV KHUHLQ DV LI VHW
    
        IRUWK LQ IXOO
    
                     7KH OHWWHUV LVVXHG E\ 'HIHQGDQW 'HSDUWPHQW DQG 'HIHQGDQW /DZVN\ WR PXOWLSOH SDUWLHV
    
        UHSHDWHGO\ DQG HUURQHRXVO\ FKDUDFWHUL]HG 7ULEDO &RUSRUDWH 3ODLQWLIIV DV ³LOOHJDO OHQGHUV´ WKDW DFW LQ D
    
        SUHGDWRU\ DQG VFKHPLQJ PDQQHU WR ³SUH\ RQ YXOQHUDEOH 1HZ <RUNHUV´
   
                 $V HQWLWLHV ZKROO\ RZQHG DQG RSHUDWHG E\ ,QGLDQ QDWLRQV ZKLFK DUH SURSHUO\ UHJXODWHG DQG
   
        DFW OHJDOO\ SXUVXDQW WR WULEDO DQG IHGHUDO ODZ 7ULEDO &RUSRUDWH 3ODLQWLIIV LQ QR ZD\ DFW LOOHJDOO\ E\
   
        PDNLQJ LWV VHUYLFHV DYDLODEOH WR WKH UHVLGHQWV RI DQ\ VWDWH LQFOXGLQJ WKH VWDWH RI 1HZ <RUN
   
                 $ UHDVRQDEOH SHUVRQ      VLPLODU VLWXDWHG LQ WKH VRYHUHLJQ SRVLWLRQ RI WKH 7ULEDO &RUSRUDWH
   
        3ODLQWLIIV DQG WKH 7ULEDO *RYHUQPHQW 3ODLQWLIIV    ZRXOG ILQG WKH XQWUXWKIXO VWDWHPHQWV RI WKH 'HIHQGDQWV
   
        WR EH KLJKO\ RIIHQVLYH
   
                 'HIHQGDQWV KDG NQRZOHGJH RI RU DFWHG LQ UHFNOHVV GLVUHJDUG DV WR WKH IDOVLW\ RI LWV
   
        FKDUDFWHUL]DWLRQV RI WKH 7ULEDO &RUSRUDWH 3ODLQWLIIV DV ³LOOHJDO OHQGHUV´ DV 'HIHQGDQWV¶ SUHYLRXVO\
   
        UHFHLYHG FRUUHVSRQGHQFHV IURP WKH 7ULEDO &RUSRUDWH 3ODLQWLIIV HODERUDWLQJ RQ WKH OHJDOLW\ RI WKHLU
   
        RSHUDWLRQV DQG WKH VWUXFWXUH RI WKHLU FRPSDQLHV DV ZKROO\ RZQHG DQG UHJXODWHG E\ ,QGLDQ QDWLRQV
                                              7:(/)7+ &$86( 2) $&7,21
                                          ,QMXULRXV )DOVHKRRG DV WR $OO 'HIHQGDQWV
                 3ODLQWLIIV UHDOOHJH WKH DERYH SDUDJUDSKV DQG LQFRUSRUDWH WKRVH SDUDJUDSKV KHUHLQ DV LI VHW
   
        IRUWK LQ IXOO
   
                 7KH IDOVH DQG PLVOHDGLQJ DOOHJDWLRQV FRQWDLQHG LQ WKH OHWWHUV LVVXHG E\ WKH 'HIHQGDQW
   
        'HSDUWPHQW DQG 'HIHQGDQW /DZVN\ ZHUH VSHFLILFDOO\ LQWHQGHG WR GDPDJH DQG GLG LQ IDFW GDPDJH WKH
   
        SURSHUW\ DQG SHFXQLDU\ LQWHUHVWV RI WKH 7ULEDO &RUSRUDWH 3ODLQWLIIV LQ WXUQ WKH 7ULEDO *RYHUQPHQWDO
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USCA4 Appeal:
    Case      23-2097   Doc: 11-2
         3:17-cv-00461-REP             Filed: 12/06/2023
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        3ODLQWLIIV
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                     7KH SXEOLFLW\ RI WKH 'HIHQGDQW 'HSDUWPHQWV¶ OHWWHUV DQG WKH WKRXVDQGV RI EDQNV DQG
    
        SD\PHQW SURFHVVRUV WR ZKLFK WKH OHWWHUV ZHUH VHQW ZRXOG FHUWDLQO\ OHDG D UHDVRQDEOH SHUVRQ WR DQWLFLSDWH
    
        WKDW GDPDJH ZRXOG EH LPSRVHG XSRQ WKH 3ODLQWLIIV LQ UHODWLRQ WKHUHWR
    
                 3ODLQWLIIV KDYH VXIIHUHG DQG FRQWLQXH WR VXIIHU GDPDJHV DV D UHVXOW RI 'HIHQGDQW /DZVN\
    
        DQG 'HIHQGDQW 'HSDUWPHQW¶V DFWLRQV WKURXJK QHJDWLYH LPSDFWV RQ WKHLU FRQWUDFWXDO UHODWLRQVKLSV ZLWK
    
        EDQNV 7333V DQG FRQVXPHUV GLUHFWO\
    
                 6XFK QHJDWLYH LPSDFW KDV UHVXOWHG LQ DFWXDO DQG GLUHFW SHFXQLDU\ ORVV
    
                                              7+,57((17+ &$86( 2) $&7,21
                                              7UDGH /LEHO DV WR $OO 'HIHQGDQWV
   
                 3ODLQWLIIV UHDOOHJH WKH DERYH SDUDJUDSKV DQG LQFRUSRUDWH WKRVH SDUDJUDSKV KHUHLQ DV LI VHW
   
        IRUWK LQ IXOO
   
                 ,Q GLVVHPLQDWLQJ LWV OHWWHUV 'HIHQGDQW 'HSDUWPHQW DQG 'HIHQGDQW /DZVN\ GLG VR NQRZLQJ
   
        WKDW LW ZDV SXEOLVKLQJ IDOVH DQG GHURJDWRU\ PDWHULDO DV WR 7ULEDO &RUSRUDWH 3ODLQWLIIV DQG LWV EXVLQHVV
   
        RSHUDWLRQV
   
                 7KH FRQWHQW RI 'HIHQGDQW 'HSDUWPHQW DQG 'HIHQGDQW /DZVN\¶V OHWWHUV WR WKH 7ULEDO
   
        &RUSRUDWH 3ODLQWLIIV 1$&+$ DQG EDQNV FOHDUO\ GHPRQVWUDWHG WKDW WKH SXEOLFDWLRQ RI WKH OHWWHUV ZDV
   
        FDOFXODWHG WR SUHYHQW RWKHUV IURP GRLQJ EXVLQHVV ZLWK WKH 7ULEDO &RUSRUDWH 3ODLQWLIIV
   

                                        )2857((17+ &$86( 2) $&7,21
                                           ,QMXQFWLYH UHOLHI DV WR DOO 'HIHQGDQWV
                   3ODLQWLIIV UHDOOHJH WKH DERYH SDUDJUDSKV DQG LQFRUSRUDWH WKRVH SDUDJUDSKV KHUHLQ DV LI VHW
      IRUWK LQ IXOO
                   7ULEDO &RUSRUDWH 3ODLQWLIIV KDYH DOUHDG\ VXIIHUHG DQG ZLOO FRQWLQXH WR VXIIHU LPPHGLDWH
      DQG LUUHSDUDEOH KDUP DV D UHVXOW RI WKH VWDWHPHQWV SXEOLVKHG E\ 'HIHQGDQW /DZVN\ DQG 'HIHQGDQW
      'HSDUWPHQW LQ WKH $XJXVW   /HWWHUV
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USCA4 Appeal:
    Case      23-2097   Doc: 11-2
         3:17-cv-00461-REP             Filed: 12/06/2023
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                     8SRQ LQIRUPDWLRQ DQG EHOLHI 'HIHQGDQW /DZVN\ DQG 'HIHQGDQW 'HSDUWPHQW VHQW WKLV
    
        FRUUHVSRQGHQFH WR H[HUW SUHVVXUH RQ EDQNV DQG 7333V LQ DQ DWWHPSW WR DVVHUW FRQWURO RYHU WKLUG SDUWLHV
    
        DQG LQMXUH WKH 3ODLQWLIIV¶ DELOLW\ WR HQJDJH LQ ODZIXO FRQVXPHU ILQDQFH RSHUDWLRQV
    
                     3ODLQWLIIV ZLOO EH LUUHSDUDEO\ KDUPHG LI 'HIHQGDQWV DUH SHUPLWWHG WR FRQWLQXH SXEOLVKLQJ
    
        OLEHORXV VWDWHPHQWV DERXW WKHLU OHQGLQJ EXVLQHVVHV DQG FRQWDFWLQJ EDQNV DQG ILQDQFLDO VHUYLFHV
    
        DVVRFLDWLRQV UHTXHVWLQJ WKHLU DVVLVWDQFH LQ DWWHPSWLQJ WR VKXW GRZQ /HQGLQJ 3ODLQWLIIV¶ ODZIXO RSHUDWLRQV
    
        ,Q DGGLWLRQ WKH ILOLQJ RI UHJXODWRU\ DFWLRQV DJDLQVW 7ULEDO &RUSRUDWH 3ODLQWLIIV FRXOG DOVR FDXVH KDUP WR
    
        WKHLU HFRQRPLF DQG PDQDJHULDO LQWHUHVWV
    
                     8SRQ LQIRUPDWLRQ DQG EHOLHI ZLWKRXW DQ LQMXQFWLRQ 'HIHQGDQWV ZLOO FRQWLQXH WKHLU VPHDU
   
        FDPSDLJQ DJDLQVW 7ULEDO &RUSRUDWH 3ODLQWLIIV¶ RSHUDWLRQV GDPDJLQJ WKHLU UHSXWDWLRQ DQG EXVLQHVV
   
        RSHUDWLRQV DQG H[SRVLQJ WKHP WR SXEOLF VFRUQ 'HIHQGDQWV ZRXOG DOVR EH DEOH WR FRQWLQXH WR UHTXHVW
   
        LQIRUPDWLRQ IURP EDQNV DQG ILQDQFLDO VHUYLFHV DVVRFLDWLRQV VHHNLQJ WKHLU DVVLVWDQFH LQ DQ DWWHPSW WR VKXW
   
        GRZQ /HQGLQJ 3ODLQWLIIV¶ OHQGLQJ EXVLQHVVHV DQG SXUVXH UHJXODWRU\ DFWLRQ DJDLQVW /HQGLQJ 3ODLQWLIIV
   
                     7KHUH LV QR DGHTXDWH OHJDO UHPHG\ WR FRPSHQVDWH WKH 7ULEDO &RUSRUDWH 3ODLQWLIIV IRU
   
        'HIHQGDQWV¶ DFWLRQV
   
                     'HIHQGDQWV KDYH QR OHJDO EDVLV IRU LWV FODLPV WKDW WKH\ KDYH WKH DELOLW\ WR SXUVXH RU
   
        HQIRUFH DQ\ UHJXODWRU\ DFWLRQV DJDLQVW 7ULEDO &RUSRUDWH 3ODLQWLIIV         $FFRUGLQJO\ 7ULEDO &RUSRUDWH
   
        3ODLQWLIIV KDYH D VXEVWDQWLDO OLNHOLKRRG RI VXFFHVV RQ WKH PHULWV
   
                                           ),)7((17+ &$86( 2) $&7,21
                                               'HFODUDWRU\ UHOLHI
                   3ODLQWLIIV UHDOOHJH WKH DERYH SDUDJUDSKV DQG LQFRUSRUDWH WKRVH SDUDJUDSKV KHUHLQ DV LI VHW

      IRUWK LQ IXOO

                   $Q DFWXDO FRQWURYHUV\ KDV DULVHQ DQG QRZ H[LVWV EHWZHHQ 3ODLQWLIIV DQG 'HIHQGDQWV

      FRQFHUQLQJ WKHLU UHVSHFWLYH ULJKWV DQG GXWLHV

                   'HIHQGDQWV KDYLQJ FLWHG WR YDULRXV 1HZ <RUN VWDWH VWDWXWHV DQG UHJXODWLRQV LQ WKHLU

      /HWWHUV FRQWHQG WKDW 7ULEDO &RUSRUDWH 3ODLQWLIIV OHQGLQJ DFWLYLWLHV DUH LOOHJDO DFFRUGLQJ WR 1HZ <RUN

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USCA4 Appeal:
    Case      23-2097   Doc: 11-2
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    
        VWDWH ODZ DQG DV D UHVXOW WKDW 3ODLQWLII 7ULEHV DQG 3ODLQWLII 7ULEDO 5HJXODWRUV ODFN MXULVGLFWLRQ WR
    
        DGHTXDWHO\ UHJXODWH 7ULEDO EXVLQHVV DQG 7ULEDO &RUSRUDWH 3ODLQWLIIV
    
                     3ODLQWLIIV¶ OHJDO DXWKRULW\ 7ULEDO &RUSRUDWH 3ODLQWLIIV¶ ODZIXO EXVLQHVV DFWLYLWLHV LQ 1HZ
    
        <RUN DUH ODZIXO EHFDXVH WKH\ DUH ODZIXO SXUVXDQW WR DSSOLFDEOH IHGHUDO DQG WULEDO ODZ WKDW 1HZ <RUN
    
        VWDWH ODZ GRHV QRW DSSO\ WR WKHLU RSHUDWLRQV DQG WKDW 'HIHQGDQWV ODFN MXULVGLFWLRQ WR SXUVXH DQ\
    
        UHJXODWRU\ DFWLRQV DJDLQVW 3ODLQWLIIV
    
                     3XUVXDQW WR  86&   DQG  D MXGLFLDO GHWHUPLQDWLRQ RI WKH UHVSHFWLYH ULJKWV
    
        RI WKH SDUWLHV ZLWK UHVSHFW WR WKH OHJDOLW\ RI 7ULEDO &RUSRUDWH 3ODLQWLIIV¶ ILQDQFLDO DFWLYLWLHV LV QHFHVVDU\
    
        DQG DSSURSULDWH XQGHU WKH FLUFXPVWDQFHV
   
                     3ODLQWLIIV KDYH QR HTXDOO\ SODLQ VSHHG\ RU DGHTXDWH UHPHG\ WR SUHYHQW 'HIHQGDQWV¶
   
        DFWLRQV RWKHU WKDQ VHHNLQJ GHFODUDWRU\ UHOLHI
   
                                                  35$<(5 )25 5(/,()
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                  :+(5()25( 3ODLQWLII UHTXHVWV DQ 2UGHU RI WKLV &RXUW JUDQWLQJ WKH IROORZLQJ HTXLWDEOH
   
        UHOLHI
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                     $Q LQMXQFWLRQ UHVWUDLQLQJ DQG HQMRLQLQJ 'HIHQGDQWV IURP SXUVXLQJ DQ\ DQG DOO VWDWH
   
        UHJXODWRU\ DQG HQIRUFHPHQW DFWLRQV DJDLQVW DOO 3ODLQWLIIV IRU ODFN RI MXULVGLFWLRQ SXUVXDQW WR IHGHUDO ODZ
   
                     $Q LQMXQFWLRQ UHVWUDLQLQJ DQG HQMRLQLQJ 'HIHQGDQWV IURP SXUVXLQJ DQ\ DQG DOO VWDWH
   
        UHJXODWRU\ DQG HQIRUFHPHQW DFWLRQV RYHU ILQDQFLDO LQVWLWXWLRQV SD\PHQW SURFHVVRUV DQG ILQDQFLDO
   
        VHUYLFHV DVVRFLDWLRQV IRU WKH SXUSRVH RI UHTXHVWLQJ WKDW WKHVH HQWLWLHV FHDVH SURFHVVLQJ OHJDO WUDQVDFWLRQV
   
        RQ EHKDOI RI WKH 7ULEDO &RUSRUDWH 3ODLQWLIIV RU LQ DQ DWWHPSW WR RWKHUZLVH VWLIOH UHGXFH RU LQWHUUXSW WKH
   
        3ODLQWLIIV¶ ODZIXO EXVLQHVV RSHUDWLRQV
   
                   $Q LQMXQFWLRQ UHVWUDLQLQJ DQG HQMRLQLQJ 'HIHQGDQWV IURP LVVXLQJ SXEOLVKLQJ DQGRU
   
        GLVVHPLQDWLQJ LQ DQ\ PDQQHU ZKDWVRHYHU DQ\ DQG DOO VWDWHPHQWV UHJDUGLQJ 3ODLQWLIIV WKHLU ODZIXO
   
        EXVLQHVV RSHUDWLRQV RU WKH LQFRUUHFW DQG LQMXULRXV FODLP WKDW LWV EXVLQHVV DFWLYLWLHV DUH LOOHJDO LQ WKH 6WDWH
   
        RI 1HZ <RUN RU DQ\ZKHUH HOVH LQ WKH 8QLWHG 6WDWHV
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USCA4 Appeal:
    Case      23-2097   Doc: 11-2
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                    $ GHFODUDWRU\ RUGHU IURP WKH &RXUW UHFRJQL]LQJ WKDW 3ODLQWLIIV DUH VRYHUHLJQ ,QGLDQ
    
        QDWLRQV DQG DV VXFK 1HZ <RUN VWDWH ODZ LV ZKROO\ LQDSSOLFDEOH WR WKHP DQG WKHLU ZKROO\ RZQHG WULEDO
    
        HQWLWLHV DQG DFFRUGLQJO\ 'HIHQGDQWV ODFN MXULVGLFWLRQ WR SXUVXH DQ\ UHJXODWRU\ RU HQIRUFHPHQW DFWLRQV
    
        DJDLQVW 3ODLQWLIIV ILQDQFLDO LQVWLWXWLRQV RU WKLUG SDUW\ SURFHVVRUV LQ UHODWLRQ WKHUHWR
    
                    $ GHFODUDWRU\ RUGHU IURP WKH &RXUW VWDWLQJ WKDW WKH ILQDQFLDO VHUYLFHV RI WKH 7ULEDO
    
        &RUSRUDWH 3ODLQWLIIV DUH OHJDO SXUVXDQW WR WULEDO ODZ FRQVLVWHQW ZLWK VWULQJHQW LQGXVWU\ EHVW SUDFWLFHV DQG
    
        LQ FRQIRUPDQFH ZLWK IHGHUDO FRQVXPHU SURWHFWLRQ ODZV
    
                    'DPDJHV RQ 3ODLQWLIIV¶ FDXVHV RI DFWLRQ SXUVXDQW WR SURRI
    
                    $Q RUGHU DZDUGLQJ 3ODLQWLII LWV FRVWV H[SHQVHV DQG UHDVRQDEOH DWWRUQH\V¶ IHHV DV
   
        SURYLGHG E\ ODZ
   
                    6XFK RWKHU FRVWV DV WKH &RXUW PD\ GHHP HTXLWDEOH DQG MXVW DQG
   
                    6XFK DGGLWLRQDO UHOLHI DV WKH &RXUW PD\ FRQFOXGH LV HTXLWDEOH DQG DSSURSULDWH
   

      'DWHG $XJXVW BBBBB                                  5(63(&7)8//< 68%0,77('
                                                                526(77( //3
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                                                                  BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
                                                                5REHUW $ 5RVHWWH pro hac vice
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                                                                 : &KDQGOHU %OYG 6XLWH 
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                                                                7HOHSKRQH  
                                                                  )DFVLPLOH  
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    Case      23-2097   Doc: 11-2
         3:17-cv-00461-REP             Filed: 12/06/2023
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     Appeal: 23-2097    Doc: 11-2
          3:17-cv-00461-REP   Document Filed:
                                       1166-2212/06/2023     Pg: 191
                                                  Filed 04/21/23     of 493
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                                    Exhibit 22




                                                                                   JA647
USCA4Case
     Appeal: 23-2097    Doc: 11-2
          3:17-cv-00461-REP   Document Filed:
                                       1166-2212/06/2023     Pg: 192
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          From:            Matt Martorello
          To:              Karrie Wichtman
          Subject:         RE: LEGAL RESPONSE REQUIRED - NY AG Letter Cease & Desist Letter
          Date:            Friday, August 9, 2013 9:25:19 AM


          I agree, but I think it’s better for Think Finance to have the fight. They have a dozen banks and 5
          ACH providers and they are all over the state AGs, CFPB, and FTC radars. LVD is not and for LVD this
          will result in: A) a countersuit from NY, FTC investigation, a CFPB CID, and potentially other states
          piling on. How much is too much before your 1 bank/processor folds on you?

          LVD’s house is not completely in order yet. Time is our most important commodity right now. We
          don’t have to be a plantiff, it will happen anyways with Think and Mark Curry. RRTL/DCTF are too
          young for this right now. We haven’t even discussed a budget for it, but I’d have to multiply it by 5
          because of all of the other lawsuits and investigations that are just coming to come immediately
          after we stand up. Which I’m certain I could not finance.

          We’re better to let Otoe and Think/Curry who have $700mm in loans on the street go to war and we
          focus on sustaining and strengthening right now. We’re simply undercapitalized, the bench isn’t
          deep enough, and we’re not backed into a corner like they are. The better option is to stay low and
          get stronger, not to go to war any sooner than we have to and we certainly don’t have to yet.

          If the FTC were here already and the CFPB, I’d have a different opinion.   It will be impossible for a
          cease fire next week with NY if that NAFSA full page ad runs, no point in even meeting at that stage.
          We open the doors and I really think we’ll be overwhelmed with counter attacks from all sides, and it
          will be game over really quick. We don’t make enough $ to finance all of the battles that are to
          come. Rick Gerber is meeting with the FDIC next week in person. He may for the 1st time feel that
          FDIC pressure and we’ll see how he reacts. We certainly should do nothing before that meeting
          happens as well as the NY face to face meeting. We should have the OLA accreditation audit in
          September and have that completed as well before we step out into the light too.

          Too young, too small, too poor and not enough depth in the bench with ACH/Banks. This is a Think
          Finance and Mark Curry battle right now, we make 0 impact by signing onto it and yet we enjoy all of
          the benefits if we delay and gather our strength.

          They are clearly coordinating and they’re going to counter and come at us from all sides. Maybe
          they won’t, but that’s all they’d need to do to shut down the business at LVD b/c we simply would
          not be able to afford to stay in business anymore.   It’s that easy for them to win against us.
          Think/Otoe are 20 times the size.

          From: Karrie Wichtman [mailto:kwichtman@rosettelaw.com]
          Sent: Friday, August 9, 2013 12:21 AM
          To: Matt Martorello
          Subject: Re: LEGAL RESPONSE REQUIRED - NY AG Letter Cease & Desist Letter

          CT. And just so you know the Tribe is ready to fight - and surprisingly enough me along with
          my usually even keeled conservative nature believes that they are right. It's time to deal with


        CONFIDENTIAL
                                                                                                            JA648
                                                                                              ROSETTE_REVISED_049125
USCA4Case
     Appeal: 23-2097    Doc: 11-2
          3:17-cv-00461-REP   Document Filed:
                                       1166-2212/06/2023     Pg: 193
                                                  Filed 04/21/23     of 493
                                                                  Page  3 of 5 PageID# 48296


          these questions/issues head on through a concerted effort based upon Sovereignty that can't be
          ignored. And one that we initiate so that we are proactive and not reactive like we have been
          all week. I have no delusions of grandeur -it will be an uphill battle but neither LVD nor any
          of the 570 plus federally recognized tribes in this country has ever shied away from a fight--
          and they certainly have not been able to maintain the sovereignty that they have left by laying
          SUPER low! Where's your tommy gun!

          Bottom line is we need your help. I know you are being counseled otherwise and I certainly
          respect that advice and the person it is coming from - however, what do we achieve by laying
          low waiting for the next bomb to drop - hoping that it doesn't blow us up? The way iI see it the
          risk is the same. In addition, LVD is still interested in sitting down with the NY regulators
          next week- perhaps we can avoid participation if that is successful but i am not going to hold
          my breath. I see the talks as an opportunity however for the most part the harm is already
          done. Also, nothing will be filed unless and until fully vetted with the Tribe and you. A
          commitment to proceed with exploration of the lawsuit Rob proposed which likely won't be
          filed until after those discussions next week is a sound decision.

          Talk to you in the morning.

          Karrie

          Sent from my iPhone

          On Aug 8, 2013, at 10:50 PM, "Matt Martorello" <mattm@bellicosevi.com> wrote:

                CT or ET?

                From: Karrie Wichtman [mailto:kwichtman@rosettelaw.com]
                Sent: Thursday, August 8, 2013 11:50 PM
                To: Matt Martorello
                Subject: Re: LEGAL RESPONSE REQUIRED - NY AG Letter Cease & Desist Letter

                Sounds good. 8:00 am?

                Sent from my iPhone

                On Aug 8, 2013, at 10:48 PM, "Matt Martorello" <mattm@bellicosevi.com>
                wrote:

                       Ok, first thing tomorrow?

                       From: Karrie Wichtman [mailto:kwichtman@rosettelaw.com]
                       Sent: Thursday, August 8, 2013 11:48 PM
                       To: Matt Martorello
                       Subject: Re: LEGAL RESPONSE REQUIRED - NY AG Letter Cease & Desist
                       Letter

                       Given your concerns, before is preferable.


        CONFIDENTIAL
                                                                                                   JA649
                                                                                    ROSETTE_REVISED_049126
USCA4Case
     Appeal: 23-2097    Doc: 11-2
          3:17-cv-00461-REP   Document Filed:
                                       1166-2212/06/2023     Pg: 194
                                                  Filed 04/21/23     of 493
                                                                  Page  4 of 5 PageID# 48297


                       Sent from my iPhone

                       On Aug 8, 2013, at 10:43 PM, "Matt Martorello"
                       <mattm@bellicosevi.com> wrote:

                            Agree, do you want to do that before I reply to Rob’s email?
                            Bottom line is, we have 1 bank and we have ½ of an ACH
                            provider. If we spook either b/c we stand up right now, then
                            LVD is in default, and Alpha credit takes the entire business
                            OVERNIGHT. Game over, everyone loses their jobs and LVD
                            loses the income. We can’t risk that.

                            I’m seeing it now today, Tucker’s banks have been with him
                            for a decade and he has 20 times the money with them!
                            Several backed out this week and they are extremely
                            worried. All it takes is the FTC investigation (with or w/o
                            merit).

                            From: Karrie Wichtman
                            [mailto:kwichtman@rosettelaw.com]
                            Sent: Thursday, August 8, 2013 11:40 PM
                            To: Matt Martorello
                            Subject: Re: LEGAL RESPONSE REQUIRED - NY AG Letter
                            Cease & Desist Letter

                            Ok, you and I need to have a conversation soon please.

                            Sent from my iPhone

                            On Aug 8, 2013, at 10:26 PM, "Matt Martorello"
                            <mattm@bellicosevi.com> wrote:

                                  I don’t think we should before the
                                  conversations face-to-face with them next
                                  week. I think we need to stay SUPER low and
                                  out of trouble right now. I’ll elaborate in my
                                  reply to Rob.



                                  From: Karrie Wichtman
                                  [mailto:kwichtman@rosettelaw.com]
                                  Sent: Thursday, August 8, 2013 10:57 PM
                                  To: jasong@duckcreektf.com
                                  Cc: Justin Martorello; Matt Martorello; Brian
                                  McFadden; Daniel Gravel; Craig Mansfield;
                                  giizhigookway
                                  Subject: Re: LEGAL RESPONSE REQUIRED - NY

        CONFIDENTIAL
                                                                                                    JA650
                                                                                      ROSETTE_REVISED_049127
USCA4Case
     Appeal: 23-2097    Doc: 11-2
          3:17-cv-00461-REP   Document Filed:
                                       1166-2212/06/2023     Pg: 195
                                                  Filed 04/21/23     of 493
                                                                  Page  5 of 5 PageID# 48298


                                 AG Letter Cease & Desist Letter

                                 So have we decided if we will be ceasing
                                 and desisting?

                                 Sent from my iPhone

                                 On Aug 8, 2013, at 9:25 AM,
                                 "jasong@duckcreektf.com"
                                 <jasong@duckcreektf.com> wrote:

                                        Here is a Cease & Desist Order
                                        we received from State of NY

                                        Thanks,
                                        Jason
                                          <NY AG Letter - Cease &
                                          Desist Order.pdf>
                                  **This email and any files transmitted with
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                                                                                                 JA651
                                                                                  ROSETTE_REVISED_049128
USCA4Case
      Appeal: 23-2097   Doc: 11-2
          3:17-cv-00461-REP            Filed: 12/06/2023
                              Document 1166-23               Pg: 196
                                                 Filed 04/21/23      of 1493
                                                                  Page    of 11 PageID# 48299




                                    Exhibit 23




                                                                                   JA652
USCA4Case
      Appeal: 23-2097   Doc: 11-2
          3:17-cv-00461-REP            Filed: 12/06/2023
                              Document 1166-23               Pg: 197
                                                 Filed 04/21/23      of 2493
                                                                  Page    of 11 PageID# 48300


  Leigh Wink

  From:                         gkway@duckcreektf.com
  Sent:                         Thursday, October 03, 2013 3:21 PM
  To:                           Karrie Wichtman; Matt Martorello; Chairman James Williams; Craig Mansfield
  Cc:                           Justin Martorello; Daniel Gravel; weddlej@gtlaw.com; Saba Bazzazieh; Robert Rosette;
                                Cheryl McGeshick; Eli Edwards; gkway@lvdtribal.com; Henry Smith; Joette Pete-Baldwin
                                (joette.pete@lvdtribal.com); John McGeshick, Jr.; Susan McGeshick
                                (susan.mcgeshick@lvdcasino.com); Tyrone McGeshick
                                (tyrone.mcgeshick@lvdcasino.com)
  Subject:                      RE: Notice to Cease Servicing Origination of New Loans to NY consumers
  Attachments:                  Moratorium on NY Customers.pdf


  Here you go.

  giizhigookway
  CEO/Co-Manager
  Duck Creek Tribal Financial
  P.O. Box 704
  Watersmeet, MI 49969
  906.358.2008-Office
  906.358.2010-Fax
  906.366.7041-Cell
  gkway@duckcreektf.com



   -------- Original Message --------
   Subject: RE: Notice to Cease Servicing Origination of New Loans to NY
   consumers
   From: Karrie Wichtman <kwichtman@rosettelaw.com>
   Date: Thu, October 03, 2013 1:55 pm
   To: Matt Martorello <mattm@bellicosevi.com>, Chairman James Williams
   <jim.williams@lvdtribal.com>, "gkway@duckcreektf.com"
   <gkway@duckcreektf.com>, Craig Mansfield <craigm@duckcreektf.com>
   Cc: Justin Martorello <JustinM@BellicoseVI.com>, Daniel Gravel
   <DanielG@bellicosevi.com>, "weddlej@gtlaw.com" <weddlej@gtlaw.com>, Saba
   Bazzazieh <sbazzazieh@rosettelaw.com>, Rob Rosette
   <rosette@rosettelaw.com>, Cheryl McGeshick
   <cheryl.mcgeshick@lvdtribal.com>, Eli Edwards
   <eli.edwards@lvdtribal.com>, "gkway@lvdtribal.com"
   <gkway@lvdtribal.com>, Henry Smith <henry.smith@lvdtribal.com>, "Joette
   Pete-Baldwin (joette.pete@lvdtribal.com)" <joette.pete@lvdtribal.com>,
   "John McGeshick, Jr." <johnjr@lvdtribal.com>, "Susan McGeshick
   (susan.mcgeshick@lvdcasino.com)" <susan.mcgeshick@lvdcasino.com>,
   "Tyrone McGeshick (tyrone.mcgeshick@lvdcasino.com)"
   <tyrone.mcgeshick@lvdcasino.com>

   All,

   Please find attached approval documents for the consideration of the Co-
   Managers of RRTL and DCTF (the “TLEs”) issuing a moratorium on consumer
   loans in the State of New York and the winding down of the business currently
   existing in the State of New York, immediately, until further notice, which I
                                                        1
          CONFIDENTIAL                                                                              JA653
USCA4Case
      Appeal: 23-2097   Doc: 11-2
          3:17-cv-00461-REP            Filed: 12/06/2023
                              Document 1166-23               Pg: 198
                                                 Filed 04/21/23      of 3493
                                                                  Page    of 11 PageID# 48301

   understand only constitutes five percent (5%) of the current business of RRTL
   and DCTF, will have little to no effect in Tribal Net Profits.

   Matt and SPVI Team:

   In response to your response, thank you for the clarification of the meaning of
   your email of yesterday. While I disagree with your statement Judge Sullivan’s
   9/30 Order “right now today [] represents a basis for New York authorities to
   initiate enforcement proceedings” and that New York law has been modified in
   any way in relationship to the operation of the businesses, I do agree that it
   makes good business sense for the TLEs to take action as provided for in the
   attached moratorium approval documents. Nevertheless, and as indicated
   yesterday, that is a decision for the TLE to make, not me or SPVI, considering we
   have not yet received “a final judgment of a court of competent jurisdiction, after
   all appeals thereof” that changes any of the Legal Requirements under which the
   TLEs, collectively, operate.

   Sincerely,

   Karrie S. Wichtman, Partner
   Rosette, LLP
   Attorneys at Law
   Michigan Office
   25344 Red Arrow Hwy, Suite B
   Mattawan, MI 49071
   269.283.5005 – Office
   480.242.6959 - Cell
   517.913.6443 – Fax
   kwichtman@rosettelaw.com
   www.rosettelaw.com

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   CLIENT OR WORK PRODUCT PROTECTION. IF RECEIVED IN ERROR, PLEASE
   NOTIFY KARRIE S. WICHTMAN IMMEDIATELY AND DELETE THIS
   MESSAGE. THANK YOU FOR YOUR COOPERATION.

   From: Matt Martorello [mailto:mattm@bellicosevi.com]
   Sent: Thursday, October 3, 2013 9:55 AM
   To: Karrie Wichtman; Chairman James Williams; gkway@duckcreektf.com; Craig Mansfield
   Cc: Justin Martorello; Daniel Gravel; weddlej@gtlaw.com; Saba Bazzazieh; Rob Rosette; Cheryl McGeshick; Eli
   Edwards; gkway@lvdtribal.com; Henry Smith; Joette Pete-Baldwin (joette.pete@lvdtribal.com); John McGeshick,
   Jr.; Susan McGeshick (susan.mcgeshick@lvdcasino.com); Tyrone McGeshick (tyrone.mcgeshick@lvdcasino.com)
   Subject: RE: Notice to Cease Servicing Origination of New Loans to NY consumers

   Yes, Karrie, thank you for that clarification. It is our intention to recommend that
   the Enterprise refrain, immediately, and until further notice, from making new
   loans in the State of New York and that current loans be wound down until paid in
                                                           2
         CONFIDENTIAL                                                                                 JA654
USCA4Case
      Appeal: 23-2097   Doc: 11-2
          3:17-cv-00461-REP            Filed: 12/06/2023
                              Document 1166-23               Pg: 199
                                                 Filed 04/21/23      of 4493
                                                                  Page    of 11 PageID# 48302

   full or some other disposition of the debt to the Enterprise has been reached. But
   we also mean to say that whether or not the Enterprise accepts our
   recommendation, SPVI cannot continue to provide services with respect to any
   new loans in New York. While Judge Sullivan’s order may be appealed, and
   hopefully overturned, right now today it represents a basis for New York
   authorities to initiate enforcement proceedings. Whatever valid defenses the
   Tribe and the Enterprise might have to such actions, SPVI does not have such
   sovereign protections and we feel we have to comply with what a New York court
   says New York law is. Although Judge Sullivan’s order isn’t clear on a number of
   points, it is clear that New York’s non-discriminatory anti-usury laws apply, and
   SPVI does not intend to willfully and wantonly disregard that ruling because we
   could face liability from New York for doing so.


   From: Karrie Wichtman [mailto:kwichtman@rosettelaw.com]
   Sent: Wednesday, October 2, 2013 4:39 PM
   To: Matt Martorello; Chairman James Williams; gkway@duckcreektf.com; Craig
   Mansfield
   Cc: Justin Martorello; Daniel Gravel; weddlej@gtlaw.com; Saba Bazzazieh; Rob
   Rosette; Cheryl McGeshick; Eli Edwards; gkway@lvdtribal.com; Henry Smith;
   Joette Pete-Baldwin (joette.pete@lvdtribal.com); John McGeshick, Jr.; Susan
   McGeshick (susan.mcgeshick@lvdcasino.com); Tyrone McGeshick
   (tyrone.mcgeshick@lvdcasino.com)
   Subject: RE: Notice to Cease Servicing Origination of New Loans to NY
   consumers

   Matt and SPVI Team,

   Please advise as to the intent of your email as it is my understanding that your
   email and the citation to Section 9.4 of the Servicing Agreement is effectively a
   declaration of breach or dispute being asserted in writing in accordance with
   Section 18.1 of the Servicing Agreement, considering that that provision cited
   calls for cessation of the obligations of the parties to one another under the
   Agreement and states that the “Agreement shall be of no further force and
   effect”. Claiming such a breach under 9.4 necessarily requires that such material
   change in law be based upon “a final judgment of a court of competent
   jurisdiction, after all appeals thereof”. The Order of the Court denying the
   Plaintiff’s Preliminary Injunction is certainly not such an order as it is not a final
   judgment of a court, appealable and while no such appeals have yet been file we
   have 30 days from yesterday’s date to do so. Transmitting such a notice
   declaring a breach, if that is the intent here, is unwarranted and unsupported by
   the facts at hand. It matters not how Judge Sullivan’s order will be regarded by
   overzealous regulatory agencies but rather that such an order IS NOT, in fact, a
   final order of the Court on the merits changing a material aspect of the Legal
   Requirements governing the agreement of the parties. Furthermore the provision
   does not appear to allow for the singling out of a particular state, in this case NY,
   to wind down business- which is the cause for my confusion – and leads me to
   believe that it is not your intent at all to make such a declaration of breach.
                                                 3
         CONFIDENTIAL                                                              JA655
USCA4Case
      Appeal: 23-2097   Doc: 11-2
          3:17-cv-00461-REP            Filed: 12/06/2023
                              Document 1166-23               Pg: 200
                                                 Filed 04/21/23      of 5493
                                                                  Page    of 11 PageID# 48303


   Indeed, your email, the concerns expressed, and the recommendations therein
   seem to fall more in line with Section 4.2 in that as the Servicer you have been
   contracted to advise the Enterprise regarding the “orderly administration and
   management of Enterprise in the areas of financial reporting, financing,
   regulatory compliance, marketing, human resources, development of third party
   servicer relationships, collections and risk assessment”. Among other provisions
   included in Section 4.2 , your observations, and recommendation to the
   Enterprise not to lend to and wind down business involving residents in the State
   of New York surely fits within Section 4.2.1 (a) whereby the “Servicer will be
   responsible for providing pre-qualified leads to Enterprise and providing the
   necessary credit-modeling data and risk assessment strategies by which the
   Enterprise may evaluate to whether or not to extend funds to an individual
   borrower based on criteria that has been established by the Enterprise.” Note
   that the Agreement, in that same section, however, makes quite clear that “The
   criteria used to extend funds to individual borrowers will remain within the sole
   and absolute discretion of the Enterprise and the Enterprise shall execute all
   necessary loan documentation”. Therefore, in the spirit of clarification of your
   earlier email, would you agree that a better way to approach this matter may be
   for the Servicer as provided for in Section 4.2.1 (a) to make a recommendation to
   the Enterprise that in light of recent enforcement actions taken by the State of NY
   Department of Financial Services, the pending litigation and the recent
   preliminary Order of the Court, that the Enterprise refrain, immediately, and until
   further notice, from making new loans in the State of New York and that current
   loans be wound down until paid in full or some other disposition of the debt to the
   Enterprise has been reached?

   I look forward to your response so that I may advise my client.

   Regards,



   Karrie S. Wichtman, Partner
   Rosette, LLP
   Attorneys at Law
   Michigan Office
   25344 Red Arrow Hwy, Suite B
   Mattawan, MI 49071
   269.283.5005 – Office
   480.242.6959 - Cell
   517.913.6443 – Fax
   kwichtman@rosettelaw.com
   www.rosettelaw.com

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                                                 4
         CONFIDENTIAL                                                              JA656
USCA4Case
      Appeal: 23-2097   Doc: 11-2
          3:17-cv-00461-REP            Filed: 12/06/2023
                              Document 1166-23               Pg: 201
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                                                                  Page    of 11 PageID# 48304

   CLIENT OR WORK PRODUCT PROTECTION. IF RECEIVED IN ERROR, PLEASE
   NOTIFY KARRIE S. WICHTMAN IMMEDIATELY AND DELETE THIS
   MESSAGE. THANK YOU FOR YOUR COOPERATION.

   From: Matt Martorello [mailto:mattm@bellicosevi.com]
   Sent: Wednesday, October 2, 2013 2:50 PM
   To: Chairman James Williams; gkway@duckcreektf.com; Craig Mansfield
   Cc: Karrie Wichtman; Justin Martorello; Daniel Gravel
   Subject: Notice to Cease Servicing Origination of New Loans to NY consumers

   Dear Mr. Chairman and Team:

   Due to Judge Sullivan’s ruling, we believe we have an involuntary termination
   event under the Servicing Agreement as it relates to loans made in the State of
   New York. As you know, the Servicing Agreement provides:

   Involuntary Termination Due to Changes in Legal Requirements
   It is the understanding and intention of the parties that the establishment and
   operation of Enterprise conforms to and complies with all Legal Requirements. If
   during the term of this Agreement, Enterprise, or any material aspect of the
   business conducted by Enterprise, becomes prohibited by operation of federal law
   or determined by final judgment of a court of competent jurisdiction, after all
   appeals thereof, to be unlawful under applicable law, the obligations of the
   parties hereto shall cease, and this Agreement shall be of no further force and
   effect; provided that (i) the Servicer shall have the rights in Section 4.4 of this
   Agreement; (ii) the Servicer and the Enterprise shall retain all money previously
   paid to them pursuant to Section 6 of this Agreement; (iii) funds of Enterprise in
   any account shall be paid and distributed as provided in Section 6 of this
   Agreement, provided any Authorized Debt shall be paid in full; (iv) any money
   lent by or guaranteed by the Servicer or its affiliates to Servicer shall be repaid to
   the Servicer to the extent provided in a written agreement entered in connection
   therewith, with recovery of monetary payments or damages limited in recourse to
   Enterprise assets and any such payments or damages shall be made only after
   payment in full of any and all amounts under any Authorized Debt; and (v) the
   Enterprise, directly or indirectly, shall retain its interest in the title to all
   Enterprise assets, fixtures, supplies and equipment subject to any requirements
   of financing arrangements. Nothing contained in this Section 9.4 shall be read to
   preclude either or both parties from contesting any actions which could lead to
   the involuntary cessation of business by Enterprise.

   While we understand that an appeal of Judge Sullivan’s order is imminent, our
   concern is that Judge Sullivan’s order finding that tribal enterprises are subject to
   New York’s anti-usury laws will be regarded as sufficiently final by the State of
   New York such that it will precipitate their potential investigation and potential
   prosecution of us personally and our companies if we continue to provide New
   York-related services at this time.

   We might be able to resume servicing New York loans at some point in the future,
   but for now, Judge Sullivan’s Order presents a significant potential liability for us
                                                           5
         CONFIDENTIAL                                                              JA657
USCA4Case
      Appeal: 23-2097   Doc: 11-2
          3:17-cv-00461-REP            Filed: 12/06/2023
                              Document 1166-23               Pg: 202
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                                                                  Page    of 11 PageID# 48305

   and we do not believe that we should service any new New York loans. We are
   willing to wind down our New York services and see existing loans through to
   their completion, but we simply cannot flaunt the clear ruling from Judge
   Sullivan’s order, however legally incorrect it might be.

   This action applies both to services performed for the Red Rock Tribal Lending,
   LLC and Duck Creek Tribal Financial, LLC portfolios.

   Regards,

   Matt Martorello
   Mobile: 773-209-7720
   Email: mm@BellicoseVI.com

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                                                          6
         CONFIDENTIAL                                                                               JA658
USCA4Case
      Appeal: 23-2097   Doc: 11-2
          3:17-cv-00461-REP            Filed: 12/06/2023
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         CONFIDENTIAL                                                              JA659
USCA4Case
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          3:17-cv-00461-REP            Filed: 12/06/2023
                              Document 1166-23               Pg: 204
                                                 Filed 04/21/23      of 9493
                                                                  Page    of 11 PageID# 48307




         CONFIDENTIAL                                                              JA660
USCA4 Appeal:
    Case      23-2097   Doc: 11-2
         3:17-cv-00461-REP             Filed: 12/06/2023
                             Document 1166-23                Pg: 205
                                                 Filed 04/21/23  Pageof10
                                                                        493
                                                                          of 11 PageID# 48308




        CONFIDENTIAL                                                               JA661
USCA4 Appeal:
    Case      23-2097   Doc: 11-2
         3:17-cv-00461-REP             Filed: 12/06/2023
                             Document 1166-23                Pg: 206
                                                 Filed 04/21/23  Pageof11
                                                                        493
                                                                          of 11 PageID# 48309




        CONFIDENTIAL                                                               JA662
USCA4Case
     Appeal: 23-2097    Doc: 11-2
          3:17-cv-00461-REP   Document Filed:
                                       1166-2412/06/2023     Pg: 207
                                                  Filed 04/21/23     of 493
                                                                  Page  1 of 2 PageID# 48310




                                    Exhibit 24




                                                                                   JA663
USCA4Case
     Appeal: 23-2097    Doc: 11-2
          3:17-cv-00461-REP   Document Filed:
                                       1166-2412/06/2023     Pg: 208
                                                  Filed 04/21/23     of 493
                                                                  Page  2 of 2 PageID# 48311


  Darcie Pace

  From:                  Matt Martorello <mattm@bellicosevi.com>
  Sent:                  Monday, October 14, 2013 10:45 AM
  To:                    Robert Rosette
  Subject:               LVD to take ownership of Bellicose VI

  Importance:            High


  Hi Rob,

  Do you have time to talk about the items below this morning?

            Assign today LVD 51% of Bellicose via Equity only membership interest tied to the SPVI subsidiary only
            Assign today LVD 51% of 7X Services, LLC equity for class tied to:
                 o Iron Fence
                 o Obsidian Armor
                 o WMS (WMS terminates the existing option agreement)
                 o In 2014 only, Bellicose VI, LLC (STX offices)
            In 2014, the Bellicose Equity will be shifted to SPVI directly (as we move from VIs to Puerto Rico)
            Specific to Bellicose/SPVI Equity:
                 o LVD will own 51% equity, but 0% profits interest until month 49
                 o BlueTech will own 49% equity, but 100% profits interest until month 49
                 o Current Manager will be locked in for 48 months at which point will be 100% LVD owned equity and
                     managed
                 o In month 49, Profits will be 80% LVD and 20% BlueTech for 10 years, after which it is 100% profits to
                     LVD. With appropriate protections for assignments or other IP use, to be fair to BlueTech
                 o LVD cannot compete to cut BlueTech out of income stream
                 o Appropriate waivers to keep everything fair
                 o All structured to provide all entities sovereign immunity
            On 7X Services LLC equity
                 o Less complex since IFI and OAF will only survive 36 months and then be completed.
                 o All structured to provide all entities sovereign immunity



  Regards,

  Matt Martorello
  Mobile: 773‐209‐7720
  Email: mm@BellicoseVI.com




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            CONFIDENTIAL
                                                                                                             JA664
                                                                                             ROSETTE_REVISED_048536
USCA4Case
     Appeal: 23-2097    Doc: 11-2
          3:17-cv-00461-REP   Document Filed:
                                       1166-2512/06/2023     Pg: 209
                                                  Filed 04/21/23     of 493
                                                                  Page  1 of 3 PageID# 48312




                                    Exhibit 25




                                                                                   JA665
USCA4Case
      Appeal: 23-2097   Doc: 11-2
          3:17-cv-00461-REP            Filed: 12/06/2023
                              Document 1166-25               Pg: 210
                                                  Filed 04/21/23     of 493
                                                                  Page  2 of 3 PageID# 48313


   Joette Pete-Baldwin

   From:                                Matt Martorello < mattm@bellicosevi.com >
   Sent:                                Monday, October 14, 2013 4:14 PM
   To:                                  Karrie Wichtman; Chairman James Williams; Cheryl McGeshick; Eli Edwards;
                                        gkway@lvdtribal.com; Henry Smith; Joette Pete-Baldwin Qoette.pete@lvdtribal.com);
                                        John McGeshick, Jr.; Susan McGeshick (susan.mcgeshick@lvdcasino.com}; Tyrone
                                        McGeshick (tyrone.mcgeshick@lvdcasino.com)
   Cc:                                  Craig Mansfield (craig.mansfield@lvdcasino.com); Justin Martorello
   Subject:                             SPVI Equity Transfer to LVD



   Good afternoon,

   Below is the beginning of a concept I have to facilitate a transition to LVD of MY businesses. The abrupt termination of
   RRTL/DCTF, as it is written in the existing servicing agreements, is an oversimplified end that we have for some time
   been meaning to revisit. I think it is time to move forward on the proper legacy plan for how our companies come
   together. I believe Rob and Karrie can provide some highlights, but I do believe the items below should be able to get us
   to a term sheet with the goal of FINAL documents delivered on 10/30/13. The documents will not be as daunting as the
   list below appeais, foi tax strnctuiing ieasons, it is a little moie complicated than it appeais.

         •    Assign today to LVD - 51% of Bellicose VI, LLC Equity only membership interest tied to the SPVI subsidiary only
             (i.e. SPVI is a wholly owned sub of Bellicose, as it must be for tax reasons. Therefore, LVD's equity share for the
             subsidiary would be at the Bellicose parent company level):
                   o LVD will own 51% equity, but 0% profits interest until month 49 when it becomes 100% equity and 80%
                      profits
                 o BlueTech will own 49% equity, but 100% profits interest until month 49 when it becomes 0% equity and
                      20% profits
                 o Current Manager (myself) will be locked in as the decision maker for 48 months, at which point they will
                      hire a new Manager to replace me
                 o In month 49, Profits will be 80% LVD and 20% BlueTech for 10 years, after which it is 100% profits to LVD.
         •    Assign today to LVD - 51% of 7X Services, LLC Equity only for a membership class tied to:
                 o Iron Fence Investments, LLC
                 o Obsidian Armor Fund, LLC (note this will be dissolved before the 48 month mark)
                 o WMS (where both WMS and SPVI terminate the existing option agreements)
                 o On January 1 \ due to my forthcoming 2014 restructuring, Bellicose VI, LLC will be transferred 100% to 7X
                                  5

                     Services, LLC and LVD's Equity will be shifted to DIRECTLY to SPVI (as we move from the Vis to Puerto
                     Rico)
         •    Other:
                 o Appropriate waivers of SI to protect the Assignors and Managers
                 o Structured to ensure the integrity of sovereign immunity
                 o It is possible the currently Delaware and Virgin Islands LLCs, may need to be migrated to be LVD LLCs
                     (perhaps AFTER the closing in the interest of time)
                 o Castle stops NEW customer loans beginning on January 31, 2014 and only does VIP loans thereafter (same
                     as DCTF today)
                 o Tribe uses its own capital to launch a new portfolio in Ql 2014, in which SPVI generates the same fees
                     from the TLE, but LVD gets to keep 75% of the profits interest on the SPVI side for servicing the portfolio,
                                    th
                     until that 48 month. Adjusts the same thereafter. (This is required for tax purposesj
                 o Proper indemnities to the Assignors and Managers
                 o No strings attached, no requirements, no liability to LVD by Assignors or Managers on the new LVD
                     portfolio, RRTL, DCTF, or on anything that may happen after month 48. Best efforts basis.
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                                                                                                                JA666
USCA4Case
     Appeal: 23-2097    Doc: 11-2
          3:17-cv-00461-REP   Document Filed:
                                       1166-2512/06/2023     Pg: 211
                                                  Filed 04/21/23     of 493
                                                                  Page  3 of 3 PageID# 48314


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                                                                                                    JA667
USCA4Case
     Appeal: 23-2097    Doc: 11-2
          3:17-cv-00461-REP   Document Filed:
                                       1166-2612/06/2023     Pg: 212
                                                  Filed 04/21/23     of 493
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                                    Exhibit 26




                                                                                   JA668
USCA4Case
     Appeal: 23-2097    Doc: 11-2
          3:17-cv-00461-REP   Document Filed:
                                       1166-2612/06/2023     Pg: 213
                                                  Filed 04/21/23     of 493
                                                                  Page  2 of 5 PageID# 48316


          From:            Matt Martorello
          To:              Karrie Wichtman
          Subject:         Re: Payday US Offer Deactivation Notice
          Date:            Tuesday, October 29, 2013 4:28:04 PM


         Not directly, but like my email said all the marketing entities are just about closing up shop, rates on
         things have skyrocketed, capture just cut us down by 200k a month in buying debt, most of the
         servicers like spvi have literally gone out of business. It's impossible to buy any volume, debt
         providers are asking what would happen to everything if the ruling in NY were upheld (certain death
         and all vendors including spvi, banks, ACH processors, bureaus etc would all obviously shut down if it
         were considered off reservation activity), and the class actions against banks and personal threats of
         enforcement against individuals by regulators all has everyone spooked. No joke, several of the
         biggest servicers have shut down. Though I bet they come back if things end well.

         Desperately hoping that Rule 19 works and a favorable outcome on the appeal!



         -------- Original message --------
         From: Karrie Wichtman <kwichtman@rosettelaw.com>
         Date: 10/29/2013 2:40 PM (GMT-07:00)
         To: Matt Martorello <mattm@bellicosevi.com>
         Subject: Re: Payday US Offer Deactivation Notice


         Is this one our vendor companies?

         Sent from my iPhone

         On Oct 29, 2013, at 3:24 PM, "Matt Martorello" <mattm@bellicosevi.com> wrote:




                 -------- Original message --------
                 From: Sam Lepore <snlepore@yahoo.com>
                 Date: 10/29/2013 11:54 AM (GMT-07:00)
                 To: Matt Martorello <mattm@bellicosevi.com>
                 Subject: Fw: Payday US Offer Deactivation Notice


                 Hey Matt-

                 Issues in the US with Payday? You seeing this?



                 Thanks,

                 Sam Lepore
                 Cell: 856.297.6827
                 Email: sam@samlepore.com
                 www.samlepore.com

        CONFIDENTIAL
                                                                                                         JA669
USCA4Case
     Appeal: 23-2097    Doc: 11-2
          3:17-cv-00461-REP   Document Filed:
                                       1166-2612/06/2023     Pg: 214
                                                  Filed 04/21/23     of 493
                                                                  Page  3 of 5 PageID# 48317




        CONFIDENTIAL
                                                                                   JA670
USCA4Case
     Appeal: 23-2097    Doc: 11-2
          3:17-cv-00461-REP   Document Filed:
                                       1166-2612/06/2023     Pg: 215
                                                  Filed 04/21/23     of 493
                                                                  Page  4 of 5 PageID# 48318




        CONFIDENTIAL
                                                                                   JA671
USCA4Case
     Appeal: 23-2097    Doc: 11-2
          3:17-cv-00461-REP   Document Filed:
                                       1166-2612/06/2023     Pg: 216
                                                  Filed 04/21/23     of 493
                                                                  Page  5 of 5 PageID# 48319




        CONFIDENTIAL
                                                                                   JA672
USCA4Case
     Appeal: 23-2097    Doc: 11-2
          3:17-cv-00461-REP   Document Filed:
                                       1166-2712/06/2023     Pg: 217
                                                  Filed 04/21/23     of 493
                                                                  Page  1 of 3 PageID# 48320




                                    Exhibit 27




                                                                                   JA673
USCA4Case
     Appeal: 23-2097    Doc: 11-2
          3:17-cv-00461-REP   Document Filed:
                                       1166-2712/06/2023     Pg: 218
                                                  Filed 04/21/23     of 493
                                                                  Page  2 of 3 PageID# 48321


  Darcie Pace

  From:                Matt Martorello <mattm@bellicosevi.com>
  Sent:                Tuesday, December 31, 2013 12:06 AM
  To:                  Nicole St. Germain; Karrie Wichtman; Justin Martorello
  Cc:                  Daniel Gravel; Robert Rosette
  Subject:             RE: Memo Regarding Structure of Possible Acquisition of SPVI


  Sorry one more thing on Management. If it is something where one person controls the entity, let’s make certain they
  have immunity (if it were Justin for example) of course as well.

  From: Matt Martorello
  Sent: Tuesday, December 31, 2013 1:00 AM
  To: Nicole St. Germain; 'Karrie Wichtman'; Justin Martorello
  Cc: Daniel Gravel; 'Rob Rosette'
  Subject: FW: Memo Regarding Structure of Possible Acquisition of SPVI

  Very preliminary review (I skimmed it).

      A) Great work guys, very informative here
      B) I’m not sure the proposal was exactly accurate, but close enough to analyze the issues
      C) Seems like after your proposed changes, the 51% equity bit is left as the only question mark. I think this could
         easily be increased to whatever the benchmark of confidence is, since equity and profits interest differ. What
         equity ownership % hits the benchmark (60/40?). Or is it more like 100% or 51%, and in between is no man’s
         land (a lot of page 13 #3 seems to state 100% is the only certainty). I don’t think 100% is out of reach, some
         caveats could simply be made.
      D) On the proposed changes:
             a. Revenue – 10% certainly isn’t going to work from a business standpoint (i.e. I might as well be a state
                  licensed lender, as a comp.) The deal could be an outstanding deal and 1st of its kind, but we need to
                  have it make sense.
                        i. I think this stems partly from point 2 on page 13, which I believe inaccurately only looks at a 4
                           year time period. In reality, the economics certainly support economic development as in 4
                           years, it’s spinning off a major amount of cash flows. That’s economic development. Not even a
                           casino makes money in the first several years.
                       ii. Also partly from Page 14 part 5 – which is more of the same really. Looks at years 1 – 4
                           only. Even during that time, money does in fact inure to the benefit of the tribe via the TLE. It
                           would be explained to exist because it is exactly what it is. The tribe would like to buy in some
                           capacity the intel of SPVI so it could get more money in the long‐term. The terms of such a deal
                           result as proposed. This is the same way casino developers get Management fees (though for 7
                           years, not 4 years and at a lower rate). If regulations didn’t prevent it, I might develop a casino
                           for you and say, “I don’t want 7 years and 30%, I want less years and a higher %”. What I think
                           you’d tell a court that would challenge the immunity is that if the deal were not done, well then:
                           A) the tribe didn’t know: A) if SPVI would be around in 10 days given the industry, B) Execute its
                           termination provision in accordance with the SA, or C) hike rates as risk has gone through the
                           roof with detractors now seeking out SPVI’s of the world for major attacks. Plus, it could save
                           money over the course of the next 10 years of the relationship with SPVI by entering this deal,
                           rather than keeping the status quo. This is same as how I might consider buying a LMS for
                           example. I can pay the licensing fee, or I can pay way more money today to buy it from them
                           and I am upside down on that investment for 4 years, but after year 4, I’m making 10 times

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                                                                                            ROSETTE_REVISED_052247
USCA4Case
     Appeal: 23-2097    Doc: 11-2
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                                       1166-2712/06/2023     Pg: 219
                                                  Filed 04/21/23     of 493
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                          more money than I would have been had I elected to be licensing still today. For all of these
                          reasons, I don’t see the revenue as an issue.
               b. Management – If this issue isn’t worked out in some very particular way, the deal just won’t get
                  done. Hoping you have some ideas around this. All the investors (institutional, personal, and myself)
                  won’t allow the deal to occur without being 100% certain adequate Management resources are in
                  control. This seems the 1st major hurdle to accomplish.

  All that said, I kind of thought we’d settled on status quo after talking about this for about 18 months and nowhere to
  go. However, I think there is a way this works. Clock is ticking before I end up in a Cash Call type attack though, at which
  point, I think the deal is about dead.

  Hopefully yours,
  Matt

  From: Nicole St. Germain [mailto:NStGermain@rosettelaw.com]
  Sent: Monday, December 30, 2013 7:06 PM
  To: Chairman James Williams; Joette Pete‐Baldwin; Susan McGeshick; Giizhigookway; Cheryl McGeshick; Eli Edwards;
  Tyrone McGeshick; john.mcgeshickjr@lvdtribal.com; Henry Smith
  Cc: Karrie Wichtman; Matt Martorello; Justin Martorello; Daniel Gravel
  Subject: Memo Regarding Structure of Possible Acquisition of SPVI

  Honorable Tribal Council,

  Please find attached a memorandum analyzing the proposed transaction between the Tribe and Source Point for the
  formation of a new LLC formed under Tribal law that would act as RRTL’s and DCTF’s servicer. As you will see, the
  threshold issue is whether formation of a new entity that is co‐owned by the Tribe and Source Point and subject to the
  proposed profit, management and voting controls is sufficient to pass muster with the “arm of the tribe” test to extend
  the Tribe’s sovereign immunity from suit to the new LLC.

  We are ready to discuss these issues at your convenience.

  Thank you,


  Nicole M. St. Germain, Associate

  Rosette, LLP
  Attorneys at Law
  193 Blue Ravine Road ‐ Suite 255
  Folsom, CA 95630
  916.353.1084 – Office
  916.353.1085 – Fax
  480.241.5871 – Cell

  NStGermain@rosettelaw.com
  www.rosettelaw.com

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          CONFIDENTIAL
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                                                                                            ROSETTE_REVISED_052248
USCA4Case
     Appeal: 23-2097    Doc: 11-2
          3:17-cv-00461-REP   Document Filed:
                                       1166-2812/06/2023     Pg: 220
                                                  Filed 04/21/23     of 493
                                                                  Page  1 of 5 PageID# 48323




                                    Exhibit 28




                                                                                   JA676
USCA4Case
     Appeal: 23-2097    Doc: 11-2
          3:17-cv-00461-REP   Document Filed:
                                       1166-2812/06/2023     Pg: 221
                                                  Filed 04/21/23     of 493
                                                                  Page  2 of 5 PageID# 48324


  Darcie Pace

  From:                 Karrie Wichtman
  Sent:                 Tuesday, July 22, 2014 9:21 AM
  To:                   Daniel Gravel; Matt Martorello; gkway@duckcreektf.com; Jim Williams Jr.
  Cc:                   Justin Martorello; Brian McFadden; James Dowd
  Subject:              RE: Rebrand from "Payday"


  I think it imperative that all vendor contracts under the new branding include Gkway and Chairman Williams in all
  discussions, or at a minimum Gkway. This will strengthen the sovereign model as well as assist the CEO and Co‐
  Managers with developing a new level of intimacy with the operation of the business that will be needed if it is expected
  that the “New Deal” will also be born out of this rebrand.

  Just my thoughts…

  Sincerely,



  Karrie S. Wichtman, Partner
  Rosette, LLP
  Attorneys at Law
  Michigan Office
  25344 Red Arrow Hwy, Suite B
  Mattawan, MI 49071
  269.283.5005 – Office
  480.242.6959 ‐ Cell
  517.913.6443 – Fax
  kwichtman@rosettelaw.com
  www.rosettelaw.com

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  DELETE THIS MESSAGE. THANK YOU FOR YOUR COOPERATION.

  From: Daniel Gravel [mailto:DanielG@bellicosevi.com]
  Sent: Tuesday, July 22, 2014 9:13 AM
  To: Matt Martorello; Karrie Wichtman; gkway@duckcreektf.com; Jim Williams Jr.
  Cc: Justin Martorello; Brian McFadden; James Dowd
  Subject: RE: Rebrand from "Payday"

  Karrie:

  Here is the initial list of items we will be working on for Chorus:

      1.     Consulting agreement review/assignment
      2.     Revise loan agreement and all customer facing docs and scripts
      3.     New vendor contracts
      4.     Review/revise internal policy/procedure docs, such as Recommendation Form, for new entity.

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USCA4Case
     Appeal: 23-2097    Doc: 11-2
          3:17-cv-00461-REP   Document Filed:
                                       1166-2812/06/2023     Pg: 222
                                                  Filed 04/21/23     of 493
                                                                  Page  3 of 5 PageID# 48325

       5.   Website/branding

  There are many vendor contracts, so I will start requesting new ones immediately.

  Thanks,

  Dan Gravel
  General Counsel
  Email: danielg@bellicosecapital.com
  Office: 787‐520‐6053
  Mobile: 781‐910‐9642
                      IC
             CAPITAL

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  From: Matt Martorello
  Sent: Monday, July 21, 2014 3:02 PM
  To: Karrie Wichtman; gkway@duckcreektf.com; Jim Williams Jr.
  Cc: Daniel Gravel; Justin Martorello
  Subject: RE: Rebrand from "Payday"

  Dan is working on this task list. Sounds like Assignment will be easiest and doesn’t protect from any hidden risk that
  you’d want to limit on pass through from RRTL to new entity.

  If I can get this 17mb file down to a better size to email you guys on the work and imaging done for ChorusLoans, I think
  you’d absolutely love the new design. Domain names in this space are very very rare and hard to come by, then trying
  to get a TM to protect it from competition is another issue, so SPVI did a lot of work created Chorus which I think you’ll
  enjoy when I can send this to you.

  From: Karrie Wichtman [mailto:kwichtman@rosettelaw.com]
  Sent: Friday, July 18, 2014 9:47 AM
  To: Matt Martorello; gkway@duckcreektf.com; Jim Williams Jr.
  Cc: Daniel Gravel; Justin Martorello
  Subject: RE: Rebrand from "Payday"

  What exactly will be done on your end so that efforts are not being duplicated?



  Karrie S. Wichtman, Partner
  Rosette, LLP
  Attorneys at Law
  Michigan Office
  25344 Red Arrow Hwy, Suite B
  Mattawan, MI 49071
  269.283.5005 – Office
  480.242.6959 ‐ Cell
  517.913.6443 – Fax
  kwichtman@rosettelaw.com
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            CONFIDENTIAL
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USCA4Case
     Appeal: 23-2097    Doc: 11-2
          3:17-cv-00461-REP   Document Filed:
                                       1166-2812/06/2023     Pg: 223
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                                                                  Page  4 of 5 PageID# 48326

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  DELETE THIS MESSAGE. THANK YOU FOR YOUR COOPERATION.

  From: Matt Martorello [mailto:mattm@bellicosevi.com]
  Sent: Friday, July 18, 2014 9:36 AM
  To: gkway@duckcreektf.com; Jim Williams Jr.
  Cc: Karrie Wichtman; Daniel Gravel; Justin Martorello
  Subject: RE: Rebrand from "Payday"

  Great, we’ll start getting ready on our end. Thanks!

  From: gkway@duckcreektf.com [mailto:gkway@duckcreektf.com]
  Sent: Friday, July 18, 2014 9:35 AM
  To: Matt Martorello; Jim Williams Jr.
  Cc: 'Karrie Wichtman'; Daniel Gravel; Justin Martorello
  Subject: RE: Rebrand from "Payday"

  I certainly do agree and yes I would be happy to present this to the Council.

  giizhigookway
  CEO/Co-Manager
  Duck Creek Tribal Financial
  P.O. Box 704
  Watersmeet, MI 49969
  906.358.2008-Office
  906.358.2010-Fax
  906.366.7041-Cell
  gkway@duckcreektf.com



   -------- Original Message --------
   Subject: RE: Rebrand from "Payday"
   From: Matt Martorello <mattm@bellicosevi.com>
   Date: Fri, July 18, 2014 6:30 am
   To: "gkway@duckcreektf.com" <gkway@duckcreektf.com>, Jim Williams Jr.
   <jim.williams@lvdtribal.com>
   Cc: 'Karrie Wichtman' <kwichtman@rosettelaw.com>, Daniel Gravel
   <DanielG@bellicosevi.com>, Justin Martorello <JustinM@BellicoseVI.com>

   Gkway, as CEO for RRTL, do you feel comfortable representing RRTL to council on
   this? And assuming you agree LVD should move away from “Payday”, do you feel
   comfortable leading the charge in getting this rebrand done? I think we need to
   make sure we have someone who can “own the process” to get it over the finish
   line.

   Looking forward to your thoughts

   From: Matt Martorello
   Sent: Friday, July 18, 2014 9:26 AM
                                                          3
          CONFIDENTIAL
                                                                                         JA679
USCA4Case
     Appeal: 23-2097    Doc: 11-2
          3:17-cv-00461-REP   Document Filed:
                                       1166-2812/06/2023     Pg: 224
                                                  Filed 04/21/23     of 493
                                                                  Page  5 of 5 PageID# 48327

   To: gkway@duckcreektf.com; Jim Williams Jr.
   Cc: 'Karrie Wichtman'; Daniel Gravel; Justin Martorello
   Subject: Rebrand from "Payday"
   Importance: High

   Hi guys,

   We’ve been mentioning for a very long time now, CastlePayday needs a
   rebrand. Rather than tie it to other things that may take 6 months to complete,
   it’s time to get it done. RRTL has been blacklisted and rolled through the mud in
   the press. Also, “Payday” is not an accurate description and is virtually about to
   be outlawed by the CFPB (likely a no renewal and cool off periods are coming in
   August). I think it’s time to get away from the word “Payday” and the black mark
   of RRTL before the rules come out and things get hotter. I know for sure, many
   banks have turned down RRTL because it says Payday in the title, even if it is not
   a payday lender.

   I suggest forming ASAP a new LLC with a new domain/brand, for purposes of
   transferring all contracts, assets, bank accounts, liabilities, etc. over to the new
   entities when ready. We will gladly facilitate the work, but need the entity
   formed and approval to begin doing so as step 1. It will take some time
   (months), after the new entity and approval by Tribal council is provided so the
   sooner we can get moving away from “Payday” and the poor image of RRTL the
   better.



   Regards,

   Matt Martorello
   Mobile: 773-209-7720
   Email: mm@BellicoseVI.com



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                                                          4
         CONFIDENTIAL
                                                                                                    JA680
USCA4Case
      Appeal: 23-2097   Doc: 11-2
          3:17-cv-00461-REP            Filed: 12/06/2023
                              Document 1166-29               Pg: 225
                                                 Filed 04/21/23      of 1493
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                                    Exhibit 29




                                                                                   JA681
USCA4Case
      Appeal: 23-2097   Doc: 11-2
          3:17-cv-00461-REP            Filed: 12/06/2023
                              Document 1166-29               Pg: 226
                                                 Filed 04/21/23      of 2493
                                                                  Page    of 22 PageID# 48329


          From:               Matt Martorello
          To:                 Karrie Wichtman; Justin Martorello
          Subject:            RE: 2014 08 22 TC Resolution 2014____ Approving Chorus Loans_final.docx
          Date:               Monday, August 25, 2014 11:27:30 AM
          Attachments:        BigPicture DesignsR03 20130923.pdf
                              Big Picture Brand Pyramid.pdf




          Ok, sorry for the run around here Karrie... Chorus has been sold. Attached is another really great brand with just as
          much energy, money and time spent into developing. Assuming LVD buys SPVI, BigPictureLoans.com would be
          an excellent domain. If LVD doesn't buy SPVI, then FirstNationLoans.com is the domain we can provide (which
          we haven't yet gotten around to build out/design).

          -----Original Message-----
          From: Karrie Wichtman [mailto:kwichtman@rosettelaw.com]
          Sent: Monday, August 25, 2014 11:58 AM
          To: Matt Martorello; Justin Martorello
          Subject: 2014 08 22 TC Resolution 2014____ Approving Chorus Loans_final.docx



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         CONFIDENTIAL
                                                                                                                        JA682
                                                                                                        ROSETTE_REVISED 043437
USCA4Case
      Appeal: 23-2097   Doc: 11-2
          3:17-cv-00461-REP            Filed: 12/06/2023
                              Document 1166-29               Pg: 227
                                                 Filed 04/21/23      of 3493
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CONFIDENTIAL                                                                                ROSETTE_REVISED 043438




                                                                                   JA683
USCA4Case
      Appeal: 23-2097   Doc: 11-2
          3:17-cv-00461-REP            Filed: 12/06/2023
                              Document 1166-29               Pg: 228
                                                 Filed 04/21/23      of 4493
                                                                  Page    of 22 PageID# 48331




  CONFIDENTIAL                                                                         ROSETTE_REVISED 043439




                                                                                   JA684
USCA4Case
      Appeal: 23-2097   Doc: 11-2
          3:17-cv-00461-REP            Filed: 12/06/2023
                              Document 1166-29               Pg: 229
                                                 Filed 04/21/23      of 5493
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  CONFIDENTIAL                                                                         ROSETTE_REVISED 043440




                                                                                   JA685
USCA4Case
      Appeal: 23-2097   Doc: 11-2
          3:17-cv-00461-REP            Filed: 12/06/2023
                              Document 1166-29               Pg: 230
                                                 Filed 04/21/23      of 6493
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  CONFIDENTIAL                                                                         ROSETTE_REVISED 043441




                                                                                   JA686
USCA4Case
      Appeal: 23-2097   Doc: 11-2
          3:17-cv-00461-REP            Filed: 12/06/2023
                              Document 1166-29               Pg: 231
                                                 Filed 04/21/23      of 7493
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  CONFIDENTIAL                                                                         ROSETTE_REVISED 043442




                                                                                   JA687
USCA4Case
      Appeal: 23-2097   Doc: 11-2
          3:17-cv-00461-REP            Filed: 12/06/2023
                              Document 1166-29               Pg: 232
                                                 Filed 04/21/23      of 8493
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                                                                                            JA688
                           CONFIDENTIAL                            ROSETTE_REVISED 043443
USCA4Case
      Appeal: 23-2097   Doc: 11-2
          3:17-cv-00461-REP            Filed: 12/06/2023
                              Document 1166-29               Pg: 233
                                                 Filed 04/21/23      of 9493
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  CONFIDENTIAL                                                                         ROSETTE_REVISED 043444




                                                                                   JA689
USCA4 Appeal:
    Case      23-2097   Doc: 11-2
         3:17-cv-00461-REP             Filed: 12/06/2023
                             Document 1166-29                Pg: 234
                                                 Filed 04/21/23  Pageof10
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  CONFIDENTIAL                                                                         ROSETTE_REVISED 043445




                                                                                   JA690
USCA4 Appeal:
    Case      23-2097   Doc: 11-2
         3:17-cv-00461-REP             Filed: 12/06/2023
                             Document 1166-29                Pg: 235
                                                 Filed 04/21/23  Pageof11
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                                                                                   JA691
   CONFIDENTIAL                                                                       ROSETTE_REVISED 043446
USCA4 Appeal:
    Case      23-2097   Doc: 11-2
         3:17-cv-00461-REP             Filed: 12/06/2023
                             Document 1166-29                Pg: 236
                                                 Filed 04/21/23  Pageof12
                                                                        493
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  CONFIDENTIAL                                                                         ROSETTE_REVISED 043447




                                                                                   JA692
USCA4 Appeal:
    Case      23-2097   Doc: 11-2
         3:17-cv-00461-REP             Filed: 12/06/2023
                             Document 1166-29                Pg: 237
                                                 Filed 04/21/23  Pageof13
                                                                        493
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                                                                                   JA693
     CONFIDENTIAL                                                                   ROSETTE_REVISED 043448
USCA4 Appeal:
    Case      23-2097   Doc: 11-2
         3:17-cv-00461-REP             Filed: 12/06/2023
                             Document 1166-29                Pg: 238
                                                 Filed 04/21/23  Pageof14
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  CONFIDENTIAL                                                                         ROSETTE_REVISED 043449




                                                                                   JA694
USCA4 Appeal:
    Case      23-2097   Doc: 11-2
         3:17-cv-00461-REP             Filed: 12/06/2023
                             Document 1166-29                Pg: 239
                                                 Filed 04/21/23  Pageof15
                                                                        493
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                                                                                                 JA695
                    CONFIDENTIAL                                        ROSETTE_REVISED 043450
USCA4 Appeal:
    Case      23-2097   Doc: 11-2
         3:17-cv-00461-REP             Filed: 12/06/2023
                             Document 1166-29                Pg: 240
                                                 Filed 04/21/23  Pageof16
                                                                        493
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                                                                                                    JA696
                CONFIDENTIAL                                               ROSETTE_REVISED 043451
USCA4 Appeal:
    Case      23-2097   Doc: 11-2
         3:17-cv-00461-REP             Filed: 12/06/2023
                             Document 1166-29                Pg: 241
                                                 Filed 04/21/23  Pageof17
                                                                        493
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                                CONFIDENTIAL                  ROSETTE_REVISED 043452
USCA4 Appeal:
    Case      23-2097   Doc: 11-2
         3:17-cv-00461-REP             Filed: 12/06/2023
                             Document 1166-29                Pg: 242
                                                 Filed 04/21/23  Pageof18
                                                                        493
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  CONFIDENTIAL
                                                                                   JA698
                                                                                       ROSETTE_REVISED 043453
USCA4 Appeal:
    Case      23-2097   Doc: 11-2
         3:17-cv-00461-REP             Filed: 12/06/2023
                             Document 1166-29                Pg: 243
                                                 Filed 04/21/23  Pageof19
                                                                        493
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  CONFIDENTIAL                                                                         ROSETTE_REVISED 043454




                                                                                   JA699
USCA4 Appeal:
    Case      23-2097   Doc: 11-2
         3:17-cv-00461-REP             Filed: 12/06/2023
                             Document 1166-29                Pg: 244
                                                 Filed 04/21/23  Pageof20
                                                                        493
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  CONFIDENTIAL                                                                         ROSETTE_REVISED 043455




                                                                                   JA700
USCA4 Appeal:
    Case      23-2097   Doc: 11-2
         3:17-cv-00461-REP             Filed: 12/06/2023
                             Document 1166-29                Pg: 245
                                                 Filed 04/21/23  Pageof21
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CONFIDENTIAL                                                                                ROSETTE_REVISED 043456




                                                                                   JA701
USCA4 Appeal:
    Case      23-2097   Doc: 11-2
         3:17-cv-00461-REP             Filed: 12/06/2023
                             Document 1166-29                Pg: 246
                                                 Filed 04/21/23  Pageof22
                                                                        493
                                                                          of 22 PageID# 48349




      CONFIDENTIAL                                                            ROSETTE_REVISED 043457




                                                                                     JA702
USCA4Case
     Appeal: 23-2097    Doc: 11-2
          3:17-cv-00461-REP   Document Filed:
                                       1166-3012/06/2023     Pg: 247
                                                  Filed 04/21/23     of 493
                                                                  Page  1 of 3 PageID# 48350




                                    Exhibit 30




                                                                                   JA703
USCA4Case
     Appeal: 23-2097    Doc: 11-2
          3:17-cv-00461-REP   Document Filed:
                                       1166-3012/06/2023     Pg: 248
                                                  Filed 04/21/23     of 493
                                                                  Page  2 of 3 PageID# 48351


          From:               Matt Martorello
          To:                 Karrie Wichtman; Justin Martorello
          Subject:            RE: 2014 08 22 TC Resolution 2014____ Approving Chorus Loans_final.docx
          Date:               Monday, August 25, 2014 12:52:23 PM




          BigPictureLoans.com

          -----Original Message-----
          From: Karrie Wichtman [mailto:kwichtman@rosettelaw.com]
          Sent: Monday, August 25, 2014 3:48 PM
          To: Matt Martorello; Justin Martorello
          Subject: RE: 2014 08 22 TC Resolution 2014____ Approving Chorus Loans_final.docx

          Which one do you want me to use? Let's talk about that today so I can modify the docs accordingly.

          Karrie S. Wichtman, Partner
          Rosette, LLP
          Attorneys at Law
          Michigan Office
          25344 Red Arrow Hwy, Suite B
          Mattawan, MI 49071
          269.283.5005 - Office
          480.242.6959 - Cell
          517.913.6443 - Fax
          kwichtman@rosettelaw.com
          www.rosettelaw.com

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          MESSAGE. THANK YOU FOR YOUR COOPERATION.

          -----Original Message-----
          From: Matt Martorello [mailto:mattm@bellicosevi.com]
          Sent: Monday, August 25, 2014 2:26 PM
          To: Karrie Wichtman; Justin Martorello
          Subject: RE: 2014 08 22 TC Resolution 2014____ Approving Chorus Loans_final.docx

          Ok, sorry for the run around here Karrie... Chorus has been sold. Attached is another really great brand with just as
          much energy, money and time spent into developing. Assuming LVD buys SPVI, BigPictureLoans.com would be
          an excellent domain. If LVD doesn't buy SPVI, then FirstNationLoans.com is the domain we can provide (which
          we haven't yet gotten around to build out/design).

          -----Original Message-----
          From: Karrie Wichtman [mailto:kwichtman@rosettelaw.com]
          Sent: Monday, August 25, 2014 11:58 AM
          To: Matt Martorello; Justin Martorello
          Subject: 2014 08 22 TC Resolution 2014____ Approving Chorus Loans_final.docx



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        CONFIDENTIAL
                                                                                                                        JA704
USCA4Case
     Appeal: 23-2097    Doc: 11-2
          3:17-cv-00461-REP   Document Filed:
                                       1166-3012/06/2023     Pg: 249
                                                  Filed 04/21/23     of 493
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        CONFIDENTIAL
                                                                                                                        JA705
USCA4Case
     Appeal: 23-2097    Doc: 11-2
          3:17-cv-00461-REP   Document Filed:
                                       1166-3112/06/2023     Pg: 250
                                                  Filed 04/21/23     of 493
                                                                  Page  1 of 4 PageID# 48353




                                    Exhibit 31




                                                                                   JA706
USCA4Case
     Appeal: 23-2097    Doc: 11-2
          3:17-cv-00461-REP   Document Filed:
                                       1166-3112/06/2023     Pg: 251
                                                  Filed 04/21/23     of 493
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                                                                                   JA707
USCA4Case
     Appeal: 23-2097    Doc: 11-2
          3:17-cv-00461-REP   Document Filed:
                                       1166-3112/06/2023     Pg: 252
                                                  Filed 04/21/23     of 493
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                                                                                   JA708
USCA4Case
     Appeal: 23-2097    Doc: 11-2
          3:17-cv-00461-REP   Document Filed:
                                       1166-3112/06/2023     Pg: 253
                                                  Filed 04/21/23     of 493
                                                                  Page  4 of 4 PageID# 48356




                                                                                   JA709
USCA4Case
      Appeal: 23-2097   Doc: 11-2
          3:17-cv-00461-REP            Filed: 12/06/2023
                              Document 1166-32               Pg: 254
                                                 Filed 04/21/23      of 1493
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                                    Exhibit 32




                                                                                   JA710
USCA4Case
      Appeal: 23-2097   Doc: 11-2
          3:17-cv-00461-REP            Filed: 12/06/2023
                              Document 1166-32               Pg: 255
                                                 Filed 04/21/23      of 2493
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         CONFIDENTIAL
                                                                                     JA711
                                                                       ROSETTE_REVISED_048541
USCA4Case
      Appeal: 23-2097   Doc: 11-2
          3:17-cv-00461-REP            Filed: 12/06/2023
                              Document 1166-32               Pg: 256
                                                 Filed 04/21/23      of 3493
                                                                  Page    of 16 PageID# 48359

  business, and SPVI/BVI are looking to move very quickly on such an exit. I didn’t bring this up on the call because I
  didn’t want you to feel I was being pushy, and rather than putting the business on the “auction block” to the highest
  bidder, we’re coming exclusively to LVD out of respect for our relationship and wanting to secure a brighter future for
  the Tribe. But it is important that LVD knows that time is of the essence for SPVI/BVI in getting a sale done. I just ask
  that if LVD is interested or not interested, we move as quickly as SPVI/BVI needs to so that we’re not inadvertently
  disadvantaged.

  Looking forward to hearing details on the deal’s reception by council tomorrow.


  Regards,

  Matt Martorello
  Mobile: 773‐209‐7720
  Email: mm@BellicoseVI.com




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                                                               2
          CONFIDENTIAL
                                                                                                             JA712
                                                                                             ROSETTE_REVISED_048542
USCA4Case
      Appeal: 23-2097   Doc: 11-2
          3:17-cv-00461-REP            Filed: 12/06/2023
                              Document 1166-32               Pg: 257
                                                 Filed 04/21/23      of 4493
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     Forecasted Gross Revenue                                                        Sale and Note Economics
      Outstanding A/R Balance               $    20,000,000.00                       Multiple (Months)
      Average Fee per $100 (60/40)                          31%                      Sale Price
      Cleared rate per ACH                                  91%                      Interest Rate
      ACH attempts per loan/month                        2.1665                      Monthly Int Payment
     Gross Revenue projection per month     $    12,223,393.00
                                                                                     5 years Paid on Note

     Waterfall                              Month 1           Month 2         Month 3
      Gross Revenue                         $   12,223,393.00 $ 12,223,393.00 $       12,223,393.00
        Bad Debt Expense (30%)              $     3,667,017.90    $   3,667,017.90   $         3,667,017.90
        Marketing Expense                   $        50,000.00    $      50,000.00   $            50,000.00
        Underwriting/ACH Expense            $       250,000.00    $     250,000.00   $           250,000.00
        Call Center Expense                 $       180,000.00    $     180,000.00   $           180,000.00
        Legal Fees                          $        50,000.00    $      50,000.00   $            50,000.00
        VPCS                                $         8,800.00    $       8,800.00   $             8,800.00
        Accounting, CC and banking Fees     $        20,000.00    $      20,000.00   $            20,000.00
        IT Expense                          $         5,000.00    $       5,000.00   $             5,000.00
        Interest Expense (ACR and IFI)      $       500,000.00    $     500,000.00   $           500,000.00
        Licensing                           $        12,000.00    $      12,000.00   $            12,000.00
        Postage and Misc Expense            $       350,000.00    $     350,000.00   $           350,000.00
        Payroll Expense                     $       200,000.00    $     200,000.00   $           200,000.00
        LMS and Systems                     $        75,000.00    $      75,000.00   $            75,000.00
        NAFSA/OLA                           $        15,000.00    $      15,000.00   $            15,000.00
      Expenses                              $     5,382,817.90    $   5,382,817.90   $         5,382,817.90
      Tribal Ownership Distribution         $       342,255.00    $     342,255.00   $           342,255.00
      Interest Payment on Sale Note         $              ‐      $            ‐     $                  ‐
      Funding to replenish AR Outstanding   $              ‐      $            ‐     $                  ‐
      Funding to pay down Sale Note         $     6,498,320.10    $   6,498,320.10   $         6,498,320.10




         CONFIDENTIAL
                                                                                                JA713
                                                                                ROSETTE_REVISED_048543
USCA4Case
      Appeal: 23-2097   Doc: 11-2
          3:17-cv-00461-REP            Filed: 12/06/2023
                              Document 1166-32               Pg: 258
                                                 Filed 04/21/23      of 5493
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         CONFIDENTIAL
                                                                                     JA714
                                                                       ROSETTE_REVISED_048544
USCA4Case
      Appeal: 23-2097   Doc: 11-2
          3:17-cv-00461-REP            Filed: 12/06/2023
                              Document 1166-32               Pg: 259
                                                 Filed 04/21/23      of 6493
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         CONFIDENTIAL
                                                                                     JA715
                                                                       ROSETTE_REVISED_048545
USCA4Case
      Appeal: 23-2097   Doc: 11-2
          3:17-cv-00461-REP            Filed: 12/06/2023
                              Document 1166-32               Pg: 260
                                                 Filed 04/21/23      of 7493
                                                                  Page    of 16 PageID# 48363




     Month 14        Month 15        Month 16        Month 17        Month 18
     $ 12,223,393.00 $ 12,223,393.00 $ 12,223,393.00 $ 12,223,393.00 $ 12,223,393.00
      $    3,667,017.90   $   3,667,017.90   $   3,667,017.90   $   3,667,017.90   $     3,667,017.90
      $       50,000.00   $      50,000.00   $      50,000.00   $      50,000.00   $        50,000.00
      $      250,000.00   $     250,000.00   $     250,000.00   $     250,000.00   $       250,000.00
      $      180,000.00   $     180,000.00   $     180,000.00   $     180,000.00   $       180,000.00
      $       50,000.00   $      50,000.00   $      50,000.00   $      50,000.00   $        50,000.00
      $        8,800.00   $       8,800.00   $       8,800.00   $       8,800.00   $         8,800.00
      $       20,000.00   $      20,000.00   $      20,000.00   $      20,000.00   $        20,000.00
      $        5,000.00   $       5,000.00   $       5,000.00   $       5,000.00   $         5,000.00
      $      500,000.00   $     500,000.00   $     500,000.00   $     500,000.00   $       500,000.00
      $       12,000.00   $      12,000.00   $      12,000.00   $      12,000.00   $        12,000.00
      $      350,000.00   $     350,000.00   $     350,000.00   $     350,000.00   $       350,000.00
      $      200,000.00   $     200,000.00   $     200,000.00   $     200,000.00   $       200,000.00
      $       75,000.00   $      75,000.00   $      75,000.00   $      75,000.00   $        75,000.00
      $       15,000.00   $      15,000.00   $      15,000.00   $      15,000.00   $        15,000.00
      $    5,382,817.90   $   5,382,817.90   $   5,382,817.90   $   5,382,817.90   $     5,382,817.90
      $      342,255.00   $     342,255.00   $     342,255.00   $     342,255.00   $       342,255.00
      $             ‐     $            ‐     $            ‐     $            ‐     $              ‐
      $             ‐     $            ‐     $            ‐     $            ‐     $              ‐
      $    6,498,320.10   $   6,498,320.10   $   6,498,320.10   $   6,498,320.10   $     6,498,320.10




          CONFIDENTIAL
                                                                                                 JA716
                                                                                   ROSETTE_REVISED_048546
USCA4Case
      Appeal: 23-2097   Doc: 11-2
          3:17-cv-00461-REP            Filed: 12/06/2023
                              Document 1166-32               Pg: 261
                                                 Filed 04/21/23      of 8493
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     Month 19        Month 20        Month 21        Month 22        Month 23
     $ 12,223,393.00 $ 12,223,393.00 $ 12,223,393.00 $ 12,223,393.00 $ 12,223,393.00
      $    3,667,017.90   $   3,667,017.90   $   3,667,017.90   $   3,667,017.90   $     3,667,017.90
      $       50,000.00   $      50,000.00   $      50,000.00   $      50,000.00   $        50,000.00
      $      250,000.00   $     250,000.00   $     250,000.00   $     250,000.00   $       250,000.00
      $      180,000.00   $     180,000.00   $     180,000.00   $     180,000.00   $       180,000.00
      $       50,000.00   $      50,000.00   $      50,000.00   $      50,000.00   $        50,000.00
      $        8,800.00   $       8,800.00   $       8,800.00   $       8,800.00   $         8,800.00
      $       20,000.00   $      20,000.00   $      20,000.00   $      20,000.00   $        20,000.00
      $        5,000.00   $       5,000.00   $       5,000.00   $       5,000.00   $         5,000.00
      $      500,000.00   $     500,000.00   $     500,000.00   $     500,000.00   $       500,000.00
      $       12,000.00   $      12,000.00   $      12,000.00   $      12,000.00   $        12,000.00
      $      350,000.00   $     350,000.00   $     350,000.00   $     350,000.00   $       350,000.00
      $      200,000.00   $     200,000.00   $     200,000.00   $     200,000.00   $       200,000.00
      $       75,000.00   $      75,000.00   $      75,000.00   $      75,000.00   $        75,000.00
      $       15,000.00   $      15,000.00   $      15,000.00   $      15,000.00   $        15,000.00
      $    5,382,817.90   $   5,382,817.90   $   5,382,817.90   $   5,382,817.90   $     5,382,817.90
      $      342,255.00   $     342,255.00   $     342,255.00   $     342,255.00   $       342,255.00
      $             ‐     $            ‐     $            ‐     $            ‐     $              ‐
      $             ‐     $            ‐     $            ‐     $            ‐     $              ‐
      $    6,498,320.10   $   6,498,320.10   $   6,498,320.10   $   6,498,320.10   $     6,498,320.10




          CONFIDENTIAL
                                                                                                 JA717
                                                                                   ROSETTE_REVISED_048547
USCA4Case
      Appeal: 23-2097   Doc: 11-2
          3:17-cv-00461-REP            Filed: 12/06/2023
                              Document 1166-32               Pg: 262
                                                 Filed 04/21/23      of 9493
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     Month 24        Month 25        Month 26        Month 27        Month 28
     $ 12,223,393.00 $ 12,223,393.00 $ 12,223,393.00 $ 12,223,393.00 $ 12,223,393.00
      $    3,667,017.90   $   3,667,017.90   $   3,667,017.90   $   3,667,017.90   $     3,667,017.90
      $       50,000.00   $      50,000.00   $      50,000.00   $      50,000.00   $        50,000.00
      $      250,000.00   $     250,000.00   $     250,000.00   $     250,000.00   $       250,000.00
      $      180,000.00   $     180,000.00   $     180,000.00   $     180,000.00   $       180,000.00
      $       50,000.00   $      50,000.00   $      50,000.00   $      50,000.00   $        50,000.00
      $        8,800.00   $       8,800.00   $       8,800.00   $       8,800.00   $         8,800.00
      $       20,000.00   $      20,000.00   $      20,000.00   $      20,000.00   $        20,000.00
      $        5,000.00   $       5,000.00   $       5,000.00   $       5,000.00   $         5,000.00
      $      500,000.00   $     500,000.00   $     500,000.00   $     500,000.00   $       500,000.00
      $       12,000.00   $      12,000.00   $      12,000.00   $      12,000.00   $        12,000.00
      $      350,000.00   $     350,000.00   $     350,000.00   $     350,000.00   $       350,000.00
      $      200,000.00   $     200,000.00   $     200,000.00   $     200,000.00   $       200,000.00
      $       75,000.00   $      75,000.00   $      75,000.00   $      75,000.00   $        75,000.00
      $       15,000.00   $      15,000.00   $      15,000.00   $      15,000.00   $        15,000.00
      $    5,382,817.90   $   5,382,817.90   $   5,382,817.90   $   5,382,817.90   $     5,382,817.90
      $      342,255.00   $     342,255.00   $     342,255.00   $     342,255.00   $       342,255.00
      $             ‐     $            ‐     $            ‐     $            ‐     $              ‐
      $             ‐     $            ‐     $            ‐     $            ‐     $              ‐
      $    6,498,320.10   $   6,498,320.10   $   6,498,320.10   $   6,498,320.10   $     6,498,320.10




          CONFIDENTIAL
                                                                                                 JA718
                                                                                   ROSETTE_REVISED_048548
USCA4 Appeal:
    Case      23-2097   Doc: 11-2
         3:17-cv-00461-REP             Filed: 12/06/2023
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     Month 29        Month 30        Month 31        Month 32        Month 33
     $ 12,223,393.00 $ 12,223,393.00 $ 12,223,393.00 $ 12,223,393.00 $ 12,223,393.00
      $    3,667,017.90   $   3,667,017.90   $   3,667,017.90   $   3,667,017.90   $     3,667,017.90
      $       50,000.00   $      50,000.00   $      50,000.00   $      50,000.00   $        50,000.00
      $      250,000.00   $     250,000.00   $     250,000.00   $     250,000.00   $       250,000.00
      $      180,000.00   $     180,000.00   $     180,000.00   $     180,000.00   $       180,000.00
      $       50,000.00   $      50,000.00   $      50,000.00   $      50,000.00   $        50,000.00
      $        8,800.00   $       8,800.00   $       8,800.00   $       8,800.00   $         8,800.00
      $       20,000.00   $      20,000.00   $      20,000.00   $      20,000.00   $        20,000.00
      $        5,000.00   $       5,000.00   $       5,000.00   $       5,000.00   $         5,000.00
      $      500,000.00   $     500,000.00   $     500,000.00   $     500,000.00   $       500,000.00
      $       12,000.00   $      12,000.00   $      12,000.00   $      12,000.00   $        12,000.00
      $      350,000.00   $     350,000.00   $     350,000.00   $     350,000.00   $       350,000.00
      $      200,000.00   $     200,000.00   $     200,000.00   $     200,000.00   $       200,000.00
      $       75,000.00   $      75,000.00   $      75,000.00   $      75,000.00   $        75,000.00
      $       15,000.00   $      15,000.00   $      15,000.00   $      15,000.00   $        15,000.00
      $    5,382,817.90   $   5,382,817.90   $   5,382,817.90   $   5,382,817.90   $     5,382,817.90
      $      342,255.00   $     342,255.00   $     342,255.00   $     342,255.00   $       342,255.00
      $             ‐     $            ‐     $            ‐     $            ‐     $              ‐
      $             ‐     $            ‐     $            ‐     $            ‐     $              ‐
      $    6,498,320.10   $   6,498,320.10   $   6,498,320.10   $   6,498,320.10   $     6,498,320.10




          CONFIDENTIAL
                                                                                                 JA719
                                                                                   ROSETTE_REVISED_048549
USCA4 Appeal:
    Case      23-2097   Doc: 11-2
         3:17-cv-00461-REP             Filed: 12/06/2023
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     Month 34        Month 35        Month 36        Month 37        Month 38
     $ 12,223,393.00 $ 12,223,393.00 $ 12,223,393.00 $ 12,223,393.00 $ 12,223,393.00
      $    3,667,017.90   $   3,667,017.90   $   3,667,017.90   $   3,667,017.90   $     3,667,017.90
      $       50,000.00   $      50,000.00   $      50,000.00   $      50,000.00   $        50,000.00
      $      250,000.00   $     250,000.00   $     250,000.00   $     250,000.00   $       250,000.00
      $      180,000.00   $     180,000.00   $     180,000.00   $     180,000.00   $       180,000.00
      $       50,000.00   $      50,000.00   $      50,000.00   $      50,000.00   $        50,000.00
      $        8,800.00   $       8,800.00   $       8,800.00   $       8,800.00   $         8,800.00
      $       20,000.00   $      20,000.00   $      20,000.00   $      20,000.00   $        20,000.00
      $        5,000.00   $       5,000.00   $       5,000.00   $       5,000.00   $         5,000.00
      $      500,000.00   $     500,000.00   $     500,000.00   $     500,000.00   $       500,000.00
      $       12,000.00   $      12,000.00   $      12,000.00   $      12,000.00   $        12,000.00
      $      350,000.00   $     350,000.00   $     350,000.00   $     350,000.00   $       350,000.00
      $      200,000.00   $     200,000.00   $     200,000.00   $     200,000.00   $       200,000.00
      $       75,000.00   $      75,000.00   $      75,000.00   $      75,000.00   $        75,000.00
      $       15,000.00   $      15,000.00   $      15,000.00   $      15,000.00   $        15,000.00
      $    5,382,817.90   $   5,382,817.90   $   5,382,817.90   $   5,382,817.90   $     5,382,817.90
      $      342,255.00   $     342,255.00   $     342,255.00   $     513,382.51   $       513,382.51
      $             ‐     $            ‐     $            ‐     $            ‐     $              ‐
      $             ‐     $            ‐     $            ‐     $            ‐     $              ‐
      $    6,498,320.10   $   6,498,320.10   $   6,498,320.10   $   6,327,192.59   $     6,327,192.59




          CONFIDENTIAL
                                                                                                 JA720
                                                                                   ROSETTE_REVISED_048550
USCA4 Appeal:
    Case      23-2097   Doc: 11-2
         3:17-cv-00461-REP             Filed: 12/06/2023
                             Document 1166-32                Pg: 265
                                                 Filed 04/21/23  Pageof12
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     Month 39        Month 40        Month 41        Month 42        Month 43
     $ 12,223,393.00 $ 12,223,393.00 $ 12,223,393.00 $ 12,223,393.00 $ 12,223,393.00
      $    3,667,017.90   $   3,667,017.90   $   3,667,017.90   $   3,667,017.90   $     3,667,017.90
      $       50,000.00   $      50,000.00   $      50,000.00   $      50,000.00   $        50,000.00
      $      250,000.00   $     250,000.00   $     250,000.00   $     250,000.00   $       250,000.00
      $      180,000.00   $     180,000.00   $     180,000.00   $     180,000.00   $       180,000.00
      $       50,000.00   $      50,000.00   $      50,000.00   $      50,000.00   $        50,000.00
      $        8,800.00   $       8,800.00   $       8,800.00   $       8,800.00   $         8,800.00
      $       20,000.00   $      20,000.00   $      20,000.00   $      20,000.00   $        20,000.00
      $        5,000.00   $       5,000.00   $       5,000.00   $       5,000.00   $         5,000.00
      $      500,000.00   $     500,000.00   $     500,000.00   $     500,000.00   $       500,000.00
      $       12,000.00   $      12,000.00   $      12,000.00   $      12,000.00   $        12,000.00
      $      350,000.00   $     350,000.00   $     350,000.00   $     350,000.00   $       350,000.00
      $      200,000.00   $     200,000.00   $     200,000.00   $     200,000.00   $       200,000.00
      $       75,000.00   $      75,000.00   $      75,000.00   $      75,000.00   $        75,000.00
      $       15,000.00   $      15,000.00   $      15,000.00   $      15,000.00   $        15,000.00
      $    5,382,817.90   $   5,382,817.90   $   5,382,817.90   $   5,382,817.90   $     5,382,817.90
      $      513,382.51   $     513,382.51   $     513,382.51   $     513,382.51   $       513,382.51
      $             ‐     $            ‐     $            ‐     $            ‐     $              ‐
      $             ‐     $            ‐     $            ‐     $            ‐     $              ‐
      $    6,327,192.59   $   6,327,192.59   $   6,327,192.59   $   6,327,192.59   $     6,327,192.59




          CONFIDENTIAL
                                                                                                 JA721
                                                                                   ROSETTE_REVISED_048551
USCA4 Appeal:
    Case      23-2097   Doc: 11-2
         3:17-cv-00461-REP             Filed: 12/06/2023
                             Document 1166-32                Pg: 266
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     Month 44        Month 45        Month 46        Month 47        Month 48
     $ 12,223,393.00 $ 12,223,393.00 $ 12,223,393.00 $ 12,223,393.00 $ 12,223,393.00
      $    3,667,017.90   $   3,667,017.90   $   3,667,017.90   $   3,667,017.90   $     3,667,017.90
      $       50,000.00   $      50,000.00   $      50,000.00   $      50,000.00   $        50,000.00
      $      250,000.00   $     250,000.00   $     250,000.00   $     250,000.00   $       250,000.00
      $      180,000.00   $     180,000.00   $     180,000.00   $     180,000.00   $       180,000.00
      $       50,000.00   $      50,000.00   $      50,000.00   $      50,000.00   $        50,000.00
      $        8,800.00   $       8,800.00   $       8,800.00   $       8,800.00   $         8,800.00
      $       20,000.00   $      20,000.00   $      20,000.00   $      20,000.00   $        20,000.00
      $        5,000.00   $       5,000.00   $       5,000.00   $       5,000.00   $         5,000.00
      $      500,000.00   $     500,000.00   $     500,000.00   $     500,000.00   $       500,000.00
      $       12,000.00   $      12,000.00   $      12,000.00   $      12,000.00   $        12,000.00
      $      350,000.00   $     350,000.00   $     350,000.00   $     350,000.00   $       350,000.00
      $      200,000.00   $     200,000.00   $     200,000.00   $     200,000.00   $       200,000.00
      $       75,000.00   $      75,000.00   $      75,000.00   $      75,000.00   $        75,000.00
      $       15,000.00   $      15,000.00   $      15,000.00   $      15,000.00   $        15,000.00
      $    5,382,817.90   $   5,382,817.90   $   5,382,817.90   $   5,382,817.90   $     5,382,817.90
      $      513,382.51   $     513,382.51   $     513,382.51   $     513,382.51   $       513,382.51
      $             ‐     $            ‐     $            ‐     $            ‐     $              ‐
      $             ‐     $            ‐     $            ‐     $            ‐     $              ‐
      $    6,327,192.59   $   6,327,192.59   $   6,327,192.59   $   6,327,192.59   $     6,327,192.59




          CONFIDENTIAL
                                                                                                 JA722
                                                                                   ROSETTE_REVISED_048552
USCA4 Appeal:
    Case      23-2097   Doc: 11-2
         3:17-cv-00461-REP             Filed: 12/06/2023
                             Document 1166-32                Pg: 267
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     Month 49        Month 50        Month 51        Month 52        Month 53
     $ 12,223,393.00 $ 12,223,393.00 $ 12,223,393.00 $ 12,223,393.00 $ 12,223,393.00
      $    3,667,017.90   $   3,667,017.90   $   3,667,017.90   $   3,667,017.90   $     3,667,017.90
      $       50,000.00   $      50,000.00   $      50,000.00   $      50,000.00   $        50,000.00
      $      250,000.00   $     250,000.00   $     250,000.00   $     250,000.00   $       250,000.00
      $      180,000.00   $     180,000.00   $     180,000.00   $     180,000.00   $       180,000.00
      $       50,000.00   $      50,000.00   $      50,000.00   $      50,000.00   $        50,000.00
      $        8,800.00   $       8,800.00   $       8,800.00   $       8,800.00   $         8,800.00
      $       20,000.00   $      20,000.00   $      20,000.00   $      20,000.00   $        20,000.00
      $        5,000.00   $       5,000.00   $       5,000.00   $       5,000.00   $         5,000.00
      $      500,000.00   $     500,000.00   $     500,000.00   $     500,000.00   $       500,000.00
      $       12,000.00   $      12,000.00   $      12,000.00   $      12,000.00   $        12,000.00
      $      350,000.00   $     350,000.00   $     350,000.00   $     350,000.00   $       350,000.00
      $      200,000.00   $     200,000.00   $     200,000.00   $     200,000.00   $       200,000.00
      $       75,000.00   $      75,000.00   $      75,000.00   $      75,000.00   $        75,000.00
      $       15,000.00   $      15,000.00   $      15,000.00   $      15,000.00   $        15,000.00
      $    5,382,817.90   $   5,382,817.90   $   5,382,817.90   $   5,382,817.90   $     5,382,817.90
      $      513,382.51   $     513,382.51   $     513,382.51   $     513,382.51   $       513,382.51
      $             ‐     $            ‐     $            ‐     $            ‐     $              ‐
      $             ‐     $            ‐     $            ‐     $            ‐     $              ‐
      $    6,327,192.59   $   6,327,192.59   $   6,327,192.59   $   6,327,192.59   $     6,327,192.59




          CONFIDENTIAL
                                                                                                 JA723
                                                                                   ROSETTE_REVISED_048553
USCA4 Appeal:
    Case      23-2097   Doc: 11-2
         3:17-cv-00461-REP             Filed: 12/06/2023
                             Document 1166-32                Pg: 268
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     Month 54        Month 55        Month 56        Month 57        Month 58
     $ 12,223,393.00 $ 12,223,393.00 $ 12,223,393.00 $ 12,223,393.00 $ 12,223,393.00
      $    3,667,017.90   $   3,667,017.90   $   3,667,017.90   $   3,667,017.90   $     3,667,017.90
      $       50,000.00   $      50,000.00   $      50,000.00   $      50,000.00   $        50,000.00
      $      250,000.00   $     250,000.00   $     250,000.00   $     250,000.00   $       250,000.00
      $      180,000.00   $     180,000.00   $     180,000.00   $     180,000.00   $       180,000.00
      $       50,000.00   $      50,000.00   $      50,000.00   $      50,000.00   $        50,000.00
      $        8,800.00   $       8,800.00   $       8,800.00   $       8,800.00   $         8,800.00
      $       20,000.00   $      20,000.00   $      20,000.00   $      20,000.00   $        20,000.00
      $        5,000.00   $       5,000.00   $       5,000.00   $       5,000.00   $         5,000.00
      $      500,000.00   $     500,000.00   $     500,000.00   $     500,000.00   $       500,000.00
      $       12,000.00   $      12,000.00   $      12,000.00   $      12,000.00   $        12,000.00
      $      350,000.00   $     350,000.00   $     350,000.00   $     350,000.00   $       350,000.00
      $      200,000.00   $     200,000.00   $     200,000.00   $     200,000.00   $       200,000.00
      $       75,000.00   $      75,000.00   $      75,000.00   $      75,000.00   $        75,000.00
      $       15,000.00   $      15,000.00   $      15,000.00   $      15,000.00   $        15,000.00
      $    5,382,817.90   $   5,382,817.90   $   5,382,817.90   $   5,382,817.90   $     5,382,817.90
      $      513,382.51   $     513,382.51   $     513,382.51   $     513,382.51   $       513,382.51
      $             ‐     $            ‐     $            ‐     $            ‐     $              ‐
      $             ‐     $            ‐     $            ‐     $            ‐     $              ‐
      $    6,327,192.59   $   6,327,192.59   $   6,327,192.59   $   6,327,192.59   $     6,327,192.59




          CONFIDENTIAL
                                                                                                 JA724
                                                                                   ROSETTE_REVISED_048554
USCA4 Appeal:
    Case      23-2097   Doc: 11-2
         3:17-cv-00461-REP             Filed: 12/06/2023
                             Document 1166-32                Pg: 269
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     Month 59        Month 60        Month 61+
     $ 12,223,393.00 $ 12,223,393.00 $ 12,223,393.00
      $    3,667,017.90   $   3,667,017.90   $   3,667,017.90
      $       50,000.00   $      50,000.00   $      50,000.00
      $      250,000.00   $     250,000.00   $     250,000.00
      $      180,000.00   $     180,000.00   $     180,000.00
      $       50,000.00   $      50,000.00   $      50,000.00
      $        8,800.00   $       8,800.00   $       8,800.00
      $       20,000.00   $      20,000.00   $      20,000.00
      $        5,000.00   $       5,000.00   $       5,000.00
      $      500,000.00   $     500,000.00   $     500,000.00
      $       12,000.00   $      12,000.00   $      12,000.00
      $      350,000.00   $     350,000.00   $     350,000.00
      $      200,000.00   $     200,000.00   $     200,000.00
      $       75,000.00   $      75,000.00   $      75,000.00
      $       15,000.00   $      15,000.00   $      15,000.00
      $    5,382,817.90   $   5,382,817.90   $   5,382,817.90
      $      513,382.51   $     513,382.51   $   4,840,575.10
      $             ‐     $            ‐     $            ‐
      $             ‐     $            ‐     $   2,000,000.00
      $    6,327,192.59   $   6,327,192.59   $            ‐




          CONFIDENTIAL
                                                                                     JA725
                                                                       ROSETTE_REVISED_048555
USCA4Case
     Appeal: 23-2097    Doc: 11-2
          3:17-cv-00461-REP   Document Filed:
                                       1166-3312/06/2023     Pg: 270
                                                  Filed 04/21/23     of 493
                                                                  Page  1 of 2 PageID# 48373




                                    Exhibit 33




                                                                                   JA726
USCA4Case
     Appeal: 23-2097    Doc: 11-2
          3:17-cv-00461-REP   Document Filed:
                                       1166-3312/06/2023     Pg: 271
                                                  Filed 04/21/23     of 493
                                                                  Page  2 of 2 PageID# 48374


  Darcie Pace

  From:                Matt Martorello <mattm@bellicosevi.com>
  Sent:                Monday, August 25, 2014 11:36 AM
  To:                  Robert Rosette
  Subject:             FYI


  So here is what I’m thinking (for now). If we can’t reach terms with LVD to buy SPVI, then SPVI will be sold to another
  Tribe (likely Middletown). If we do reach terms, then some of my team will likely proceed with MTR in a new entity, to
  help them stand up a business.

  So I’m sort of on hold (and MTR) until we know if LVD is going to be able to come to terms on SPVI or not.

  Regards,

  Matt Martorello
  Mobile: 773‐209‐7720
  Email: mm@BellicoseVI.com




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                                                               1
          CONFIDENTIAL
                                                                                                            JA727
                                                                                            ROSETTE_REVISED_048520
USCA4Case
     Appeal: 23-2097    Doc: 11-2
          3:17-cv-00461-REP   Document Filed:
                                       1166-3412/06/2023     Pg: 272
                                                  Filed 04/21/23     of 493
                                                                  Page  1 of 6 PageID# 48375




                                    Exhibit 34




                                                                                   JA728
USCA4Case
     Appeal: 23-2097    Doc: 11-2
          3:17-cv-00461-REP   Document Filed:
                                       1166-3412/06/2023     Pg: 273
                                                  Filed 04/21/23     of 493
                                                                  Page  2 of 6 PageID# 48376


          From:            Matt Martorello
          To:              Karrie Wichtman
          Subject:         RE: DM Recommendation
          Date:            Tuesday, August 26, 2014 8:18:51 PM
          Attachments:     image001.png


          At this stage, I was told council only approved evolving the term sheet into something that
          would be reviewed later to ask questions about, and if approved, then it'd be binding. I didn't
          hear anything back from the Chairman to my email, nor did I get any sense of excitement from
          anyone, which is really perplexing. It makes me wonder if some folks think they can operate
          without spvi or want to learn more to complete the puzzle and reverse engineer.

          There are a lot of legal details to go through yet on the deal. Especially in a seller financing.
           The tribe will have to be comfortable with full waivers for misuse, bad acts, etc. (Rob said
          they would, but he is not LVD).

          Plus, the seller will have to keep a final say so in business decisions to protect the business
          from being destroyed by the new owner before paid. The business needs to be treated very
          delicately and protected if it is to survive. Risk and reward carefully measured. No need to
          reinvent the wheel or shake things up, just need to keep it alive and then use the earnings from
          it to take risks with and do other things.

          In any event, many extreme protections will be necessary to make sure the sale price occurs,
          and that IP is not misused (I.e. Escrow for example is common). These sort of things are
          mandatory in such a deal format, and I don't have any certainty that they're going to be agreed
          to or not right now. My goal is to keep the business alive through Note repayment.   

          In fact, every vendor but me has a waiver but SPVI. If LVD were to snoop, and then not do
          the deal after learning everything about us, and the details and IP, I'd have zero recourse today
          when they use it to start their own servicing business. Tribal leaders will need to understand
          all of these things, then maybe they understand why we have to protect the business and IP.

          The Servicer is a Servicer, so the IP it builds is its own, and for the use of its clients (multiple)
          which it services, or has serviced from even the pre-LVD days. If it weren't SPVI IP, we'd
          have some real problems, and I guess any clients would have to deal with previous lenders
          claiming the same thing today. The concept of IP sale in and of itself was evident of IP
          ownership.

          Similarly, the Tribe will need to be comfortable that key officers and myself will continue to
          exist in the industry. With Middletown and possibly another Tribe, or even as a state licensed
          lender.

          We later evolved to recommendations and sharing a bit to be helpful, but certain items and
          code will never even be shared with most of my current employees, because nobody else in
          the subprime industry does it, and it is too valuable to put at risk as one leak would destroy the
          business. Even talking about DM is a very bad idea, as small a thing as it is, due to
          competition and the value and power of what we've created. Just knowing "DM is good"
          makes people want to study it and spend years figuring it out.

          That said, even in due diligence, some information will be extremely limited and some IP held
          in escrow after closing until satisfaction of the note. It can't get out to the world.

        CONFIDENTIAL
                                                                                                        JA729
USCA4Case
     Appeal: 23-2097    Doc: 11-2
          3:17-cv-00461-REP   Document Filed:
                                       1166-3412/06/2023     Pg: 274
                                                  Filed 04/21/23     of 493
                                                                  Page  3 of 6 PageID# 48377



          As for Management I don't know what that looks like yet post transaction. I've discussed
          staying on as Manager of LLC or maybe not even whatsoever. I'd love to just turn over the
          keys and be hands off. However, I very much need to make sure the business can sustain.

          All of this would be entirely different if we were talking about a cash purchase deal, but the
          nature of the transaction has to permeate throughout the documents and details. I do hope a
          deal is imminent. However, I have no idea how council is thinking or will think. I don't know
          if they will see the nature of the transaction requires such a level of care or not.

          Admittedly, I am very paranoid, but I think I have many good reasons to be. I just would
          prefer to take one step at a time (yet need to move as quickly as possible).
          Sent via the Samsung GALAXY S® 5, an AT&T 4G LTE smartphone




          -------- Original message --------
          From: Karrie Wichtman
          Date:08/26/2014 10:35 PM (GMT-04:00)
          To: Matt Martorello
          Subject: RE: DM Recommendation

          Matt,

          I am at a total loss with regard to your response.

          I wasn’t recommending that SPVI disclose its secret sauce but only that SPVI be willing to explain to
          the Co-Managers what exactly they are approving. For example, do Jimmer and Shelly even know
          what “DM” means because I don’t. Perhaps I got overzealous with the questions but I have Tribal
          leaders in my ear eager to learn the business and excited about the restructure. Your statements
          with regard to the “should an acquisition occur” and “would be relevant questions for the eyes of
          Management and those in the acquiring company on a need to know basis as well” have me in a
          tailspin. How confident are you that the acquisition will happen because my client is very excited
          about it as demonstrated by their willingness through formal Tribal Council action to move forward
          today? Also, if the Tribe is buying SPVI aren’t these questions relevant due diligence so that they
          know what they are buying and after acquisition who determines who needs to know would be the
          Tribe not Management. I guess I would like to know who Management is? Here’s the other thing
          that I don’t understand about your response. Wasn’t the DM – which I have figured out to mean
          Direct Mail -created for RRTL? I can’t locate any provision in the Servicing that says that IP produced
          for the Company is SPVI IP. In fact, it is my opinion that RRTL owns the IP - so you can imagine why it
          is hard for me to understand why the Co-Managers would not be able to ask questions about
          documents attached to the approval as support for the basis of the recommendation.

          I am not trying to be a bull in a China shop, I am just trying to understand your response?

          Sincerely,


          Karrie S. Wichtman, Partner

        CONFIDENTIAL
                                                                                                          JA730
USCA4Case
     Appeal: 23-2097    Doc: 11-2
          3:17-cv-00461-REP   Document Filed:
                                       1166-3412/06/2023     Pg: 275
                                                  Filed 04/21/23     of 493
                                                                  Page  4 of 6 PageID# 48378


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          NOTIFY KARRIE S. WICHTMAN IMMEDIATELY AND DELETE THIS MESSAGE. THANK YOU FOR YOUR
          COOPERATION.



          From: Matt Martorello [mailto:mattm@bellicosevi.com]
          Sent: Tuesday, August 26, 2014 9:34 PM
          To: Karrie Wichtman; 'gkway@duckcreektf.com'; Daniel Gravel; Chairman James Williams
          Cc: jennifers@duckcreektf.com; Justin Martorello; James Dowd; Brian McFadden; Ivelisse Morales;
          Tanya Gibbs; Rob Rosette
          Subject: RE: DM Recommendation

          We respectfully opt to continue to keep any details of SPVI IP (including DM) explicitly for
          internal eyes only, both for the protection of our business and maintaining the integrity of an
          acquisition of the SPVI business. Should an acquisition actually transpire, obviously these
          would be relevant questions for the eyes of Management and those in the acquiring company
          on a need to know basis as well (I.e. Certain IP, even in small doses, should at all times be
          aggressively protected when the result is such a massive competitive advantage, like the
          process of even just utilizing DM itself which SPVI owns and created).




          Sent via the Samsung GALAXY S® 5, an AT&T 4G LTE smartphone




          -------- Original message --------
          From: Karrie Wichtman
          Date:08/26/2014 8:33 PM (GMT-04:00)
          To: "'gkway@duckcreektf.com'" , Daniel Gravel , Chairman James Williams
          Cc: jennifers@duckcreektf.com, Matt Martorello , Justin Martorello , James Dowd , Brian
          McFadden , Ivelisse Morales , Tanya Gibbs
          Subject: RE: DM Recommendation

          Good Evening Shelly,


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                                                                                                    JA731
USCA4Case
     Appeal: 23-2097    Doc: 11-2
          3:17-cv-00461-REP   Document Filed:
                                       1166-3412/06/2023     Pg: 276
                                                  Filed 04/21/23     of 493
                                                                  Page  5 of 6 PageID# 48379



          The campaign being recommended is largely similar to the one approved several months ago. While
          the modeling and selection criteria seems to vary for this campaign, the look and feel is largely the
          same. I assume that the email from Blake Sims was included as an FYI and from a compliance
          perspective is largely being disregarded because Mr. Sims pointed to CA law but nothing necessarily
          in federal law that requires Red Rock to comply with CA law or register the campaign with the
          Commissioner of Business Oversight. Also, based on the MNE case and the fact that the
          enforcement authority of these laws and regs by the Commissioner is non-existent when a true TLE
          is concerned. This line of reasoning would be consistent throughout the states regardless of the
          regulatory laws of those states. Are those assumptions correct, Dan? I do wonder though as to the
          purpose of calling out the exemption that can be given by the Commissioner of Business Oversight in
          CA, when to the best of my knowledge no such exemption has been granted. What am I missing?

          With regard to the other documents, while not needed for approval for the campaign to move
          forward, due to the desire to learn and the pending restructure it is my recommendation that you
          set up a conference call with SPVI to determine for each document (as applicable):

              1.       Who created the document/concept? Vendor/Individual/Both
              2.       Who created the models and the criteria for the models re: where the campaign should be
                      launched? Vendor/Individual/Both
              3.       How will the data be tracked and compiled to measure success?
              4.       Who will track the data and compile it?
              5.       How will such data be reported to the Company and by whom?

          It is never too soon to learn who is doing what, where, why, how and when it will be done with
          regard to every aspect of the business.

          Sincerely,


          Karrie S. Wichtman, Partner
          ROSETTE, LLP
          Michigan Office
          Attorneys at Law
          25344 Red Arrow Highway
          Mattawan, Michigan 49071
          269.283.5005 Office
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                                                                                                         JA732
USCA4Case
     Appeal: 23-2097    Doc: 11-2
          3:17-cv-00461-REP   Document Filed:
                                       1166-3412/06/2023     Pg: 277
                                                  Filed 04/21/23     of 493
                                                                  Page  6 of 6 PageID# 48380


          COOPERATION.


          From: gkway@duckcreektf.com [mailto:gkway@duckcreektf.com]
          Sent: Tuesday, August 26, 2014 7:49 PM
          To: Daniel Gravel; Chairman James Williams
          Cc: Karrie Wichtman; jennifers@duckcreektf.com; Matt Martorello; Justin Martorello; James Dowd;
          Brian McFadden; Ivelisse Morales
          Subject: RE: DM Recommendation

          Karrie, Jennifer and Chairman

          Do you have any concerns with this campaign? I know SP is anxious to get this campaign
          going. Please let me know so that I can sign the approval form.

          Thanks.

          Shelly

           --------- Original Message ---------
           Subject: DM Recommendation
           From: "Daniel Gravel" <DanielG@bellicosevi.com>
           Date: 8/26/14 4:07 pm
           To: "Gkway - DCTF (gkway@duckcreektf.com)" <gkway@duckcreektf.com>,
           "Chairman James Williams" <jim.williams@lvdtribal.com>
           Cc: "Karrie Wichtman" <kwichtman@rosettelaw.com>, "jennifers@duckcreektf.com"
           <jennifers@duckcreektf.com>, "Matt Martorello" <mattm@bellicosevi.com>, "Justin
           Martorello" <JustinM@BellicoseVI.com>, "James Dowd"
           <jamesd@bellicosecapital.com>, "Brian McFadden" <BrianM@bellicosevi.com>,
           "Ivelisse Morales" <ivelissem@bellicosecapital.com>

           Shelly and Chairman Williams:

           Please see attached recommendation for a direct mail campaign, DM, and supporting
           documentation.

           Let us know if you want to discuss.

           Thanks,

           Dan Gravel
           General Counsel
           Email: danielg@bellicosecapital.com
           Office: 787-520-6053
           Mobile: 781-910-9642



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        CONFIDENTIAL
                                                                                                                          JA733
USCA4Case
     Appeal: 23-2097    Doc: 11-2
          3:17-cv-00461-REP   Document Filed:
                                       1166-3512/06/2023     Pg: 278
                                                  Filed 04/21/23     of 493
                                                                  Page  1 of 7 PageID# 48381




                                    Exhibit 35




                                                                                   JA734
USCA4Case
     Appeal: 23-2097    Doc: 11-2
          3:17-cv-00461-REP   Document Filed:
                                       1166-3512/06/2023     Pg: 279
                                                  Filed 04/21/23     of 493
                                                                  Page  2 of 7 PageID# 48382


         From:            Matt Martorello
         To:              Karrie Wichtman; Tanya Gibbs
         Subject:         RE: AG letters
         Date:            Friday, October 10, 2014 10:51:28 AM
         Attachments:     image001.png
                          image002.png
                          image003.png
                          image004.png


         I can't urge any stronger that LVD not proceed even if otoe does. SPVI won't be willing to testify, or do anything as the result of another filing
         will certainly end in a slew of attacks on me, SPVI and my team. I take the result now as a win and I can't be a part of anything further by any
         stretch of the imagination.


         -------- Original message --------
         From: Karrie Wichtman <kwichtman@rosettelaw.com>
         Date:10/10/2014 12:40 PM (GMT-04:00)
         To: Matt Martorello <mattm@bellicosevi.com>, Tanya Gibbs <TGibbs@rosettelaw.com>
         Cc:
         Subject: RE: AG letters

         There is a tentative meeting schedule in DC to discuss litigation strategy (the pros and cons of moving forward or not) sometime next week. Once there
         is a tentative plan, you will be the first to know. If you have input please share it so I can forward it on to Saba as she will be present at the meeting.
         Obviously, whatever is being recommended will ultimately need to be approved by the Tribal Councils of both Tribes so there will be follow up meetings
         on that front as well.

         Sincerely,


         Karrie S. Wichtman, Partner
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         Attorneys at Law
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         From: Matt Martorello [mailto:mattm@bellicosevi.com]
         Sent: Friday, October 10, 2014 12:10 PM
         To: Karrie Wichtman; Tanya Gibbs
         Subject: RE: AG letters

         Sounds great! I think we could do well to take the communications with those folks to the next level. Certainly won’t hurt, and I’m sure it will leave an
         impact with those folks to one degree or another.

         What’s the latest on NY? Is it over?

         From: Karrie Wichtman [mailto:kwichtman@rosettelaw.com]
         Sent: Friday, October 10, 2014 12:06 PM
         To: Matt Martorello; Tanya Gibbs
         Subject: RE: AG letters

         I am happy to begin to focus my efforts in this area. I would like to get Shelly and the Chairman on board as well. I will plan to discuss it with them the
         next time I go to LVD.

         Sincerely,


         Karrie S. Wichtman, Partner
         ROSETTE, LLP
         Michigan Office
         Attorneys at Law


        CONFIDENTIAL
                                                                                                                                                          JA735
USCA4Case
     Appeal: 23-2097    Doc: 11-2
          3:17-cv-00461-REP   Document Filed:
                                       1166-3512/06/2023     Pg: 280
                                                  Filed 04/21/23     of 493
                                                                  Page  3 of 7 PageID# 48383


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         From: Matt Martorello [mailto:mattm@bellicosevi.com]
         Sent: Friday, October 10, 2014 11:57 AM
         To: Karrie Wichtman; Tanya Gibbs
         Subject: RE: AG letters

         Thanks! What do you think about LVD taking its own direct approach to communicate and visit with Banking Commissions, rather than solely lumping in
         with NAFSA? Seems like we have much more control of timing, message, and effort this way.

         I know other Tribes have MOUs in a few states. I’m guessing NAFSA wasn’t out getting MOUs for just those few, but I feel like we need to give LVD that
         same direct effort to really move furthest in fastest for the good fight. And Karrie is just the person to do it!

         From: Karrie Wichtman [mailto:kwichtman@rosettelaw.com]
         Sent: Friday, October 10, 2014 11:53 AM
         To: Matt Martorello; Tanya Gibbs
         Subject: RE: AG letters

         Hi Matt,

         After the letters are sent it has been my experience that we have received very few responses. I can recall one from Arkansas which you received a
         copy of in the past. One from Maryland, I believe, where they thanked us for our letter and closed the matter. And a similar letter from Florida. Other
         than that we typically don’t receive a response. As far as the consultative push, I agree and will get you a report from Alex Lozada in our office
         regarding the outreach being coordinated on behalf of NAFSA and our clients with State AGs and other DFS type regulators so that we can better
         consider where we can harness these efforts. I know off hand that it has been NM, SD, AZ, VT, CA, and MI but there may be more than that.

         Sincerely,


         Karrie S. Wichtman, Partner
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         From: Matt Martorello [mailto:mattm@bellicosevi.com]
         Sent: Friday, October 10, 2014 11:47 AM
         To: Tanya Gibbs
         Cc: Karrie Wichtman
         Subject: FW: AG letters

         Hi Tanya, I am curious what level of response have these been met with from LVD and even more so, if any subsequent replies were received from the
         States. It seems that the authors of these letters are a big part of the bigger push on federal regulators, and that candid educational communications
         (even if they end in disagreement) would be a very valuable tact to educating these states about sovereign rights. I’m wondering if we can ask LVD to
         take a more consultative approach state by state to try to get to MOUs and other agreements.



        CONFIDENTIAL
                                                                                                                                                      JA736
USCA4Case
     Appeal: 23-2097    Doc: 11-2
          3:17-cv-00461-REP   Document Filed:
                                       1166-3512/06/2023     Pg: 281
                                                  Filed 04/21/23     of 493
                                                                  Page  4 of 7 PageID# 48384



         Anyway, some of these letters demand replies and other commentary, which I believe is always provided. Have we ever received a response after
         that? I’d like to see the message in those replies after they get ours. Have we ever received any or do they get our reply and then go silent thereafter?

         From: Brian McFadden
         Sent: Friday, October 10, 2014 10:47 AM
         To: Matt Martorello
         Subject: FW: AG letters

         This is not all of them, but most.


         From: Spring Holtz [mailto:sholtz@rosettelaw.com]
         Sent: Friday, October 10, 2014 10:40 AM
         To: Brian McFadden
         Cc: Tanya Gibbs
         Subject: RE: AG letters

         Attached are the AG Letter I found that we had on file. I am send Tanya a list of the ones I could not find to see if she can locate them. Also, there are 2
         on the list without names, only a date.




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          Rosette, LLP
          Attorneys at Law      
              
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          269.283.5005 – Office
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          sholtz@rosettelaw.com
          www.rosettelaw.com

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         NOTIFY SPRING HOLTZ IMMEDIATELY AND DELETE THIS MESSAGE. THANK YOU FOR YOUR COOPERATION.



         From: Brian McFadden [mailto:BrianM@bellicosevi.com]
         Sent: Thursday, October 09, 2014 2:49 PM
         To: Tanya Gibbs
         Cc: Spring Holtz
         Subject: RE: AG letters

         I only need the 18 outlined below for now.




          Date received      PPC/CPD           App#             Name                              Issue                            Current Status


            3/12/2014 CPD                     59653230 Antoinette Jenkins       AG Letter                                  Legal Letter sent via USPS      CT

              4/1/2014 CPD                    59945036 Cherie Madore            AG letter                                  Legal Letter sent via USPS      CO



            5/12/2014 CPD                     59947207 Jennifer Westburg        AG letter                                  Legal Letter sent via USPS      OR



             5/7/2014 CPD                     59619771 Joseph Beck              AG letter                                  Legal Letter sent via USPS      AZ
           11/13/2013 CPD                     59636813 Juanito Vargas           AG letter                                  Legal Letter sent via USPS      NJ


            4/21/2014 CPD                     57164175 Kathleen Pfeiffer        AG letter                                  Legal Letter sent via USPS      MA
            1/21/2014 CPD                     59584728 Linda Lazier             AG letter                                  Legal Letter sent via USPS      NJ



        CONFIDENTIAL
                                                                                                                                                          JA737
USCA4Case
     Appeal: 23-2097    Doc: 11-2
          3:17-cv-00461-REP   Document Filed:
                                       1166-3512/06/2023     Pg: 282
                                                  Filed 04/21/23     of 493
                                                                  Page  5 of 7 PageID# 48385


           12/24/2013 CPD                     59740851 Luther Sullivan           AG letter                                  Legal Letter sent via USPS       CT
           11/13/2013 CPD                    N/A       N/A                       AG letter                                  Legal Letter sent via USPS       MA
           12/27/2013 CPD                    N/A       N/A                       AG letter                                  Legal Letter sent via USPS       MA

           12/27/2013 CPD                     57161159 Notawyah Smith            ag letter                                  Legal Letter sent via USPS       CT


              9/2/2014 CPD                    57221524 Pamela Zuckerman          District Attorney letter                   Legal Letter sent via USPS       MA



            7/28/2014 CPD                     59812149 Richard Prokop            ag letter                                  Legal Letter sent via USPS       PA
           10/15/2013 PPC                       588676 Stephanie Swesey          AG letter                                  Legal Letter sent via USPS       AZ
            1/29/2014 CPD                     60002676 Steve Lewis               AG letter                                  Legal Response created           NC




            6/19/2014 PPC                       503855 Teresa Mayes              AG letter                                  Legal Letter sent via USPS       CT




            6/19/2014 CPD                     59782840 Teresa Mayes              AG letter                                  Legal Letter sent via USPS       ct

            2/25/2014 CPD                     59999576 Tonya Feimster            AG letter                                  Legal Letter sent via USPS       NC



         From: Brian McFadden
         Sent: Thursday, October 09, 2014 2:36 PM
         To: 'Tanya Gibbs'
         Cc: Spring Holtz
         Subject: RE: AG letters

         Yes I can get her access, but I am going to be updating the process and pulling out of Hyper Office to a new and better system.

         If I gave you a list of the AG letters I need would that be easier? It should cut the number down by about 1/2


         From: Tanya Gibbs [mailto:TGibbs@rosettelaw.com]
         Sent: Thursday, October 09, 2014 1:19 PM
         To: Brian McFadden
         Cc: Spring Holtz
         Subject: RE: AG letters

         Ok. This might take a few days, just FYI…there are a lot of them. Also, is it possible to get Spring access to Hyperoffice? I’d like her to keep me on track in
         responding to these things.

         Spring, please locate the files and scan the AG letters to Brian and copy me on it.

         Thanks!


         Tanya M. Gibbs, Attorney
         Rosette, LLP
         Attorneys at Law           
         Michigan Office
         25344 Red Arrow Hwy, Suite B
         Mattawan, MI 49071
         269.283.5005 – Office
         480.204.8009 - Cell              
         517.913.6443 – Fax
         tgibbs@rosettelaw.com
         www.rosettelaw.com

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         NOTIFY TANYA M. GIBBS IMMEDIATELY AND DELETE THIS MESSAGE. THANK YOU FOR YOUR COOPERATION.

         From: Brian McFadden [mailto:BrianM@bellicosevi.com]



        CONFIDENTIAL
                                                                                                                                                            JA738
USCA4Case
     Appeal: 23-2097    Doc: 11-2
          3:17-cv-00461-REP   Document Filed:
                                       1166-3512/06/2023     Pg: 283
                                                  Filed 04/21/23     of 493
                                                                  Page  6 of 7 PageID# 48386


         Sent: Thursday, October 9, 2014 1:17 PM
         To: Tanya Gibbs
         Cc: Spring Holtz
         Subject: RE: AG letters

         All I need is the letters from the AGs.


         From: Tanya Gibbs [mailto:TGibbs@rosettelaw.com]
         Sent: Thursday, October 09, 2014 1:16 PM
         To: Brian McFadden
         Cc: Spring Holtz
         Subject: RE: AG letters

         Ok. I’ll be having our secretary find the files, scan and email them to you. I’ve copied her here. Do you need just the letters from the AG or would you
         like our responses too?


         Tanya M. Gibbs, Attorney
         Rosette, LLP
         Attorneys at Law           
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         25344 Red Arrow Hwy, Suite B
         Mattawan, MI 49071
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         From: Brian McFadden [mailto:BrianM@bellicosevi.com]
         Sent: Thursday, October 9, 2014 1:10 PM
         To: Tanya Gibbs
         Subject: RE: AG letters

         Last oct.

         From: Tanya Gibbs [mailto:TGibbs@rosettelaw.com]
         Sent: Thursday, October 09, 2014 12:11 PM
         To: Brian McFadden
         Subject: RE: AG letters

         We should have files with them. Do you need them from January 2014 or from last October 2013?


         Tanya M. Gibbs, Attorney
         Rosette, LLP
         Attorneys at Law           
         Michigan Office
         25344 Red Arrow Hwy, Suite B
         Mattawan, MI 49071
         269.283.5005 – Office
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         From: Brian McFadden [mailto:BrianM@bellicosevi.com]
         Sent: Thursday, October 9, 2014 12:06 PM
         To: Tanya Gibbs



        CONFIDENTIAL
                                                                                                                                                         JA739
USCA4Case
     Appeal: 23-2097    Doc: 11-2
          3:17-cv-00461-REP   Document Filed:
                                       1166-3512/06/2023     Pg: 284
                                                  Filed 04/21/23     of 493
                                                                  Page  7 of 7 PageID# 48387


         Subject: AG letters

         Tanya,
         Do you have copies of all the AG letters received by CPD and PPC in the last year? I need to get a copy of them. I’m working on a new solution that is
         much better than the Hyper Office system that we use now.
         Thanks,

         Brian McFadden
         875 Carretera 693, Suite 203 | Dorado, PR 00646
         Mobile: 616-405-4578
         Email: BrianM@BellicoseCapital.com




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        CONFIDENTIAL
                                                                                                                                                        JA740
USCA4Case
     Appeal: 23-2097    Doc: 11-2
          3:17-cv-00461-REP   Document Filed:
                                       1166-3612/06/2023     Pg: 285
                                                  Filed 04/21/23     of 493
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                                    Exhibit 36




                                                                                   JA741
USCA4Case
     Appeal: 23-2097    Doc: 11-2
          3:17-cv-00461-REP   Document Filed:
                                       1166-3612/06/2023     Pg: 286
                                                  Filed 04/21/23     of 493
                                                                  Page  2 of 5 PageID# 48389


          From:            Karrie Wichtman
          To:              Matt Martorello
          Cc:              Justin Martorello; "gkway@lvdtribal.com"; Jimmer; Saba Bazzazieh; Robert Rosette
          Subject:         RE: WSJ Press
          Date:            Tuesday, November 04, 2014 10:25:20 AM
          Attachments:     image001.jpg


          Matt,

          Below is the statement that was released to the press last Friday. Unfortunately, as you can see
          from the WSJ article much of the tribal sovereignty language was not used. What is released and
          what is reported are often two different things. I agree that statements in the opinion are strong
          and that we are on the best footing that we have ever been. The matter was not ever litigated on
          the merits. The bottom line is that many don’t really understand what happened from a procedural
          stand point and no amount of message crafting could get them there. The statement issued by my
          firm indicates all of the reasons that this case was a victory and even that needed to be tempered in
          order for us to gain the support of Indian law scholars and others to begin to more appropriately
          fight the public policy debate. To attempt to run a story that hailed victory for the Tribes when they
          were actually dismissing the lawsuit would have gotten us a significant amount of bad press and so
          the option was to … go quietly into the night and restructure based on what we know from the
          opinion in order to build an even stronger case for future litigation. Attempts were made after the
          release to remove the pay day language through explaining the products offered to which the WSJ
          refused. As for the NY DFS spokesperson, I would not expect anything less – and the Court’s ruling
          clarifies nothing at all with regard to NY regulatory authority. I will be sure to loop you in on any
          future discussions planned for response to the article. Your perspective is welcome and needed.


               Statement: Tribal Chairmen Update on E-Commerce
                            Litigation with New York
             Appeals Court Opinion a Significant Recognition of Native American
            Sovereign Rights; Considerable Resources Required Prevent Continuing
                                           Further
          NEW YORK, NY (October 31, 2014) – John Shotton, Tribal Council Chairman of the Otoe-
          Missouria Tribe of Indians, and James Williams Jr., Tribal Council Chairman of the Lac
          Vieux Desert Band of Lake Superior Chippewa Indians, co-plaintiffs in the case Otoe-
          Missouria Tribe et al v. New York State Department of Financial Services et al (No. 13-cv-
          5930), made the following joint statement:

          “The recent ruling by the Second Circuit of the United States Court of Appeals in our
          litigation filed last year against the state of New York was a pivotal recognition of sovereign
          rights for our Tribes and all Indian Nations. The court’s opinion recognized and affirmed the
          important Tribal interests at play, the legitimacy of our Tribal businesses, and the need to
          balance the interests of two sovereigns. However, the case has consumed considerable
          resources, and while our Tribes will remain resilient despite the State of New York’s targeted
          attack, after careful consideration the Otoe-Missouria Tribe and the Lac Vieux Desert Band of
          Lake Superior Chippewa have decided to dismiss the litigation.

        CONFIDENTIAL                                                                                          JA742
USCA4Case
     Appeal: 23-2097    Doc: 11-2
          3:17-cv-00461-REP   Document Filed:
                                       1166-3612/06/2023     Pg: 287
                                                  Filed 04/21/23     of 493
                                                                  Page  3 of 5 PageID# 48390



          “While we hoped when we first pursued this action that we would be able to quickly undo the
          damage caused and avoid a prolonged and material interruption to our businesses, the fact of
          the matter is the state’s unjust interference in the businesses of the Tribes have caused
          irreparable harm that further legal proceedings would simply be unable to remedy.

          “E-commerce remains an essential tool for Native American tribes, many of whom reside on
          remote reservations that limit opportunities for economic development. Vital social programs
          provided by tribes, including health care, elder care, education, nutrition assistance, housing,
          and more, are dependent on the revenues of our tribally-owned businesses. E-commerce
          represents the future for Indian country, and we intend to continue to operate in all areas
          where we determine it is in the interests of our businesses as authorized and regulated by
          Tribal law, consistent with federal consumer protection laws and the expressed goals of the
          federal government regarding promotion of tribal economic development. We will also
          continue to seek the support of relevant federal agencies to assist us in ensuring the longevity
          of our businesses, thereby fulfilling the federal government’s trust responsibility to the Tribes.

          “We strongly believe the actions of the state of New York do not comport with long
          established legal precedent and federal law regarding Native Americans’ sovereign rights, and
          in the importance of continuing to ensure those rights remain preserved. We are pleased that
          the U.S. Court of Appeals recognized and reaffirmed the importance the significant interests
          of Indian Country in economic development and the novel issues presented when Tribes
          engage in e-commerce.”

          ###

          Media Contact: Brian Bartlett
          brianbartlett@rational360.com
          (202) 236-2144




          Sincerely,


          Karrie S. Wichtman, Partner
          ROSETTE, LLP
          Michigan Office
          Attorneys at Law
          25344 Red Arrow Highway
          Mattawan, Michigan 49071
          269.283.5005 Office
          517.913.6443 Facsimile
          480.242.6959 Cell
          kwichtman@rosettelaw.com
          rosettelaw.com

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USCA4Case
     Appeal: 23-2097    Doc: 11-2
          3:17-cv-00461-REP   Document Filed:
                                       1166-3612/06/2023     Pg: 288
                                                  Filed 04/21/23     of 493
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          COOPERATION.



          From: Matt Martorello [mailto:mattm@bellicosevi.com]
          Sent: Tuesday, November 4, 2014 10:06 AM
          To: Karrie Wichtman
          Cc: Justin Martorello; 'gkway@lvdtribal.com'; Jimmer
          Subject: WSJ Press

          Certainly not the splash for public it could’ve been, this more likely works against the industry than
          for it. There were so many comments by the panel that outright demonstrate the legality of tribal
          lending that could’ve been touted as victorious, but NY gets to win on that front with their comment
          below about appeals court. It needed to be said, b/c the credit bureaus and banks will never read
          the case, they’ll just read what’s below… “it was a baseless attempt to overturn what the court had
          already decided in NY’s favor”… I wouldn’t call this message properly handled by the professional PR
          team at all. I think if I’m a banker, I read this as worse, when in fact those that read and know all the
          commentary that was not highlighted in the message (like us) know it was actually a rather
          victorious decision in many respects. The rest of the world needed to keep the businesses alive
          don’t get the hear that:

          Wall Street Journal: Tribes Drop Payday-Loan Suit Against New York
          State
          Two Indian tribes with online lending operations on Friday said they are dropping a
          lawsuit filed against New York state, abandoning an effort to block the state from
          restricting their businesses.

          New York's top banking regulator, Benjamin Lawsky , last year urged banks in his state to
          stop processing payments for lenders that violate the state's cap on interest rates.

          The Oklahoma-based Otoe Missouria Tribe and Michigan-based Lac Vieux Desert Band of
          Lake Superior Chippewa Indians responded with a federal lawsuit against the state,
          arguing New York's campaign against payday lenders was trampling on their rights as
          sovereign tribes.

          The tribes said their operations are located on reservation land and not subject to
          oversight by any state. But the tribes suffered a setback in October when a federal
          appeals court denied a temporary injunction that would have barred New York from
          restricting tribal lending while their case was litigated.

          In a joint written statement Friday, the tribes said the case had "consumed considerable
          resources" over the past year.

          "While we hoped when we first pursued this action that we would be able to quickly undo
          the damage caused and avoid a prolonged and material interruption to our businesses,
          the fact of the matter is the state's unjust interference in the businesses of the tribes
          have caused irreparable harm that further legal proceedings would simply be unable to

        CONFIDENTIAL                                                                                        JA744
USCA4Case
     Appeal: 23-2097    Doc: 11-2
          3:17-cv-00461-REP   Document Filed:
                                       1166-3612/06/2023     Pg: 289
                                                  Filed 04/21/23     of 493
                                                                  Page  5 of 5 PageID# 48392


          remedy," the tribes' chairmen, John Shotton and James Williams Jr. , said.

          "We are pleased they intend to drop their baseless litigation after the appeals court ruled
          that New York has the clear power to enforce its laws," said Matt Anderson, a spokesman
          for Mr. Lawsky.

          Tribes say they have turned to lending as a way to foster economic development and
          alleviate poverty. But online lending by tribes have faced opposition from officials in
          states such as New York that have laws banning or limiting payday loans.


          Regards,

          Matt Martorello
          Mobile: 773-209-7720
          Email: mm@BellicoseVI.com




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USCA4Case
     Appeal: 23-2097    Doc: 11-2
          3:17-cv-00461-REP   Document Filed:
                                       1166-3712/06/2023     Pg: 290
                                                  Filed 04/21/23     of 493
                                                                  Page  1 of 3 PageID# 48393




                                    Exhibit 37




                                                                                   JA746
USCA4Case
     Appeal: 23-2097    Doc: 11-2
          3:17-cv-00461-REP   Document Filed:
                                       1166-3712/06/2023     Pg: 291
                                                  Filed 04/21/23     of 493
                                                                  Page  2 of 3 PageID# 48394


          From:            Matt Martorello
          To:              Karrie Wichtman
          Cc:              Jimmer; gkway@duckcreektf.com; Daniel Gravel; Justin Martorello
          Subject:         Docs
          Date:            Monday, September 15, 2014 6:09:40 AM
          Attachments:     image001.jpg


          We’re very close on tax considerations on our side now having found an appropriate expert on
          important subject matter. That said:

          After further discussions, the Bellicose Companies will be sold only “as is”, with existing
          Management in place and the company remaining substantially the same. Of course a purchase,
          merger and dissolution are required for a Tribal buyer, and so the name will/jurisdiction of the LLC
          will change.

          What this really means, however, is that rather than the companies becoming part of a TLE (servicer
          and TLE in one) it needs to remain an independent cutting edge “FinTech” company which
          specializes in analytics, modeling, technology and management consulting. It also needs to be run
          in the same format it is today. This is a vital component to the cultural side, as any shifting of
          jobs/departments, relocation, firing/hiring, or change in leadership/direct reports, etc will trigger a
          signal to people (the Companies most vital asset). We can’t risk a mass exodus, concerns, fear, etc.
          associated with the deal. No matter how big or small the effort is, signal is sent to the staff.

          i.e. moving the St. Croix QA office to Atlanta after a new owner comes in, signals everyone to quit
          and go find stable jobs as they don’t feel comfortable or certain with the plans from the top for their
          livelihoods. Hiring in Atlanta or NC must also be done with ultimate care for the cultural/people
          impact, as that indicates (right or wrong, as I’ve seen before) that they are “digging their own
          graves” by hiring and training only to replace themselves. Also, the PR effect of hiring on (existing or
          new) very talented/vested career professionals who will understand they risk being labeled by peers
          as working for some “illegal” lender is a major handicap on the organization, as opposed to working
          for a cutting edge tech/analytics shop that is more protected from the biased media.

          That said, the Management Agreement of a Manager Managed LLC is vital
          The Servicing Agreement is as well

          Do you have a Management Agreement you can send over as a draft in order to speed things along?
          I’ve asked Nicole and am waiting for: Merger Agreement, Note, Security Agreements too. I’m sure
          some provisions will find their way as well into a Servicing Agreement so maybe someone can send
          them as well?

          Regards,

          Matt Martorello
          Mobile: 773-209-7720
          Email: mm@BellicoseVI.com




        CONFIDENTIAL
                                                                                                           JA747
                                                                                             ROSETTE_REVISED 040179
USCA4Case
     Appeal: 23-2097    Doc: 11-2
          3:17-cv-00461-REP   Document Filed:
                                       1166-3712/06/2023     Pg: 292
                                                  Filed 04/21/23     of 493
                                                                  Page  3 of 3 PageID# 48395




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                                                                                                    JA748
                                                                                     ROSETTE_REVISED 040180
USCA4Case
     Appeal: 23-2097    Doc: 11-2
          3:17-cv-00461-REP   Document Filed:
                                       1166-3812/06/2023     Pg: 293
                                                  Filed 04/21/23     of 493
                                                                  Page  1 of 6 PageID# 48396




                                    Exhibit 38




                                                                                   JA749
USCA4Case
     Appeal: 23-2097    Doc: 11-2
          3:17-cv-00461-REP   Document Filed:
                                       1166-3812/06/2023     Pg: 294
                                                  Filed 04/21/23     of 493
                                                                  Page  2 of 6 PageID# 48397


          From:               Matt Martorello
          To:                 Tanya Gibbs; Karrie Wichtman
          Cc:                 Michelle Hazen; Justin Martorello; Brian McFadden
          Subject:            RE: Attached Image
          Date:               Thursday, September 3, 2015 7:30:36 AM
          Attachments:        image001.png
                              image002.jpg


          Agreed, and appreciated as always. I think you’re suggesting changes to the Term Sheet, I’m simply
          relaying information on why they won’t allow those changes, and what is their justification for why.

          I’m wondering if you can send me that term sheet from the case by the way? Like to see who
          provided that financing.



          From: Tanya Gibbs [mailto:tgibbs@rosettelaw.com]
          Sent: Thursday, September 3, 2015 10:22 AM
          To: Matt Martorello <mattm@bellicosevi.com>; Karrie Wichtman <kwichtman@rosettelaw.com>
          Cc: Michelle Hazen <shellyh@duckcreektf.com>; Justin Martorello <justinm@bellicosecapital.com>;
          Brian McFadden <brianm@bellicosecapital.com>
          Subject: RE: Attached Image

          I don’t disagree with anything you are saying Matt and I understand the lender’s concerns and the
          reasons why certain things are in the term sheet. The provisions I pointed out are things that are
          already in place within RRTL and don’t pose any problems. But it’s my job to point these things out
          to everyone so everyone is aware and can make informed decisions.




          Tanya M. Gibbs, Attorney
          Rosette, LLP
          Attorneys at Law           
          Michigan Office
          25344 Red Arrow Hwy.
          Mattawan, MI 49071
          269.283.5005 – Office
          480.204.8009 - Cell              
          517.913.6443 – Fax
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                                                                                                        JA750
                                                                                         ROSETTE_REVISED 043995
USCA4Case
     Appeal: 23-2097    Doc: 11-2
          3:17-cv-00461-REP   Document Filed:
                                       1166-3812/06/2023     Pg: 295
                                                  Filed 04/21/23     of 493
                                                                  Page  3 of 6 PageID# 48398


          From: Matt Martorello [mailto:mattm@bellicosevi.com]
          Sent: Thursday, September 3, 2015 10:15 AM
          To: Tanya Gibbs <tgibbs@rosettelaw.com>; Karrie Wichtman <kwichtman@rosettelaw.com>
          Cc: Michelle Hazen <shellyh@duckcreektf.com>; Justin Martorello <justinm@bellicosecapital.com>;
          Brian McFadden <brianm@bellicosecapital.com>
          Subject: RE: Attached Image

          I hear you on that, but Optics of the Nay-sayers be damned. The argument that TLE is rent a tribe
          b/c of those factors I think we all agree is absurd. If you give in to them, the terrorists have already
          won.

          To quote this Lender, “The only way this loan is really ever going to go into default is if the Tribe get
          sideways with SPVI”. A perfect non-tribal example of a Servicer requirement is Webbank or Three
          Rivers Bank (Lenders) with Prosper, Lending Club, AvantCredit and OnDeck’s of the world
          (Servicers). Lending Club has $10BN on the street, Webbank has the Utah license and is the lender.
          That $10BN in debt capital from 3rd parties is 100% required to have Prosper or Lending Club as the
          Servicer for Webbank.

          Fact is, the Servicer comfort is the only way this Lender will be involved, and there are 3 other big
          Servicers/Tribes deeply in bed in this same context with them (and deeper in some respects). Seeing
          it from their perspective, if the Borrower was to cut SPVI out of the picture, then you simply cannot
          perform as a business.   That’d be like Webbank trying to lend without any personnel with
          experience and knowledge in very intricate subject matter, which Prosper provides. This lender very
          explicitly will not lend to RRTL unless SPVI always remains servicer (and we get them comfortable
          with post sale via the Eventide Note). That was an unsolicited comment from them to me AFTER I
          removed the statement about Servicer entirely from the term sheet and sent it back to them! After
          which, I told them a sale may be pending and we should talk about if/how they’d be comfortable in
          that context.

          They also won’t lend if you’re lending in states that get them in trouble or are too high risk of their
          collateral or them getting sued (I wouldn’t lend to you if you’re lending to PA either right? Heck,
          even Sequoia is now getting sued in VT). Also, they won’t lend if you’re not reporting to Microbilt for
          their internal reporting purposes to their investors.

          It’s take it or leave it, given the weakness such an argument against it represents, I think the decision
          is clear.

          There are also state lenders who have agreed to the exact same 3 constraints with this Lender (and 3
          other Tribes). Including one deal they did for $75mm: http://www.prnewswire.com/news-
          releases/argon-secures-75000000-in-growth-capital-300085418.html (Argon is servicer to
          Webbank).

          For the redline… This isn’t a binding term sheet, and it says this “will be” a full recourse obligation. I
          don’t think it will be limited to the collateral since they will require RRTL corporate guarantee
          (unsecured) and potentially other factors. Since it’s not binding and refers to a future agreement, I’d


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USCA4Case
     Appeal: 23-2097    Doc: 11-2
          3:17-cv-00461-REP   Document Filed:
                                       1166-3812/06/2023     Pg: 296
                                                  Filed 04/21/23     of 493
                                                                  Page  4 of 6 PageID# 48399


          suggest just executing and moving it along to Alpha for ROFR.




          From: Tanya Gibbs [mailto:tgibbs@rosettelaw.com]
          Sent: Thursday, September 3, 2015 9:10 AM
          To: Matt Martorello <mattm@bellicosevi.com>; Karrie Wichtman <kwichtman@rosettelaw.com>
          Cc: Michelle Hazen <shellyh@duckcreektf.com>; Justin Martorello <justinm@bellicosecapital.com>;
          Brian McFadden <brianm@bellicosecapital.com>
          Subject: RE: Attached Image

          Overall I have no issues with this, however there are a couple of things that are concerning because
          of the current class action litigation pending in Vermont, Gingras & Givens v. Rosette, et al.

          In that case, the plaintiffs somehow got a hold of the initial term sheet between the tribe and the
          lender. Their argument is that the TLE is a “rent a tribe” in part, because the term sheet requires the
          TLE to establish certain relationships with a servicer and various vendors.

          In this term sheet, RRTL is required to use Microbilt, required to use a certain servicer, and the
          lender gets to determine which states RRTL can lend in.

          Practically speaking, these things are not issues because RRTL already uses Microbilt (among others),
          is already engaged with SPVI as servicer (to be AT), and the states where we lend is probably similar
          to what the Lender is going to suggest. I highlighted those sections in the doc so you can find them
          easily. I’m just wondering whether we need to put these things in writing.

          I also believe that it is highly unlikely that any potential plaintiff could get their hands on this
          document, but I’m wondering whether that is a risk we are willing to take given the recent case in
          Vermont.

          Also, in the first paragraph of the terms, it talks about a full recourse obligation, which I redlined to
          limit it to the collateral for this loan. We will of course define the collateral and how it will work with
          the SPVs in the actual transaction documents, but we thought it important to make sure that it is
          limited.




          Tanya M. Gibbs, Attorney
          Rosette, LLP
          Attorneys at Law           
          Michigan Office
          25344 Red Arrow Hwy.


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USCA4Case
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          3:17-cv-00461-REP   Document Filed:
                                       1166-3812/06/2023     Pg: 297
                                                  Filed 04/21/23     of 493
                                                                  Page  5 of 6 PageID# 48400


          Mattawan, MI 49071
          269.283.5005 – Office
          480.204.8009 - Cell              
          517.913.6443 – Fax
          tgibbs@rosettelaw.com
          www.rosettelaw.com

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          From: Matt Martorello [mailto:mattm@bellicosevi.com]
          Sent: Thursday, September 3, 2015 8:14 AM
          To: Karrie Wichtman <kwichtman@rosettelaw.com>
          Cc: Michelle Hazen <shellyh@duckcreektf.com>; Tanya Gibbs <tgibbs@rosettelaw.com>; Justin
          Martorello <justinm@bellicosecapital.com>; Brian McFadden <brianm@bellicosecapital.com>
          Subject: RE: Attached Image

          Not sure why they did that, but here are the rest of the pages where it was left off. Looks like he
          moved the bold print and signature at the end to the first 2 page letter, then added Shelly as
          signatory.


          From: Karrie Wichtman [mailto:kwichtman@rosettelaw.com]
          Sent: Wednesday, September 2, 2015 11:41 PM
          To: Matt Martorello <mattm@bellicosevi.com>
          Cc: Michelle Hazen <shellyh@duckcreektf.com>; Tanya Gibbs <tgibbs@rosettelaw.com>; Justin
          Martorello <justinm@bellicosecapital.com>; Brian McFadden <brianm@bellicosecapital.com>
          Subject: Re: Attached Image

          The document says page 5 of 7. Seems like there are pages that are missing.

          Can you send the rest of the pages with the actual terms?

          Sent from my iPhone

          On Sep 2, 2015, at 8:27 PM, Matt Martorello <mattm@bellicosevi.com> wrote:

                  For Shelly signature.


                  Begin forwarded message:

                          From: "Bob Farrell" <bfarrell@princetonalternativefunding.com>
                          To: "Matt Martorello" <mattm@bellicosevi.com>
                          Cc: "Brian McFadden" <brianm@bellicosecapital.com>

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USCA4Case
     Appeal: 23-2097    Doc: 11-2
          3:17-cv-00461-REP   Document Filed:
                                       1166-3812/06/2023     Pg: 298
                                                  Filed 04/21/23     of 493
                                                                  Page  6 of 6 PageID# 48401


                       Subject: FW: Attached Image

                       Matt,

                       Please have Shelly Hazen counter sign attached term sheet signature page
                       and return. If she’s not the correct signatory, (saw it red lined) please add
                       preferred name.

                       Thanks

                       Bob




                       From: Mindi Vavra [mailto:mindi.0305@gmail.com]
                       Sent: Wednesday, September 02, 2015 6:12 PM
                       To: Bob Farrell
                       Subject: Fwd: Attached Image

                       Hi. Attached are the signature pages for Red Rock term sheet



                       Bob Farrell
                       President




                       100 Canal Pointe Blvd | Suite 208 | Princeton  NJ 08540
                       tel (800) 261-7660 Ext. 4822 | mobile (609) 731-4513
                       website | email
                       This email may contain confidential and/or private information.If you received this email in error
                       delete and notify sender.
                       ---------- Forwarded message ----------
                       From: REDCO <redco@gwtc.net>
                       Date: 2015-09-02 17:49 GMT-05:00
                       Subject: Attached Image
                       To: mindi <mindi.0305@gmail.com>




                       --
                       Mindi Vavra
                       General Manager
                       Rosebud Lending
                       Direct Line 605-856-8411
                       Cell 605-319-9434
                       Fax 605-856-8403




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                                                                                                                                 JA754
                                                                                                                   ROSETTE_REVISED 043999
USCA4Case
      Appeal: 23-2097   Doc: 11-2
          3:17-cv-00461-REP            Filed: 12/06/2023
                              Document 1166-39               Pg: 299
                                                 Filed 04/21/23      of 1493
                                                                  Page    of 10 PageID# 48402




                                    Exhibit 39




                                                                                   JA755
USCA4Case
      Appeal: 23-2097   Doc: 11-2
          3:17-cv-00461-REP            Filed: 12/06/2023
                              Document 1166-39               Pg: 300
                                                 Filed 04/21/23      of 2493
                                                                  Page    of 10 PageID# 48403


          From:              Matt Martorello
          To:                Karrie Wichtman; John L. Williams
          Cc:                Justin Martorello; Tanya Gibbs; Brian McFadden
          Subject:           RE: AT BPL SA
          Date:              Thursday, January 14, 2016 3:34:16 PM


          The Lenders care about the person who runs the business of AT. If the Transaction Docs are clear
          that the position in question and under scrutiny to the lenders is President and CEO (Brian), then I
          think we’re OK. As far as I know, the Manager’s don’t really do anything... I defer to John on what
          the TD’s say if that jives, and what the authority is of BMF vs the Managers, but if Managers are
          really only involved per the OA to get feedback from the CEO/President then seems OK. If they do
          more than that, or if the TD’s say the position of concern are the Managers then we’d have some
          cleaning up to do.


          From: Karrie Wichtman [mailto:kwichtman@rosettelaw.com]
          Sent: Thursday, January 14, 2016 5:47 PM
          To: John L. Williams <JWilliams@cwlaw.com>
          Cc: Justin Martorello <justinm@bellicosecapital.com>; Tanya Gibbs <tgibbs@rosettelaw.com>; Matt
          Martorello <mattm@bellicosecapital.com>; Brian McFadden <BrianM@bellicosevi.com>
          Subject: Re: AT BPL SA

          I'll take a look. I haven't looked at the AT docs in a while. I seem to remember Brian was appointed at
          Matt's direction as President but the Co Mrg were still Shelly and the Chairman. This was understood
          and fine when AT was created I don't really understand the issue. Collateral is protected under the
          agreements not positions or people. What has changed?

          Sent from my iPhone

          On Jan 14, 2016, at 4:12 PM, John L. Williams <JWilliams@cwlaw.com> wrote:

                 Karrie,

                 The Operating Agreement puts all the power in the hands of the Manager. The office
                 of President is not mentioned from what I can see. Shouldn’t Brian, as President, be
                 the Manager of that sub? If so, that’s not the way the resolution is written. Let me
                 know what you think. John.

                 John L. Williams
                 Partner
                 <image001.png>
                 CONNER & WINTERS, LLP
                 Attorneys & Counselors at Law
                 4000 One Williams Center
                 Tulsa, OK 74172-0148
                 P 918.586.8990
                 F 918.586.8674
                 jwilliams@cwlaw.com
                 www.cwlaw.com



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USCA4Case
      Appeal: 23-2097   Doc: 11-2
          3:17-cv-00461-REP            Filed: 12/06/2023
                              Document 1166-39               Pg: 301
                                                 Filed 04/21/23      of 3493
                                                                  Page    of 10 PageID# 48404


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                From: Karrie Wichtman [mailto:kwichtman@rosettelaw.com]
                Sent: Thursday, January 14, 2016 3:08 PM
                To: Justin Martorello
                Cc: Tanya Gibbs; John L. Williams; Matt Martorello; Brian McFadden
                Subject: Re: AT BPL SA

                I think that depends on the structure. Let's look into what the actual operating
                agreement says before we go changing things around now.

                Sent from my iPhone

                On Jan 14, 2016, at 1:33 PM, Justin Martorello <justinm@bellicosecapital.com> wrote:

                        CEO is the highest ranking officer, above President.


                        From: Tanya Gibbs [mailto:tgibbs@rosettelaw.com]
                        Sent: Thursday, January 14, 2016 12:32 PM
                        To: Justin Martorello <justinm@bellicosecapital.com>; Karrie Wichtman
                        <kwichtman@rosettelaw.com>; John L. Williams <JWilliams@cwlaw.com>
                        Cc: Matt Martorello <mattm@bellicosecapital.com>; Brian McFadden
                        <BrianM@bellicosevi.com>
                        Subject: RE: AT BPL SA

                        I don’t see a problem with that. But what’s the real difference? And to
                        your earlier question, yes I think we are all set with the servicing
                        agreement.

                        Tanya M. Gibbs, Attorney<image001.png>
                        Rosette, LLP
                        Attorneys at Law           
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                        Mattawan, MI 49071
                        269.283.5005 – Office
                        480.204.8009 - Cell              
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USCA4Case
      Appeal: 23-2097   Doc: 11-2
          3:17-cv-00461-REP            Filed: 12/06/2023
                              Document 1166-39               Pg: 302
                                                 Filed 04/21/23      of 4493
                                                                  Page    of 10 PageID# 48405


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                        From: Justin Martorello [mailto:justinm@bellicosecapital.com]
                        Sent: Thursday, January 14, 2016 1:20 PM
                        To: Tanya Gibbs <tgibbs@rosettelaw.com>; Karrie Wichtman
                        <kwichtman@rosettelaw.com>; John L. Williams <JWilliams@cwlaw.com>
                        Cc: Matt Martorello <mattm@bellicosecapital.com>; Brian McFadden
                        <BrianM@bellicosevi.com>
                        Subject: RE: AT BPL SA

                        This reminds me, Brian needs to be the CEO of AT.


                        From: Tanya Gibbs [mailto:tgibbs@rosettelaw.com]
                        Sent: Thursday, January 14, 2016 12:13 PM
                        To: Justin Martorello <justinm@bellicosecapital.com>; Karrie Wichtman
                        <kwichtman@rosettelaw.com>; John L. Williams <JWilliams@cwlaw.com>
                        Cc: Matt Martorello <mattm@bellicosecapital.com>; Brian McFadden
                        <BrianM@bellicosevi.com>
                        Subject: RE: AT BPL SA

                        It is. TC gets to appoint at first and certainly has the ability to remove.
                        The operating agreements limit removal as follows:

                        The Manager may be removed as Manager by a majority vote of the
                        Member, by majority vote of the Tribal Council acting as sole
                        member of Tribal Economic Development Holdings, LLC if it is
                        found that the Manager has committed an act constituting willful
                        misconduct, fraud, or gross negligence.

                        But this really only applies to the Co-Managers (Jimmer and Shelly) and
                        arguably Brian as President because he was specifically designated as such
                        in the AT Creation Resolution. But TC doesn’t have any right to remove
                        any other employee of AT for any reason. Brian, as President, has the
                        authority to hire and fire on AT’s side of things.

                        And if TC tried to remove somebody, your still covered by the Parental
                        Guaranty.

                        Tanya M. Gibbs, Attorney<image001.png>
                        Rosette, LLP
                        Attorneys at Law           
                        Michigan Office
                        25344 Red Arrow Hwy.
                        Mattawan, MI 49071

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                                                                                                      JA758
USCA4Case
      Appeal: 23-2097   Doc: 11-2
          3:17-cv-00461-REP            Filed: 12/06/2023
                              Document 1166-39               Pg: 303
                                                 Filed 04/21/23      of 5493
                                                                  Page    of 10 PageID# 48406


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                        From: Justin Martorello [mailto:justinm@bellicosecapital.com]
                        Sent: Thursday, January 14, 2016 1:07 PM
                        To: Tanya Gibbs <tgibbs@rosettelaw.com>; Karrie Wichtman
                        <kwichtman@rosettelaw.com>; John L. Williams <JWilliams@cwlaw.com>
                        Cc: Matt Martorello <mattm@bellicosecapital.com>; Brian McFadden
                        <BrianM@bellicosevi.com>
                        Subject: RE: AT BPL SA

                        I thought everything was structured such that the TC was purposely
                        removed from the businesses. Why not TEDs co-managers?

                        Do we all consider the AT BPL SA complete?


                        From: Tanya Gibbs [mailto:tgibbs@rosettelaw.com]
                        Sent: Thursday, January 14, 2016 12:05 PM
                        To: Justin Martorello <justinm@bellicosecapital.com>; Karrie Wichtman
                        <kwichtman@rosettelaw.com>; John L. Williams <JWilliams@cwlaw.com>
                        Cc: Matt Martorello <mattm@bellicosecapital.com>; Brian McFadden
                        <BrianM@bellicosevi.com>
                        Subject: RE: AT BPL SA

                        It is the Tribal Council acting as Member of TED (member of AT). But
                        either way par. 5 of the Parental Guaranty says:

                        The Tribe, Borrower or any Subsidiary shall not terminate or replace any
                        manager, director or officer of Borrower or the respective Subsidiary or
                        modify delegations of authority without the prior written consent of
                        Lender, which shall not be unreasonably withheld, conditioned or
                        delayed.

                        Tanya M. Gibbs, Attorney<image001.png>
                        Rosette, LLP

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                                                                                                   JA759
USCA4Case
      Appeal: 23-2097   Doc: 11-2
          3:17-cv-00461-REP            Filed: 12/06/2023
                              Document 1166-39               Pg: 304
                                                 Filed 04/21/23      of 6493
                                                                  Page    of 10 PageID# 48407


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                        From: Justin Martorello [mailto:justinm@bellicosecapital.com]
                        Sent: Thursday, January 14, 2016 12:58 PM
                        To: Karrie Wichtman <kwichtman@rosettelaw.com>; John L. Williams
                        <JWilliams@cwlaw.com>
                        Cc: Tanya Gibbs <tgibbs@rosettelaw.com>; Matt Martorello
                        <mattm@bellicosecapital.com>; Brian McFadden
                        <BrianM@bellicosevi.com>
                        Subject: RE: AT BPL SA

                        TC or TED’s co-managers?


                        From: Karrie Wichtman [mailto:kwichtman@rosettelaw.com]
                        Sent: Thursday, January 14, 2016 8:42 AM
                        To: John L. Williams <JWilliams@cwlaw.com>
                        Cc: Justin Martorello <justinm@bellicosecapital.com>; Tanya Gibbs
                        <tgibbs@rosettelaw.com>; Matt Martorello
                        <mattm@bellicosecapital.com>; Brian McFadden
                        <BrianM@bellicosevi.com>
                        Subject: Re: AT BPL SA

                        Sounds good to me.

                        In answer to the questions directed at Tanya and I- the Capital "T"
                        transaction docs account for this. The TC replaces but with lender
                        consent. If an AT license frivolous witch hunt ensues it's a default and
                        opens the Tribe up to potential liability through the parental guarantee.
                        However, if licensed folks at AT violate tribal law or other applicable
                        consumer protection laws or commit a crime that disqualified them from

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USCA4Case
      Appeal: 23-2097   Doc: 11-2
          3:17-cv-00461-REP            Filed: 12/06/2023
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                                                 Filed 04/21/23      of 7493
                                                                  Page    of 10 PageID# 48408


                        holding a license, insulating AT employees cannot and should not be
                        absolute.

                        Karrie

                        Sent from my iPhone

                        On Jan 14, 2016, at 9:21 AM, John L. Williams <JWilliams@cwlaw.com>
                        wrote:

                                 We just date it whatever date we close. Easy on that one. I
                                 will make the change to the last doc Karrie sent.

                                 John L. Williams
                                 Partner
                                 <image002.png>
                                 CONNER & WINTERS, LLP
                                 Attorneys & Counselors at Law
                                 4000 One Williams Center
                                 Tulsa, OK 74172-0148
                                 P 918.586.8990
                                 F 918.586.8674
                                 jwilliams@cwlaw.com
                                 www.cwlaw.com

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                                 From: Justin Martorello [mailto:justinm@bellicosecapital.com]
                                 Sent: Tuesday, January 12, 2016 4:20 PM
                                 To: Karrie Wichtman; John L. Williams; Tanya Gibbs
                                 Cc: Matt Martorello; Brian McFadden
                                 Subject: RE: AT BPL SA

                                 Thank you Karrie.

                                 Karrie and Tanya:
                                 Question about TFSRA licensing… Let’s say that there’s a
                                 coop within LVD to oust AT managers, and so the TFSRA
                                 revokes licenses for Brian and/or managers.
                                     -          Who would be responsible for making
                                               replacements?
                                     -          Will AT be required to approve?
                                     -          Basically, how do we protect the “licensed”
                                               managers of AT?



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                                                                                                        JA761
USCA4Case
      Appeal: 23-2097   Doc: 11-2
          3:17-cv-00461-REP            Filed: 12/06/2023
                              Document 1166-39               Pg: 306
                                                 Filed 04/21/23      of 8493
                                                                  Page    of 10 PageID# 48409


                         John:
                         We wanted to remove (“M”) Merger to eliminate reference
                         to previously existing non-tribal entities. How do we provide
                         for an effective date here that does not come before the
                         Merger date?



                         From: Karrie Wichtman
                         [mailto:kwichtman@rosettelaw.com]
                         Sent: Tuesday, January 12, 2016 3:48 PM
                         To: Justin Martorello <justinm@bellicosecapital.com>; John
                         L. Williams (JWilliams@cwlaw.com)
                         <JWilliams@cwlaw.com>; Tanya Gibbs
                         <tgibbs@rosettelaw.com>
                         Cc: Matt Martorello <mattm@bellicosecapital.com>; Brian
                         McFadden <BrianM@bellicosevi.com>
                         Subject: RE: AT BPL SA

                         Responses to comments and questions.

                         Karrie S. Wichtman, Partner
                         ROSETTE, LLP
                         Michigan Office
                         Attorneys at Law
                         25344 Red Arrow Highway
                         Mattawan, Michigan 49071
                         269.283.5005 Office
                         517.913.6443 Facsimile
                         480.242.6959 Cell
                         kwichtman@rosettelaw.com
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                         DELETE THIS MESSAGE. THANK YOU FOR YOUR
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                         From: Justin Martorello
                         [mailto:justinm@bellicosecapital.com]
                         Sent: Wednesday, January 6, 2016 10:15 PM
                         To: John L. Williams (JWilliams@cwlaw.com)

         CONFIDENTIAL
                                                                                         JA762
USCA4Case
      Appeal: 23-2097   Doc: 11-2
          3:17-cv-00461-REP            Filed: 12/06/2023
                              Document 1166-39               Pg: 307
                                                 Filed 04/21/23      of 9493
                                                                  Page    of 10 PageID# 48410


                              <JWilliams@cwlaw.com>; Karrie Wichtman
                              <kwichtman@rosettelaw.com>; Tanya Gibbs
                              <tgibbs@rosettelaw.com>
                              Cc: Matt Martorello <mattm@bellicosecapital.com>; Brian
                              McFadden <BrianM@bellicosevi.com>
                              Subject: AT BPL SA

                              Minimal comments and questions from MM. See attached.


                              Regards,

                              Justin Martorello
                              Phone: 773.263.1554
                              Email: JustinM@BellicoseCapital.com
                              <image003.png>

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         CONFIDENTIAL
                                                                                                    JA763
USCA4 Appeal:
    Case      23-2097   Doc: 11-2
         3:17-cv-00461-REP             Filed: 12/06/2023
                             Document 1166-39                Pg: 308
                                                 Filed 04/21/23  Pageof10
                                                                        493
                                                                          of 10 PageID# 48411


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        CONFIDENTIAL
                                                                                                    JA764
USCA4Case
      Appeal: 23-2097   Doc: 11-2
          3:17-cv-00461-REP            Filed: 12/06/2023
                              Document 1166-40               Pg: 309
                                                 Filed 04/21/23      of 1493
                                                                  Page    of 11 PageID# 48412




                                    Exhibit 40




                                                                                   JA765
To:
USCA4Case Karrie Wichtman[kwichtman@rosettelaw.com];
          Appeal:    23-2097     Doc: 11-2            John L.12/06/2023
                                                     Filed:    Williams[JWilliams@cwlaw.com]
                                                                                 Pg: 310       ; Tanya
                                                                                          of 2493
                 3:17-cv-00461-REP
Gibbs[tgibbs@rosettelaw.com]            Document 1166-40           Filed 04/21/23     Page       of 11 PageID# 48413
Cc:        Brian McFadden[BrianM@bellicosevi.com]; Matt Martorello[mattm@bellicosevi.com]
From:      Justin Martorello
Sent:     Tue 1/19/2016 1:44:07 AM
Subject: RE: 2016 01 15 Ascension Tech Manger Delegation of Authority (draft).doc
2016 01 15 Ascension Tech Manger Delegation of Authority (draft) doc (t.. ..doc


 Updated red lines, subject to review with JW, BM F and MM.

 From: Karrie Wichtman [mailto :kwichtman@rosettelaw.com)
Sent: Monday, January 18, 2016 7 :08 PM
To: John L.Williams<JWill iams@cwlaw.com>; Tanya Gibbs <tgibbs@rosettelaw.com>
Cc: Justin Martorello <justinm@bellicosecapital.com>; Brian McFadden <BrianM@bellicosevi.com>; Matt Martorello
 <m attm@bellicosevi.com >
Subject: RE: 2016 0115 Ascension Tech Manger Delegation of Authority (draft).doc


 Our edits.

 Karrie S. Wichtman, Partner
 ROSETTE, LLP
 Michigan Office
 Attorneys at Law
 25344 Red Arrow Highway
 Mattawan, M ichigan 49071
 269.283.5005 Office
 517.913.6443 Facsimile
 480 .242.6959 Cell
 kwichtman@rosettelaw.com
 rosettelaw .com

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 YOU FOR YOUR COOPERATION.


 From : John L.Williams[mailto:JWilliams@cwlaw.com]
Sent: Saturday, January 16, 2016 1:02 PM
To: Karrie Wichtman <kwichtman@rosette law.com>; Tanya Gibbs <tgibbs@rosettelaw.com>
Cc: Justin Martorello < justinm@be llicosecapita l.com >; Brian McFadden <BrianM@bellicosevi.com >; Matt Martorello
 <mattm@bellicosevi.com>
Subject: 2016 01 15 Ascension Tech Manger Delegation of Authority (draft).doc


 Karrie and Tanya,

 As we discussed on our call Thursday, attached is a proposed Delegation of Authority to address the concerns Justin brought up
 and st ill keep the protections you guys were trying to structure. John.



 John L. Williams
Partner
rf.7TcoNNER &
'-(IV WINT ERS
CONNER & WINTERS, LLP
Attorn eys & Counselo rs at Law
4000 O ne William s Center
Tulsa, OK 74172-0148
P 918.586.8990

                                                                                                               JA766          CW_00001
FUSCA4      Appeal:
  918.586.8674       23-2097    Doc: 11-2      Filed: 12/06/2023     Pg: 311 of 3493
           Case   3:17-cv-00461-REP
jwill iams@cwlaw.com                  Document 1166-40   Filed 04/21/23   Page    of 11 PageID# 48414
www.cwlaw.com

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                                                                                                                              JA767            CW_00002
USCA4Case
      Appeal: 23-2097   Doc: 11-2
          3:17-cv-00461-REP            Filed: 12/06/2023
                              Document 1166-40               Pg: 312
                                                 Filed 04/21/23      of 4493
                                                                  Page    of 11 PageID# 48415



                                  ASCENSION TECHNOLOGIES, LLC
                                     Delegation of Authority Policy

                                     Ascension Technologies, LLC Co-Managers
                                            Effective January_, 2016


          l. GENERAL PURPOSE

                l. I. Objective. The Ascension Technologies, LLC (" Ascension") Co-Managers establish
                      this Delegation of Authority Policy (the "Policy") to establish those powers granted
                      to the President and those specifically reserved for determination by the Co-
                      Managers.

                l .2. Matters Reserved For the Co-Managers. The matters specifically reserved for the Co-
                      Managers under this Policy include:


                      a) approval of Ascension contracts that create an obligation for Ascension over
                         $ l 00,000 in a calendar year, as described in Co-Manager Meeting Minutes
                         dated February 18, 2015;

                      b) appointment and succession of the President of Ascension; and
                      c) approval of adoption of any new major employee benefit plans and programs
                         and approval of any major amendment of an existing major employee benefit
                         plan or program (e.g., Pension Plan and Savings Plan) which might significantly
                         alter the scope, nature or degree of benefits as presented by the President or
                         otherwise accounted for in the Operating or Servicing Budget.

                l .3. Matters Reserved for the Member. The matters specifically reserved for the Member
                      pursuant to Ascension's Operating Agreement include:

                      a) approval of any agreement to borrow, pledge, assign, convey, encumber, grant
                         security interest in, guaranty, or otherwise restrict the assets of Ascension;
                      b) approval of any sale or other disposal of all or substantially all of the assets of
                         Ascension; and
                      c) approval of any waiver of sovereign immunity of Ascension.

                 l .4. Matters Delegated to the President. The Co-Managers expressly grant to the
                       President:

                      a) approval of Ascension strategic direction, goals and targets
                      b) authority to execute documents on behalf of Ascension, subject to the
                         limitations contained in Sections l .2(a) and 1.3 herein;


                  Ascension Technologies, LLC Delegation of Authority Policy ---approved January__   , 2016
                                                              l




                                                                                                              JA768   CW_00003
USCA4Case
      Appeal: 23-2097   Doc: 11-2
          3:17-cv-00461-REP            Filed: 12/06/2023
                              Document 1166-40               Pg: 313
                                                 Filed 04/21/23      of 5493
                                                                  Page    of 11 PageID# 48416



                      c) authority to open and maintain bank accounts and to interface with any lock box
                         service providers in the ordinary course of business of Ascension; provided
                         however Co-Man agers are informed of the locations and account numbers for
                         any bank accounts opened pursuant to this delegation;
                      d) authority to adopt, terminate, or change employee benefit plans or programs,
                         except major additions or changes to major employee benefit plans or programs
                         as set forth in Section l .2( d) above;
                      e) authority to further delegate his or her authority to subordinates; and
                      f) authority regarding all matters necessary for the day to day management of
                         Ascension and the implementation of corporate objectives that are not
                         specifically reserved to the Co-Managers set forth in Section 1.2 or Member set
                         forth in Section l .3.

                l .5. Reporting by the President to the Co-Managers

                     a) As part of the framework established by this Policy, the President is required to
                     report regularly to the Co-Managers concerning the authority exercised and matters
                     which come, or may come within, the scope of matters reserved for the Co-
                     Managers or Member.

           2. EXPENDITURE APPROVAL POLICY

                The President has the authority to make expenditures in a manner consistent with the
                       approved annual operating budget of Ascension, as limited by Section l .2(a)
                       hereing.

           3. COMM UNI CATIONS ON BEHALF OF ASCENSION

                3. l. Verbal communications. All verbal communications with media, regulat01y bodies,
                      or other entities which may have a material effect on Ascension, are limited to the
                      President, or a person directly delegated by the President to speak on behalf of
                      Ascension or pursuant to Ascension's written and duly adopted communications
                      policy. Any such inquiries as well as how they were handled shall be reported to the
                      Co-Managers within a reasonable time of the inquiry.

                3.2. Written communications. Any written communication with media, regulatory
                     bodies, or other entities which may have a material effect on Ascension, must to be
                     approved by the President, or a person directly delegated by the President, prior to
                     release. The President, or the President's delegee, must circulate any proposed press
                     release to news media to the Co-Managers prior to release.

           4. CHANGES
              Changes in this Policy require the unanimous approval of the Co-Man agers and President.




                  Ascension Technologies, LLC Delegation of Authority Policy ---approved January ____________ . 2016
                                                                  2




                                                                                                                       JA769   CW_00004
USCA4Case
      Appeal: 23-2097   Doc: 11-2
          3:17-cv-00461-REP            Filed: 12/06/2023
                              Document 1166-40               Pg: 314
                                                 Filed 04/21/23      of 6493
                                                                  Page    of 11 PageID# 48417




           Approved this _ _ day of January, 2016, by:


                                                               CO-MANAGER, ASCENSION
                                                               TECHNOLOGIES, LLC


                                                               By: - - - - - - - - - - - - - - - - - -

                                                               Name: Michelle Hazen
                                                               Title: Co-Manager


                                                               CO-MANAGER, ASCENSION
                                                               TECHNOLOGIES, LLC


                                                               By: _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

                                                               Name: James Williams, Jr.
                                                               Title: Co-Manager




          Accepted by:


                                                               PRESIDENT, ASCENSION TECHNOLOGIES,
                                                               LLC

                                                               By _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
                                                               Name: Brian McFadden
                                                               Title: President




                   Ascension Technologies, LLC Delegation of Authority Policy ---approved January ___________ . 2016
                                                                  3




                                                                                                                       JA770   cw_oooos
To:
USCA4Case Karrie Wichtman[kwichtman@rosettelaw.com]
          Appeal:   23-2097        Doc: 11-2            John L.12/06/2023
                                                      ; Filed: Williams[JWilliams@cwlaw.com]
                                                                                 Pg: 315         ; Tanya
                                                                                            of 7493
                 3:17-cv-00461-REP
Gibbs[tgibbs@rosettelaw.com];            Document 1166-40          Filed
                              Matt Martorello[mattm@bellicosevi.com];    04/21/23
                                                                      Justin           Page        of 11 PageID# 48418
                                                                             MartorelloOustinm@bellicosecapital.com]; Simon
Liang[Simonl@bellicosevi.com]
From:      Brian McFadden
Sent:      Mon 1/25/2016 7:38:11 PM
Subject: RE: Docs
2016 01 22 BPL Ascension Servi cing Agreem ent-signed.pdf
2016 01 22 Delegation of Authority Ascension (002)-signed .pdf




 From : Karrie Wichtman [mailto:kwichtman@rosettelaw.com]
Sent: Friday, January 22, 2016 7:45 PM
To: John L.Williams<JWilliams@cwlaw.com>; Tanya Gi bbs <tgibbs@rosettelaw.com>; Matt Martorello <mattm@bellicosevi.com>;
 Justin Martorello <justinm@bellicosecapital.com>; Brian McFadden <BrianM@bellicosevi.com>; Simon Liang
 <SimonL@bellicosevi.com>
Subject: Docs


 Here is some signed stuff.

 Karrie S. Wichtman, Partner
 ROSETTE, LLP
 Michigan Office
 Attorneys at Law
 25344 Red Arrow Highway
 Mattawan, Michigan 49071
 269.283.5005 Office
 517.913.6443 Facsimile
 480.242.6959 Cell
 kwichtman@rosettelaw.com
 rosettelaw .com

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                                                                                                             JA771            CW_00006
USCA4Case
      Appeal: 23-2097   Doc: 11-2
          3:17-cv-00461-REP            Filed: 12/06/2023
                              Document 1166-40               Pg: 316
                                                 Filed 04/21/23      of 8493
                                                                  Page    of 11 PageID# 48419




                                     ASCENSION TECHNOLOGIES, LLC
                                        Delegation of Authority Policy

                                        Ascension Technologies, LLC Co-Managers
                                                 Effective January 21_, 2016


              I. GENERAL PURPOSE

                    1.1. Objective. The Ascension Technologies, LLC ("Ascension") Co-Managers establish
                        this Delegation of Authority Policy (the "Policy") to establish those powers granted
                        to the President and those specifically reserved for determination by the Co-
                        Managers.

                   1.2. Matters Reserved For the Co-Managers. The matters specifically reserved for the
                        Co-Managers under this Policy include:

                         a) approval of Ascension contracts that create an obligation for Ascension over
                            $100,000 in a calendar year, as described in Co-Manager Meeting Minutes
                            dated February 18, 2015;

                         b) appointment and succession of the President of Ascension; and

                         c) approval of adoption of any new major employee benefit plans and programs
                            and approval of any major amendment of an existing major employee benefit
                            plan or program (e.g., Pension Plan and Savings Plan) which might significantly
                            alter the scope, nature or degree of benefits as presented by the President or
                            otherwise accounted for in the Operating or Servicing Budget.

                   1.3. Matters Reserved for the Member. The matters specifically reserved for the Tribal
                        Council as Member of Tribal Economic Development Holdings, LLC pursuant to
                        Ascension's Operating Agreement include:

                         a) approval of any agreement to borrow, pledge, assign, convey, encumber, grant
                            security interest in, guaranty, or otherwise restrict the assets of Ascension;

                         b) approval of any sale or other disposal of all or substantially a!! of the assets of
                            Ascension; and

                        c) approval of any waiver of sovereign immunity of Ascension.




                     Ascension Technologies, LLC Delegation of Authority Policy-upproved January U,,, 2016
                                                               I




                                                                                                             JA772   CW_0000?
USCA4Case
      Appeal: 23-2097   Doc: 11-2
          3:17-cv-00461-REP            Filed: 12/06/2023
                              Document 1166-40               Pg: 317
                                                 Filed 04/21/23      of 9493
                                                                  Page    of 11 PageID# 48420




                    l.4. Matters Delegated to the President. The Co-Managers expressly grant to the
                         President:

                         a) approval of Ascension strategic direction, goals and targets which shall be
                            communicated to Co-Managers in accordance with Section 1.5 but no Jess
                            frequently than quarterly.

                         b) authority to execute documents on behalf of Ascension, su~ject to the
                            limitations contained in Sections 1.2(a) and 1.3 herein;

                         c) authority to open and maintain bank accounts and to interface with any lockbox
                            service providers in the ordinary comse of business of Ascension; provided
                            however Co-Managers are informed of the locations and account numbers for
                            any bank accounts opened pursuant to this delegation;

                         d) authority to adopt, terminate, or change employee benefit plans or programs,
                            except major additions or changes to major employee benefit plans or programs
                            as set forth in Section l .2(d) above; and

                         e) authority regarding all matters necessary for tbe day to day management of
                            Ascension, including delegation to subordinates, and the implementation of
                            corporate objectives that are not specifically reserved to the Co-Managers set
                            forth in Section l .2 or Member set forth in Section 1.3.

                    l .5. Reporting by the President to the Co-Managers. As part of the framework
                          established by this Policy, the President is required to report regularly to the Co-
                          Managers concerning the authority exercised and matters which come, or may come
                          within, the scope of matters reserved for the Co-Managers or Member.

              2, EXPENDITURE APPROVAL POLICY

                 The President has the authority to make expenditures in a manner consistent with the
                 approved annual operating budget of Ascension, as limited by Section L2(a) herein.

              3. COMMUNICATIONS ON BEHALF OF ASCENSION

                   3.1. Verbal communications. Al! verbal communications with media, regulatory bodies,
                        or other entities which may have a material effect on Ascension, are limited to the
                        President, or a person directly delegated by the President to speak on behalf of
                        Ascension or pursuant to Ascension's written and duly adopted communications
                        policy. Any such inquiries as weU as how they were bandied shall be reported to the
                        Co~Managers within a reasonable time of the inquiry.

                   3.2. Written communications. Any written communication with media, regulatory
                        bodies, or other entities which may have a material effect on Ascension, must to be


                     Ascension Technologies, LLC Delegatron of Authority Policy-approved January Z.'"Z-;-2016
                                                                2




                                                                                                                JA773   CW_00008
USCA4 Appeal:
    Case      23-2097   Doc: 11-2
         3:17-cv-00461-REP             Filed: 12/06/2023
                             Document 1166-40                Pg: 318
                                                 Filed 04/21/23  Pageof10
                                                                        493
                                                                          of 11 PageID# 48421




                        approved by the President, or a person directly delegated by the President, prior to
                        release. The President, or the President's delegee, must circulate any proposed press
                        release to news media to the Co-Managers prior to release.

              4. CHANGES
                 Changes in this Policy require the unanimous approval of the Co-Managers and President.

              5. PREVlOUS POLJClES

                 Unless incorporated by reference herein this Policy represents the complete authority of the
                 President adopted by the Co-Managers.



              Approved this ~     day of January, 2016, by:


                                                             CO-MANAGER, ASCENSION
                                                             TECHNOLOGIES, LLC


                                                             By       YJ4;ci, Rill J'PfT--
                                                             Name: Michelle Hazen
                                                             Title: Co-Manager


                                                             CO-MANAGER, ASCENSION
                                                             TECHNOLOGIES, LLC


                                                             By           ~
                                                             Name: J a m : : : ; ; r .
                                                             Title: Co-Manager




                     Ascension Technologies. LL   Delegation of Autho rity Poli cy-approved Ja nua;y   -Z.~o16
                                                                  3




                                                                                                                 JA774   CW_00009
USCA4 Appeal:
    Case      23-2097   Doc: 11-2
         3:17-cv-00461-REP             Filed: 12/06/2023
                             Document 1166-40                Pg: 319
                                                 Filed 04/21/23  Pageof11
                                                                        493
                                                                          of 11 PageID# 48422




             Accepted by:


                                                            PRESIDENT, ASCENSION TECHNOLOGIES,
                                                            LLC
                                                            By     P--- 11iM---.
                                                            Name: Brian McFadden
                                                            Title: President




                     Ascension Technologies, LLC Delegation of Authority Policy- approved January   Zl-<io 16
                                                               4




                                                                                                                JA775   CW_00010
USCA4Case
     Appeal: 23-2097    Doc: 11-2
          3:17-cv-00461-REP   Document Filed:
                                       1166-4112/06/2023     Pg: 320
                                                  Filed 04/21/23     of 493
                                                                  Page  1 of 6 PageID# 48423




                                    Exhibit 41




                                                                                   JA776
USCA4Case
     Appeal: 23-2097    Doc: 11-2
          3:17-cv-00461-REP   Document Filed:
                                       1166-4112/06/2023     Pg: 321
                                                  Filed 04/21/23     of 493
                                                                  Page  2 of 6 PageID# 48424


          From:            Karrie Wichtman
          To:              Justin Martorello; Tanya Gibbs; John L. Williams; Matt Martorello; Brian McFadden
          Subject:         RE: Ascension Manager Issue
          Date:            Thursday, January 14, 2016 3:56:01 PM


          The Tribal Council does not get to make the decision regarding his employment nor determine his
          salary other than through the budgeting process. Because daily operations, including hiring and
          firing rests with the Co-Managers having the Co-Managers between Brian and the Tribal Council
          ensures that Tribal Council can’t get a wild hair up their hiny and pass a resolution or motion to fire
          him because they do not have the authority to act in that capacity as Member.

          Karrie S. Wichtman, Partner
          ROSETTE, LLP
          Michigan Office
          Attorneys at Law
          25344 Red Arrow Highway
          Mattawan, Michigan 49071
          269.283.5005 Office
          517.913.6443 Facsimile
          480.242.6959 Cell
          kwichtman@rosettelaw.com
          rosettelaw.com

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          COOPERATION.

          From: Justin Martorello [mailto:justinm@bellicosecapital.com]
          Sent: Thursday, January 14, 2016 6:51 PM
          To: Karrie Wichtman <kwichtman@rosettelaw.com>; Tanya Gibbs <tgibbs@rosettelaw.com>; John
          L. Williams <JWilliams@cwlaw.com>; Matt Martorello <mattm@bellicosevi.com>; Brian McFadden
          <BrianM@bellicosevi.com>
          Subject: RE: Ascension Manager Issue

          Looks like we’re just over the one year mark from that conversation date. Can you please remind
          me how having the co-managers as manager insulates brian?


          From: Karrie Wichtman [mailto:kwichtman@rosettelaw.com]
          Sent: Thursday, January 14, 2016 5:31 PM
          To: Tanya Gibbs <tgibbs@rosettelaw.com>; Karrie Wichtman <kwichtman@rosettelaw.com>; John
          L. Williams <JWilliams@cwlaw.com>; Justin Martorello <justinm@bellicosecapital.com>; Matt
          Martorello <mattm@bellicosevi.com>; Brian McFadden <BrianM@bellicosevi.com>
          Subject: Ascension Manager Issue


        CONFIDENTIAL
                                                                                                               JA777
USCA4Case
     Appeal: 23-2097    Doc: 11-2
          3:17-cv-00461-REP   Document Filed:
                                       1166-4112/06/2023     Pg: 322
                                                  Filed 04/21/23     of 493
                                                                  Page  3 of 6 PageID# 48425


          All,

          Please see the discussion below regarding Ascension creation had on February 4, 2016. Matt's
          thoughts were in blue, my responses were in red, and his replies are in green. We had
          contemplated at that time that the Co-Managers would be named as Shelly and the Chairman
          in order to further insulate Brian as a tribal employee. Brian would then have his duties
          defined by his position description, his contract and certain delegations of authority by the Co-
          Managers which incidentally have already been made regarding Brian's ability to sign
          contracts (attached). I think we are in a good place now and see know reason to change. I
          hope you all agree.

          Look forward to your thoughts.

          Karrie



          From: Matt Martorello <mattm@bellicosevi.com>
          Sent: Wednesday, February 4, 2015 6:39 AM
          To: Karrie Wichtman; Justin Martorello
          Cc: Tanya Gibbs
          Subject: RE: DCTF Restructure Visual Aid

          See below... One more conversation piece on fundamentals…. assuming you have the Tribal
          Acquisition Company (TAC) as a sub of BP Holdings (BPH), BPH will take out the Note/loan and do an
          intercompany funds transfer to TAC to fund the acquisition. TAC merges with Bellicose with TAC as
          the surviving entity. TAC assigns assets to BPH and/or Ascension Tech as appropriate through an
          Assignment Agreement. After the assignment, TAC dissolves under tribal law so that BPH never has
          a direct nexus with DE and the tribal entity that does is immediately dissolved.

          Just thinking through this last night some more, you may want to have the name of the Holding
          Company different from the TLE. Reason is, if there is ever a lawsuit (say against TSE in Puerto Rico)
          it will get confusing since the holding company could get sucked into that suit from an outsider
          thinking it is the TLE. Maybe like LVD Development Holdings, or LVD Financial Services Holding
          Company would be best. See below.


          From: Karrie Wichtman [mailto:kwichtman@rosettelaw.com]
          Sent: Wednesday, February 4, 2015 1:52 AM
          To: Matt Martorello; Justin Martorello
          Cc: Tanya Gibbs
          Subject: RE: DCTF Restructure Visual Aid

          See responses below. New version attached.



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          Sincerely,


          Karrie S. Wichtman, Partner
          ROSETTE, LLP
          Michigan Office
          Attorneys at Law
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          Mattawan, Michigan 49071
          269.283.5005 Office
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          NOTIFY KARRIE S. WICHTMAN IMMEDIATELY AND DELETE THIS MESSAGE. THANK YOU FOR YOUR
          COOPERATION.



          From: Matt Martorello [mailto:mattm@bellicosevi.com]
          Sent: Wednesday, February 4, 2015 12:13 AM
          To: Karrie Wichtman; Justin Martorello
          Subject: RE: DCTF Restructure Visual Aid

              ·    I think you wanted to have a Tribal Acquisition Company which would be the Buyer, then
                  transfer assets and dissolve? Something about shedding Delaware law post acquisition.
                   That entity I think is still needed. Additional comments on this above, maybe it’s outside the
                  family of entities, but the Note is being designed to be with Holdings…
              · TSE:
              o What does “HQ” mean? Is that just the registered agent address or is there a physical office
                  and people there as well? Yes, TSE headquarters is Watersmeet, physical address would be
                  same as BPL but satellites would operate as you stated in PR and US VI. I don’t anticipate
                  this being staffed in Watersmeet.
              o Don’t forget another satellite office in St. Croix Got it
              o I think the Managers can be the Co-Managers, but I’m not yet certain. At least for now they
                  certainly can be? Co Managers insulate model for TSE Brian named as President. Should
                  remain the same. Docs revised to indemnify all – see attached.
              o There are no contracted employees, but maybe not important. Could certainly happen. I am
                  confused here. What are the employment contracts that Chelsea sent over? I thought that
                  we would certainly have executive level management folks that would be contracted.
                  Certainly not all but some. You’re right. I was just saying I don’t think there are any
                  “contractors” as employees, they’re all real “employees”… who are under contract. I’m

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                 saying they’re 100% “regular employees”, but given the locations it’s possible contracted
                 employees are in the future.
              o What did you mean by training program and employee loyalty built in? Modified language. If
                 the TSE is going to survive after the sale sunsets or is complete – it cannot operate in a
                 vacuum – it’s a tribal business and the Tribe needs to know what is happening and be
                 learning about the operation of the TSE through building relationships with TSE employees.
                 Upper level management and tribal leadership should become aware of all aspects of
                 operation of the TSE. This has been a discussion point in all of our conversations. You can
                 do whatever you want to. It’s a matter for me of just protecting the collateral so I think 2
                 things make me comfortable with flexibility, A) provisions in the Note trigger default if things
                 start going to crap (i.e. the collateral value tanking), and B) there’d never be a new
                 government’s intent to purposely tank the collateral thanks to the bad boy acts waiver and a
                 “cooling off period” post default…   That said, I believe the best way for LVD to handle their
                 purchase will be with as little red tape as possible. Any business is very hard and often
                 frustrating for nerds when the folks at the top don’t understand the business and try to push
                 the company direction. I don’t think that’s the intent though. I believe the TSE execs will be
                 able to communicate things to the Co-Managers in layman’s terms so they can understand
                 how things work and can handle the communications to Tribal council. I think that’s very
                 beneficial. Like I said, I care about the collateral just like any lender. But as long as I’m
                 covered, I’d really like LVD to do anything that they want… however, I would also like to
                 make sure this works for them too. The TSE is all about the people, so just make sure their
                 lives are good and they’re happy and there’s no question it will work.
              o AT will service RRTL and DCTF upon close. Then facilitates the launch of BPL, LLC. Got it.
              · DCTF/RRTL = Is there an advantage or disadvantage to having TLEs as subs of BPL, LLC
                 instead of BPL Holdings, LLC?   I guess an advantage would be easier to absorb the assets
                 when the rebranding is good to go. Changed it.


          From: Karrie Wichtman [mailto:kwichtman@rosettelaw.com]
          Sent: Wednesday, February 4, 2015 12:42 AM
          To: Matt Martorello; Justin Martorello
          Subject: DCTF Restructure Visual Aid

          Evening guys,

          Tribal Council meeting postponed until tomorrow which gave me a little more time to prep. I
          decided to create a visual aid to assist with my presentation tomorrow. Please take a look and let
          me know if I have something wrong.

          Thanks so much.

          Sincerely,


          Karrie S. Wichtman, Partner
          ROSETTE, LLP


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USCA4Case
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USCA4Case
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                                    Exhibit 42




                                                                                   JA782
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USCA4Case
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USCA4Case
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USCA4Case
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USCA4Case
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USCA4Case
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USCA4 Appeal:
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USCA4 Appeal:
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USCA4 Appeal:
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USCA4 Appeal:
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USCA4 Appeal:
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USCA4 Appeal:
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USCA4 Appeal:
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USCA4 Appeal:
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USCA4 Appeal:
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USCA4 Appeal:
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                                                                                   JA801
USCA4 Appeal:
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USCA4 Appeal:
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                                                                                   JA803
USCA4Case
     Appeal: 23-2097    Doc: 11-2
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                                       1166-4312/06/2023     Pg: 348
                                                  Filed 04/21/23     of 493
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                                    Exhibit 43




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USCA4Case
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                                    ASCENSION TECHNOLOGIES, LLC
                                       Delegation of Authority Policy

                                      Ascension Technologies, LLC Co-Managers
                                             Effective January il., 2016


             I. GENERAL PURPOSE

                   1.1. Objective. The Ascension Technologies, LLC ("Ascension") Co-Managers establish
                        this Delegation of Authority Policy (the "Policy") to establish those powers granted
                        to the President and those specifically reserved for determination by the Co-
                        Managers.

                  1.2. Matters Reserved For the Co-Managers. The matters specifically reserved for the
                       Co-Managers under this Policy include:

                        a) approval of Ascension contracts that create an obligation for Ascension over
                           $100,000 in a calendar year, as described in Co-Manager Meeting Minutes
                           dated February 18, 2015;

                        b) appointment and succession of the President of Ascension; and

                        c) approval of adoption of any new major employee benefit plans and programs
                           and approval of any major amendment of an existing major employee benefit
                           plan or program (e.g., Pension Plan and Savings Plan) which might significantly
                           alter the scope, nature or degree of benefits as presented by the President or
                           otherwise accounted for in the Operating or Servicing Budget.

                  1.3. Matters Reserved for the Member. The matters specifically reserved for the Tribal
                       Council as Member of Tribal Economic Development Holdings, LLC pursuant to
                       Ascension's Operating Agreement include:

                        a) approval of any agreement to borrow, pledge, assign, convey, encumber, grant
                           security interest in, guaranty, or otherwise restrict the assets of Ascension;

                        b) approval of any sale or other disposal of all or substantially all of the assets of
                           Ascension; and

                        c) approval of any waiver of sovereign immunity of Ascension.




                    Ascension Technologies, LLC Delegation of Authority Policy-approved JanuaryU,, 2016
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CONFIDENTIAL                                                                                              LVD-DE F00002881
USCA4 Appeal:
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                  I .4. Matters Delegated to the President. The Co-Managers expressly grant to the
                        President:

                        a) approval of Ascension strategic direction, goals and targets which shall be
                           communicated to Co-Managers in accordance with Section 1.5 but no less
                           frequently than quarterly.

                        b) authority to execute documents on behalf of Ascension, subject to the
                           limitations contained in Sections 1.2(a) and 1.3 herein;

                        c) authority to open and maintain bank accounts and to interface with any lockbox
                           service providers in the ordinary course of business of Ascension; provided
                           however Co-Managers are informed of the locations and account numbers for
                           an·y bank accounts opened pursuant to this delegation;

                        d) authority to adopt, terminate, or change employee benefit plans or programs,
                           except major additions or changes to major employee benefit plans or programs
                           as set forth in Section 1.2(d) above; and

                        e) authority regarding all matters necessary for the day to day management of
                           Ascension, including delegation to subordinates, and the implementation of
                           corporate objectives that are not specifically reserved to the Co-Managers set
                           forth in Section 1.2 or Member set forth in Section 1.3.

                  1.5. Reporting by the President to the Co-Managers. As part of the framework
                       established by this Policy, the President is required to report regularly to the Co-
                       Managers concerning the authority exercised and matters which come, or may come
                       within, the scope of matters reserved for the Co-Managers or Member.

             2. EXPENDITURE APPROVAL POLICY

                The President has the authority to make expenditures in a manner consistent with the
                approved annual operating budget of Ascension, as limited by Section l .2(a) herein.

             3. COMMUNICATIONS ON BEHALF OF ASCENSION

                   3. I. Verbal communications. All verbal communications with media, regulatory bodies,
                         or other entities which may have a material effect on Ascension, are limited to the
                         President, or a person directly delegated by the President to speak on behalf of
                         Ascension or pursuant to Ascension's written and duly adopted communications
                         policy. Any such inquiries as well as how they were handled shall be reported to the
                         Co-Managers within a reasonable time of the inquiry.

                   3.2. Written communications. Any written communication with media, regulatory
                        bodies, or other entities which may have a material effect on Ascension, must to be


                     Ascension Technologies, LLC Delegation of Authority Policy-<1pproved January l"Z-;-2016
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CONFIDENTIAL                                                                                                   LVD-DEF00002882
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            Accepted by:


                                                          PRESIDENT, ASCENSION TECHNOLOGIES,
                                                          LLC

                                                         . By    P- -~-~--
                                                           Name: Brian McFadden
                                                           Title: President




                    Ascension Technologies, LLC Delegation of Authority Policy-approved January ZZ-.-1016
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CONFIDENTIAL                                                                                                LVD-DEF00002884
USCA4Case
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                                    Exhibit 44




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USCA4Case
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USCA4Case
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USCA4Case
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USCA4Case
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USCA4Case
      Appeal: 23-2097    Doc: 11-2
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USCA4Case
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USCA4Case
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                                    Exhibit 45




                                                                                   JA824
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                                   LOAN AND SECURITY AGREEMENT

               This LOAN AND SECURITY AGREEMENT (this "Agreement"), executed on September
         14,2015 to become effective as of Close as defined in the Merger Agreement the Effective Date,
        by and between Tribal Economic Development Holdings, LLC, (together with its Subsidiaries as
        defined herein, successors and assigns, the "Borrower"), a wholly-owned holding company ofthe
        Lac Vieux Desert Band of Lake Superior Chippewa Indians, a federally recognized Indian tribe
        (the "Tribe"), and Eventide Credit Acquisitions, LLC, a Delaware limited liability company
        (together with its successors or assigns, the "Lender"). All capitalized terms that are not otherwise
        defined herein shall have the meanings ascribed to them in the Transaction Documents (as
        hereinafter defined).


                This Agreement is made and delivered by Borrower in connection with the acquisition
         through merger ofBeHicose Capital, LLC, a Delaware limited liability company (the "Company")
         by Borrower's subsidiary, LVD Tribal Acquisition Company, LLC, pursuant to that certain
         Agreement and Plan ofMerger, executed on September ~, 2015 but effective as ofthe Effective
         Date of the Merger Agreement among, Borrower, Bellicose Capital, LLC, and Eventide Credit
         Acquisitions, LLC (the "Merger Agreement"). Borrower and Lender may each be referred to as
         "Party" and collectively as "Parties."

                                                1.     THE LOAN

        1.1     Loan. Su~iect to the terms and conditions ofthis Agreement, Lender hereby agrees to loan
        to or for the benefit of Borrower a principal amount equal to the Acquisition Amount as defined
        in the Merger Agreement to fund the purchase price for Company (the "Loan"). Should the Merger
        Agreement be canceled due to the failure to meet the conditions precedent in the Merger
        Agreement, this Agreement and the Note shall terminate. The Loan shall be evidenced by that
        certain Promissory Note, dated as of the date hereof (the "Note") given by Borrower to the order
        of Lender, in the face amount of the Acquisition Amount. This Agreement, the Note, the Merger
        Agreement, the Servicing Agreement, 10ckbox agreements, any deposit account control
        agreements, the Parental Guarantee and Sovereign Immunity Waiver Agreement and any and all
        other documents, amendments or renewals executed and delivered and/or held in escrow in
        connection with any of the foregoing, including any guaranties of any obligation of Borrower are
        collectively hereinafter referred to as the "Transaction Documents."

         1.2     Interest. Interest respecting the outstanding principal balance of the Loan will be charged
         to Borrower from time to time outstanding at the rate specified in the Note in accordance with the
         terms of the Note or as otherwise set forth in this Agreement. Interest on the Loan will be based
         on the actual number of days elapsed in a given calendar month and an assumed 360-day year.

         1.3    Payments. Payments shall be set forth in the Note.

         1.4    Conduct of Business. Borrower, through Borrower's Subsidiaries, is (and throughout the
         term of the Loan shall be) engaged in the business related to consumer lending for the Tribe (the
         "Business"), and Borrower's Subsidiaries shall not conduct any business activities unrelated to the
         Business while any Obligations (as hereinafter defined) are outstanding.




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                                  2.      GRANT OF SECURITY INTEREST

        2.1     Grant of Security Interest. In consideration of Lender's extending credit and other financial
        accommodations to or for the benefit of Borrower, Borrower and its Subsidiaries hereby grant to
        Lender a security interest in, a lien on and pledge and assignment of the Collateral (as hereinafter
        defined), including, without limitation, all claims against third parties arising out of or related to
        the Collateral. The security interest granted by this Agreement is given to and shall be held by
        Lender as security for the payment and performance of all Obligations, including, without
        limitation, all amounts outstanding pursuant to the Note. Borrower and Subsidiaries hereby
        authorized the filing of by Lender of any financing statement in any applicable jurisdiction, and
        such financing statement may describe the collateral as "all assets" or a similar description.

        2.2    Definitions. As used herein, the following definitions shall have the following meanings:

        (a)    "Business Day'''' shall mean any day other than a Saturday, Sunday or day that is or shall
               be a federal holiday or a day on which banking institutions are required or authorized to
               close.

        (b)    "Collateral" shall mean all of Borrower's and any Subsidiary's present and future right, title
               and interest in, to and under the following described property whether (unless otherwise
               defined herein, each capitalized term used herein shall have the meaning given to it in the
               DCC) whether directly owned by Borrower or owned by a Subsidiary:

               (i)      all now existing and hereafter acquired or arising Accounts, Goods, General
                        Intangibles, Payment Intangibles, Financial Assets, Deposit Accounts (including,
                        without limitation, the Collateral Account), Chattel Paper (including, without
                        limitation, Electronic Chattel Paper), Documents, Instruments, Software,
                        Investment Property, Letters of Credit, Letter-of-Credit Rights, Commercial Tort
                        Claims; money, Equipment, Inventory, Fixtures, and Supporting Obligations,
                        together with all products of and Accessions to any of the foregoing and all
                        Proceeds of any ofthe foregoing (including without limitation all insurance policies
                        and proceeds thereof), and those agreements held in escrow for benefit of Lender
                        in an Event of Default providing for the potential merger of Ascension
                        Technologies, LLC; the control of certain intellectual property interests
                        (specifically including website domain names); and certain vendor agreements;

                (ii)    to the extent, if any, not included in clause (i) above, each and every other item of
                        personal property and fixtures, whether now existing or hereafter arising or
                        acquired, including, without limitation, all software use licenses, contracts and
                        agreements, and all collateral for the payment or performance of any contract or
                        agreement, together with all products and Proceeds (including all insurance policies
                        and proceeds) of any accessions to any of the foregoing; and

                (iii)   all present and future business records and information relating to any of the
                        foregoing, including computer tapes and other storage media containing the same
                        and computer programs and software (including without limitation, source code,
                        object code and related manuals and documentation and all licenses to use such



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                      software) for accessing and manipulating such information, provided Borrower and
                      its Subsidiaries may retain copies of the same business records and information as
                      required by applicable law.

               All such information shall be subject to Section 5.17 of this Agreement.

        (c)    "Collateral Account" shall mean any account(s) of Borrower or a Subsidiary (including
               banking, ACH processing, reserve or other accounts in which Borrower or a Subsidiary
               may have an economic interest) through which Borrower or the Subsidiary conducts its
               Business and maintains a deposit account control agreements and lockbox agreements to
               protect the interests of Lender unless otherwise waived by Lender.

        (d)    "Consumer" shall have the meaning given under the Code.

        (e)    "Consumer Loan" shall mean a "Small Loan Transaction" as defined III the Tribal
               Consumer Financial Services Regulatory Code.

        (f)    "Financial Assets" shall mean any security for an obligation of a person or a share
               participation or other interest in a person or in property or an enterprise of a person which
               is, or is of a type, dealt in or traded on financial markets, or which is recognized in any area
               which it is issued or dealt in as a medium for investment, or any property that is held by a
               securities intermediary for another person in Investment Property if the securities
               intermediary has expressly agreed with the other person that the property is to be treated
               as a financial asset.

        (g)    "Investment Property" means a security, whether certificated or uncertificated, security
               entitlement, securities account, contract, or commodity account.

        (h)    "MateriaLAdverseEffect" shall mean, with.respect to Borrower, any event;. occurrence,.
               development, fact, condition or change that individually or in the aggregate is or would be
               reasonably likely to be materially adverse to the operations or financial performance of
               Borrower or any of Borrower's Subsidiaries.

        (i)    "Obligation(s)" shall mean, without limitation, all loans, advances, indebtedness, notes,
               liabilities and amounts, liquidated or unliquidated, owing by Borrower to Lender at any
               time, of each and every kind, nature and description, whether arising under this Agreement
               or otherwise, and whether secured or unsecured, direct or indirect (that is, whether the same
               are due directly by Borrower to Lender; or are due indirectly by Borrower to Lender as
               endorser, guarantor or other surety, or as borrower of obligations due third persons which
               have been endorsed or assigned to Lender, or otherwise), absolute or contingent, due or to
               become due, now existing or hereafter arising or contracted, including, without limitation,
               payment when due of all amounts outstanding respecting any of the Transaction
               Documents. Said term shall also include all interest and other charges chargeable to
               Borrower or due from Borrower to Lender from time to time and all fees, costs and
               expenses referred to in this Agreement.

         G)    "Person" or "Pill1Y" shall mean individuals, partnerships, corporations, limited liability
               companies and all other entities.


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        (k)    "Senior Debt" shall mean (1) the debt owed to Alpha Credit Resources, LLC, a Delaware
               limited liability company by Borrower or a Subsidiary; (2) those notes owed and acquired
               through the merger of Bellicose Capital, LLC into LVD Tribal Acquisition Company, LLC
               ("TAC"), and subsequently assigned by TAC to Borrower as set forth in Exhibit A of the
               Merger Agreement; (3) the successor in interest to the line of credit provided by Source
               Point VI, LLC originally held by Red Rock Lending, LLC and transferred to Big Picture
               Loans, LLC and reaffirmed; (4) the successor in interest to the line of credit provided by
               Source Point VI, LLC and Big Picture Loans, LLC as reaffirmed; and (5) such other debt
               as agreed to in writing by Lender pursuant to the Transaction documents.

        (1)    "Senior Lender" shall mean any party providing Senior Debt, and collectively, "Senior
               Lenders."

        (m)    "Subsidiary" shall mean Big Picture Loans, LLC, Ascension Technologies, LLC, LVD
               Tribal Acquisition Company, LLC and any other entity created as allowed under the
               Transaction Documents (collectively referred to as the "Subsidiaries")

        (n)    "UCC" shall mean the Uniform Commercial Code in effect in the State of Delaware from
               time to time.

        (0)    "Tribal" shall mean of or relating to the Tribe.

        All other capitalized terms used in this Agreement shall have the meanings accorded to them in
        the UCC, and if not defined therein, the Merger Agreement or other applicable Transaction
        Document, or otherwise they shall have the word's or term's normal and customary use within the
        industry. Definitions referenced or used herein are for interpretation of this Agreement and the
        Transaction Documents only.

        2.3    Ordinary Course of Business; Lender- hereby authorizes and permits Borrowcr through the . . .... _, ~--   >-



        lockbox(es) established by mutual agreement and under the deposit account control agreements
        (unless other waived by Lender) to receive from its Subsidiaries the proceeds of the Collateral at
        Borrower's own cost and expense, and also liability, if any, subject to Borrower's and the
        Subsidiaries' obligations under this Agreement and the Note; provided however, that following an
        Event of Default or at maturity, the Lender may terminate all or any part of the authority and
        permission granted to Borrower and/or any Subsidiary with reference to the Collateral. Subject to
        the Senior Debt requirements, all proceeds of and collections of Collateral shall be retained by the
        lockbox agent and used for purposes of satisfying Section 1.2 of the Note and making
        disbursements thereunder. Borrower and its Subsidiaries acknowledge and agree that the lockbox
        agent must direct all funds available from each Subsidiary and the Borrower to follow the cash
        waterfall established by Section 1.2 of the Note. From and after an Event of Default which has
        not been waived by Lender, all proceeds of and collections of the Collateral shall be held in trust
        by Borrower and/or any Subsidiary for the benefit of Lender and shall not be commingled with
        any other funds or deposited in any bank account of Borrower or a Subsidiary other than a
        Collateral Account; and, from and after an Event of Default which has not been waived by Lender,
        Borrower and each Subsidiary agrees to deliver to Lender on the dates of receipt thereof by
        Borrower and/or its Subsidiaries, duly endorsed to Lender or to bearer, or assigned to Lender, as




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        may be appropriate, all proceeds ofthe Collateral in the identical form received by Borrower and/or
        any Subsidiary.

        2.4     Records. Borrower and/or each Subsidiary shall deliver to Lender from time to time
        promptly at its request all invoices, original documents oftitle, contracts, chattel paper, instruments
        and any other writings relating thereto, and other evidence ofperformance ofcontracts, or evidence
        ofthe rendering of services of Borrower, or Subsidiary; and Borrower and! or each Subsidiary will
        deliver to Lender promptly at Lender's request from time to time additional copies of any or all of
        such papers or writings, and such other information with respect to any of the Collateral and such
        schedules of accounts and such other writings as Lender may in its sole discretion deem to be
        necessary or effectual to evidence any loan or Consumer Loan hereunder or Lender's security
        interest in the Collateral.

        2.5     Legends. Borrower or Subsidiary shall promptly make, stamp or record such entries or
        legends on Borrower's or that Subsidiary's books and records or on any ofthe Collateral (including,
        without limitation, chattel paper or electronic chattel paper) as Lender shall request from time to
        time, to indicate and disclose that Lender has a security interest in such Collateral. Such books
        and records may be maintained in electronic form (provided that any Consumer Loan shall be
        evidenced by electronic records which at all times comply with the requirements of all applicable
        federal and Tribal laws) and the entries or legends indicating or disclosing Lender's security
        interest shall be made electronically on any such electronic records.

                              3.      REPRESENTATIONS AND WARRANTIES

                Borrower and each Subsidiary represent and warrant to Lender that the following are, and
        after giving effect to the transactions contemplated by this Agreement and the other Transaction
        Documents will be, true, correct and complete:

        3.1 'OrganizatiOll'and Qualification. Bonower'and Borrower's Subsidiaries are-each' duly ,
        formed and existing limited liability companies under Tribal law and are wholly-owned
        subsidiaries of Borrower, and therefore the Tribe. Borrower and Borrower's Subsidiaries are in
        good standing under Tribal law and each has the power to own its property and conduct its business
        as now conducted and as currently proposed to be conducted.

         3.2    Subsidiaries. Borrower shall not during the term of this Agreement create additional
         subsidiaries without the written consent of Lender, but may terminate and dissolve at will any
         subsidiary that has terminated operations provided that such termination may not create a Material
         Adverse Effect.

         3.3    Corporate Records. Borrower's and Borrower's Subsidiaries' articles of organization have
         been duly filed and their articles of organization and operating agreement are in proper order. All
         outstanding equity issued by Borrower and Borrower's Subsidiaries was and is properly issued and
         all books and records of Borrower and each Subsidiary, including but not limited to its minute
         books, operating agreement, and books of account, are accurate and up to date and will be so
         maintained.

         3.4    Title to Properties; Absence of Liens. Borrower and each Subsidiary has good and clear
         record and marketable title to all of its properties and assets, and all of its properties and assets,


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        including the Collateral (as defined herein) to the extent owned by Borrower or a Subsidiary, are
        free and clear of all mortgages, liens, pledges, charges, encumbrances and setoffs, other than the
        Senior Debt and other security interests outstanding as of the Effective Date ("Permitted Liens").

        3.5     Places of Business. Borrower's principal place of business and chief executive office are
        located within Tribal jurisdiction at N5384 U.S. Hwy. 45, P. O. Box 704, Watersmeet, Michigan,
        49969, and Borrower shall, during the term of this Agreement, keep Lender currently and
        accurately informed in writing of each of its and its Subsidiaries other places of business, and shall
        not change the location of any such principal place of business or open or close, move or change
        any existing or new place of business without giving Lender at least thirty (30) days prior written
        notice thereof unless otherwise waived by the Lender.

        3.6     Valid Obligations. The execution, delivery and performance ofthe Transaction Documents
        have been duly authorized by all necessary action and the Transaction Documents represent the
        legal, valid and binding obligation of Borrower and its Subsidiaries and are fully enforceable
        according to their terms, except as limited by (a) bankruptcy, insolvency, reorganization,
        receivership, moratorium and other laws affecting creditors' rights and (b) the exercise ofjudicial
        discretion and the application of principles of equity, good faith, fair dealing, reasonableness,
        conscionability and materiality (regardless of whether the applicable agreements are considered in
        a proceeding in equity or at law).

        3.7     Conflicts. There is no provlSlon in Borrower's or any Subsidiary's organizational
        documents, if any, or in any indenture, contract or agreement to which Borrower or a Subsidiary
        is a party which prohibits, limits or restricts the execution, delivery or performance of Borrower's
        or a Subsidiaries obligations under the Transaction Documents other than those associated with
        the Senior Debt and 5.2 (c) of the Operating Agreement of the Borrower, as it exists on the
        Effective Date.

        3.8     Approvals. The execution, delivery and perfoi.111ance of the Transacti6irDocllmentshave
        been duly authorized and approved by the Tribe, as member of the Borrower, do not and will not
        require any additional approval of or filing with any Tribal or governmental agency or authority
        or any other Person.

        3.9    Litigation. At the time of execution of this document, there are no actions, suits or
        proceedings pending or, to the knowledge of Borrower, threatened against Borrower or the
        Subsidiaries which would be reasonably expected to cause a Material Adverse Effect.

        3.10 Title to Collateral. As of the Effective Date and subject to Section 6.4, Borrower is the
        lawful owner of its assets constituting the Collateral, and the Collateral and each item thereof is
        free of all restrictions, liens, encumbrances or other rights, title or interests, credits, defenses,
        recoupments, set-offs or counterclaims whatsoever, other than the security interest granted to
        Lender hereby and the Permitted Liens. Borrower has full power and authority to grant to Lender
        a security interest in the Collateral, and neither Borrower nor any of Borrower's Subsidiaries have
        transferred, assigned, sold, pledged, encumbered, subjected to lien or granted any security interest
        in, and will not transfer, assign, sell, pledge, encumber, subject to lien or grant any security interest
        in any of the Collateral (or any of Borrower's or its Subsidiaries' right, title or interest therein), to
        any person other than Lender or the holder of a Permitted Lien. The Collateral is valid and genuine



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        in all respects. Except as to claims by a Senior Lender, Borrower and each Subsidiary will warrant
        and defend Lender's right to and interest in the Collateral against all claims and demands of all
        persons whatsoever.

        3.11 Third Parties. Lender shall not be deemed to have assumed any liability or responsibility
        to Borrower, a Subsidiary or any third person for the correctness, validity or genuineness of any
        instruments or documents that may be released or endorsed to Borrower or a Subsidiary by Lender
        (which shall automatically be deemed to be without recourse to Lender in any event) or for the
        existence, character, quantity, quality, condition, value or delivery of any goods purporting to be
        represented by any such documents; and Lender, by accepting such security interest in the
        Collateral owned by Borrower or a Subsidiary, or by releasing any Collateral to Borrower or
        Subsidiary, shall not be deemed to have assumed any obligation or liability to any Consumer or to
        any other third party, and Borrower and each Subsidiary agree to indemnify and defend Lender
        and hold Lender harmless in respect to any claim or proceeding arising out of any matter referred
        to in this paragraph.

        3.12 Taxes. Borrower and each Subsidiary has filed, or will file, all applicable and required
        Federal, Tribal, state and other tax returns (except for such returns for which current and valid
        extensions have been filed), and all taxes, assessments and other governmental charges due from
        Borrower or a Subsidiary have been fully paid. Borrower and each Subsidiary have established
        on their books reserves adequate for the payment of all applicable and required Federal, Tribal,
        state and other tax liabilities (if any).

        3.13 Use of Proceeds. Funds received under this Agreement may only be used for the
        acquisition of Bellicose Capital, LLC by TAC, and Borrower and/or its Subsidiaries shall receive
        good and valuable consideration in connection with such acquisition.

        3.14 Compliance with Law. As of the Effective Date, Borrower and each Subsidiary are in
        compliance with all applicable laws.

        3.15 Disclosure. This Agreement (together with all exhibits and schedules hereto), the other
        Transaction Documents and the other agreements, certificates and other documents furnished to
        Lender by or on behalf of Borrower and each Subsidiary related to effectuating the Transaction
        Documents do not contain any untrue statement of a material fact or omit to state a material fact
        necessary in order to make the statements contained herein or therein, in the light of the
        circumstances under which they were made, not misleading. There is no fact known to Borrower
        or a Subsidiary which has not been disclosed to Lender in writing which could reasonably be
        expected to have a Material Adverse Effect.

                                    4.      AFFIRMATIVE COVENANTS

         4.1    Payments and Performance. Borrower and each Subsidiary will duly and punctually pay
         and perform all Obligations on its part to be done or performed under this Agreement.

         4.2     Books and Records; Inspection. Borrower and each Subsidiary will at all times keep proper
         books of account in which full, true and correct entries will be made of its transactions in
         accordance with its standard practices, consistently applied. Borrower and each Subsidiary will at
         all reasonable times, and on reasonable advance notice, make its books, records, and accounting


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        practices and procedures available in its offices for a field inspection and examination by Lender
        and/or Lender's representatives and will permit inspection of the Collateral and all of its properties
        by Lender and/or Lender's representatives (a "Field Inspection"). Lender may, at its option and
        expense, require a Field Inspection not more than one (1) time in any calendar quarter, unless an
        Event of Default shall occur which has not been waived by Lender, in which case Lender shall be
        permitted to require a Field Inspection as frequently as Lender deems reasonably necessary. In
        the event that an infraction is found, all reasonable costs and expenses incurred by Lender in
        connection with any Field Inspection shall be borne by Borrower, otherwise such costs shall be
        borne by Lender. Borrower and! or any Subsidiary will from time to time furnish Lender with
        such information and statements as Lender may request in its sole discretion with respect to the
        Obligations or Lender's security interest in the Collateral, and Borrower shall have a commercially
        reasonable time period to produce such information and statements. Borrower shall, during the
        term ofthis Agreement, keep Lender currently and accurately informed in writing of each location
        where Borrower's or a Subsidiary's records relating to its accounts and contract rights are kept, and
        shall not remove such records to another jurisdiction without giving Lender at least thirty (30) days
        prior written notice thereof.

        4.3    Financial Information. Borrower and each Subsidiary will furnish to Lender:

        (a)    real-time, read-only, online access to information concerning sums on deposit (including
               credits and debits) to any Collateral Account or other pertinent accounts and other
               information contained in technology used to monitor the Collateral;

        (b)     as soon as available to Borrower and each Subsidiary, but in any event within thirty (30)
                days after the close of each calendar month, a full and complete signed copy of financial
                statements, which shall include a balance sheet of Borrower and each Subsidiary, as at the
                end of such month, and statement of profit and loss of Borrower and each Subsidiary
                reflecting the results of its operations during such month and shall be prepared by Borrower
                and eachStibsidiary and certified by a senior officer of Borrower or each Subsidiary as
                appropriate having primary responsibility for the preparation of such financial statements
                as to correctness in accordance with Borrower's standard practices, consistently applied,
                subject to year-end adjustments;

        (c)     as soon as available to Borrower or a Subsidiary, but in any event within thirty (30) days
                after the close of each calendar quarter, a full and complete signed copy of financial
                statements, which shall include a balance sheet of Borrower and each Subsidiary, as at the
                end of such quarter, and statement of profit and loss of Borrower and each Subsidiary
                reflecting the results of its operations during such quarter and shall be prepared by
                Borrower or the respective Subsidiary and certified by a senior officer of Borrower or the
                respective Subsidiary having primary responsibility for the preparation of such financial
                statements as to correctness in accordance with Borrower's standard practices, consistently
                applied, subject to year-end adjustments; and

        (d)     promptly, from time to time, such other financial data and information about Borrower or
                a Subsidiary, including a Subsidiary's Consumer Loans, if applicable, and the performance
                thereof, as Lender may reasonably request.




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        All information submitted pursuant to this Section 4.3 shall be certified as true, accurate, and
        complete in all material respects by Borrower or the respective Subsidiary.

        4.4     Financial & Operational Performance. Borrower and its Subsidiaries shall only use the
        Collateral for the benefit of TED and its Subsidiaries and to meet their fiduciary obligations to
        Lender under this Agreement. Borrower and/or its Subsidiaries shall maintain a range of the
        cumulative loan portfolio (all Consumer Loans on Borrower's or a Subsidiary's balance sheet
        current up to sixty (60) days past due) of a minimum portfolio size of fifteen million dollars
        ($15,000,000) to a maximum portfolio size in any given month equal to 1.1 times the previous
        month's portfolio size. All funds in excess of those required for (a) balancing requirements of
        Senior Lenders and (b) the monthly maximum portfolio size, shall be applied to Note payments.
        As long as Borrower and Subsidiaries meet their fiduciary obligations to maximize Note payments
        during the term of the Note, Lender agrees that Subsidiaries may do Business such that Note
        payments may be affected while portfolio size is within the above mentioned range. Regardless
        of portfolio size, any additional debt may only be entered into as allowed under this Agreement.

        4.5    Conduct of Business. Borrower and each Subsidiary will maintain its articles of
        organization and existence in good standing and materially comply with all laws and regulations
        of the Tribe and of any other governmental authority which may be applicable to it or to the
        Business. Each lending Subsidiary will maintain servicing agreements with the servicing
        Subsidiary in a form substantially the same as that in place at the execution of this agreement and
        not make any changes that would cause a Material Adverse Effect under this Agreement.

        4.6     Contact with Accountant. Borrower and each Subsidiary hereby authorizes Lender to
        directly contact and communicate with any accountant employed by Borrower or the respective
        Subsidiary in connection with the review and/or maintenance of Borrower's or the respective
        Subsidiary's books and records or preparation of any financial reports delivered by or at the request
        of Borrower or a Subsidiary to Lender. To the extent any accountant is so employed, Borrower or
        the respective Subsidiary shall provide Lender with full contact information for such accountant
        or any other accountant which may be employed by Borrower or the respective Subsidiary to
        replace such accountant.

        4.7     Taxes. Borrower and each Subsidiary will promptly pay all applicable real and personal
        property taxes, assessments and charges and all franchise, income, unemployment, old age
        benefits, withholding, sales and other taxes assessed against it or payable by it before delinquent;
        provided that this covenant shall not apply to any tax assessment or charge which is being contested
        in good faith or any outstanding tax liability of Lender or its subsidiaries incurred prior to the
        Effective Date. Lender may, at its option, from time to time, discharge any taxes resulting in a
        lien or encumbrance on the Collateral, or other charges resulting in liens or encumbrances on any
        of the Collateral, and Borrower will pay to Lender on demand or Lender in its sole discretion may
        charge to Borrower all amounts so paid or incurred by it.

         4.8     Indemnity. Borrower and each Subsidiary shall protect, defend (by counsel selected by
         Lender and reasonably acceptable to Borrower), indemnify and hold harmless Lender and Lender's
         officers, directors, partners, shareholders, members, employees, attorneys, successors and
         permitted assigns and any successors to Lender's interest in the Loan, their officers, directors,
         partners, shareholders, employees, attorneys, successors and permitted assigns (collectively, the


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        "Indemnitees") from and against all liabilities (including sums paid in settlement of claims), losses,
        costs, obligations, demands, suits, liens, damages, fines (including any sums ordered to be paid or
        expended by Indemnitees by any governmental entity as a fine), penalties or damages arising as a
        direct or indirect result of any of the following with respect to Borrower's, any Subsidiary's: (a)
        fraud, (b) intentional material misrepresentation, (c) failure to pay applicable taxes, (d)
        misapplication of funds (including any sums on deposit from time to time in the Collateral
        Account), (e) failure to apply funds to pay the Obligations following an Event of Default pursuant
        to Section 6, (1) additional financing incurred or guaranteed by Borrower or any Subsidiary in
        violation of the terms of the Transaction Documents, (g) transfer of substantially all of Borrower's
        or Subsidiary's assets without consent of Lender, (h) gross negligence, (i) willful misconduct, and
        G) court costs and attorneys' fees. In addition, Borrower and each Subsidiary shall indemnify and
        hold harmless the Indemnitees from and against any liabilities or costs incurred by any Indemnitee
        under the deposit account control agreement between the Parties.

         4.9     Insurance. Borrower and each Subsidiary will maintain (or cause to be maintained) in force
         insurance on its properties against risks customarily insured against by companies engaged in
         businesses similar to that of Borrower or the respective Subsidiary containing such terms and
         written by such companies reasonably standard in the industry, with Lender to be named as the
         loss payee.

         4.10 Notification of Default. Within five (5) days of becoming aware of the existence of any
         condition or event which constitutes an Event of Default, or any condition or event which would
         upon notice or lapse oftime, or both, constitute an Event of Default, Borrower and/ or a Subsidiary
         shall give Lender written notice thereof specifying the nature and duration thereof and the action
         being or proposed to be taken with respect thereto.

         4.11 Notification of Litigation. Borrower will promptly notify Lender in writing of any
         litigatioIl or of any investigative or enforcement actions initiated by a governmental agency or
         authority against it or any Subsidiary which would or is reasonably be expeCted to have a Material
         Adverse Effect, and which would cause the potential liability of Borrower and/ or a Subsidiary
         under such litigation, when aggregated with all other active litigation against Borrower or any
         Subsidiary, to exceed twenty-five thousand dollars (US$25,000.OO), unless the potential liability
         of Borrower under such litigation is covered by a policy of insurance acceptable to Lender, Lender
         has been named as an additional insured or additional loss payee and has received reasonably
         acceptable endorsements from such insurer(s) to such effect, and Lender has been provided
         evidence satisfactory to Lender that such insurance coverage is in full force and effect. The Parties
         agree this Section does not apply to correspondence or inquiries received in the ordinary course of
         business from various state agencies or departments. Without limiting the foregoing, within two
         (2) days of Borrower or any Subsidiary obtaining knowledge of the existence thereof, Borrower
         or Subsidiary shall notify Lender of any applicable investigative or enforcement action, and shall
         immediately forward to Lender, on receipt thereof by Borrower or any Subsidiary, a copy of any
         written communication or correspondence concerning the foregoing.

         4.12 Compliance. Borrower and each Subsidiary shall comply with all applicable requirements
         of governmental authorities having jurisdiction over Borrower and each Subsidiary, including,
         without limitation, those relating to money laundering and terrorism, in each case as amended from
         time to time, and the rules and regulations promulgated thereunder.


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        4.13 Organizational Documents. Borrower and each Subsidiary shall comply in all respects
        with Borrower's or the respective Subsidiary's articles of organization and Borrower's or the
        respective Subsidiary's operating agreement.

        4.14 Location of Collateral. Borrower and each Subsidiary shall, during the term of this
        Agreement, keep Lender currently and accurately informed in writing of each location where
        Borrower's and each Subsidiary's records relating to its accounts and contract rights, including
        Consumer Loans, respectively, are kept, and shall not remove such records or any of them to
        another location without giving Lender at least thirty (30) days prior written notice thereof. The
        Borrower and Subsidiaries have agreed to pre-signed assignments of all vendor agreements and
        associated obligations in favor of the Lender and held in escrow for Lender, and for any future
        vendor agreements shall provide pre-signed assignments to be held in escrow upon the execution
        of any new vendor agreements. Further, the Borrower and certain Subsidiaries, have agreed to
        pre-signed merger agreements to be held in escrow by the Lender.

        4.15 Notification of Material Adverse Effect. Borrower and/or a Subsidiary will immediately
        notify Lender of any Material Adverse Effect.

        4.16    Deposit Account Control Agreements/Lockbox.

        (a)     Unless waived in writing by Lender or as otherwise limited pursuant to Section 6.4, the
                Borrower and each Subsidiary will enter into (l) a deposit account control agreement (or
                maintain existing deposit account control agreements) for any bank account(s) in which
                the Subsidiary conducts its business in a form mutually agreeable with Lender and agrees
                to enter into other banking arrangements only if a mutual agreeable deposit account control
                agreement is in place and (2) enter into a lockbox agreement in a form mutually agreeable
                with Lender and third-party provider for the lending Subsidiaries.

        '(b) ... In the' event the lockbox' agreement is terminated or fails for any reason, the Collateral'"
                 Account(s) shall be governed by the existing deposit account control agreement(s) to
                 ensure the continued operation of the Business and satisfaction of obligations under the
                 Transaction Documents. Unless mutually agreed by the Parties, upon the termination or
                 failure of the lockbox agreement required by (a)(ii), a new lockbox agreement will be
                 entered into by Borrower and each Subsidiary in a form mutually agreeable with the Lender
                 and third-party provider for the Subsidiaries

        4.17 Costs & Expenses. The Borrower and each Subsidiary will maintain a fiduciary duty to
        the Lender to keep costs and expenses (including any capital expenses or other investments)
        associated with operations within industry standards and that all transactions with affiliates shall
        occur at no more than arms-length, market rates, and Borrower will not allow any movement of
        assets or liabilities between affiliates (such movement shall not include payment of affiliates for
        services rendered under contracts for services) unless approved by Lender. Any excessive salary
        or bonus payments must be accounted for the Tribe's distribution under the cash waterfall in the
        Note or other Tribal equity. For the term of the Note, neither Borrower nor any Subsidiary shall
        make any charitable donations or any investments in excess of an aggregate of$5,000 per year for
        all entities unless approved by Lender.




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        4.18 Title to Acquired Collateral. As to Collateral that Borrower (directly or through its
        Subsidiaries) acquires, Borrower or Subsidiary shall be the lawful owner of its assets constituting
        the Collateral. The Collateral and each item thereof will be and shall continue to be free of all
        restrictions, liens, encumbrances or other rights, title or interests, credits, defenses, recoupments,
        set-offs or counterclaims whatsoever, other than the security interest granted to Lender hereby and
        the Permitted Liens. Borrower and Subsidiaries have full power and authority to grant to Lender
        a security interest in the Collateral as it is acquired, and neither Borrower nor any of Borrower's
        Subsidiaries will transfer, assign, sell, pledge, encumber, subject to lien or grant any security
        interest in any of the Collateral (or any of Borrower's or its Subsidiaries' right, title or interest
        therein), to any person other than Lender or the holder of a Permitted Lien. The Collateral will be
        valid and genuine in all respects. Except for claims by Senior Debt, Borrower and each Subsidiary
        will warrant and defend Lender's right to and interest in the Collateral acquired against all claims
        and demands of all persons whatsoever.

         4.19 Licensing and Tribal Law. Borrower and each Subsidiary shall maintain all licenses and
         other authorizations required for Borrower or the respective Subsidiary to operate its business. No
         Tribal law, regulatory code or other Tribal action exists that could potentially prohibit or interfere
         with the perfection ofthe security interest granted under this and the other Transaction Documents
         except for Section 8.7 of the Code which could potentially interfere with the perfection of the
         security interest by allowing the seizure of the property owned by a Person or other entity with a
         license issued by the Tribal Financial Services Regulatory Authority if such property was used in
         violation of the Code, and Appendix 1 of the Code, which governs secured transactions within the
         Tribe's jurisdiction. In the event of any such seizure on behalf ofthe Tribe or other adverse action,
         the Borrower and, if applicable, Subsidary shall use all good faith efforts to ensure that all
         obligations to Lender are met and all Lender's rights may be fully exercised (including the right to
         perfect Lender's security interest during the due process required under the Code) under the
         Transaction Documents.

                                        5.      NEGATIVE COVENANTS

         5.1     Limitations on Indebtedness. Other than the Senior Debt, Borrower and each Subsidiary
         shall not, without the prior written consent of Lender in each instance, issue any evidence of
         indebtedness or create, assume, guarantee, become contingently liable for, or suffer to exist
         indebtedness in addition to Permitted Liens. Neither Borrower nor any Subsidiary will incur
         additional indebtedness nor take any action that could negatively affect payment under the Note
         or dilute or burden the equity of Borrower without the express written approval of Lender.

         5.2    Sale of Interest. There shall not be any sale or transfer of ownership of any interest,
         whether direct or indirect, in Borrower or in any Subsidiary without Lender's prior written consent,
         unless Lender is paid in full for all Obligations under the Transaction Documents in accordance
         with the provisions of this Agreement.

         5.3    Loans or Advances. Borrow and each Subsidiary shall not make any loans or advances to
         any individual, firm or corporation, including without limitation it officers and employees;
         provided that Borrower or the respective Subsidiary may make advances to its employees in the
         ordinary course of business which expenses are reimbursable by Borrower or the respective
         Subsidiary.


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        5.4     Investments. Borrower and each Subsidiary shall not make investments in any individual,
        trust, entity or Tribal or governmental body. Borrower and each Subsidiary will not purchase or
        otherwise invest in or hold securities, real estate or other non-operating assets or purchase all or
        substantially all the assets of any entity other than in connection with an acquisition approved by
        Lender in writing.

        5.5    Merger and Restructuring. Borrower and each Subsidiary will not dissolve, merge or
        consolidate or be merged or consolidated with or into any other entity, unless prior to or
        concurrently therewith Lender is paid in full for all Obligations under the Transaction Documents
        except as set forth in Section 3.2 of the Merger Agreement.

        5.6    Capital Expenditures. Borrower and each Subsidiary shall not, directly or indirectly, make
        or commit to make capital expenditures by lease, purchase, or otherwise, except in the ordinary
        course of business for the purpose of replacing machinery, equipment or other personal property
        necessary for operating the Business unless pursuant to Section 1.2(b)(4)(b) of the Note.

        5.7    Sale of Assets. Borrower and each Subsidiary shall not sell, lease or otherwise dispose of
        any of its assets including the Collateral, except the sale of bad debt in the ordinary course of
        business, unless prior to or concurrently therewith Lender is paid in full for all Obligations under
        the Transaction Documents pursuant to any internal restructuring of Borrower's operations and
        Subsidiaries' but only to the extent that all of the total assets and any liabilities owed to the Lender
        remain within the new structure and do not create a Material Adverse Effect, and Borrower
        provides Lender with prior written notice of such restructuring.

        5.8     Restriction on Liens. Borrower and each Subsidiary shall not grant any security interest
        in, or mortgage of, its respective properties or assets including the Collateral, other than Permitted
        Liens or such liens as are in favor of Lender. Any granted in breach of this provision shall be
        considered void. Reserve accounts required by non-affiliated, third party vendors do not constitute
        a "lien" under this Agreement.

        5.9    Other Business. Borrower and each Subsidiary shall not engage in any business other than
        the Business.

        5.10 Change of Name. Borrower and each Subsidiary shall not change its legal name or the
        jurisdiction of its organization, without giving Lender at least thirty (30) days' prior written notice
        thereof.

         5.11 Payment Processors. No Subsidiary shall enter into or modify or permit the modification
         of any payment processor agreements (such as ACH, RCC or debit card), and all such agreements
         must require that all transactions must settle to the Collateral Account(s). In the event of a
         termination of a payment processor agreement the respective Subsidiary shall replace the
         terminated payment processor agreement with a new payment processor agreement as soon as
         reasonably practicable after such termination in a form substantially similar to the prior processor's
         agreement. Provided, however, the Subsidiary's failure to replace the terminated payment
         processor agreement shall not be deemed an Event of Default so long as adequate payment
         processing relationships exist that allows for the Business to operate in a commercially reasonable
         manner. Borrower shall provide Lender a prompt update in the event of any ACH provider



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        changes or additions by Borrower or a Subsidiary. The payment processor agreements shall
        contain a provision irrevocably instructing that the payment processor to direct all payments to a
        lockbox established pursuant to Section 4.16.

        5.12 Servicing Agreement. Neither Borrower nor any Subsidiary shall amend, modify, or
        terminate the Servicing Agreement between that Subsidiary and Ascension Technologies, LLC
        during the term of the Loan without the prior written consent of Lender in each instance, which
        consent shall not be unreasonably withheld, conditioned, or delayed. To insure quality servicing
        of the loan portfolio included in the Collateral, neither Borrower nor any of its Subsidiaries will
        offer services to any other lender without prior written consent from Lender.

        5.13 Business Policies. Neither the Borrower nor any Subsidiary shall make any internal policy
        decisions which could dilute the value of the Collateral unless such changes are made to mitigate
        a Material Adverse Effect.

        5.14 Management. Neither the Borrower nor any Subsidiary shall terminate or replace any
        manager, director or officer of Borrower or the respective Subsidiary or modify delegations of
        authority without the prior written consent of Lender, which shall not be umeasonably withheld,
        conditioned or delayed.

        5.15 Organizational Documents. Borrower and each Subsidiary shall not dissolve or modify,
        alter, amend, or restate in any way its articles of organization or operating agreement without the
        prior written consent ofLender in each instance, which consent shall not be umeasonably withheld,
        conditioned, or delayed, unless such modification, alteration, amendment or restatement is clerical,
        administrative, ministerial, or de minimis in nature, including any change in permitted management
        thereunder.

         5.16 Tribal Law. There will be no changes to Tribal law or regulations that would materially
        'adversely impact Borrower's or a Subsidiary's performance under the Transaction Documents,
         unless such changes are caused by applicable requirements outside the Tribe's sovereign authority.

        5.17 Confidentiality. The provisions of Section 9 of the Parental Guarantee and Sovereign
        Immunity Waiver shall apply mutatis mutandis to this Agreement.

                                                6.     DEFAULT

        6.1    Default. An "Event of Default" shall mean the occurrence of one or more of any of the
        following events:

        (a)     (1) failure to make any payment of principal or interest within three (3) days of the due
                date, whether at maturity, by acceleration or otherwise under the Note, or, (2) any material
                breach or default by Borrower or a Subsidiary of an affirmative covenant hereof not
                substantially cured within ten (10) days, (3) any material breach or default by Borrower or
                a Subsidiary of a negative covenant hereof, or (4) any breach or default under any
                agreements regarding the Senior Debt not substantially cured within the time frame
                allowed under the applicable agreement, provided, however, no Event of Default shall have
                occurred under (1) and (4) if the failure to make payment is a result of the termination or



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                failure of the lockbox agreement or responsibility of the Lender under any deposit account
                control agreement; or

        (b)     default of any other liability, obligation or undertaking of Tribe, Borrower or a Subsidiary,
                including under the Transaction Documents or any material breach of the Transaction
                Documents or any documents evidencing Borrower's and any Subsidiary's guarantee of
                indebtedness, or of the Tribe as guarantor under the Parental Guarantee or later-added
                guarantors or other surety for the Loan, which failure continues after ten (10) days' written
                notice thereof (provided that if such default is not reasonably susceptible of cure within
                said ten (10) days, and Borrower or the respective Subsidiary commences a cure of such
                default within said ten (10) day period, and thereafter diligently pursues such cure, then
                Borrower or the respective Subsidiary shall have an additional period of ten (10) days in
                which to effect such cure prior to an Event of Default arising hereunder); or

        (c)     if any statement, representation or warranty heretofore, now or hereafter made by Borrower
                or any Subsidiary in connection with this Agreement or in any supporting financial
                statement of Borrower or any Subsidiary shall be determined to have been intentionally
                false in any material respect when made; or

        (d)     the liquidation, termination or dissolution of Borrower or a Subsidiary, or the merger or
                consolidation of Borrower or a Subsidiary into another entity that is not otherwise
                permitted hereby, or stops processing loans or servicing loans for ninety (90) days of any
                one hundred twenty (120) day period or the appointment of a receiver for its property; or

        (e)      the institution by or against the Borrower or any Subsidiary of any insolvency proceedings,
                 whether under the United States Bankruptcy Code 11 USC §101 et seq. or any other law,
                 in which Borrower or any Subsidiary is alleged to be insolvent or unable to pay its debts
                 as they mature, or the making by Borrower or any Subsidiary of an assignment for the
               . benefitof creditorsonhe granting by Borrower of any SUbsidiary of a"trust mortgage·'fdf
                 the benefit of creditors and, if such proceeding is instituted against Borrower or any
                 Subsidiary, such proceeding shall not have been dismissed in sixty (60) days; or

        (f)     the service upon Lender of a writ in which Lender is named as trustee of Borrower or of
                any Subsidiary; or

        (g)     the decision of the Tribal Financial Services Regulatory Authority to seize control of any
                of the Collateral; or

        (h)     the imposition of any non-appealable fee, fine or order of restitution or reparations by any
                regulatory authority having requisite jurisdiction upon Borrower or any Subsidiary which
                exceeds a cumulative amount of one hundred thousand dollars ($100,000) during the term
                of the Note; or

        (i)     a final, non-appealable judgment or judgments for the payment of money enforceable
                against Borrower or any Subsidiary shall be rendered in excess of twenty-five thousand
                dollars (US$25,000.00) against Borrower or any Subsidiary, and any such judgment shall
                remain unsatisfied and in effect for any period of thirty (30) consecutive days without a



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                  stay of execution unless such non-payment would have no Material Adverse Effect on the
                  Business as mutually agreed by the Parties; or

         G)       the occurrence of any Material Adverse Effect; or

         (k)      any levy, lien (including mechanics lien) other the Permitted Liens, seizure, attachment,
                  execution or similar process shall be issued or levied on any material portion ofthe property
                  of Borrower or any Subsidiary, and such lien or levy shall not be removed within sixty (60)
                  days.

         6.2      Windup.

         (a)      If an Event of Default under Section 6.l(e) shall have occurred, all Obligations shall
                  become immediately due and payable without notice or demand. If any other Event of
                  Default shall have occurred which, to the extent capable, has not been waived by Lender,
                  at the election of Lender, all Obligations shall become immediately due and payable
                  without notice or demand.

         (b)        Lender is hereby authorized, at its election, after an Event of Default shall have occurred
                    which has not been waived by Lender, without any further demand or notice except to such
                    extent as notice may be required by applicable law, to take possession and/or sell or
                    otherwise dispose of all or any of the Collateral at a public or private sale and the exercise
                    of any rights under agreements held in escrow; and Lender may also exercise any and all
                    other rights and remedies of a secured party under the UCC or which are otherwise
                    accorded to it in equity or at law, all as Lender may determine, and such exercise of rights
                    in compliance with the requirements of law will not be considered adversely to affect the
                    commercial reasonableness of any sale or other disposition of the Collateral. If notice of a
                    sale or other action by Lender is required by applicable law, unless the Collateral is
               .. . perishableor·thl'eatens to decline speedily in value or is of a type customarily sold on a
                    recognized market, Borrower agrees that ten (l0) days' written notice to Borrower, or the
                    shortest period of written notice permitted by such law, whichever is smaller, shall be
                    sufficient notice; and that to the extent permitted by law, Lender, its officers, attorneys and
                    agents may bid and become purchasers at any such sale, if public, and may purchase at any
                    private sale any of the Collateral that is of a type customarily sold on a recognized market
                    or which is the subject of widely distributed standard price quotations. Any sale (public or
                    private) shall be without warranty and free from any right of redemption, which Borrower
                    and all Subsidiaries shall waive and release after default upon Lender's request therefor,
                    and may be free of any warranties as to the Collateral if Lender shall so decide. No
                    purchaser at any sale (public or private) shall be responsible for the application of the
                    purchase money. The net proceeds of sale shall belong to Lender. Upon demand by
                    Lender, Borrower and all Subsidiaries shall assemble the Collateral and make it available
                    to Lender at a place designated by Lender which is reasonably convenient to Lender and
                    Borrower. Borrower and each Subsidiary hereby acknowledges that Lender has extended
                    credit and other financial accommodations to Borrower upon reliance of Borrower's and
                    its Subsidiaries' granting Lender the rights and remedies contained in this Agreement
                    including without limitation the right to take immediate possession of the Collateral upon
                    the occurrence of an Event of Default which has not been waived by Lender and Borrower


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CONFIDENTIAL                                                                                           MARTORELLO_000082
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               and each. Subsidiary hereby acknowledges that Lender is entitled to such equitable and
               injunctive relief to enforce any of its rights and remedies hereunder and Borrower and each
               Subsidiary hereby waives any defense to such equitable or injunctive relief based upon any
               allegation of the absence of irreparable harm to Lender.

        (c)    No Lender shall be required to marshal any present or future security for (including but not
               limited to this Agreement and the Collateral subject to the security interest created hereby),
               or guarantees of, the Obligations or any of them, or to resort to such security or guarantees
               in any particular order; and all of its rights hereunder and in respect of such securities and
               guarantees shall be cumulative and in addition to all other rights, however existing or
               arising. To the extent that it lawfully may, Borrower and each Subsidiary hereby agrees
               that it will not invoke any law relating to the marshalling of Collateral which might cause
               delay in or impede the enforcement of Lender's rights under this Agreement or under any
               other instrument evidencing any of the Obligations or under which any of the Obligations
               is outstanding or by which any ofthe Obligations is secured or guaranteed, and to the extent
               that it lawfully may do so, Borrower and each Subsidiary hereby irrevocably waives the
               benefits of all such laws. Except as otherwise provided in subsection (e), Lender shall have
               no duty as to the collection or protection of the Collateral or any income thereon, nor as to
               the preservation of rights against prior parties, nor as to the preservation of any rights
               pertaining thereto beyond th~ safe custody thereof.

        (d)    Borrower and its Subsidiaries will accelerate all payments pursuant to Section 6.2(a), or
               other mutually agreeable methodology, and in good faith pursue winding up the business
               of the Borrower and its Subsidiaries in a manner that maximizes the value to Lender. In
               the event of windup, the payment methodology shall follow that of Section 1.2 ofthe Note
               provided that outstanding Consumer Loan principal returned shall at that point be included
               in Gross Revenues.

        (e)    The Borrower ana SUDsidiaries will effectuate assiginrients of alrvenaor"ffi1d"'other .
               agreements and associated obligations, whether held in escrow or otherwise, as directed by
               the Lender within three (3) Business Days of the occurrence of any event described in
               subsections 6.2 (a)-(d).

               (i)     Borrower and Subsidiaries will prepare assignments of vendor agreements as
                       described in Section 4.14 or will effectuate any pre-signed assignments held in
                       escrow.

               (ii)    In the event of assignment under (e)(i), Lender agrees to assume the obligations of
                       said vendor agreements and satisfy the remaining unassigned obligations to other
                       vendors related to the Business through the date of the Event of Default unless
                       otherwise agreed by the Lender.

         (f)   In the event of assignment of Consumer Loans after an Event of Default, so long as it is
               commercially feasible, Lender, its successors or assigns agrees to:

               (i)     Provide Borrower with information related to Consumer Loans that were entered
                       into prior to the Event of Default within five (5) Business Days of a request by



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CONFIDENTIAL                                                                                      MARTORELLO_000083
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                        Borrower or Borrower's designee related to a consumer initiated complaint or an
                        inquiry from a regulatory agency. Such information shall include executed loan
                        agreement(s), payment history and account notes;

                (ii)    Provide, as soon as is reasonably practicable, Borrower with a database including
                        information related Consumer Loans that were entered into prior to the Event of
                        Default such as: full name, date of birth, state of residency, origination date(s), and
                        customer ID;

                (iii)   Provide, as soon as is reasonable practicable, Borrower with access to or a copy of
                        any database maintained for the purpose of tracking Consumer complaints or
                        inquiries that occurred prior to the Event of Default; and

                (iv)    notify the Tribal Financial Services Regulatory Authority of the assignment of
                        Collateral and provide contact information for the holder of the Collateral; and

                (v)     notify Consumers of the assignment of the Consumer Loan.

        (g)     Access to Consumer Loan information provided for in subsection (i)-(iii) shall survive the
                termination of this Agreement for a period not to exceed twelve (12) months after
                dissolution of the Subsidiary that formerly held the Consumer Loans or the transfer of the
                Collateral.

         6.3     Power of Attorney. Subject to 6.4, Borrower and each Subsidiary hereby irrevocably
         constitutes and appoints Lender as Borrower's and/ or each Subsidiary's true and lawful attorney,
         with full power of substitution, at the sole cost and expense of Borrower but for the sole benefit of
         Lender, upon the occurrence of an Event of Default which has not been waived by Lender, to
         convert the Collateral into cash, including, without limitation, completing the manufacture or
       . processing ofwork-in process, and the sale (either public or private) ofall or any portion or portions
         of the Collateral (subject to the notice and other terms provided in Section 6.2, above); to solely
         enforce collection of the Collateral either in its own name or in the name of Borrower or any
         Subsidiary beyond 90 days after the transfer of collateral, including, without limitation, executing
         releases or waivers, compromising or settling with any Consumers and prosecuting, defending,
         compromising or releasing any action relating to the Collateral; to receive, open and dispose of all
         mail addressed to Borrower or any Subsidiary and to take therefrom any remittances or proceeds
         of Collateral in which Lender has a security interest; to notifY applicable postal authorities to
         change the address for delivery of mail addressed to Borrower or any Subsidiary to such address
         as Lender shall designate; to endorse the name of Borrower or any Subsidiary in favor of Lender
         upon any and all checks, drafts, money orders, notes, acceptances or other instruments of the same
         or different nature; to sign and endorse the name of Borrower or any Subsidiary on and to receive
         as secured party any of the Collateral, any invoices, freight or express receipts, or bills of lading,
         storage receipts, warehouse receipts, or other documents of title of the same or different nature
         relating to the Collateral; to act on behalf of Borrower or any Subsidiary under any vendor or
         servicing contract beyond 90 days after the transfer of collateral to sign the name of Borrower or
         any Subsidiary on verification of the Collateral beyond 90 days after the transfer of collateral; and
         to sign, if necessary, and file or record on behalf of Borrower or any Subsidiary any financing or
         other statement in order to perfect or protect Lender's security interest. Unless otherwise provided



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CONFIDENTIAL                                                                                       MARTORELLO_000084
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        in this Agreement, Lender shall not be obliged to do any of the acts or exercise any of the powers
        hereinabove authorized, but if Lender elects to do any such act or exercise any such power, it shall
        not be accountable for more than it actually receives as a result of such exercise of power, and it
        shall not be entitled to collect more than an amount equal to the then outstanding Obligations, and
        any sums received in excess of the then-outstanding Obligations shall be returned to Borrower
        unless otherwise provided in this Agreement, and it shall not be responsible to Borrower or to any
        other party except in the event that Lender has been determined, with finality, by an Arbitration
        Decision (as hereafter defined), that Lender has committed gross negligence or willful misconduct.
        All powers conferred upon Lender by this Agreement, being coupled with an interest, shall be,
        once triggered, irrevocable so long as any Obligation of Borrower or any surety to Lender shall
        remain unpaid or Lender is obligated under this Agreement to extend any credit to Borrower. The
        Lender shall retain the power of attorney during the pendency of any dispute resolution process.
        This power of attorney shall not grant Lender with the right or ability to waive the sovereign
        immunity of the Tribe, Borrower or any Subsidiary.

        6.4    Subordination. The repayment of the Loan and Lender's rights hereunder shall be
        subordinate to the rights of the Senior Lender.

         6.5     Nonexclusive Remedies. All of Lender's rights and remedies not only under the provisions
         ofthis Agreement but also any other Transaction Document shall be cumulative and not alternative
         or exclusive, and may be exercised by Lender at such time or times and in such order of preference
         as Lender in its sole discretion may determine.

         6.6     Force Majeure. In the event of an act of God or other natural disaster which makes the
         carrying out ofthis Agreement impossible, or if a Party's performance hereunder is rendered illegal
         or materially adversely affected by reason of changes in applicable federal law applicable to
         Borrower's Business or to either Party, or if a Party is advised in writing by a federal governmental
         authority having or asserting jurisdiction over such Party, in an enforcement action or otherwise,
         that the perfomiance of its obligations under this Agreement is or may be Unlawful, then the'Parly'
         unable to perform, or whose performance has been rendered illegal or who has been so advised by
         a federal governmental authority, may terminate this Agreement by giving written notice at least
         ninety (90) calendar days in advance of termination to the other Party, unless such changes in
         federal law or communication from a federal governmental authority require earlier termination,
         in which case termination shall be effective upon such earlier required date.

                                            7.      MISCELLANEOUS

         7.1     Waivers. Borrower and each Subsidiary waives notice of intent to accelerate, notice of
         acceleration, notice of nonpayment, demand, presentment, protest or notice of protest of the
         Obligations, and all other notices, consents to any renewals or extensions of time of payment
         thereof, and generally waives any and all suretyship defenses and defenses in the nature thereof.

         7.2    Severability. If any provision of this Agreement or portion of such provision or the
         application thereof to any person or circumstance shall to any extent be held invalid of this
         Agreement (or the remainder of such provision) and the application thereof to other persons or
         circumstance shall not be affected thereby.




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CONFIDENTIAL                                                                                      MARTORELLO_000085
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        7.3      Set-Off. Subject to Lender's limitations pursuant to Section 6.4, Borrower and each
        Subsidiary hereby grants to Lender a continuing lien and security interest in any andall deposits or
        other sums at any time credited by or due from Lender to Borrower and any cash, securities,
        instruments or other property of Borrower or any Subsidiary in the possession of Lender or subject
        to the lockbox agreement as required Section 4.16 whether for safekeeping or otherwise, or in transit
        to or from Lender as security for the full and punctual payment and performance of all of the
        liabilities and obligations of Borrower to Lender and such deposits and other sums may be applied
        or set off against such liabilities and obligations of Borrower to Lender as are then due and unpaid,
        whether or not demand has been made and whether or not other collateral is then available to Lender.

        7.4    Indemnification. Borrower and each Subsidiary shall protect, defend (by counsel selected
        by Lender and reasonably acceptable to Borrower), indemnify and hold harmless Lender and
        Lender's officers, directors, partners, members, employees, attorneys, successors and permitted
        assigns and any successors to Lender's interest in the Loan, their officers, directors, partners,
        shareholders, employees, attorneys, successors and permitted assigns (collectively, the
        "Indemnitees") from and against all liabilities (including sums paid in settlement of claims), claims
        brought or threatened against Lender (as well as from reasonable attorneys' fees and expenses in
        connection therewith), losses, costs, obligations, demands, suits, liens, damages, fines (including
        any sums ordered to be paid or expended by Indemnitees by any governmental entity as a fine,
        penalty or damages) arising as a direct or indirect result of (a) Borrower's or a Subsidiary's Event
        of Default arising under Section 6.1 of this Agreement, (b) as a result of any investigation or
        enforcement action initiated by any governmental entity into Borrower's and/ or a Subsidiary's
        business. The indemnification provided by this Section 7.4 shall survive payment of the
        Obligations, any termination of this Agreement, and/or release or discharge executed by Lender in
        favor of Borrower for a period of four (4) years or twelve (12) months beyond the resolution of
        any case initiated within the four (4) year period or in the Event of Default for a period not to
        exceed twelve (12) months after the transfer of CollateraL

        7.5     Costs and Expenses. Borrower and/ o'iSubsidiary shall pay to Lender ally'iuid aU
        reasonable costs and expenses (including, without limitation, reasonable attorneys' fees, and
        disbursements, court costs, litigation and other expenses) incurred or paid by Lender in
        establishing, maintaining, protecting or enforcing any of Lender's rights or the Obligations,
        including, without limitation, any and all such costs and expenses incurred or paid by Lender in
        defending Lender's security interest in, title or right to the Collateral or in collecting or attempting
        to collect or enforcing or attempting to enforce payment of the Obligations.

        7.6     Counterparts. This Agreement may be executed in two or more counterparts, each ofwhich
        shall be an original, but all of which shall constitute but one agreement. Delivery by any Party of
        an executed counterpart of a signature page to this Agreement by telecopier, facsimile or portable
        document format (pdf) shall be effective as delivery of a manually executed counterpart hereof.

        7.7     Complete Agreement. This Agreement and the other Transaction Documents constitute
        the entire agreement and understanding between and among the Parties hereto relating to the
        subject matter hereof, and supersedes, all prior proposals, negotiations, agreements and
        understandings among the parties hereto with respect to such subject matter.




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CONFIDENTIAL                                                                                         MARTORELLO_000086
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        7.8     Binding Effect of Agreement. This Agreement shall be binding upon and inure to the
        benefit of the respective heirs, executors, administrators, legal representatives, successors and
        permitted assigns of the parties hereto, and shall remain in full force and effect (and Lender shall
        be entitled to rely thereon) until all commitments of Lender hereunder are terminated and all
        Obligations hereunder are fully paid. Lender may transfer and assign this Agreement and deliver
        the Collateral to the assignee, who shall thereupon have all of the rights and liabilities of Lender;
        and such assigning Lender shall then be relieved and discharged of any responsibility or liability
        with respect to this Agreement, and the Collateral. Lender shall provide at least sixty (60) days
        advance written notice to the Borrower of such an intent to assign. Borrower and each Subsidiary
        may not assign or transfer any of its rights or obligations under this Agreement. Except as
        expressly provided herein or in the other Transaction Documents, nothing, expressed or implied,
        is intended to confer upon any party, other than the parties hereto, any rights, remedies, obligations
        or liabilities under or by reason of this Agreement or the other Transaction Documents.

        7.9       Further Assurances. During the pendency of the merger and after the merger is complete,
        the Borrower and each Subsidiary will from time to time execute and deliver to Lender, and take
        or cause to be taken, all such other or further action as Lender may reasonably request in order to
        effect and confirm or vest more securely in Lender all rights contemplated by this Agreement and
        the other Transaction Documents or to vest more fully in or assure to Lender the security interest
        in the Collateral granted to Lender by this Agreement or to comply with applicable Delaware or
        federal law and to facilitate the collection of the Collateral (including, without limitation, the
        endorsement of promissory notes and instruments and notifications to obligors on the Collateral).
        To the extent permitted by applicable Delaware, Tribal, or federal law, Borrower and each
        Subsidiary authorizes Lender to file financing statements, continuation statements or amendments,
        and any such financing statements, continuation statements or amendments may be signed by
        Lender on behalf of Borrower, if necessary, and may be filed at any time in any jurisdiction.
        Lender may at any time and from time to time file financing statements, continuation statements,
        debentures,mortgage, an4 any other documents allowed under the laws of the Tribe or any other
        applicable jurisdiction, and amendments thereto which contain any information required by the
        laws ofthe Tribe or any other applicable jurisdiction for the sufficiency or filing office acceptance
        of any financing statement, continuation statement or amendment, including whether Borrower or
        the respective Subsidiary is an organization, the type of organization and any organization
        identification number issued to Borrower or Subsidiary. Borrower and each Subsidiary agree to
        furnish any such information to Lender promptly upon request. In addition, Borrower and each
        Subsidiary shall at any time and from time to time take such steps as Lender may reasonably
        request for Lender (a) to obtain an acknowledgement, in form and substance reasonably
        satisfactory to Lender, of any bailee having possession of any ofthe Collateral that the bailee holds
        such Collateral for Lender, (b) to obtain possession and control of any Collateral comprised of
        deposit accounts, electronic chattel paper, letter of credit rights or investment property, with any
        agreements establishing control to be in form and substance satisfactory to Lender, and (c)
        otherwise to insure the continued perfection and priority of Lender's security interest in any of the
         Collateral and the preservation of its rights therein. As limited by Section 6.3 herein, Borrower
         and each Subsidiary hereby constitutes Lender its attorney-in-fact to execute, ifnecessary, and will
         file all filings required or so requested for the foregoing purposes, all acts of such attorney being
         hereby ratified and confirmed; and such power, being coupled with an interest, shall be irrevocable
         until this Agreement terminates in accordance with its terms, all Obligations are paid in full and



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CONFIDENTIAL                                                                                       MARTORELLO_000087
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        the Collateral is released. Lender shall deliver to Borrower a copy, on receipt by Lender from the
        applicable filing jurisdiction, of any such financing statements.

        7.10 Amendments and Waivers. This Agreement may not be amended, or the obligations of the
        parties hereto modified, except in a writing executed by all of the parties. No delay or omission
        on the part of Lender in exercising any right hereunder shall operate as a waiver of such right or
        any other right, and waiver on anyone or more occasions shall not be construed as a bar to or
        waiver of any right or remedy of Lender on any future occasion.

        7.11 Terms of Agreement. This Agreement shall continue in full force and effect so long as any
        Obligations or obligation of Borrower to Lender shall be outstanding, or Lender shall have any
        obligation to extend any financial accommodation hereunder, and shall not be so construed as to
        limit or otherwise derogate from any of the rights or remedies of Lender or any of the liabilities,
        obligations or undertakings of Borrower or any Subsidiary under the Transaction Documents, nor
        shall any contemporaneous or subsequent agreement between Borrower and Lender be construed
        to limit or otherwise derogate from any of the rights or remedies of Lender or any of the liabilities,
        obligations or undertakings of Borrower hereunder, unless such other agreement specifically refers
        to this Agreement and expressly so provides.

        7.12 Notices. Any notice under or pursuant to this Agreement shall be a signed writing or other
        authenticated record. Any such notice shall be deemed duly received and effective (a) if delivered
        in hand or by telecopier to, or received by, any officer or agent of Borrower or Lender, upon such
        delivery or receipt, or (b) if sent by overnight courier, on the next business day after being so sent,
        (c) if sent via electronic medium and reply or other proof of receipt is available, or (d) if mailed
        by registered or certified mail, return receipt requested, postage prepaid, and properly addressed
        to Borrower or Lender, two (2) business days after being so mailed. A party's proper address is
        that set forth for such party in this Agreement or such address as that party may from time to time
        hereafter designate by notice to the other party.

               To Lender at:

                875 Carretera 693
                Suite 202
                Dorado, PR 00646

                To Borrower and Subsidiaries at:

                P.O. Box 704
                Watersmeet, MI 49969

                With copy to counsel:

                Rosette, LLP
                25344 Red Arrow Highway, Suite B
                Mattawan, MI 49071.




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CONFIDENTIAL                                                                                       MARTORELLO_000088
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        7.13 . Reproductions. This Agreement and all documents which have been or may be hereinafter
        furnished by one Party to the other Party may be reproduced by either Party by any photographic,
        photostatic, microfilm, xerographic or similar process, and any such reproduction shall be
        admissible in evidence as the original itself in any judicial or administrative proceeding allowable
        pursuant to Section 8.5 herein (whether or not the original is in existence and whether or not such
        reproduction was made in the regular course of business).

        7.14 No Partnership. Nothing contained in this Agreement or the other Transaction Documents
        shall be deemed to create an equity investment in Borrower or any Subsidiary on the part of Lender
        ora partnership between Lender and Borrower or any Subsidiary, it being the intent of the parties
        hereto that only the relationship oflender and borrower shall exist with respect to the Loan. Borrower
        and each Subsidiary agree that they shall report this transaction for income tax purposes, and file all
        applicable and related tax returns, in a manner consistent with the form of this transaction as a loan.

        7.15   Lender Is Not In Control; Lender-Creditor Relationship.

        (a)    None of the covenants or other provisions contained in this Agreement or any of the other
               Transaction Documents shall, or shall be deemed to, give Lender the right or power to
               exercise control over the day to day affairs or management of Borrower or any Subsidiary,
               the power of Lender being limited to the right to exercise the remedies provided for in this
               Agreement and the other Transaction Documents.

        (b)    The relationship between Lender, on the one hand, and Borrower and any Subsidiary, on
               the other hand, is solely that of creditor and debtor. Lender shall not have (or be deemed
               to have) any fiduciary relationship or duty to any of Borrower or any Subsidiary, arising
               out of or in connection with, and there is no agency or joint venture relationship between
               Lender, on the one hand, and Borrower, a Subsidiary, on the other hand, by virtue of, the
               Transaction Documents.

        7.16 Certification. The individual(s) signing this Agreement on behalf of each Party, by affixing
        a signature(s) hereon, hereby certify(ies) for the benefit of the receiving Party, that all information
        submitted to the receiving Party in connection with this Agreement is true and correct in all
        material respects on and as of the Effective Date.

        7.17 Publicity. Except as may be required by applicable law, none of the parties hereto shall
        issue a publicity release or announcement or otherwise make any public disclosure concerning this
        Agreement or the transactions contemplated hereby, without prior approval by the other parties
        hereto. If any announcement is required by applicable law to be made by any party hereto, prior
        to making such announcement such party will deliver a draft of such announcement to the other
        parties and shall give the other parties an opportunity to comment thereon. Notwithstanding the
        foregoing, Lender may disclose a general description of transactions arising under the Transaction
        Documents for advertising, marketing or other similar purposes upon notice to Borrower and
        Subsidiaries.

         8.     TRIBAL WAIVERS OF SOVEREIGN IMMUNITY, DISPUTES AND REMEDIES

         8.1    Limited Waiver Of Sovereign Immunity.



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CONFIDENTIAL                                                                                       MARTORELLO_000089
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        (a)    . Retention of Sovereign Immunity. By executing this Agreement, neither Borrower nor any
                 Subsidiary waives, limits or modifies its sovereign immunity, except as expressly provided
                 in this Section 8.

        (b)     Scope of Waiver. Subject to the provisions of this Section 8, Borrower and each Subsidiary
                each hereby expressly and irrevocably grants to Lender, a limited waiver of its sovereign
                immunity from suit and consents to process and suit in accordance with this Section. These
                waivers apply to actions in which Lender alleges a default or breach by Borrower or a
                Subsidiary of one or more of the specific obligations or duties expressly assumed by
                Borrower or a Subsidiary under the terms of this Agreement and the Transaction
                Documents. These waivers expressly include Lender's or an affiliate's ability to pursue in
                litigation:

                (i)     specific performance or other specific action, or discontinuance of some action, by
                        Borrower or Subsidiary to bring Borrower or Subsidiary into full compliance with
                        its duties and obligations hereunder; or

                (ii)    money damages for noncompliance with the terms and provIsIOns of this
                        Agreement; or

                (iii)   Borrower and Subsidiaries do not consent to a waiver of their sovereign immunity
                        from suit except for the limited purposes as set forth in this Section 8 and as follows:
                        (A) the dispute shall be brought by and limited to Lender and no other party or
                        entity; (B) the dispute shall be limited to causes of action arising under this
                        Agreement and the Transaction Documents pursuant to Section 8.5 and (C) to
                        enforce any Arbitration Decision (as defined herein) or court order compelling
                        arbitration pursuant to Section 8.5; and (D) any such award or damages resulting
                        from the dispute shall be limited to the assets and revenues of Borrower and
                        Subsidiaries and no other assets of the Tribe.

        (c)     Express Waiver. Borrower and each Subsidiary hereby expressly and irrevocably waives:

                (i)     its rights to have any dispute, controversy, suit, action or proceeding arising under
                        this Agreement heard in any forum other than the ones set forth in Section 8.2
                        whether or not such forum now exists or is hereafter created including, without
                        limitation, any Tribal court or other tribunal, forum, council or adjudicative body
                        of the Tribe (each a "Tribal Forum");

                (ii)    any claim or right which it may possess to the exercise ofjurisdiction by, any Tribal
                        Forum, including, without limitation, any determination that any Tribal Forum has
                        jurisdiction over any such dispute, controversy, suit, action or proceeding or
                        jurisdiction to determine the scope of such Tribal Forum's jurisdiction, and Lender
                        does not consent to the jurisdiction of any Tribal Forum;

                (iii)   any requirement which may exist for exhaustion of any remedies available in any
                        Tribal Forum prior to the commencement of any dispute, controversy, suit, action
                        or proceeding in any state or federal court even if any such Tribal Forum would



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CONFIDENTIAL                                                                                        MARTORELLO_000090
USCA4 Appeal:
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                       have concurrent jurisdiction over any such dispute, controversy, suit, action or
                       proceeding but for such waiver;

               (iv)    its sovereign immunity as to an action by Lender in the United States District Court
                       for the Western District of Michigan or any State of Michigan Circuit Court, and in
                       the federal or state courts having appellate jurisdiction thereover, seeking injunctive
                       and/or declaratory relief and/or money damages against Borrower or Subsidiary
                       based solely upon an attempt by Borrower or Subsidiary to revoke its waiver of its
                       sovereign immunity or other waivers granted under this Section 8 and solely to
                       compel participation in arbitration proceedings pursuant to Section 8.5 and enforce
                       an arbitration decision;

               (v)     its sovereign immunity from ajudgment or order (including any appellate judgment
                       or order) and post judgment proceedings supplemental thereto consistent with the
                       terms and provisions of this Section 8, which is final because either the time for
                       appeal thereof has expired or the judgment or the order is issued by a court having
                       final appellate jurisdiction over the matter; and

               (vi)    its sovereign immunity from the assertion or enforcement of any claim in any Tribal
                       Forum (it being understood that this provision does not detract from or diminish
                       any other waiver of the Borrower or Subsidiary in this Section 8).

                8.2     Consent to Jurisdiction. Borrower and each Subsidiary consents to the jurisdiction
        of and to accept and be bound by any order or judgment of the United States District Court for the
        Western District of Michigan or any State of Michigan Circuit Court, and any federal or state court
        having appellate jurisdiction thereover for enforcement of an Arbitration Decision (as defined
        herein) consistent with the terms and provisions of this Section 8. It is the express intent of the
        parties that their first recourse for dispute resolution shall be to attempt to amicably resolve any
        issue, and second to the federal and state courts specified herein.

        8.3     Enforcement Authorization of Govemmental Authorities. Without in any way limiting the
        generality of the foregoing, Borrower and each Subsidiary expressly authorize any governmental
        authorities who have the right and duty under applicable law to take any action authorized or
        ordered by any court, including, without limitation, to take such action as entering Borrower's or
        Subsidiary's property, to give effect to any judgment or order entered, subject to this Section 8.

        8.4     Governing Law. This Agreement, and any disputes or controversies arising hereunder,
        shall be governed by and construed according to the laws of the State of Delaware.

        8.5     Dispute Resolution. In the event that either Party to this Agreement believes that the other
        Party has failed to comply with any requirement of this Agreement or a Transaction Document, or
        in the event of any dispute hereunder, including, but not limited to, a dispute over the proper
        interpretation of the terms and conditions of this Agreement, the following procedures shall be
        invoked:

        (a)    Discussions between the Parties. The goal ofthe Parties shall be to first resolve all disputes
               amicably and voluntarily whenever possible. A Party asserting noncompliance or seeking



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               an interpretation of this Agreement first shall serve written notice on the other Party. The
               notice shall identify the specific Agreement provisions alleged to have been violated or
               that is in dispute and shall specify in detail the asserting Party's contention and any factual
               basis for the claim. Senior representatives of both Parties shall meet in person or by phone
               or other electronic medium within two (2) days of receipt of notice in an effort to resolve
               the dispute. A failure to meet shall be considered a failure to resolve the dispute and shall
               invoke Section (b) below.

        (b)    Binding Arbitration. After failure to resolve such disputes within two (2) days of notice,
               either Party may refer a dispute arising under this Agreement to arbitration with the
               American Arbitration Association (the "AAA"). If the dispute centers around an action of
               a Party, such action shall be postponed or discontinued during the pendency of the
               arbitration, provided that the lack of action shall not have a negative impact to the economic
               value of a Party. The Parties shall endeavor to mutually select one arbitrator from a list of
               qualified arbitrators, one of whom must have a minimum of five (5) years federal Indian
               law experience, one of whom must have a minimum of five (5) years experience in
               financial or banking law, and one to be chosen by the other two and to be provided by the
               AAA. If the Parties cannot agree on arbitrators within three (3) Business Days, then the
               arbitrator shall be named by the AAA provided that they have the requisite experience. All
               hearings and other proceedings for such arbitration shall be held in Marquette, Michigan
               unless otherwise agreed to by the Parties in writing. The expenses of arbitration charged
               by the AAA shall be borne equally by the Parties, and each side shall bear its own other
               costs except that the winning Party may petition the arbitrators to award all or a portion of
               its expenses incurred in the dispute based on the facts of the dispute. The arbitrator shall
               determine whether the dispute is arbitrable and shall apply the substantive laws of the State
               of Delaware as well as the Commercial Arbitration Rules. The arbitrator shall issue a final
               and binding decision (the "Arbitration Decision") in which the remedies available through
               arbitration are limited to enforcement of the provisions of this Agreel1lentand any_
               associated equitable or monetary relief. The Arbitration Decision may be enforced as set
               forth in Section 8.5 (d) below.

        (c)    Good Faith. The Party asserting breach or seeking an interpretation of this Agreement
               under this Section 8.5 shall be deemed to have certified that to the best of such Party's
               knowledge, information and belief formed after reasonable inquiry, the claim of
               noncompliance or the request for interpretation of this Agreement is warranted and made
               in good faith and not for any improper purpose, such as to harass or to cause unnecessary
               delay or the needless incurring of the cost of resolving the dispute. If the dispute is found
               to have been initiated in violation of this Section 8.5, then the arbitrator, upon request or
               upon his or her own initiative, may impose upon the violating Party an appropriate
               sanction, which may include an award to the other Party of its reasonable expenses incurred
               in having to participate in the arbitration.

        (d)    Enforcement of Arbitration Decision. Notwithstanding any provision of law, either Party
               to the Agreement may bring an action against the other pursuant to the provisions of this
               Section 8 solely for the enforcement of the Arbitration Decision. The Parties agree that the
               Arbitration Decision shall be final, conclusive and binding on the Parties with respect to
               the matters decided, and shall be complied with by the Parties. In such judicial


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                proceedings, neither Party, without the prior written consent of the other Party, shall be·
                entitled to contend that such arbitration award should be vacated, modified or corrected,
                and the Parties hereby expressly waive all other rights and remedies that might otherwise
                be available in such judicial proceeding.

        (e)     Fast-track Injunctive Relief. Either Party may bring an original action in a court of
                competent jurisdiction pursuant to this Section 8 to prevent actions by the other Party which
                could have a Material Adverse Effect if taken. Such injunctive relief may only be taken to
                maintain the status quo during the Dispute Resolution process set forth in this Section 8.5.

        8.6     Attorneys Fees. Except as ordered by an Arbitration Decision or a court of competent
        jurisdiction for enforcement proceedings, all Parties shall bear their own costs, except that the
        prevailing party shall be reimbursed all reasonable attorneys' fees, in connection with any dispute
        resolution or enforcement proceedings authorized under this Agreement. Anything in this
        Agreement to the contrary notwithstanding, the parties expressly agree that this provision shall
        survive the termination, for any reason, or expiration of this Agreement and any additional
        agreement contemplated herein.

        8.7     Service of Process. Borrower and Lender hereby consent to any and all process which may
        be served in any such suit, action or proceeding, (i) by mailing a copy thereof by registered or
        certified mail, postage prepaid, return receipt requested, to the party's address shown in this
        Agreement or as notified to Lender and (ii) by serving the same upon Borrower in any other
        manner otherwise permitted by law, and agrees that such service shall in every respect be deemed
        effective service upon Borrower.

        8.8  JURY WAIVER. BORROWER AND LENDER EACH HEREBY KNOWINGLY,
        VOLUNTARILY AND INTENTIONALLY, AND AFTER AN OPPORTUNITY TO
        CONSULT WITH LEGAL COUNSEL, (A) TO THE FULLEST EXTENT A~LOWED BY
        THE LAWS OF THE' STATE OF DELAWARE, WAIVE ANY AND ALL RIGHTS TO A
        TRIAL BY JURY IN ANY ACTION OR PROCEEDING IN CONNECTION WITH THIS
        AGREEMENT, THE OBLIGATIONS, ALL MATTERS CONTEMPLATED HEREBY
        AND DOCUMENTS EXECUTED IN CONNECTION HEREWITH AND (B) AGREE NOT
        TO SEEK TO CONSOLIDATE ANY SUCH ACTION WITH ANY OTHER ACTION IN
        WHICH A JURY TRIAL CANNOT BE, OR HAS NOT BEEN, WAIVED. BORROWER
        CERTIFIES THAT NEITHER LENDER NOR ANY OF ITS REPRESENTATIVES,
        AGENTS OR COUNSEL HAS REPRESENTED, EXPRESSLY OR OTHERWISE, THAT
        LENDER WOULD NOT IN THE EVENT OF ANY SUCH PROCEEDING SEEK TO
        ENFORCE THIS WAIVER OF RIGHT TO TRIAL BY JURY.

         8.9     Irrevocable Waiver. Borrower and each Subsidiary covenants and agrees that each possess
         the requisite authority from the governing body ofthe Tribe to give this limited waiver of sovereign
         immunity and other waivers contained in this Section 8 and that each are irrevocable for one (1)
         year after termination of all Transaction Documents, or in the Event of Default, for a period not to
         exceed twelve (12) months after transfer of the Collateral, or for any non-compete period or
         indemnity period as defined in the Transaction Documents, or for that period of time required to
         resolve any disputes initiated within the times set forth previously, whichever is longer. The
         Borrower and each Subsidiary each agrees not to revoke or limit, in whole or in part, the limited


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CONFIDENTIAL                                                                                     MARTORELLO_000093
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        waivers of sovereign immunity or other waivers contained in this Section 8. Borrower and each
        Subsidiary each hereby consents to the entry of appropriate injunctive relief, consistent with the
        terms and conditions of this Agreement.

                                    [NO FURTHER TEXT ON THIS PAGE]




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USCA4 Appeal:
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              IN WITNESS WHEREOF, the undersigned have executed this Loan and Security
        Agreement as of the date first above written.


                                             SELLER:

                                             Eventide Credit Acquisitions, LLC




                                             BORROWER:

                                             Tribal Economic Development Holdings, LLC


                                             By:   l(}/lJ~Ju1LL iJa.Jh
                                             Name~elle Hazen              U~
                                             Its: Co-Manager                             _


                                             SUBSIDIARY:

                                             Big Pictu~e Loans, LLC


                                             By:   meJuQLQ-~~
                                                                     U-------
                                             Name: Michelle Hazen- - -
                                             Its: Co-Manager and CEO        _

                                             SUBSIDIARY:

                                             Ascension Technolgies, LLC


                                             B;:~d~
                                             Name: Brian McFadden
                                             Its: President




                                          Signature Page
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CONFIDENTIAL                                                                     MARTORELLO_000095
USCA4Case
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                                    Exhibit 46




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USCA4Case
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USCA4Case
     Appeal: 23-2097    Doc: 11-2
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USCA4Case
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USCA4Case
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USCA4Case
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USCA4Case
     Appeal: 23-2097    Doc: 11-2
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USCA4Case
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USCA4Case
      Appeal: 23-2097   Doc: 11-2
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                                    Exhibit 48




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USCA4Case
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USCA4Case
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USCA4Case
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USCA4Case
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USCA4Case
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USCA4Case
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USCA4Case
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USCA4Case
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USCA4 Appeal:
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USCA4 Appeal:
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USCA4 Appeal:
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USCA4 Appeal:
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USCA4 Appeal:
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USCA4 Appeal:
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USCA4 Appeal:
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USCA4 Appeal:
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USCA4 Appeal:
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USCA4Case
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                                    Exhibit 49




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   Fill in this information to identify the case:

   Debtor name         Eventide Credit Acquisitions, LLC

   United States Bankruptcy Court for the:            NORTHERN DISTRICT OF TEXAS

   Case number (if known)         20-40349-11
                                                                                                                                          Check if this is an
                                                                                                                                             amended filing



  Official Form 207
  Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                                       04/19
  The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
  write the debtor’s name and case number (if known).

   Part 1:      Income

  1. Gross revenue from business

         None.
         Identify the beginning and ending dates of the debtor’s fiscal year,                    Sources of revenue                          Gross revenue
         which may be a calendar year                                                            Check all that apply                        (before deductions and
                                                                                                                                             exclusions)

         From the beginning of the fiscal year to filing date:                                    Operating a business                                          $0.00
         From 1/01/2020 to Filing Date
                                                                                                  Other


         For prior year:                                                                          Operating a business                                $128,301.29
         From 1/01/2019 to 12/31/2019
                                                                                                  Other


         For year before that:                                                                    Operating a business                                $338,984.48
         From 1/01/2018 to 12/31/2018
                                                                                                  Other

  2. Non-business revenue
     Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected from lawsuits,
     and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

         None.
                                                                                                 Description of sources of revenue           Gross revenue from
                                                                                                                                             each source
                                                                                                                                             (before deductions and
                                                                                                                                             exclusions)

   Part 2:      List Certain Transfers Made Before Filing for Bankruptcy

  3. Certain payments or transfers to creditors within 90 days before filing this case
     List payments or transfers--including expense reimbursements--to any creditor, other than regular employee compensation, within 90 days before
     filing this case unless the aggregate value of all property transferred to that creditor is less than $6,825. (This amount may be adjusted on 4/01/22
     and every 3 years after that with respect to cases filed on or after the date of adjustment.)

         None.
         Creditor's Name and Address                                         Dates                 Total amount of value         Reasons for payment or transfer
                                                                                                                                 Check all that apply




  Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                   page 1
  Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                 Best Case Bankruptcy

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   Debtor       Eventide Credit Acquisitions, LLC                                                         Case number (if known) 20-40349-11



         Creditor's Name and Address                                         Dates                 Total amount of value         Reasons for payment or transfer
                                                                                                                                 Check all that apply
         3.1.
                 American Arbitration Association                            12/18/2019                       $14,000.00          Secured debt
                 9 Greenway Plaza #1275                                                                                           Unsecured loan repayments
                 Houston, TX 77046                                                                                                Suppliers or vendors
                                                                                                                                  Services
                                                                                                                                  Other

         3.2.
                 Bowman & Brooke LLP                                         01/08/2020                       $12,780.00          Secured debt
                 5830 Granite Pkwy #1000                                     $6,540.00                                            Unsecured loan repayments
                 Plano, TX 75024                                             01/17/2020                                           Suppliers or vendors
                                                                             $6,240.00
                                                                                                                                  Services
                                                                                                                                  Other

         3.3.
                 Holland & Knight LLP                                        12/2/2019                        $33,328.83          Secured debt
                 200 Crescent Ct #1600                                                                                            Unsecured loan repayments
                 Dallas, TX 75201                                                                                                 Suppliers or vendors
                                                                                                                                  Services
                                                                                                                                  Other

         3.4.
                 The MCS Group, Inc.                                         12/04/2019                       $69,330.06          Secured debt
                 1601 Market St., Suite 800                                  $21,024.36                                           Unsecured loan repayments
                 Philadelphia, PA 19103                                      12/25/2019                                           Suppliers or vendors
                                                                             $15,745.32
                                                                             01/06/2020
                                                                                                                                  Services
                                                                             $32,560.38                                           Other

         3.5.
                 Spotts Fain, P.C.                                           12/3/2019                       $109,236.97          Secured debt
                 411 East Franklin St., Suite 600                            $83,608.97                                           Unsecured loan repayments
                 Richmond, VA 23219                                          1/13/2020 $                                          Suppliers or vendors
                                                                             3,172.00
                                                                             1/13/2020 $
                                                                                                                                  Services
                                                                             960.00                                               Other
                                                                             1/17/2020
                                                                             $21,496.00
         3.6.
                 Pepper Hamilton                                             12/03/2019                         $8,958.50         Secured debt
                 3000 Two Logan Square                                       $549.50                                              Unsecured loan repayments
                 Philadelphia, PA 19103                                      01/17/2020                                           Suppliers or vendors
                                                                             $8,409.00
                                                                                                                                  Services
                                                                                                                                  Other

         3.7.
                 Van Ness Feldman LLP                                        1/17/2020                        $43,968.60          Secured debt
                 1050 Thomas Jefferson St NW                                 $43,968.60                                           Unsecured loan repayments
                 Washington, DC 20007                                                                                             Suppliers or vendors
                                                                                                                                  Services
                                                                                                                                  Other

         3.8.
                 Greer Walker LLP                                            1/6/2020                         $15,472.00          Secured debt
                 227 W. Trade Street                                         $15,472.00                                           Unsecured loan repayments
                 Suite 110                                                                                                        Suppliers or vendors
                 Charlotte, NC 28202                                                                                              Services
                                                                                                                                  Other


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                                                                                                                                                  JA885
USCA4Case
      Appeal: 23-2097    Doc: 11-2        Filed: 12/06/2023     Pg: 430 of 4493
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                                                                                          of 22
   Debtor       Eventide Credit Acquisitions, LLC                                                         Case number (if known) 20-40349-11



         Creditor's Name and Address                                         Dates                 Total amount of value           Reasons for payment or transfer
                                                                                                                                   Check all that apply
         3.9.
                 Shraiberg, London & Page P.A.                               12/3/2019                          $7,888.00           Secured debt
                 2385 NW Executive Center Dr                                 $7,880                                                 Unsecured loan repayments
                 Suite 300                                                                                                          Suppliers or vendors
                 Boca Raton, FL 33431                                                                                               Services
                                                                                                                                    Other


  4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
     List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or guaranteed
     or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than $6,825. (This amount
     may be adjusted on 4/01/22 and every 3 years after that with respect to cases filed on or after the date of adjustment.) Do not include any payments
     listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor and their relatives; general partners of a partnership
     debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor. 11 U.S.C. § 101(31).

         None.
         Insider's name and address                                          Dates                 Total amount of value           Reasons for payment or transfer
         Relationship to debtor
         4.1.    See attached SOFA 4/13/30
                 Payments to Insiders

  5. Repossessions, foreclosures, and returns
     List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor, sold at
     a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.

         None
         Creditor's name and address                               Describe of the Property                                      Date                 Value of property


  6. Setoffs
     List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account
     of the debtor without permission or refused to make a payment at the debtor’s direction from an account of the debtor because the debtor owed a
     debt.

         None
         Creditor's name and address                               Description of the action creditor took                       Date action was                 Amount
                                                                                                                                 taken

   Part 3:      Legal Actions or Assignments

  7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
     List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor was involved
     in any capacity—within 1 year before filing this case.

         None.
                 Case title                                        Nature of case             Court or agency's name and                Status of case
                 Case number                                                                  address
         7.1.    Williams et al. v. Big Picture                    28:1331 Fed.               US Dist. Court for E. Dist. of             Pending
                 Loans, LLC et al.                                 Question:                  Virginia                                   On appeal
                 3:17-cv-00461                                     Racketeering               701 East Broad Street
                                                                                                                                         Concluded
                                                                   (RICO) Act                 Richmond, VA 23219

         7.2.    Galloway et al. v. Big Picture                    18:1961                    US Dist. Court, E. Dist. of                Pending
                 Loans, LLC et al.                                 Racketeering               Virginia                                   On appeal
                 3:18-cv-00406                                     (RICO) Act                 701 E Broad St
                                                                                                                                         Concluded
                                                                                              Richmond, VA 23219




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                                                                                                                                                     JA886
USCA4Case
      Appeal: 23-2097 EXHIBIT
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                                                           to Insiders/Affiliates
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                               Document
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     Breakwater Holding, LLC
             Bank Account Number                 Date        Description       Payment
     Bank of America (4326)                2/23/2018    Distribution       $ (2,086,000.00)
     Bank of America (4326)                3/22/2018    Distribution       $ (2,086,000.00)
     Tolleson Private Bank BUS CK **6536   4/20/2018    Distribution       $ (1,907,200.00)
     Tolleson Private Bank BUS CK **6536   6/14/2018    Distribution       $ (178,800.00)
     Tolleson Private Bank BUS CK **6536   6/28/2018    Distribution       $ (1,192,000.00)
     Tolleson Private Bank BUS CK **6536   7/31/2018    Distribution       $ (745,000.00)
     Tolleson Private Bank BUS CK **6536   11/8/2018    Distribution       $ (298,000.00)
     Tolleson Private Bank BUS CK **6536   11/15/2018   Distribution       $ (59,600.00)
     Tolleson Private Bank BUS CK **6536   11/27/2018   Distribution       $ (596,000.00)
     Tolleson Private Bank BUS CK **6536   1/14/2019    Distribution       $ (274,160.00)
     Tolleson Private Bank BUS CK **6536   8/30/2019    Distribution       $ (175,123.00)

     Brian McFadden
             Bank Account Number                 Date        Description       Payment
     Bank of America (4326)                2/16/2018    Distribution       $    (70,000.00)
     Bank of America (4326)                3/21/2018    Distribution       $    (70,000.00)
     Bank of America (4326)                4/20/2018    Distribution       $    (64,000.00)
     Bank of America (4326)                6/14/2018    Distribution       $     (6,000.00)
     Bank of America (4326)                7/17/2018    Distribution       $    (40,000.00)
     Bank of America (4326)                7/31/2018    Distribution       $    (25,000.00)
     Bank of America (4326)                11/8/2018    Distribution       $    (10,000.00)
     Bank of America (4326)                1/14/2019    Distribution       $    (22,000.00)
     Bank of America (4326)                1/23/2019    Distribution       $     (9,200.00)

     Gallant Capital, LLC
             Bank Account Number                 Date        Description       Payment
     Bank of America (4326)                2/16/2018    Distribution       $   (892,500.00)
     Bank of America (4326)                3/21/2018    Distribution       $   (892,500.00)
     Tolleson Private Bank BUS CK **6536   4/20/2018    Distribution       $   (816,000.00)
     Bank of America (4326)                6/14/2018    Distribution       $    (76,500.00)
     Tolleson Private Bank BUS CK **6536   7/9/2018     Distribution       $   (510,000.00)
     Tolleson Private Bank BUS CK **6536   7/31/2018    Distribution       $   (318,750.00)
     Tolleson Private Bank BUS CK **6536   11/8/2018    Distribution       $   (127,500.00)
     Tolleson Private Bank BUS CK **6536   11/15/2018   Distribution       $    (25,500.00)
     Tolleson Private Bank BUS CK **6536   11/27/2018   Distribution       $   (255,000.00)
     Tolleson Private Bank BUS CK **6536   1/14/2019    Distribution       $   (117,300.00)




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USCA4Case
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     James Dowd
             Bank Account Number           Date          Description       Payment
     Bank of America (4326)          2/16/2018      Distribution       $    (52,500.00)
     Bank of America (4326)          3/21/2018      Distribution       $    (52,500.00)
     Bank of America (4326)          4/20/2018      Distribution       $    (48,000.00)
     Bank of America (4326)          6/14/2018      Distribution       $     (4,500.00)
     Bank of America (4326)          7/17/2018      Distribution       $    (30,000.00)
     Bank of America (4326)          7/31/2018      Distribution       $    (18,750.00)
     Bank of America (4326)          11/8/2018      Distribution       $     (7,500.00)
     Bank of America (4326)          1/14/2019      Distribution       $    (16,500.00)
     Bank of America (4326)          1/22/2019      Distribution       $     (6,900.00)

     Justin Martorello
             Bank Account Number           Date          Description       Payment
     Bank of America (4326)          2/16/2018      Distribution       $   (346,500.00)
     Bank of America (4326)          3/21/2018      Distribution       $   (346,500.00)
     Bank of America (4326)          4/20/2018      Distribution       $   (316,800.00)
     Bank of America (4326)          6/14/2018      Distribution       $    (29,700.00)
     Bank of America (4326)          7/17/2018      Distribution       $   (198,000.00)
     Bank of America (4326)          7/31/2018      Distribution       $   (123,750.00)
     Bank of America (4326)          11/8/2018      Distribution       $    (49,500.00)
     Bank of America (4326)          1/14/2019      Distribution       $   (108,900.00)
     Bank of America (4326)          1/23/2019      Distribution       $    (45,540.00)

     Simon Liang
             Bank Account Number           Date          Description       Payment
     Bank of America (4326)          2/16/2018      Distribution       $    (52,500.00)
     Bank of America (4326)          3/21/2018      Distribution       $    (52,500.00)
     Bank of America (4326)          4/20/2018      Distribution       $    (48,000.00)
     Bank of America (4326)          6/14/2018      Distribution       $     (4,500.00)
     Bank of America (4326)          7/17/2018      Distribution       $    (30,000.00)
     Bank of America (4326)          7/31/2018      Distribution       $    (18,750.00)
     Bank of America (4326)          11/8/2018      Distribution       $     (7,500.00)
     Bank of America (4326)          1/14/2019      Distribution       $    (16,500.00)
     Bank of America (4326)          1/22/2019      Distribution       $     (6,900.00)




                                                                                          JA888
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   Debtor       Eventide Credit Acquisitions, LLC                                                         Case number (if known) 20-40349-11



                 Case title                                        Nature of case            Court or agency's name and          Status of case
                 Case number                                                                 address
         7.3.    Smith v. Martorello, et al                        470 Civil (RICO)          US Dist. Court, Oregon               Pending
                 3:18-cv01651                                      Racketeer/Corrupt         1000 S.W. Third Ave.                 On appeal
                                                                   Organization              Portland, OR 97204
                                                                                                                                  Concluded

         7.4.    Duggan v. Martorello, et al.                      18:1962                   US Dist. Court,                      Pending
                 1:18-cv-12277                                     Racketeering              Massachusetts                        On appeal
                                                                   (RICO) Act                1 Courthouse Way
                                                                                                                                  Concluded
                                                                                             Boston, MA 02210

         7.5.    Williams et al v. Microbilt                       15:1681 Fair              US Dist. Court, E. Dist. of          Pending
                 Corporation et al                                 Credit Reporting          Virginia                             On appeal
                 3:19-cv-00085                                     Act                       701 East Broad Street
                                                                                                                                  Concluded
                                                                                             Richmond, VA 23219

         7.6.    Galloway et al. v. Martorello                     18:1961                   US Dist. Court, E. Dist. of          Pending
                 et al                                             Racketeering              Virginia                             On appeal
                 3:19-cv-00314                                     (RICCO) Act               701 East Broad Street                Concluded
                                                                                             Richmond, VA 23219

         7.7.    Galloway et al. v. Williams et                    18:1962                   US Dist. Court, E. Dist. of          Pending
                 al                                                Racketeering              Virginia                             On appeal
                 3:19-cv-00470                                     (RICO) Act                701 East Broad Street
                                                                                                                                  Concluded
                                                                                             Richmond, VA 23219

         7.8.    Eventide Credit Acquisitions,                     28:1332                   US Dist. Court for W. Dist.          Pending
                 LLC v. Ascension                                  Diversity-Other           of Michigan                          On appeal
                 Technologies, LLC, Big                            Contract                  110 Michigan St NW #399              Concluded
                 Picture Loans, LLC and Tribal                                               Grand Rapids, MI 49503
                 Economic Development
                 Holdings, LLC
                 2:19-cv-00256

         7.9.    Matt Martorello, Liont LLC,                       Civil                     US Dist. Court, N.D. Texas,          Pending
                 and Eventide Credit                               Miscellaneous             Dallas Div.                          On appeal
                 Acquisitions, LLC v. Lula                         Case re Motion to         1100 Commerce St # 1452              Concluded
                 Williams, on behalf of                            Quash                     Dallas, TX 75242
                 Williams, Gloria Turnage, on                      Case transferred
                 behalf of Turnage, George                         to the United
                 Hengle, on behalf of Hengle,                      States District
                 Dowin Coffy, on behalf of                         Court for the
                 Coffy & Marcella P Singh, on                      Eastern District of
                 behalf of Singh, Tolleson                         Virginia, with the
                 Private Bank, as Objector                         underlying
                 3:19-MC-0002-S                                    litigation, Williams
                                                                   v. Big Picture
                                                                   Loans, LLC,
                                                                   3:17-cv-00461-RE
                                                                   P (E.D. Va.).

         7.10 Eventide Credit Acquisitions,                        Breach of LSA,            American Arbitration                 Pending
         .    LLC v. Lac Vieux Desert Bank                         Note and                  Association                          On appeal
                 of Lake Superior Chippewa                         Guaranty
                                                                                                                                  Concluded
                 Indians, Tribal Economic
                 Development Holdings, LLC,
                 Big Picture Loans, LLC,
                 Ascension Technologies, LLC
                 and LVD Tribal Acquisition
                 Company, LLC
                 01-19-0004-5187

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  8. Assignments and receivership
     List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the hands of a
     receiver, custodian, or other court-appointed officer within 1 year before filing this case.

         None

   Part 4:       Certain Gifts and Charitable Contributions

  9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value of
     the gifts to that recipient is less than $1,000

         None
                  Recipient's name and address                     Description of the gifts or contributions                Dates given                         Value


   Part 5:       Certain Losses

  10. All losses from fire, theft, or other casualty within 1 year before filing this case.

         None
         Description of the property lost and                      Amount of payments received for the loss                 Dates of loss          Value of property
         how the loss occurred                                                                                                                                  lost
                                                                   If you have received payments to cover the loss, for
                                                                   example, from insurance, government compensation, or
                                                                   tort liability, list the total received.

                                                                   List unpaid claims on Official Form 106A/B (Schedule
                                                                   A/B: Assets – Real and Personal Property).

   Part 6:       Certain Payments or Transfers

  11. Payments related to bankruptcy
      List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before the filing
      of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring, seeking bankruptcy
      relief, or filing a bankruptcy case.

         None.
                   Who was paid or who received                        If not money, describe any property transferred           Dates              Total amount or
                   the transfer?                                                                                                                             value
                   Address
         11.1.                                                                                                                   Five
                                                                                                                                 months that
                                                                                                                                 Loeb was
                                                                                                                                 retained
                                                                                                                                 prior to the
                                                                                                                                 Petition
                                                                                                                                 Date. Loeb
                                                                                                                                 is currently
                                                                                                                                 holding
                   Loeb & Loeb LLP                                                                                               $50,000.00
                   10100 Santa Monica Blvd                                                                                       in retainer
                   Suite 2200                                          $250,000 loan advanced on behalf of                       (at date of
                   Los Angeles, CA 90067-4120                          Debtor.                                                   filing).              $206,809.07

                   Email or website address
                   bgiven@loeb.com

                   Who made the payment, if not debtor?
                   Bluetech Irrevocable Trust




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                                                                                                                                                   JA890
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   Debtor        Eventide Credit Acquisitions, LLC                                                         Case number (if known) 20-40349-11



                   Who was paid or who received                        If not money, describe any property transferred           Dates           Total amount or
                   the transfer?                                                                                                                          value
                   Address
         11.2.                                                                                                                   1/28/2020 -
                                                                                                                                 Paid from
                                                                                                                                 IOLTA
                                                                                                                                 account of
                   Forshey & Prostok, LLP                                                                                        Loeb &
                   777 Main Street                                                                                               Loeb, on
                   Suite 1290                                          $250,000 loan advanced on behalf of                       behalf of
                   Arlington, TX 76012                                 Debtor.                                                   the Debtor.         $25,000.00

                   Email or website address
                   jprostok@forsheyprostok.com

                   Who made the payment, if not debtor?
                   Bluetech Irrevocable Trust


         11.3.                                                                                                                   1/28/2020 -
                                                                                                                                 Paid from
                                                                                                                                 IOLTA
                   MACCO Restructuring Group,                                                                                    account of
                   LLC                                                                                                           Loeb &
                   The Pennzoil Building                                                                                         Loeb, on
                   700 Milam Street, Suite 1300                        $250,000 loan advanced on behalf of                       behalf of
                   Houston, TX 77002                                   Debtor.                                                   the Debtor.         $40,000.00

                   Email or website address
                   www.maccorestructuringgroup.com

                   Who made the payment, if not debtor?
                   Bluetech Irrevocable Trust



  12. Self-settled trusts of which the debtor is a beneficiary
      List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case
      to a self-settled trust or similar device.
      Do not include transfers already listed on this statement.

         None.
         Name of trust or device                                       Describe any property transferred                Dates transfers          Total amount or
                                                                                                                        were made                         value

  13. Transfers not already listed on this statement
      List any transfers of money or other property by sale, trade, or any other means made by the debtor or a person acting on behalf of the debtor within
      2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs. Include
      both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.

         None.
                  Who received transfer?                           Description of property transferred or                  Date transfer         Total amount or
                  Address                                          payments received or debts paid in exchange             was made                       value
         13.1 Breakwater Holdings, LLC
         .    Bermuda House, Tutakimoa
                  Road
                  Rarotonga, Cook Islands                          See attached Exhibit SOFA 4/13/30

                  Relationship to debtor
                  Member




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                                                                                                                                                JA891
USCA4 Appeal:
    Case      23-2097   Doc: 11-2
         3:17-cv-00461-REP   Document    Filed: 12/06/2023
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     Case
      Case3:17-cv-00461-REP
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   Debtor      Eventide Credit Acquisitions, LLC                                                          Case number (if known) 20-40349-11



                 Who received transfer?                            Description of property transferred or                  Date transfer           Total amount or
                 Address                                           payments received or debts paid in exchange             was made                         value
         13.2 Brian McFadden
         .    3133 Indian Pont Road
                 Saugatuck, MI 49453                               See attached Exhibit SOFA 4/13/30

                 Relationship to debtor
                 Member


         13.3 Gallant Capital, LLC
         .    1920 McKinney Avenue
                 7th Floor
                 Dallas, TX 75201                                  See attached Exhibit SOFA 4/13/30

                 Relationship to debtor
                 Member


         13.4 James Dowd
         .    2014 Calle Las Violetas
                 San Juan, PR 00915                                See attached Exhibit SOFA 4/13/30

                 Relationship to debtor
                 Member


         13.5 Justin Martorello                                    See attached Exhibit SOFA 4/13/30
         .    2019 Westbourne Park Dr.                             Payments to Justin Martorello (deposited
                 Houston, TX 77007                                 into joint account with Gina Martorello)

                 Relationship to debtor
                 Member


         13.6 Simon Liang
         .    119 Gascony Dr.
                 Greenville, SC 29609                              See attached Exhibit SOFA 4/13/30

                 Relationship to debtor
                 Member


   Part 7:      Previous Locations

  14. Previous addresses
      List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.


         Does not apply
                  Address                                                                                                    Dates of occupancy
                                                                                                                             From-To

   Part 8:      Health Care Bankruptcies

  15. Health Care bankruptcies
      Is the debtor primarily engaged in offering services and facilities for:
      - diagnosing or treating injury, deformity, or disease, or
      - providing any surgical, psychiatric, drug treatment, or obstetric care?

             No. Go to Part 9.
         Yes. Fill in the information below.



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                                                                                                                                                  JA892
USCA4 Appeal:
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         3:17-cv-00461-REP   Document    Filed: 12/06/2023
                                        1166-49    Filed       Pg: 437
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                                                                          493 15 PageID# 48541
     Case
      Case3:17-cv-00461-REP
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                               76 Filed 03/20/20
                                         896-9 FiledEntered
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                                                                                 Page 18 28770
                                                                                         of 22
   Debtor      Eventide Credit Acquisitions, LLC                                                          Case number (if known) 20-40349-11



                  Facility name and address                        Nature of the business operation, including type of services           If debtor provides meals
                                                                   the debtor provides                                                    and housing, number of
                                                                                                                                          patients in debtor’s care

   Part 9:      Personally Identifiable Information

  16. Does the debtor collect and retain personally identifiable information of customers?

             No.
         Yes. State the nature of the information collected and retained.
  17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other pension or
      profit-sharing plan made available by the debtor as an employee benefit?

             No. Go to Part 10.
         Yes. Does the debtor serve as plan administrator?

   Part 10:     Certain Financial Accounts, Safe Deposit Boxes, and Storage Units

  18. Closed financial accounts
      Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor’s benefit, closed, sold,
      moved, or transferred?
      Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions, brokerage houses,
      cooperatives, associations, and other financial institutions.

         None
                  Financial Institution name and                   Last 4 digits of         Type of account or          Date account was              Last balance
                  Address                                          account number           instrument                  closed, sold,             before closing or
                                                                                                                        moved, or                          transfer
                                                                                                                        transferred

  19. Safe deposit boxes
      List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this
      case.


         None
         Depository institution name and address                       Names of anyone with                 Description of the contents            Do you still
                                                                       access to it                                                                have it?
                                                                       Address

  20. Off-premises storage
      List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in
      which the debtor does business.


         None
         Facility name and address                                     Names of anyone with                 Description of the contents            Do you still
                                                                       access to it                                                                have it?


   Part 11:     Property the Debtor Holds or Controls That the Debtor Does Not Own

  21. Property held for another
      List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in trust. Do
      not list leased or rented property.

       None

   Part 12:     Details About Environment Information

  For the purpose of Part 12, the following definitions apply:
       Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material, regardless of the
       medium affected (air, land, water, or any other medium).
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                                                                                                                                                 JA893
USCA4 Appeal:
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                                                                          493 15 PageID# 48542
     Case
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                               76 Filed 03/20/20
                                         896-9 FiledEntered
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                                                             03/20/20
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   Debtor      Eventide Credit Acquisitions, LLC                                                          Case number (if known) 20-40349-11




        Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor formerly
        owned, operated, or utilized.

        Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant, or a
        similarly harmful substance.

  Report all notices, releases, and proceedings known, regardless of when they occurred.

  22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

             No.
         Yes. Provide details below.
         Case title                                                    Court or agency name and             Nature of the case                            Status of case
         Case number                                                   address

  23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
      environmental law?

             No.
         Yes. Provide details below.
         Site name and address                                         Governmental unit name and               Environmental law, if known               Date of notice
                                                                       address

  24. Has the debtor notified any governmental unit of any release of hazardous material?

             No.
         Yes. Provide details below.
         Site name and address                                         Governmental unit name and               Environmental law, if known               Date of notice
                                                                       address

   Part 13:     Details About the Debtor's Business or Connections to Any Business

  25. Other businesses in which the debtor has or has had an interest
      List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.
      Include this information even if already listed in the Schedules.

         None
      Business name address                                     Describe the nature of the business              Employer Identification number
                                                                                                                 Do not include Social Security number or ITIN.

                                                                                                                 Dates business existed

  26. Books, records, and financial statements
      26a. List all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.
            None
         Name and address                                                                                                                        Date of service
                                                                                                                                                 From-To
         26a.1.       Andersen and Starr Accounting                                                                                              2018 - Present
                      Division of Andersen
                      5949 Sherry Lane, Suite 500
                      Dallas, TX 75225
         26a.2.       Zayra Emanuelli                                                                                                            Approximately
                      Puerto Rico                                                                                                                January 1-June 30,
                                                                                                                                                 2018
         26a.3.       Talkington & Associates                                                                                                    2018
                      295 Palmas Inn Way Ste 130 Pmb 354
                      Humacao, PR 791


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                                                                                                                                                       JA894
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     Case
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                                                                                         of 22
   Debtor      Eventide Credit Acquisitions, LLC                                                          Case number (if known) 20-40349-11



         Name and address                                                                                                                 Date of service
                                                                                                                                          From-To
         26a.4.       Melanie Hedrick (Andersen)                                                                                          2018 - Present
                      5949 Sherry Lane
                      Suite 500
                      Dallas, TX 75225
         26a.5.       Peter Watson (Andersen)                                                                                             2018 - Present
                      5949 Sherry Lane
                      Suite 500
                      Dallas, TX 75225
         26a.6.       Edwin Roberts (Andersen)                                                                                            2018 - Present
                      5949 Sherry Lane
                      Suite 500
                      Dallas, TX 75225
         26a.7.       Carol Robles                                                                                                        Approximately
                      Address Unknown                                                                                                     January 1-June 30,
                                                                                                                                          2018

      26b. List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a financial statement
           within 2 years before filing this case.

             None
         Name and address                                                                                                                 Date of service
                                                                                                                                          From-To
         26b.1.       Andersen and Starr Accounting,                                                                                      2018-Present
                      Division of Andersen
                      5949 Sherry Lane, Suite 500
                      Dallas, TX 75225
         Name and address                                                                                                                 Date of service
                                                                                                                                          From-To
         26b.2.       Talkington & Associates                                                                                             2018
                      295 Palmas Inn Way Ste 130 Pmb 354
                      Humacao, PR 791

      26c. List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.

             None
         Name and address                                                                                      If any books of account and records are
                                                                                                               unavailable, explain why
         26c.1.       Andersen
                      5949 Sherry Lane, Suite 500
                      Dallas, TX 75225
         26c.2.       Talkington & Associates
                      295 Palmas Inn Way Ste 130 Pmb 354
                      Humacao, PR 791
         26c.3.       Matt Martorello
                      3805 Greenbriar Dr
                      Dallas, TX 75225

      26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial
           statement within 2 years before filing this case.

             None
         Name and address


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USCA4 Appeal:
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     Case
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   Debtor      Eventide Credit Acquisitions, LLC                                                          Case number (if known) 20-40349-11



  27. Inventories
      Have any inventories of the debtor’s property been taken within 2 years before filing this case?

             No
         Yes. Give the details about the two most recent inventories.
                 Name of the person who supervised the taking of the                          Date of inventory        The dollar amount and basis (cost, market,
                 inventory                                                                                             or other basis) of each inventory

  28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other people
      in control of the debtor at the time of the filing of this case.

         Name                                           Address                                             Position and nature of any            % of interest, if
                                                                                                            interest                              any
         Breakwater Holdings, LLC                       Bermuda House, Tutakimoa Road                       Member                                59.6%
                                                        P.O. Box 822
                                                        Rarotonga, Cook Islands
         Name                                           Address                                             Position and nature of any            % of interest, if
                                                                                                            interest                              any
         Matt Martorello                                3805 Greenbriar Dr                                  President
                                                        Dallas, TX 75225

         Name                                           Address                                             Position and nature of any            % of interest, if
                                                                                                            interest                              any
         Drew McManigle                                 c/o MACCO Restructuring Group,                      Manager
                                                        LLC
                                                        700 Milam St., Suite 1300
                                                        Houston, TX 77002


  29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in
      control of the debtor, or shareholders in control of the debtor who no longer hold these positions?


             No
         Yes. Identify below.

  30. Payments, distributions, or withdrawals credited or given to insiders
      Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws, bonuses,
      loans, credits on loans, stock redemptions, and options exercised?

         No
             Yes. Identify below.

                 Name and address of recipient                     Amount of money or description and value of             Dates              Reason for
                                                                   property                                                                   providing the value
         30.1 See attached Exhibit SOFA
         .    4/13/30


                 Relationship to debtor




  31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?

             No
         Yes. Identify below.
      Name of the parent corporation                                                                             Employer Identification number of the parent
                                                                                                                 corporation



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USCA4 Appeal:
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     Case
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           20-40349-elm11 Doc Document
                               76 Filed 03/20/20
                                         896-9 FiledEntered
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USCA4Case
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                            EVENTIDE CREDIT ACQUISTIIONS, LLC


            Michelle Hazen
            Ascension Technologies, LLC
            P.O. Box 703
            Watersmeet, M149969

                   Re: Consent to Ascension Technologies, LLC Atlanta Office Expansion

            Ms. Hazen:

                   Pursuant to Loan and Security Agreement dated October 7, 2015 and, more specifically,
            Section 4(b) of the related Promissory Note ("N9te") dated January 26, 2016 by and between
            Eventide Credit Acquisitions, LLC ("Eventide") and Tribal Economic Development Holdings,
            LLC (together with its Subsidiaries, including Big Picture Loans, LLC and Ascension
            Technologies, LLC), Eventide must provide written consent and approval of a budget before
            Borrower or its Subsidiaries expand the Business in such a manner as to materially reduce
            payments under the Note.

                    Please let this letter serve as Eventide's fonnal written consent to Ascension
            Technologies, LLC's expansion and establishment of an office in Atlanta, Georgia pursuant to
            the attached organizational chart and budget.                          ·



                                                               Sincerely, .




                                                               Matt Martorello
                                                               Eventide Credit Acquisitions, LLC




                                                                                                    JA898
CONFIDENTIAL                                                                                       LVD-DEF00003643
USCA4Case
     Appeal: 23-2097    Doc: 11-2
          3:17-cv-00461-REP   Document Filed:
                                       1166-5112/06/2023     Pg: 443
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                                    Exhibit 51




                                                                                   JA899
USCA4Case
     Appeal: 23-2097    Doc: 11-2
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                                       1166-5112/06/2023     Pg: 444
                                                  Filed 04/21/23     of 493
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                                 EVENTIDE CREDIT ACQUISITIONS, LLC
                                       875 Carretera 693, Suite 202
                                        Dorado, Puerto Rico 00646

                                                     11103/2016

        Michelle Hazen
        Big Picture Loans, LLC
        P.O. Box 704
        Watersmeet, MI 49969

               Re: Consent to Additional Indebtedness - Deborah!vt. Arenberg Living Trust

        Ms. Hazen:

                Pursuant to Section 5.1 of the Loan and Security Agreement ("Agreement") dated
        October 7,2015 by and between Eventide Credit Acquisitions, LLC ("Eventide") and Tribal
        Economic Development Holdings, LLC (together with its Subsidiaries Big Picture Loans, LLC
        ("BPL") and Ascension Technologies, LLC ("AT"), together ("TED"), Eventide must provide
        written consent before Borrower or any of its Subsidiaries issue any indebtedness in addition to
        the Permitted Liens.

               Eventide has been informed that the Permitted Lien for Noteholder Deborah M. Arenberg
        Living Trust ("Noteholder") authorized pursuant to Section 3.4 of the Agreement has almost
        reached maturity. Eventide is also informed that the Noteholder wishes to reinvest in the
        Business of BPL in the amount of $276,148.16.

              Please let this letter serve as Eventide's formal written consent to the Loan and Security
        Agreement and related Promissory Note for $276,148.16 by and between Big Picture Loans,
        LLC and Noteholder which shall constitute a Permitted Lien under the Agreement.


                                                             Sincerely,



                                                             -&~ '*
                                                            Matt Martorello
                                                            Eventide Credit Acquisitions, LLC




                                                                                                  JA900
CONFIDENTIAL                                                                                  MARTORELLO_000020
USCA4Case
     Appeal: 23-2097    Doc: 11-2
          3:17-cv-00461-REP   Document Filed:
                                       1166-5212/06/2023     Pg: 445
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                                    Exhibit 52




                                                                                   JA901
USCA4Case
     Appeal: 23-2097    Doc: 11-2
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                                       1166-5212/06/2023     Pg: 446
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                                 EVENTIDE CREDIT ACQUISITIONS, LLC
                                       875 Carretera 693, Suite 202
                                        Dorado, Puerto Rico 00646


                                                     111312016

        Michelle Hazen
        Big Picture Loans, LLC
        P.O. Box 704
        Watersmeet, MI 49969

               Re: Consent to Additional Indebtedness - DTA Trinity Wealth Transfer Trust

        Ms. Hazen:

                Pursuant to Section 5.1 of the Loan and Security Agreement ("Agreement") dated
        October 7,2015 by and between Eventide Credit Acquisitions, LLC ("Eventide") and Tribal
        Economic Development Holdings, LLC (together with its Subsidiaries Big Picture Loans, LLC
        ("BPL") and Ascension Technologies, LLC ("AT"), together ("TED"), Eventide must provide
        written consent before Borrower or any of its Subsidiaries issue any indebtedness in addition to
        the Permitted Liens.

               Eventide has been informed that the Permitted Lien for Noteholder DTA Trinity Wealth
        Transfer Trust ("Noteholder") authorized pursuant to Section 3.4 of the Agreement has almost
        reached maturity. Eventide is also informed that the Noteholder wishes to reinvest in the
        Business ofBPL in the amount of$720,593.16.

              Please let this letter serve as Eventide's formal written consent to the Loan and Security
        Agreement and related Promissory Note for $720,593.16 by and between Big Picture Loans,
        LLC and Noteholder which shall constitute a Permitted Lien under the Agreement.


                                                             Sincerely,




                                                            Matt Martorello
                                                            Eventide Credit Acquisitions, LLC




                                                                                                  JA902
CONFIDENTIAL                                                                                  MARTORELLO_000021
USCA4Case
     Appeal: 23-2097    Doc: 11-2
          3:17-cv-00461-REP   Document Filed:
                                       1166-5312/06/2023     Pg: 447
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                                    Exhibit 53




                                                                                   JA903
USCA4Case
     Appeal: 23-2097    Doc: 11-2
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                                 EVENTIDE CREDIT ACQUISITIONS, LLC
                                       875 Carretera 693, Suite 202
                                        Dorado, Puerto Rico 00646

                                                     11103/2016

        Michelle Hazen
        Big Picture Loans, LLC
        P.O. Box 704
        Watersmeet, MI 49969

               Re: Consent to Additional Indebtedness - Terrance J Arenberg

        Ms. Hazen:

                Pursuant to Section 5.1 of the Loan and Security Agreement ("Agreement") dated
        October 7,2015 by and between Eventide Credit Acquisitions, LLC ("Eventide") and Tribal
        Economic Development Holdings, LLC (together with its Subsidiaries Big Picture Loans, LLC
        ("BPL") and Ascension Technologies, LLC ("AT"), together ("TED"), Eventide must provide
        written consent before Borrower or any of its Subsidiaries issue any indebtedness in addition to
        the Permitted Liens.

               Eventide has been informed that the Permitted Lien for Noteholder Terrance J. Arenberg
        ("Noteholder") authorized pursuant to Section 3.4 of the Agreement has almost reached maturity.
        Eventide is also informed that the Noteholder wishes to reinvest in the Business ofBPL in the
        amount of $750,000.00.

              Please let this letter serve as Eventide's formal written consent to the Loan and Security
        Agreement and related Promissory Note for $750,000.00 by and between Big Picture Loans,
        LLC and Noteholder which shall constitute a Permitted Lien under the Agreement.


                                                             Sincerely,




                                                            Matt Martorello
                                                            Eventide Credit Acquisitions, LLC




                                                                                                  JA904
CONFIDENTIAL                                                                                  MARTORELLO_000022
USCA4Case
     Appeal: 23-2097    Doc: 11-2
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                                       1166-5412/06/2023     Pg: 449
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                                    Exhibit 54




                                                                                   JA905
USCA4Case
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                                       1166-5412/06/2023     Pg: 450
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                                 EVENTIDE CREDIT ACQUISITIONS, LLC
                                       875 Carretera 693, Suite 202
                                        Dorado, Puerto Rico 00646

                                                     11103/2016

        Michelle Hazen
        Big Picture Loans, LLC
        P.O. Box 704
        Watersmeet, MI 49969

               Re: Consent to Additional Indebtedness - Timothy P. Arenberg

        Ms. Hazen:

                Pursuant to Section 5.1 of the Loan and Security Agreement ("Agreement") dated
        October 7,2015 by and between Eventide Credit Acquisitions, LLC ("Eventide") and Tribal
        Economic Development Holdings, LLC (together with its Subsidiaries Big Picture Loans, LLC
        ("BPL") and Ascension Technologies, LLC ("AT"), together ("TED"), Eventide must provide
        written consent before Borrower or any of its Subsidiaries issue any indebtedness in addition to
        the Permitted Liens.

               Eventide has been informed that the Permitted Lien for Noteholder Timothy P. Arenberg
        ("Noteholder") authorized pursuant to Section 3.4 of the Agreement has almost reached maturity.
        Eventide is also informed that the Noteholder wishes to reinvest in the Business ofBPL in the
        amount of $900,000.00.

              Please let this letter serve as Eventide's formal written consent to the Loan and Security
        Agreement and related Promissory Note for $900,000.00 by and between Big Picture Loans,
        LLC and Noteholder which shall constitute a Permitted Lien under the Agreement.


                                                             Sincerely,



                                                                                       .5
                                                            Matt Martorello
                                                            Eventide Credit Acquisitions, LLC




                                                                                                  JA906
CONFIDENTIAL                                                                                  MARTORELLO_000023
USCA4Case
     Appeal: 23-2097    Doc: 11-2
          3:17-cv-00461-REP   Document Filed:
                                       1166-5512/06/2023     Pg: 451
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                                    Exhibit 55




                                                                                   JA907
USCA4Case
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                                                                  Page  493
                                                                          of 2 PageID# 48556



                                  TRIBAL ECONOMIC DEVELOPMENT HOLDINGS, LLC

                                                                      10/28/2()] 6

           Ivi.a1.t· i'vlartorclln
           Eve.nridt• Credit Acquisition.s. LLC
           875 Carretcra 693. Suite 202 .
           .Dorndo. .PR 00646

           Re:        Lender lFri!ft11 Constnt - Risk and Ana!yrics Manager and \:f('(' Prcsir!tnf !~[Markcrins

           Mr. Marturello:

                     PursLJnn!. to that certain Loan und Security Agn.:',cmen1 dated Ocwber i ..20'J 5 by and herween E:'entide
          _Cr~:dii ,Acquisitions: LLC ("Eventide") by Triha·1 Econl)mic Development Holdings. LLC ('TED") and its
           Subsidiaries including Big Picture Loans. LLC C'BPL") and Ascension Tc-Cl111ofogil'S, LLC ("AT"). and more
           sp(:cifical!y pursuant SL-ction l.2 (b)(4:1(h) nfassoc.-iated Secured Promissory No1c ("Nc1J'e'') dated Jamwry 26. 2.0J6
           issued to Eventkk hy TED (the "Borrc)wcr''). En~.ntidc must .pro\'ide wrillcn consent of a budge!. before "B0rrc1wcr or
           any of its Suhsidfaric.s c.in expand (i) the Business in such a nHmner that could materially reduce paym.:::n1s·undcr !he.
           Nrilf·.; :::ind (2) can ii1cur lab0r expenses in an nm.oum fivt· pcrccm (Y5"i:) f:reme.r 1han "the historical labQr cost$.
           churged w BPITOWer [TEI}] or i.l Sub:::idiary hy pre.vious se-r\'ice providers,"               ·                         ·

                     On or about June 7. 2016. Even·1ide wns infol'med of ceru:ri11 personnel costs associated with p[·opose.d
           or_f:anizatkina! changes re!nted lo i.hc expnn:-ion oft he AT Atla.n1.a 0f!k~. Spe.cif'ically. Evl.':nt.ide was advise.cl that:

                 I.  AT has taken steps to hire. a Risk and Ana'Jytks Manager who i.1: scheduled w std.rt in the AT At!arna offict~
                     011 Nc1vcmbcr J. 20.16,
                 2.· The. negotialed siarl.ing salary of lhc Risk and Analytics fl1'anaf:CI' Is S200,000.00, an amount 1hm exct..'eds
                     the amount w which .Eveniide. lwd previously consented.
                 _,. As part t~fthC ''natt:ral ~volutilm Pflhe Business" AT has also ta.kt·n steps w hire a Viel· ?resident of.
                     Markc°Ling \vh~ i~ al;-o :-cht'duled ro start in. the AT Atlanta <.'"fficc on November 1. 2016.
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                                                                                                                                    JA908
CONFIDENTIAL                                                                                                                    LVD-DEF00015613
USCA4Case
      Appeal: 23-2097   Doc: 11-2
          3:17-cv-00461-REP            Filed: 12/06/2023
                              Document 1166-56               Pg: 453
                                                 Filed 04/21/23      of 1493
                                                                  Page    of 29 PageID# 48557




                                    Exhibit 56




                                                                                   JA909
 USCA4
DocuSign   Appeal:
         Envelope      23-2097       Doc: 11-2           Filed: 12/06/2023
                  ID: CA2ABF15-0ADE-4A13-AA9B-3D36C6F22A1A  Pg: 454
        Case 3:17-cv-00461-REP Document 1166-56 Filed 04/21/23      of 2493
                                                                 Page    of 29 PageID# 48558




                                    IN THE UNITED STATES DISTRICT COURT
                                   FOR THE EASTERN DISTRICT OF VIRGINIA
                                               Richmond Division

            LULA WILLIAMS, et al. on behalf of themselves :
            and all other similarly situated individuals, :
                                                          :
                    Plaintiffs,                           :
                                                          :
            v.                                            : Civil Action No. 3:17-cv-461 (REP)
                                                          :
            BIG PICTURE LOANS, LLC, et al.,               :
                                                          :
                                           Defendants.

                                       WRITTEN REPORT OF KARL J. EBERT

                     I, Karl J. Ebert, submit the follow written report pursuant to Rule 26(a)(2) of the Federal

            Rules of Civil Procedure:

                     1.     I am a technology consultant and founder and owner of KJE Computer Solutions,

            Inc, which is an advanced technology software firm, that develops and markets an extensive suite

            of banking and e-commerce content as cloud based financial calculator tools for deployment with

            mortgages, finance, banking, real estate, education, credit union and wealth management. I have

            been retained by the Plaintiff’s attorneys to provide technology consulting services with regard to

            electronic discovery, specifically the loan level data for the certified classes in this case. This

            declaration is submitted based upon my knowledge, experience, and information provided to me

            with regard to the electronic discovery issues in this litigation. A copy of my current resume is

            attached hereto as Exhibit 1.

                     2.     I am prepared to testify as necessary.

                     3.     I have authored various articles and posts on the websites below over the past ten

            years:




                                                        Page 1 of 25

                                                                                                        JA910
 USCA4
DocuSign   Appeal:
         Envelope      23-2097       Doc: 11-2           Filed: 12/06/2023
                  ID: CA2ABF15-0ADE-4A13-AA9B-3D36C6F22A1A  Pg: 455
        Case 3:17-cv-00461-REP Document 1166-56 Filed 04/21/23      of 3493
                                                                 Page    of 29 PageID# 48559




                           Website: https://www.dinkytown.net
                           Website: https://cucalc.org
                           Website: https://www.maprcalculator.com


                   4.      I have spent over 20 years working with large enterprise databases, programming

            queries on .csv files, like the loan level consumer data produced in this case. This has included an

            electronic loan approval system for a large financial Institution, E-Commerce architecture design,

            data warehouse development architect, relational database design, Internet, Intranet and

            Client/Server development.

                   5.      In this case, in addition to discussions with the Plaintiffs’ attorneys, I have

            reviewed: the Stipulated Protective Order; the six .csv data files that were provided by

            TranDotCom on August 5, 2021; and the documents including the class notice and definitions

            available at https://www.bigpictureloansclassaction.com/.

                   6.      In this case, the Plaintiffs, Lula Williams, Gloria Turnage, George Hengle, Dowin

            Coffy, and Felix Gillison, Jr. filed a lawsuit in connection with consumer loans made by Castle

            Payday d/b/a Red Rock (“Red Rock”) and Big Picture Loans (“Big Picture”).

                   7.      The Court has certified the following classes:

                   (a) Big Picture RICO Class: All Virginia Consumers who entered into a loan agreement
                   with Big Picture where a payment was made from June 22, 2013 to December 20, 2019.
                           (i) Big Picture Usury Sub-class: All Virginia consumers who paid any principal,
                           interest, or fees on their loan with Big Picture from June 22, 2015, to December 20,
                           2019.
                           (ii) Big Picture Unjust Enrichment Sub-class: All Virginia consumers who paid
                           any amount on their loan with Big Picture from June 22, 2014 to December 20,
                           2019.
                   (b) Red Rock RICO Class: All Virginia consumers who entered into a loan agreement
                   with Red Rock where a payment was made from June 22, 2013 to December 20, 2019.
                           (i) Red Rock Usury Sub-class: All Virginia consumers who paid any principal,
                           interest, or fees on their loan with Red Rock from June 22, 2015 to December 20,
                           2019.




                                                        Page 2 of 25

                                                                                                        JA911
 USCA4
DocuSign   Appeal:
         Envelope      23-2097       Doc: 11-2           Filed: 12/06/2023
                  ID: CA2ABF15-0ADE-4A13-AA9B-3D36C6F22A1A  Pg: 456
        Case 3:17-cv-00461-REP Document 1166-56 Filed 04/21/23      of 4493
                                                                 Page    of 29 PageID# 48560




                             (ii) Red Rock Unjust Enrichment Sub-class: All Virginia consumers who paid
                             any amount on their loan with Red Rock from June 22, 2014, to December 20,
                             2019.

                    8.       There were four .csv files that pertained to Red Rock and Big Picture loans. The

            other two .csv files pertained to Pepper Cash loans, which is not part of the classes that the Court

            has certified.

                    9.       There were two .csv files for both Red Rock and Big Picture loans, which were

            divided by payment details and consumer loan origination details.

                    10.      Upon my review of the .csv files, I am making the assumption that “Merchant No.

            26419” are loans originated in the name Red Rock and “Merchant No. 42475” are loans originated

            in the name Big Picture. I have also assumed that the “Loan State” is the state that the consumer

            resided in when the loan was originated.

                    11.      My opinions contained herein are based upon my review of the above-described

            documents, as well as upon my qualifications, training, and experience described above. I

            understand that further discovery may take place in this case and a record will be produced. I

            reserve the right to amend and update my opinions based upon additional information that may be

            provided to me, including any information that may rebut any assumptions I have made, or that

            may become known to me by other appropriate means in the future.

            OPINION 1: Consumers in the Big Picture RICO Class paid $17,034,261.47 from June 22,

                             2013 to December 20, 2019.

                    12.      Each of the data points necessary to establish the amount paid by consumers is

            contained in the .csv files, without referencing any additional materials or third-party sources.

                    13.      There are a total of 6544 consumers (9783 loans) in this class.

                    14.      Specifically, I used the following fields from the .csv files to make this finding:



                                                         Page 3 of 25

                                                                                                           JA912
 USCA4
DocuSign   Appeal:
         Envelope      23-2097       Doc: 11-2           Filed: 12/06/2023
                  ID: CA2ABF15-0ADE-4A13-AA9B-3D36C6F22A1A  Pg: 457
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                                                                 Page    of 29 PageID# 48561




                         a. ApplNo

                         b. PmtDate

                         c. MerchantNo

                         d. CustID

                         e. PmtAmt

                         f. PrincipalPaid

                         g. InterestPaid

                   15.      I was also able to calculate the amount of principal and interest that were paid by

            the Big Picture RICO class. That amount is $12,287,519.50 in interest and $4,706,202.02 in

            principal.

                   16.      In order to reach this conclusion, I took the following steps:

                         a. Find all loans with a payment date in specified range with query as follows:

                            [Loans RICO Class] = SELECT DISTINCT LoanPayment.ApplNo

                            FROM LOANPAYMENT

                            WHERE LOANPAYMENT.PmtDate >=#6/22/2013# And

                            LOANPAYMENT.PmtDate<=#12/20/2019#

                         b. Find all consumers with a payment date in specified range with query as follows:

                            SELECT DISTINCT LOAN.CustID

                            FROM LOAN, [Loans RICO Class]

                            where [Loans RICO Class].ApplNo = LOAN.ApplNo

                            and MerchantNo = '26475'

                         c. Count all loans in [Loans RICO Class] in LOAN table. With query as follows:

                            SELECT Count(LoanPayment.ApplNo) AS LOANCOUNT



                                                        Page 4 of 25

                                                                                                       JA913
 USCA4
DocuSign   Appeal:
         Envelope      23-2097       Doc: 11-2           Filed: 12/06/2023
                  ID: CA2ABF15-0ADE-4A13-AA9B-3D36C6F22A1A  Pg: 458
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                                                                 Page    of 29 PageID# 48562




                            FROM [Loans RICO Class], LOAN

                            WHERE [loans RICO Class].ApplNo = LOAN.applNo

                            and LOAN.MerchantNo = '26475

                         d. Count all consumers in [Loan RICO Class] in LOAN table. With query as follows:

                            SELECT Count(LOAN.CustID) AS CONSUMERCOUNT

                            FROM [Consumers RICO Class], LOAN

                            WHERE [Consumers RICO Class].CustID = LOAN.CustID

                            and LOAN.MerchantNo = '26475'

                         e. Total all payments, interest and interest with query as follows:

                            SELECT Sum(LOANPAYMENT.PmtAmt) as PAYMENTTOTAL,

                            sum(LOANPAYMENT.PrincipalPaid) as PRINCIPALTOTAL,

                            sum(LOANPAYMENT.InterestPaid) as INTERESTTOTAL

                            FROM [Loans RICO Class], LOANPAYMENT

                            WHERE [Loans RICO Class].ApplNo=LOANPAYMENT.applNo

                            AND LOANPAYMENT.MerchantNo = '26475 '



            OPINION 2: Consumers in the Big Picture Usury Sub-Class paid $17,034,261.47 from June

                            22, 2015 to December 20, 2019.

                   17.      Each of the data points necessary to establish the amount paid by consumers is

            contained in the .csv files, without referencing any additional materials or third-party sources.

                   18.      There are a total of 6544 consumers (9783 loans) in this class.

                   19.      Specifically, I used the following fields from the .csv files to make this finding:

                         a. ApplNo



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                                                                                                          JA914
 USCA4
DocuSign   Appeal:
         Envelope      23-2097       Doc: 11-2           Filed: 12/06/2023
                  ID: CA2ABF15-0ADE-4A13-AA9B-3D36C6F22A1A  Pg: 459
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                                                                 Page    of 29 PageID# 48563




                         b. PmtDate

                         c. MerchantNo

                         d. CustID

                         e. PmtAmt

                         f. PrincipalPaid

                         g. InterestPaid

                   20.      I was also able to calculate the amount of principal and interest that were paid by

            the Big Picture usury sub-class. That amount is $12,287,519.50 in interest and $4,706,202.02 in

            principal.

                   21.      In order to reach this conclusion, I took the following steps:

                         a. Find all loans with a payment date in specified range with query as follows:

                            [Loans USURY SubClass] = SELECT DISTINCT LoanPayment.ApplNo

                            FROM LoanPayment

                            WHERE LoanPayment.PmtDate>=#6/22/2015# And

                            LoanPayment.PmtDate<=#12/20/2019#;

                         b. Find all consumers with a payment date in specified range with query as follows:

                            SELECT DISTINCT LOAN.CustID

                            FROM LOAN, [Loans USURY SubClass]

                            where [Loans USURY SubClass].ApplNo = LOAN.ApplNo

                            and MerchantNo = '26475'

                         c. Count all loans in [Loans RICO Class] in LOAN table. With query as follows:

                            SELECT Count(LoanPayment.ApplNo) AS LOANCOUNT

                            FROM [Loans USURY SubClass], LOAN



                                                        Page 6 of 25

                                                                                                       JA915
 USCA4
DocuSign   Appeal:
         Envelope      23-2097       Doc: 11-2           Filed: 12/06/2023
                  ID: CA2ABF15-0ADE-4A13-AA9B-3D36C6F22A1A  Pg: 460
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                                                                 Page    of 29 PageID# 48564




                            WHERE [Loans USURY SubClass].ApplNo = LOAN.applNo

                            and LOAN.MerchantNo = '26475'

                         d. Count all consumers in [Loan USURY SubClass] in LOAN table. With query as

                            follows:

                            SELECT DISTINCT LOAN.CustID

                            FROM LOAN, [Loans USURY SubClass]

                            where [Loans USURY SubClass].ApplNo = LOAN.ApplNo

                            and MerchantNo = '26475'

                         e. Total all payments, interest and interest with query as follows:

                            SELECT Sum(LOANPAYMENT.PmtAmt) as PAYMENTTOTAL,

                            sum(LOANPAYMENT.PrincipalPaid) as PRINCIPALTOTAL,

                            sum(LOANPAYMENT.InterestPaid) as INTERESTTOTAL

                            FROM [Loans USURY SubClass], LOANPAYMENT

                            WHERE [Loans USURY SubClass].ApplNo=LOANPAYMENT.applNo

                            AND LOANPAYMENT.MerchantNo = '26475 '



            OPINION 3: Consumers in the Big Picture Unjust Enrichment Sub-Class paid

                            $17,034,261.47 from June 22, 2014 to December 20, 2019.

                   22.      Each of the data points necessary to establish the amount paid by consumers is

            contained in the .csv files, without referencing any additional materials or third-party sources.

                   23.      There are a total of 6544 consumers (9783 loans) in this class.

                   24.      Specifically, I used the following fields from the .csv files to make this finding:

                         a. ApplNo



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                                                                                                          JA916
 USCA4
DocuSign   Appeal:
         Envelope      23-2097       Doc: 11-2           Filed: 12/06/2023
                  ID: CA2ABF15-0ADE-4A13-AA9B-3D36C6F22A1A  Pg: 461
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                                                                 Page    of 29 PageID# 48565




                         b. PmtDate

                         c. MerchantNo

                         d. CustID

                         e. PmtAmt

                         f. PrincipalPaid

                         g. InterestPaid

                   25.      I was also able to calculate the amount of principal and interest that were paid by

            the Big Picture unjust enrichment sub-class. That amount is $12,287,519.50 in interest and

            $4,706,202.02 in principal.

                   26.      In order to reach this conclusion, I took the following steps:

                         a. Find all loans with a payment date in specified range with query as follows:

                            [Loans USURY SubClass] = SELECT DISTINCT LoanPayment.ApplNo

                            FROM LoanPayment

                            WHERE (((LoanPayment.PmtDate)>=#6/22/2014# And

                            (LoanPayment.PmtDate)<=#12/20/2019#));

                         b. Find all consumers with a payment date in specified range with query as follows:

                            SELECT DISTINCT LOAN.CustID

                            FROM LOAN, [Loans UNJUST Enrichment SubClass]

                            where [Loans UNJUST Enrichment SubClass].ApplNo = LOAN.ApplNo

                            and MerchantNo = '26475'

                         c. Count all loans in [Loans RICO Class] in LOAN table. With query as follows:

                            SELECT Count(LoanPayment.ApplNo) AS LOANCOUNT

                            FROM [Loans UNJUST Enrichment SubClass], LOAN



                                                        Page 8 of 25

                                                                                                       JA917
 USCA4
DocuSign   Appeal:
         Envelope      23-2097       Doc: 11-2           Filed: 12/06/2023
                  ID: CA2ABF15-0ADE-4A13-AA9B-3D36C6F22A1A Pg: 462
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                                                                      493
                                                                        of 29 PageID# 48566




                            WHERE [Loans UNJUST Enrichment SubClass].ApplNo = LOAN.applNo

                            and LOAN.MerchantNo = '26475'

                         d. Count all consumers in [Loan RICO Class] in LOAN table. With query as follows:

                            SELECT DISTINCT LOAN.CustID

                            FROM LOAN, [Loans UNJUST Enrichment SubClass]

                            where [Loans UNJUST Enrichment SubClass].ApplNo = LOAN.ApplNo

                            and MerchantNo = '26475'

                         e. Total all payments, interest and interest with query as follows:

                            SELECT Sum(LOANPAYMENT.PmtAmt) as PAYMENTTOTAL,

                            sum(LOANPAYMENT.PrincipalPaid) as PRINCIPALTOTAL,

                            sum(LOANPAYMENT.InterestPaid) as INTERESTTOTAL

                            FROM [Loans UNJUST Enrichment SubClass], LOANPAYMENT

                            WHERE                    [Loans                  UNJUST                  Enrichment

                            SubClass].ApplNo=LOANPAYMENT.applNo

                            AND LOANPAYMENT.MerchantNo = '26475 '



            OPINION 4: Consumers in the Red Rock RICO Class paid $14,703,730.55 from June 22,

                            2013 to December 20, 2019.

                   27.      Each of the data points necessary to establish the amount paid by consumers is

            contained in the .csv files, without referencing any additional materials or third-party sources.

                   28.      There are a total of 7774 consumers (or 10386 loans) in this class.

                   29.      Specifically, I used the following fields from the .csv files to make this finding:

                         a. ApplNo



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                                                                                                          JA918
 USCA4
DocuSign   Appeal:
         Envelope      23-2097       Doc: 11-2           Filed: 12/06/2023
                  ID: CA2ABF15-0ADE-4A13-AA9B-3D36C6F22A1A Pg: 463
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                                                                      493
                                                                        of 29 PageID# 48567




                         b. PmtDate

                         c. MerchantNo

                         d. CustID

                         e. PmtAmt

                         f. PrincipalPaid

                         g. InterestPaid

                   30.      I was also able to calculate the amount of principal and interest that were paid by

            the Red Rock RICO class. That amount is $10,342,045.41 in interest and $4,283,421.94in

            principal.

                   31.      In order to reach this conclusion, I took the following steps:

                         a. Find all loans with a payment date in specified range with query as follows:

                            [Loans RICO Class] = SELECT DISTINCT LoanPayment.ApplNo

                            FROM LOANPAYMENT

                            WHERE LOANPAYMENT.PmtDate >=#6/22/2013# And

                            LOANPAYMENT.PmtDate<=#12/20/2019#

                         b. Find all consumers with a payment date in specified range with query as follows:

                            SELECT DISTINCT LOAN.CustID

                            FROM LOAN, [Loans RICO Class]

                            where [Loans RICO Class].ApplNo = LOAN.ApplNo

                            and MerchantNo = '26419'

                         c. Count all loans in [Loans RICO Class] in LOAN table. With query as follows:

                            SELECT Count(LoanPayment.ApplNo) AS LOANCOUNT

                            FROM [Loans RICO Class], LOAN



                                                       Page 10 of 25

                                                                                                       JA919
 USCA4
DocuSign   Appeal:
         Envelope      23-2097       Doc: 11-2           Filed: 12/06/2023
                  ID: CA2ABF15-0ADE-4A13-AA9B-3D36C6F22A1A Pg: 464
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                                                                      493
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                            WHERE [loans RICO Class].ApplNo = LOAN.applNo

                            and LOAN.MerchantNo = '26419'

                         d. Count all consumers in [Loan RICO Class] in LOAN table. With query as follows:

                            SELECT Count(LOAN.CustID) AS CONSUMERCOUNT

                            FROM [Consumers RICO Class], LOAN

                            WHERE [Consumers RICO Class].CustID = LOAN.CustID

                            and LOAN.MerchantNo = '26419'

                         e. Total all payments, interest and interest with query as follows:

                            SELECT Sum(LOANPAYMENT.PmtAmt) as PAYMENTTOTAL,

                            sum(LOANPAYMENT.PrincipalPaid) as PRINCIPALTOTAL,

                            sum(LOANPAYMENT.InterestPaid) as INTERESTTOTAL

                            FROM [Loans RICO Class], LOANPAYMENT

                            WHERE [Loans RICO Class].ApplNo=LOANPAYMENT.applNo

                            AND LOANPAYMENT.MerchantNo = '26419'



            OPINION 5: Consumers in the Red Rock Usury Sub-Class paid $6,385,340.48from June

                            22, 2015 to December 20, 2019.

                   32.      Each of the data points necessary to establish the amount paid by consumers is

            contained in the .csv files, without referencing any additional materials or third-party sources.

                   33.      There are a total of 4265 consumers (5044 loans) in this class.

                   34.      Specifically, I used the following fields from the .csv files to make this finding:

                         a. ApplNo

                         b. PmtDate



                                                        Page 11 of 25

                                                                                                          JA920
 USCA4
DocuSign   Appeal:
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                  ID: CA2ABF15-0ADE-4A13-AA9B-3D36C6F22A1A Pg: 465
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                                                                      493
                                                                        of 29 PageID# 48569




                         c. MerchantNo

                         d. CustID

                         e. PmtAmt

                         f. PrincipalPaid

                         g. InterestPaid

                   35.      I was also able to calculate the amount of principal and interest that were paid by

            the Red Rock usury sub-class. That amount is $4,326,421.63 in interest and $ $2,005,143.88 in

            principal.

                   36.      In order to reach this conclusion, I took the following steps:

                         a. Find all loans with a payment date in specified range with query as follows:

                            [Loans USURY SubClass] = SELECT DISTINCT LoanPayment.ApplNo

                            FROM LoanPayment

                            WHERE LoanPayment.PmtDate>=#6/22/2015# And

                            LoanPayment.PmtDate<=#12/20/2019#;

                         b. Find all consumers with a payment date in specified range with query as follows:

                            SELECT DISTINCT LOAN.CustID

                            FROM LOAN, [Loans USURY SubClass]

                            where [Loans USURY SubClass].ApplNo = LOAN.ApplNo

                            and MerchantNo = '26419'

                         c. Count all loans in [Loans USURY SubClass] in LOAN table. With query as

                            follows:

                            SELECT Count(LoanPayment.ApplNo) AS LOANCOUNT

                            FROM [Loans USURY SubClass], LOAN



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                                                                                                       JA921
 USCA4
DocuSign   Appeal:
         Envelope      23-2097       Doc: 11-2           Filed: 12/06/2023
                  ID: CA2ABF15-0ADE-4A13-AA9B-3D36C6F22A1A Pg: 466
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                                                                      493
                                                                        of 29 PageID# 48570




                            WHERE [Loans USURY SubClass].ApplNo = LOAN.applNo

                            and LOAN.MerchantNo = '26419'

                         d. Count all consumers in [Loan USURY SubClass] in LOAN table. With query as

                            follows:

                            SELECT DISTINCT LOAN.CustID

                            FROM LOAN, [Loans USURY SubClass]

                            where [Loans USURY SubClass].ApplNo = LOAN.ApplNo

                            and MerchantNo = '26419'

                         e. Total all payments, interest and interest with query as follows:

                            SELECT Sum(LOANPAYMENT.PmtAmt) as PAYMENTTOTAL,

                            sum(LOANPAYMENT.PrincipalPaid) as PRINCIPALTOTAL,

                            sum(LOANPAYMENT.InterestPaid) as INTERESTTOTAL

                            FROM [Loans USURY SubClass], LOANPAYMENT

                            WHERE [Loans USURY SubClass].ApplNo=LOANPAYMENT.applNo

                            AND LOANPAYMENT.MerchantNo = '26419'

                            AND LoanPayment.PmtDate>=#6/22/2015# And

                            LoanPayment.PmtDate<=#12/20/2019#;

            OPINION 6: Consumers in the Red Rock Unjust Enrichment Sub-Class paid

                            $10,705,364.25 from June 22, 2014 to December 20, 2019.

                   37.      Each of the data points necessary to establish the amount paid by consumers is

            contained in the .csv files, without referencing any additional materials or third-party sources.

                   38.      There are a total of 6056 consumers (7860 loans) in this class.

                   39.      Specifically, I used the following fields from the .csv files to make this finding:



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                         a. ApplNo

                         b. PmtDate

                         c. MerchantNo

                         d. CustID

                         e. PmtAmt

                         f. PrincipalPaid

                         g. InterestPaid

                   40.      I was also able to calculate the amount of principal and interest that were paid by

            the Red Rock unjust enrichment sub-class. That amount is $7,406,745.00 in interest and $

            $3,232,328.86 in principal.

                   41.      In order to reach this conclusion, I took the following steps:

                         a. Find all loans with a payment date in specified range with query as follows:

                            [Loans Unjust Enrichment] = SELECT DISTINCT LoanPayment.ApplNo

                            FROM LoanPayment

                            WHERE (((LoanPayment.PmtDate)>=#6/22/2014# And

                            (LoanPayment.PmtDate)<=#12/20/2019#));

                         b. Find all consumers with a payment date in specified range with query as follows:

                            SELECT DISTINCT LOAN.CustID

                            FROM LOAN, [Loans UNJUST Enrichment SubClass]

                            where [Loans UNJUST Enrichment SubClass].ApplNo = LOAN.ApplNo

                            and MerchantNo = '26419'




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                       c. Count all loans in [Loans Unjust Enrichment] in LOAN table. With query as

                           follows:

                           SELECT Count(LoanPayment.ApplNo) AS LOANCOUNT

                           FROM [Loans UNJUST Enrichment SubClass], LOAN

                           WHERE [Loans UNJUST Enrichment SubClass].ApplNo = LOAN.applNo

                           and LOAN.MerchantNo = '26419'

                       d. Count all consumers in [Loan RICO Class] in LOAN table. With query as follows:

                           SELECT DISTINCT LOAN.CustID

                           FROM LOAN, [Loans UNJUST Enrichment SubClass]

                           where [Loans UNJUST Enrichment SubClass].ApplNo = LOAN.ApplNo

                           and MerchantNo = '26419'

                       e. Total all payments, interest and interest with query as follows:

                           SELECT Sum(LOANPAYMENT.PmtAmt) as PAYMENTTOTAL,

                           sum(LOANPAYMENT.PrincipalPaid) as PRINCIPALTOTAL,

                           sum(LOANPAYMENT.InterestPaid) as INTERESTTOTAL

                           FROM [Loans UNJUST Enrichment SubClass], LOANPAYMENT

                           WHERE [Loans UNJUST Enrichment

                           SubClass].ApplNo=LOANPAYMENT.applNo

                           AND LOANPAYMENT.MerchantNo = '26419'

                           AND LoanPayment.PmtDate>=#6/22/2014# And

                           LoanPayment.PmtDate<=#12/20/2019#;



            OPINION 7: The average APR for the consumer loans was 727.80%.



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                     42.      There is a field in the .csv files labelled “APR.”

                     43.      I reviewed the loan APR’s to create the following chart of various APRs based on

            class:

                                                                        Maximum %
                            Category                  Merchant             APR           Average % APR
              Unjust Enrichment Sub Class          Big Picture                 3041.67           658.25
              Usury Sub Class                      Big Picture                 3041.67           658.25
              RICO Class                           Big Picture                 3041.67           658.25
              Unjust Enrichment Sub Class          Red Rock                    4258.33           716.27
              Usury Sub Class                      Red Rock                  18250.00            753.86
              RICO Class                           Red Rock                  18250.00            797.35


                     44.      Based on my review, the highest APR charged was 18,250% and the lowest APR

            charged was 34.8887%.

                     45.      I obtained the average APR by using the following query:

                           SELECT [RICO Class].Name AS Merchant, [RICO Class].Maximum, [RICO

                           Class].Mean, [RICO Class].TotalPaid, 'RICO Class' AS Category

                           FROM [RICO Class]

                           UNION

                           SELECT [UNJUST Enrichment].Name AS Merchant, [UNJUST

                           Enrichment].Minimum, [UNJUST Enrichment].Maximum, [UNJUST

                           Enrichment].Mean, [UNJUST Enrichment].TotalPaid, 'UNJUST Enrichment Sub

                           Class' AS Category

                           FROM [UNJUST Enrichment]




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                         UNION SELECT [USURY SubClass].Name AS Merchant, [USURY

                         SubClass].Minimum, [USURY SubClass].Maximum, [USURY SubClass].Mean,

                         [USURY SubClass].TotalPaid, 'USURY Sub Class' AS Category

                         FROM [USURY SubClass]

                   46.      In order to reach this conclusion, I took the following steps:

                         a. Directly viewing the data in the LOAN table ordering by APR.

                         b. There was 10 assumed data error for APRs not included in the results. One APR

                            was reported as -1520.83% and nine at 0% out of a total of loans.



            OPINION 8: Plaintiff Lula Williams had 2 loans for which she borrowed $1,200.00 and paid

                            back $1,930.

                   47.      Each of the data points necessary to establish the amount paid by Lula Williams is

            contained in the .csv files, without referencing any additional materials or third-party sources.

                   48.      She obtained 2 different loans with Red Rock/Big Picture.

                   49.      The following chart summarizes her loan and payment activity:

                            PmtDate PmtAmt PrincipalPaid InterestPaid
                             8/3/2016 $600.00    $400.00      $200.00
                             9/2/2016 $400.00      $0.00      $400.00
                            10/3/2016 $400.00      $0.00      $400.00
                            10/4/2016 ($400.00)    $0.00    ($400.00)
                            10/4/2016     $0.00    $0.00        $0.00
                            11/3/2016 $400.00      $0.00      $400.00
                            11/7/2016 ($400.00)    $0.00    ($400.00)
                            11/7/2016     $0.00    $0.00        $0.00
                            12/2/2016 $210.00      $0.00      $190.00
                             1/3/2017 $210.00      $0.00      $210.00
                             2/3/2017 $210.00      $0.00      $190.00
                             2/6/2017 ($210.00)    $0.00    ($190.00)


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                             PmtDate PmtAmt PrincipalPaid InterestPaid
                              3/3/2017 $210.00       $0.00     $190.00
                              4/3/2017 $300.00       $0.00     $300.00
                              5/3/2017 $300.00     $200.00     $100.00
                              5/4/2017 ($300.00) ($200.00)   ($100.00)
                              5/4/2017     $0.00     $0.00       $0.00


                   50.      Lula Williams borrowed a total of $1,200 and paid back $1,930. The range of APRs

            was from 793.478% to 1303.57%.

                   51.      In order to reach this conclusion, I took the following steps:

                         a. Identified loans and loan information for '971812','915209' by the name associated

                            in the LOAN table. This was used to identify the APRs and Loan Amounts.

                         b. Calculated total of payments with following query:

                            SELECT Sum(PmtAmt) AS TOTALPAID

                            FROM LOANPAYMENT

                            WHERE (((LOANPAYMENT.[applno]) In ('971812','915209')));

                         c. Summary table of payments created with following query:

                            SELECT PmtDate, PmtAmt, PrincipalPaid, InterestPaid

                            FROM LOANPAYMENT

                            WHERE (((LOANPAYMENT.[applno]) In ('971812','915209')));



            OPINION 9: Plaintiff Gloria Turnage had 2 loans for which she borrowed $525 and paid

                            back $1,308.54.

                   52.      Each of the data points necessary to establish the amount paid by Gloria Turnage

            is contained in the .csv files, without referencing any additional materials or third-party sources.

                   53.      She obtained 2 different loans with Red Rock/Big Picture.

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                   54.      The following chart summarizes her loan and payment activity:

                            PmtDate PmtAmt PrincipalPaid InterestPaid
                            3/31/2017 $319.80    $225.00       $94.80
                            3/31/2017 $319.80    $225.00       $94.80
                            4/18/2017 $334.47    $300.00       $34.47
                            4/24/2017 $334.47    $300.00       $34.47


                   55.      Gloria Turnage borrowed a total of $1,025 and paid back $1,308.54. The range of

            APRs was from 696.975% to 683.372%.

                   56.      In order to reach this conclusion, I took the following steps:

                         a. Identified loans and loan information for 1598831, 1701953by the name associated

                            in the LOAN table. This was used to identify the APRs and Loan Amounts.

                         b. Calculated total of payments with following query:

                            SELECT Sum(PmtAmt) AS TOTALPAID

                            FROM LOANPAYMENT

                            WHERE (((LOANPAYMENT.[applno]) In (1598831, 1701953)));

                         c. Summary table of payments created with following query:

                            SELECT PmtDate, PmtAmt, PrincipalPaid, InterestPaid

                            FROM LOANPAYMENT

                            WHERE (((LOANPAYMENT.[applno]) In (1598831, 1701953)));



            OPINION 10: Plaintiff George Hengle had 10 loans for which he borrowed $8,200 and paid

                            back $16,073.75.

                   57.      Each of the data points necessary to establish the amount paid by George Hengle is

            contained in the .csv files, without referencing any additional materials or third-party sources.


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                   58.     He obtained 10 different loans with Red Rock/Big Picture.

                   59.     The following chart summarizes his loan and payment activity:

                             PmtDate PmtAmt PrincipalPaid InterestPaid
                            12/27/2013 $1,080.00   $800.00     $280.00
                             1/24/2014 $375.00     $225.00     $150.00
                              2/7/2014 $468.75     $375.00      $93.75
                              3/7/2014    $75.00     $0.00      $75.00
                             3/21/2014    $75.00     $0.00      $75.00
                              4/4/2014    $75.00     $0.00      $75.00
                             4/18/2014 $375.00     $300.00      $75.00
                             7/25/2014 $1,000.00   $800.00     $200.00
                             9/19/2014 $800.00     $550.00     $250.00
                             10/3/2014 $112.50       $0.00     $112.50
                            10/17/2014 $112.50       $0.00     $112.50
                            10/31/2014 $112.50       $0.00     $112.50
                            11/14/2014 $112.50       $0.00     $112.50
                            11/28/2014 $562.50     $450.00     $112.50
                              1/9/2015 $250.00       $0.00     $250.00
                             1/23/2015 $250.00       $0.00     $250.00
                              2/6/2015 $250.00       $0.00     $250.00
                             2/20/2015 $250.00       $0.00     $250.00
                              3/6/2015 $250.00       $0.00     $250.00
                             3/20/2015 $1,250.00 $1,000.00     $250.00
                             4/17/2015 $1,250.00 $1,000.00     $250.00
                             5/15/2015 $1,250.00 $1,000.00     $250.00
                             6/26/2015 $250.00       $0.00     $250.00
                             7/10/2015 $650.00     $400.00     $250.00
                             7/24/2015 $150.00       $0.00     $150.00
                              8/7/2015 $750.00     $600.00     $150.00
                             10/2/2015 $175.00       $0.00     $175.00
                            10/16/2015 $175.00       $0.00     $175.00
                            10/30/2015 $175.00       $0.00     $175.00
                            11/13/2015 $175.00       $0.00     $175.00
                            11/27/2015 $175.00       $0.00     $175.00
                            12/11/2015 $200.00      $25.00     $175.00
                            12/28/2015 $193.75      $25.00     $168.75
                              1/8/2016 $187.50      $25.00     $162.50

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                              PmtDate PmtAmt PrincipalPaid InterestPaid
                              1/22/2016 $181.25     $25.00      $156.25
                               2/5/2016 $175.00     $25.00      $150.00
                               3/4/2016 $168.75     $25.00      $143.75
                              3/18/2016 $162.50     $25.00      $137.50
                               4/1/2016 $156.25     $25.00      $131.25
                              4/15/2016 $150.00     $25.00      $125.00
                              4/29/2016 $143.75     $25.00      $118.75
                              5/13/2016 $137.50     $25.00      $112.50
                              5/27/2016 $131.25     $25.00      $106.25
                              6/10/2016 $125.00     $25.00      $100.00
                              6/24/2016 $118.75     $25.00       $93.75
                               7/8/2016 $112.50     $25.00       $87.50
                              7/22/2016 $106.25     $25.00       $81.25
                               8/5/2016 $100.00     $25.00       $75.00
                              8/19/2016  $93.75     $25.00       $68.75
                               9/2/2016  $87.50     $25.00       $62.50
                              9/16/2016  $81.25     $25.00       $56.25
                              9/23/2016 $250.00    $200.00       $50.00


                   60.      George Hengle borrowed a total of $8,200 and paid back $16,073.75. The range of

            APRs was from 325.893% to 1596.88%.

                   61.      In order to reach this conclusion, I took the following steps:

                         a. Identified loans and loan information for

                            '61448213','61912590','63212112','60914298','60123198','61741274','61801256','6

                            0685325','60003594','59832576' by the name associated in the LOAN table. This

                            was used to identify the APRs and Loan Amounts.

                         b. Calculated total of payments with following query:

                            SELECT Sum(PmtAmt) AS TOTALPAID

                            FROM LOANPAYMENT



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                            WHERE (((LOANPAYMENT.[applno]) In

                            ('61448213','61912590','63212112','60914298','60123198','61741274','61801256','

                            60685325','60003594','59832576')));

                         c. Summary table of payments created with following query:

                            SELECT PmtDate, PmtAmt, PrincipalPaid, InterestPaid

                            FROM LOANPAYMENT

                            WHERE (((LOANPAYMENT.[applno]) In

                            ('61448213','61912590','63212112','60914298','60123198','61741274','61801256','

                            60685325','60003594','59832576')));



            OPINION 11: Plaintiff Dowin Coffy had 2 loans for which he borrowed $1,800 and paid back

                            $3,200.

                   62.      Each of the data points necessary to establish the amount paid by Dowin Coffy is

            contained in the .csv files, without referencing any additional materials or third-party sources.

                   63.      He obtained 2 different loans with Red Rock/Big Picture.

                   64.      The following chart summarizes his loan and payment activity:

                             PmtDate PmtAmt PrincipalPaid InterestPaid
                            12/31/2015 $350.00       $0.00     $350.00
                             1/15/2016 $350.00       $0.00     $350.00
                             1/29/2016 $1,350.00 $1,000.00     $350.00
                             3/11/2016 $200.00       $0.00     $200.00
                             3/25/2016 $700.00     $500.00     $200.00
                              4/8/2016    $75.00     $0.00      $75.00
                             4/22/2016    $75.00     $0.00      $75.00
                              5/6/2016    $75.00     $0.00      $75.00
                             5/10/2016 ($75.00)      $0.00    ($75.00)
                             5/10/2016     $0.00     $0.00       $0.00
                             5/20/2016 $100.00      $25.00      $75.00

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                             PmtDate PmtAmt PrincipalPaid InterestPaid
                              6/3/2016   $93.75     $25.00      $68.75
                              6/7/2016 ($93.75)   ($25.00)    ($68.75)
                              6/7/2016    $0.00      $0.00       $0.00


                   65.      Dowin Coffy borrowed a total of $1,800 and paid back $3,200. The range of APRs

            was from 506.944% to 851.667%.

                   66.      In order to reach this conclusion, I took the following steps:

                         a. Identified loans and loan information for '65365931', '64892052 by the name

                            associated in the LOAN table. This was used to identify the APRs and Loan

                            Amounts.

                         b. Calculated total of payments with following query:

                            SELECT Sum(PmtAmt) AS TOTALPAID

                            FROM LOANPAYMENT

                            WHERE (((LOANPAYMENT.[applno]) In ('65365931', '64892052')));

                         c. Summary table of payments created with following query:

                            SELECT PmtDate, PmtAmt, PrincipalPaid, InterestPaid

                            FROM LOANPAYMENT

                            WHERE (((LOANPAYMENT.[applno]) In ('65365931', '64892052')));



            OPINION 12: Plaintiff Felix Gillison, Jr. had 2 loans for which he borrowed $1200 and paid

                            back $3,206.25.

                   67.      Each of the data points necessary to establish the amount paid by Felix Gillison, Jr.

            is contained in the .csv files, without referencing any additional materials or third-party sources.

                   68.      He obtained 2 different loans with Red Rock/Big Picture.

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                   69.      The following chart summarizes his loan and payment activity:

                                     PmtDate PmtAmt PrincipalPaid InterestPaid
                                      7/5/2013 $100.00      $0.00      $100.00
                                     7/19/2013 $300.00    $200.00      $100.00
                                      8/2/2013 $250.00    $200.00       $50.00
                                     8/30/2013 $200.00      $0.00      $200.00
                                     9/13/2013 $200.00      $0.00      $200.00
                                     9/27/2013 $200.00      $0.00      $200.00
                                    10/11/2013 $300.00    $100.00      $200.00
                                    10/25/2013 $300.00    $125.00      $175.00
                                     11/8/2013 $168.75     $25.00      $143.75
                                    11/22/2013 $162.50     $25.00      $137.50
                                     12/6/2013 $156.25     $25.00      $131.25
                                    12/20/2013 $225.00    $100.00      $125.00
                                      1/3/2014 $200.00    $100.00      $100.00
                                     1/17/2014 $100.00     $25.00       $75.00
                                     11/3/2014 $343.75    $275.00       $68.75


                   70.      Felix Gillison, Jr. borrowed a total of $1,200 and paid back $3,206.25. The range

            of APRs was from 536.765% to 570.312%.

                   71.      In order to reach this conclusion, I took the following steps:

                         a. Identified loans and loan information for 58655378, 59325491 by the name

                            associated in the LOAN table. This was used to identify the APRs and Loan

                            Amounts.

                         b. Calculated total of payments with following query:

                            SELECT Sum(PmtAmt) AS TOTALPAID

                            FROM LOANPAYMENT

                            WHERE (((LOANPAYMENT.[applno]) In (58655378, 59325491)));

                         c. Summary table of payments created with following query:

                            SELECT PmtDate, PmtAmt, PrincipalPaid, InterestPaid

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                           FROM LOANPAYMENT

                           WHERE (((LOANPAYMENT.[applno]) In (58655378, 59325491)));



                   72.     I am being paid in this case on an hourly basis. My hourly rate is $475 per hour. To

            date, I have spent 11.25 hours on this case and have invoiced the Plaintiffs $5,343.75 for my

            services.

                   73.     Because discovery is continuing as the date of this report, I expect that I will

            continue to review documents and testimony related to the topics discussed in this report.

            Accordingly, I reserve the right to supplement my report based on materials not available at the time

            I prepared it, including any reports that other experts might submit.



                   I hereby certify that the foregoing statements made by me are true and correct based on the

            information available to me at this time. I reserve the right to amend and supplement this report as

            additional information and evidence is provided to me.

                   Signed this 14th day of April, 2023.



                                                                  ____________________________________
                                                                  Karl J. Ebert




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                                     EXHIBIT 1




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                                                  Karl J. Ebert
                                                  1044 20th Ave SE
                                                Minneapolis, MN 55414
                                                   (612) 623-0401

     Education    University of Minnesota Carlson School of Management, MBA Dec. 1997
                  Emphasis       Marketing and Finance             Overall GPA    3.93

                  University of Minnesota Carlson School of Management, B.S. in Business Dec. 1991
                  Emphasis:      Management Information Systems    Overall GPA     3.59
                  Minor:         Computer Science                  MIS/CSCI        3.85

     Experience   KJE Computer Solutions, Inc.                                            Minneapolis, MN
                  CEO                                                                     1999- Present
                  Developed and marketed extensive suite of banking and e-commerce content as cloud based
                  financial calculator tools. Development in Java, JavaScript, CSS and HTML5. Financial
                  calculators securely deployed in Mortgage, Finance, Banking, Realestate, Education, Credit Union,
                  Wealth Management and numerous other financially related websites on behalf of thousands of e-
                  commerce clients. Continuous development and support expanded offerings into foreign
                  languages and countries outside the United States, including Canada and Australia.

                  Best Buy Co.                                                              Edina, MN
                  Project Manager - eCommerce                                               1998- 1999
                  Project manager for eCommerce division. Managed large scale 12 month project, was responsible
                  for architecture, management and deployment of “Configure to Order (CTO)” in-store kiosk for
                  designing, ordering and shipping custom built name-brand computers directly to customers.
                  Project was end-to-end including in-store kiosk order placement, integration with VMS accounting
                  system, EDI transaction enabled for external vendors and web-enabled order tracking. Project
                  budget was $7 million, project team consisted of 32 partially dedicated and 11 full-time employees
                  and contract programmers.

                  Grant Thornton                                                           St. Louis, MO
                  Project Manager - netSolutions                                           1994-1998
                  Project and business development manager for Internet Electronic Commerce practice area.
                  Key business plan architect for large scale Internet, Intranet and E-commerce business initiatives.
                  Project management has included: Electronic loan approval system for large financial Institution,
                  E-Commerce architecture design, data warehouse development architect, relational database
                  design, Internet, Intranet and Client/Server development.

                  Cargill Inc.                                                            Minnetonka, MN
                  Programmer / Analyst                                                    1992- 1994
                  New Development (80%) and support of Client/Server applications, participating in all phases of
                  development life cycle. Development included an order entry and inventory system for a large
                  division, written in SQLWindows running under Windows 3.1. Other projects included Foxpro PC
                  inventory management system and a Salt Billing System. Responsible for supporting existing PC
                  system for 15 locations in the Molasses Division.

                  Susan Wehmann Model And Talent                                            Minneapolis, MN
                  Programmer / Analyst                                                      1992-1994
                  Part-time position, converting and enhancing existing dBase III application to Foxpro for Windows
                  2.5. Responsible for gathering requirements, weekly progress updates, composing and
                  programming application, and testing. Network administration of Windows NT 4.0.

     Special      Work Experience and Education has included:
     Skills       Web, e-commerce workflow, Business management, Project management, Business development,
                  Organizational systems data architecture, data analsys, relational database, object database,
                  Responsive design, HTTP, HTTPS, HTML 5, CSS3, JavaScript, Java, JSP, SQL, Oracle,
                  Perl, PHP, Python, GIT, MongoDB, Angular, Node.js, CDN, Cloud Deployment.




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     Certifications Sun Certified Java Programmer
                    Microsoft Certified Systems Engineer (MCSE)
                    Certified Centura Client/Server Developer
                    Certified PowerBuilder Developer

     Honors         University of Minnesota Presidential Scholarship        1987
                    Peavey award, outstanding Freshmen Forensic member      1988
                    Sumner award, outstanding Upper-class Forensic member   1990,91
                    Mortar Board national Honors Society                    1991

     Activities     Community Education Instructor                          1994-1999
                    University of Minnesota Forensics Team                  1987-1991
                    University of Minnesota Debate Team                     1987-1988
                    Historic Home Restoration                               1994-present




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                                     Exhibit 3




                                                                                  JA938
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                              IN THE UNITED STATES DISTRICT COURT
                              FOR THE EASTERN DISTRICT OF VIRGINIA
                                         Richmond Division

         LULA WILLIAMS, et al.,                                 )
                                                                )
                                        Plaintiffs,             )
                         v.                                     ) Civil Action No. 3:17-cv-461 (REP)
                                                                )
         BIG PICTURE LOANS, LLC, et al.,                        )
                                                                )
                                        Defendants.             )
                                                                )

                      REVISED OBJECTIONS AND RESPONSES OF
                          DEFENDANT MATT MARTORELLO
          TO PLAINTIFF GEORGE HENGLE’S SECOND SET OF INTERROGATORIES

                Defendant Matt Martorello (“Martorello”), by counsel, hereby provides revised

         objections and responses to Plaintiff George Hengle’s Second Set of Interrogatories to

         Defendant Matt Martorello as set forth below.

                   INTRODUCTORY STATEMENT REGARDING THE PARTIES’ ONGOING
                             COLLECTIVE DISCOVERY EFFORTS

                Pursuant to ongoing discussions among counsel regarding the scope and parameters of

         the collection, review, and production of information in discovery for this action, the parties

         have agreed, as reflected in the Court’s Order of January 23, 2019 (Dkt. 326), to work to

         establish a formal ESI protocol in an effort to identify potential additional documents for review

         and possible production in discovery for this case. Accordingly, it is possible that the ESI

         protocol and further related efforts will result in the discovery and disclosure of additional

         information responsive to these discovery requests.




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        involved.


               RESPONSE: Martorello believes that only Duck Creek Tribal Financial, Red Rock
               Tribal Lending, and Big Picture Loans performed loan collection functions.


               11.     Identify any amendments to the Servicing Agreement between Red Rock and

        SourcePoint dated July 31, 2012, and all documents related to those amendments.


               RESPONSE: Martorello directs Plaintiffs to the following servicing agreements
               between Red Rock and SourcePoint: MM_003474; MM_003598; MM_004604;
               MM_009292; AND LVD-DEF00021406.


               12.     If you intend to rely on advice of counsel as a defense to any of the Plaintiffs’

        claims, identify: (1) the substance of any advice you received; (2) the attorney who provided it;

        (3) the date it was provided; and (4) any advice you received to the contrary.


               RESPONSE: Martorello does not intend to rely upon advice of counsel as a defense
               in this matter at this time. However, if the Court orders that Martorello must waive
               privilege to assert his good faith defense, Martorello may then elect to assert an
               advice of counsel defense.


               13.     If you intend to assert subjective good faith as a defense to any of the Plaintiffs’

        claims, identify all advice you received from any attorney regarding the legality of the tribal

        business model and/or the LVD’s lending operation.

               RESPONSE: Martorello does intend to assert good faith as a defense in this matter
               based, in part, on non-privileged information provided by attorneys Jennifer
               Weddle, Karrie Wichtman, Blake Sims, Rick Hackett, John Williams, Saba
               Bazzazieh, Tanya Gibbs, and Robert Rosette, as well as others at their respective
               law firms, as well as from additional non-attorney public sources, about the legality
               of the tribal business model and LVD’s lending operations. Martorello reserves the
               right to revise or supplement this response. Martorello incorporates herein his
               response to the Plaintiffs’ corresponding Document Request.

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               14.       Please identify all individuals known to you or your attorney who are witnesses to

        the events or allegations described in Plaintiff’s complaint or who has knowledge of any matter

        that is the subject of any defense you have raised to this lawsuit. For each person, please provide

        a brief summary of facts to which each person might or could testify.

              OBJECTION: Martorello objects to this Interrogatory on the grounds that it is
              unduly burdensome and oppressive, and requires Martorello to undertake undue
              burden and expense in an unreasonable amount of time.

              RESPONSE: Subject to the foregoing objections, Martorello cannot summarize the
              facts which witnesses in this case “might or could” provide by way of their testimony.
              Various witnesses have been deposed or subpoenaed for depositions, and Martorello
              directs the Plaintiffs to the testimony of such witnesses as the source of information
              responsive to this Interrogatory.


               15.       State the factual basis of any and all affirmative defenses that you have asserted to

        the Complaint.


               RESPONSE: Martorello responds as follows: Plaintiffs have a fundamental
               misunderstanding of the facts of this case. A proper understanding of the truth and
               facts behind this case informs and supports all of Martorello’s affirmative defenses.

               MARTORELLO, BELLICOSE AND SOURCEPOINT NEVER LENT MONEY
               TO CONSUMERS DIRECTLY OR INDIRECTLY

               Contrary to Plaintiffs’ allegations and theories, Martorello has never lent money to
               Plaintiffs or any of the consumers in question. Similarly, Bellicose Capital, LLC
               (“Bellicose”) and SourcePoint VI, LLC (“SourcePoint”), two typical FinTech
               companies for which Martorello served as a President of its Manager, and in which
               Martorello had an indirect partial ownership interest, have never lent money to
               Plaintiffs or any of the consumers in question. At all times relevant, SourcePoint
               and Bellicose were not in the business of lending money to consumers. Rather,
               Bellicose Capital was built to be a family office providing economic development to
               the US Virgin Islands (and later Puerto Rico) under government decree, and would
               go on to own and operate a multitude of businesses including trading
               securities, having an interest in an entertainment cruise ship, slot machine leasing
               and artificial intelligence in voice recognition to enhance compliance in investment
               entities. Here, Bellicose and SourcePoint had a contractual relationship to provide
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              advisory services to a lender that has always been wholly-owned and operated by a
              sovereign Native American tribe: the Lac Vieux Desert Band of Lake Superior
              Chippewa Indians (the “Tribe”). The Tribe is a federally recognized Native
              American Tribe whose sovereignty is unquestionable, and an abundance of federal
              law and policy expressly encourage the exact type of relationship and self-regulatory
              venture entered into in this matter.

              THE TRIBE SOUGHT TO PARTNER WITH MARTORELLO TO PROVIDE AN
              ECONOMIC DEVELOPMENT OPPORTUNITY FOR THE TRIBE AND ITS
              MEMBERS

              In 2011, from a clear desire for tribal self-determination and economic diversity,
              the Tribe sought out a vendor to assist them to build and grow their already
              operating online lending venture formed by LVD prior to Martorello’s
              involvement or entering into a contractual relationship with Bellicose Capital.
              Accordingly, the Tribe, with experienced legal counsel and substantial investment,
              entered a lengthy six month negotiation process concluding with a typical
              contractual arrangement for rural tribal economic development, based on a
              congressionally-blessed NIGC draft template. Under such an arrangement,
              Bellicose would provide services to, and develop valuable intellectual property for,
              the Tribe’s lending businesses. Before consummating the transaction, Martorello
              and his attorneys performed significant due-diligence on the Tribe’s contemplated
              transactions and business efforts, as the Tribe and its business advisors and
              attorneys did with Martorello. As part of this due diligence, Martorello learned
              about the Tribe’s sovereignty, various federal policy and acts of Congress such as
              the Native American Business Development Act, Dodd Frank’s explicit recognition
              of tribes as regulatory agencies over loan transaction, the Indian Commerce Clause,
              IGRA, and various cases regarding the enforceability of tribal law, and LVD’s
              ability to pass and implement its own laws which, in addition to applicable federal
              laws, would exclusively pertain to the exact transaction contemplated by the lending
              businesses. Martorello understood that state laws to the contrary were preempted
              by tribal law absent an explicit act of Congress otherwise. The agreements were
              executed in the presence of the LVD tribal council, attorneys from both sides, and
              LVD business advisors on tribal land during a scheduled meeting of council. The
              Tribe’s General Counsel, Karrie Wichtman, was from then on engaged in ensuring
              strict adherence to the Servicing Agreement, and ensuring the broader legality of
              the business for the Tribe. Ms. Wichtman would also advise council and keep
              abreast of all matters and obtain all approvals and resolutions as needed.

              THE TRIBAL LENDING BUSINESS WAS LAWFUL, THE LOANS WERE
              GOVERNED BY TRIBAL LAW AND MARTORELLO DID NOT BELIEVE
              OTHERWISE AS EVIDENCED BY HIS FOCUS ON COMPLIANCE

              At all times, Martorello believed and understood that the LVD lending business, as
              well as the support it was getting from Bellicose and SourcePoint, was lawful in all
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              respects. The loans at issue in this case were issued by the tribal lending entities —
              either Red Rock Tribal Lending, LLC or Big Picture Lending, LLC — both owned
              and operated by the Tribe pursuant to the Tribe’s laws and under the oversight of
              the TFSRA. The Tribe conspicuously and repeatedly disclosed to consumers that
              they were contracting with a sovereign Native American lender, offering an
              expensive form of credit pursuant to the Tribe’s law. Such conspicuous and
              repeated disclosures provided consumers with the opportunity to research whether
              the Tribe’s products, together with the terms, were the correct option for them.
              Additionally, these conspicuous disclosures permitted a consumer to investigate the
              ability of the Tribe to offer those loans to them, and all facts relating to the legality
              of the loans were clear and apparent from the face of the loan transaction. Each
              loan at issue in this case contained a valid and enforceable choice-of-law provision
              that selected the laws of the jurisdiction in which the lender was located, the
              jurisdiction where all loans were originated, the jurisdiction involved in
              participating and directing all loan origination and servicing, the jurisdiction where
              the website server is hosted, the jurisdiction where all approvals and decisions
              regarding the operations were made, the headquarters of the operation and council,
              and the jurisdiction back to which all net profits return for exclusive governmental
              economic development purposes, and the jurisdiction involved in participating and
              directing collection activity occurred: the laws of the Tribe. Each loan at issue in
              this case contained a valid and enforceable forum selection clause that requires
              Plaintiffs and others to engage in the Tribal Dispute Resolution procedure with the
              TLEs before their regulator and, if unsuccessful, to press their dispute before the
              Tribe’s court system.

              Martorello’s belief in the lawfulness of the business of the tribal lending entities or
              applicability of tribal law to the consumer loans was not impacted by legal actions
              against Cash Call, Western Sky or Scott Tucker as Martorello understood that
              those businesses and individuals were not true tribal government operations, not
              licensed pursuant to a consumer tribal lending code, and not regulated by a tribal
              regulatory authority as LVD. Similarly, Operation Chokepoint (“OCP”) did not
              impact Martorello’s belief as to the lawfulness of the LVD lending business as it was
              widely understood that OCP was an abuse of governmental authority. Martorello
              believed that the CFPB under Director Cordray was simply an extension, in a sense,
              of OCP. This was confirmed by Acting CFPB Director Mick Mulvaney in the
              opening statements of his new 5 year plan published 2/12/2018 in which he said:

                    Indeed, this should be an ironclad promise for any federal agency;
                    pushing the envelope in pursuit of other objectives ignores the will of
                    the American people, as established in law by their representatives in
                    Congress and the White House. Pushing the envelope also risks
                    trampling upon the liberties of our citizens, or interfering with the
                    sovereignty or autonomy of the states or Indian tribes. I have resolved
                    that this will not happen at the Bureau.

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              Id. (emphasis added). Shortly thereafter, CFPB dismissed its lawsuit against Upper
              Lake, another true tribal government lending operation most parallel to LVD’s
              business. Martorello’s belief in the lawfulness of the LVD lending business was
              reinforced by Rick Gerber, CEO of Chippewa Valley Bank, the financial institution
              used by LVD, when he advised that the FDIC has told him that tribal lending
              businesses were not illegal.

              Martorello was aware that third parties, including ACH processors and credit
              bureaus, conducted independent evaluations of the lawfulness of LVD’s business as
              well, and he was informed by their repeated acceptance of lending business’
              permissible purpose, the applicability of tribal law and their interest for continued
              involvement in the LVD lending businesses. Martorello was aware of certain State
              Attorney General communications, which specifically acknowledged TFSRA as the
              appropriate forum where disputes regarding these tribal loans would be
              heard, other Attorney Generals who filed amicus briefs in tribal lending cases, and
              several states with whom LVD entered into memoranda of understanding regarding
              their ability to operate within a particular state. Martorello was aware of extensive
              LVD and CFPB government-to-government discussions, an effort to reach a
              memorandum of understanding, as LVD had done with numerous state Attorneys
              General, and LVD’s registration of its businesses into the CFPB complaint portal.
              Martorello was aware that LVD and its attorneys would routinely visit Washington,
              D.C. to meet with lawmakers, as well as with other agencies of the federal
              government.

              The Tribe’s attorneys, who had intimate knowledge of the entire operations of the
              Tribe’s lending business and relationships, routinely issued opinion letters - which
              Martorello received - to third-party vendors of the Tribe expressing its confidence
              in the Tribe’s sovereign status, the legality of the Tribe’s lending businesses (i.e. the
              inapplicability of state law explicitly), the businesses’ ability to make loans to
              consumers containing choice of law clauses selecting the laws of the Tribe, and the
              Tribe’s control over its lending businesses. Ultimately, these representations and
              consultation with counsel provided Martorello with the assurances that the servicing
              relationship whereby Bellicose or SourcePoint would assist the Tribe’s lending
              businesses was lawful in all respects.

              In addition, Bellicose, at the direction of Martorello, spent nearly $1 million
              building a compliance management system (“CMS”), and hired attorneys and
              experts to help manage and provide guidance regarding compliance. These systems,
              and those implemented by LVD, which designed and implemented its own
              compliance system, served to ensure that the TLEs, Bellicose, SourcePoint, and all
              vendors followed tribal and applicable federal laws.




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              LVD FULLY CONTROLLED THE BUSINESS OF THE LENDING ENTITY AND
              THE SERVICES PROVIDED BY BELLICOSE AND SOURCEPOINT WERE
              TYPICAL OF THIRD PARTY CONSULTANTS HIRED BY TRIBES SEEKING
              ASSISTANCE WITH THEIR BUSINESSES CREATED TO PROVIDE
              ECONOMIC DEVELOPMENT TO TRIBES AND THEIR MEMBERS

              Bellicose and SourcePoint provided typical contractual services and advice to LVD’s
              lending business but the Tribe at all times retained full control over its businesses.
              Neither Bellicose, SourcePoint, nor Martorello exercised control over, made
              decisions for, or entered into contracts on behalf of LVD’s lending business. Rather,
              all decision-making authority (other than those decisions reserved exclusively for
              Tribal Council) was vested in two co-managers selected by vote of the Tribal
              Council. Although Bellicose and SourcePoint would make recommendations to the
              co-managers, those co-managers routinely made decisions after consulting with the
              appropriate compliance personnel, legal counsel, and, where appropriate, the
              Tribe’s Council. Indeed, numerous resolutions show that the Tribe’s Council was
              involved in contract negotiations with vendors and numerous other aspects of the
              business.

              Similarly, neither SourcePoint nor Bellicose had any control over the decision to
              lend to any consumer. Rather, the co-managers of the Tribe’s business had full
              control over the loan origination decisions and had the final say on whether to
              originate any loan to a consumer. Martorello played no role in the decision to lend
              to any particular consumer. In fact, Martorello never interacted with any consumer
              who borrowed from the Tribe’s businesses. Further, every concept recommended
              or developed by SourcePoint for consideration received approval from the Tribe
              prior to its implementation, despite which party might ultimately implement that
              recommendation. Numerous actions and decisions were taken and made by the
              Tribe’s participants without any involvement or input from SourcePoint
              whatsoever, including but not limited to daily operations, personnel, compliance,
              lobbying, negotiating contracts with vendors, and communications with AGs or
              TFSRA.

              Though the services and intellectual property that SourcePoint and Bellicose
              provided to the Tribe’s businesses were extremely valuable, there were significant
              limitations to the servicing agreement. One such limitation was the Tribe’s ability
              to voluntarily terminate the Servicing Agreement and walk away with the valuable
              intellectual property with just 180 days-notice. Accordingly, LVD could have
              terminated SourcePoint, retained the intellectual property, and then hired one of
              dozens of other service providers or taken over. In fact, the Tribe did terminate its
              vendor related to its title lending business. Additionally, the control retained by
              LVD included its right to have eliminated its budget for lending or decided in its
              sole discretion not to originate any loans, or to change its laws to prohibit the type of
              lending engaged in by its lending entities.

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              BELLICOSE, SOURCEPOINT AND MARTORELLO HAD NO ECONOMIC
              INTEREST IN ANY LOAN ORIGINATED BY LVD NOR DID THEY
              PARTICIPATE IN THE COLLECTION OF ANY LOAN; MARTORELLO’S
              INVOLVMENT IN THE OPERATIONS OF BELLICOSE AND SOURCEPOINT
              DIMINISHED OVER TIME

              For each loan at issue in this case, the tribal lending entities have always held a
              100%, undivided share of the economic and legal ownership. At no point has
              Martorello, SourcePoint, or Bellicose ever held an economic, legal, or beneficial
              interest in any loan originated by the TLEs to Plaintiffs, or any other consumer.
              Nor were the fees earned by Bellicose and SourcePoint tied to any specific loan that
              was originated by the Tribe.

              Neither Bellicose nor SourcePoint ever accepted, obtained, or retained any
              consumer loan payments. Similarly, Martorello, Bellicose and/or SourcePoint were
              not responsible for, and did not participate in, the collection of loans originated by
              the Tribe’s businesses. Instead, the Tribe’s businesses were responsible for
              collection of loans originated by the Tribe’s businesses. Martorello has never taken
              any action that encouraged or induced a Plaintiff or any other consumer to repay
              their loan to the Tribe’s businesses. And, Martorello’s involvement in the servicing
              activities and business of Bellicose and SourcePoint varied widely over time, with
              many other employees and executives taking the lead on everything from specific
              projects to running SourcePoint and Bellicose. Martorello had very little
              involvement in the business of SourcePoint post-June 22, 2013, given his founding
              and development of multiple other start-up businesses during that time frame. As
              Martorello’s role and involvement with Bellicose and SourcePoint diminished over
              time, he was removed as a signatory to the RRTL bank account and early 2015, and
              Brian McFadden was appointed as President. With the office relocation to Puerto
              Rico in January 2014, Martorello rarely would come to the offices of Bellicose and
              SourcePoint and he would not see Bellicose employees for months at a time.

              THE SALE OF BELLICOSE AND SOURCEPOINT WAS NOT A SHAM AND
              WAS NOT CONSUMATED TO AVOID ANY POTENTIAL LIABILTY ARISING
              FROM THE TRIBAL LENDING BUSINESSES

              As early as 2012, the Tribe began discussing a potential sale of Bellicose and
              SourcePoint to the Tribe. Such a sale would enable the Tribe to bring previously
              outsourced services provided by Bellicose and SourcePoint in-house, thus ensuring
              the longevity and certainty of performance thereafter as desired by the tribal
              government. These discussions evolved over a number of years.

              During this time, the Tribe and its lawyers negotiated the terms of a potential sale
              with Martorello. These negotiations were active, reciprocal, and ensured that all
              parties received what they believed to be fair value for their assets. The Tribe’s
              Chairman and its attorney Rob Rosette approached Martorello in mid-2014 with a
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               more urgent desire about wanting to buy the business. Martorello was aware of a
               similar transaction that was occurring with another tribe, and was worried that
               LVD might buy a competitor to Bellicose or SourcePoint or perhaps receive or
               solicit a better offer from another service provider and terminate the relationship.
               Fearful of losing the relationship with LVD, Martorello, on August 22, 2014,
               provided a Term Sheet for the sale of the businesses to the Tribe’s counsel. Shortly
               thereafter, Martorello and his wife, for personal reasons, decided that they would be
               relocating to the mainland United States. Because the change of his residency
               would have significant tax implications, Martorello’s effort to sell Bellicose and
               SourcePoint hastened. Towards that end, Martorello began restructuring of
               Bellicose to prepare to sell. GT Law would initially represent Bellicose in the sale
               transaction, but given John Williams’ experience in a similar transaction, Conner
               and Winters would conclude the transaction. As an Act 22 beneficiary by decree of
               the Puerto Rico government in their effort for economic stimulation, the effective
               tax rate of a sale vs operating a business in the years ahead as a resident of the
               United States would equate to a significant material value, and thus incentivized
               Martorello to sell prior to relocation. In perspective, the ongoing operation from
               United States would amount to about 40% tax rate per year vs a sale being taxed at
               an effective 8% rate. Ultimately, in late-2015 a seller-financed structure was agreed
               upon for the sale of Bellicose, SourcePoint, and a number of subsidiaries, to the
               Tribe. The sale transaction closed on January 26, 2016, and the Tribe, via a
               subsidiary, became the owner of all of Bellicose’s assets, liabilities, technical
               knowledge, and other valuable consideration.

               In return, Eventide Credit Acquisitions, LLC (“Eventide”), was given a note which
               entitled Eventide to variable payments from the Tribe’s lending business over a
               maximum period of seven years. After the expiry of the seven-year note, or
               payment-in-full of the note, the Tribe will have no further obligation to Eventide
               and is projected to earn in excess of $50 million annually (a nearly six-fold increase
               in government revenues since inception of the relationship) in profits exclusively for
               the LVD government and its economic development effort and having accomplished
               the stated goal of industry diversification away from gaming. Since the close of the
               sale transaction, Martorello has had no involvement in the operations or
               management of the tribal lending entity or any other business owned and operated
               by the Tribe, and through this litigation, Martorello has learned that there have
               been material changes and growth to the product, personnel and business interests
               of LVD of which Martorello had no knowledge.

               In addition to the foregoing, Martorello incorporates herein by reference the
               arguments and facts set forth in his Motion to Dismiss the Plaintiffs’ Complaint, as
               well as the arguments and facts set forth in his Motion Opposing Class Certification,
               as well as the evidence to be provided in his and others’ upcoming depositions and
               discovery efforts in this matter.


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                                             CERTIFICATE OF SERVICE

                   I hereby certify that on the 30th day of January, 2019, a copy of the foregoing was

            sent via electronic mail to all counsel of record.




                                                         /s/ Jonathan P. Boughrum
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